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Please See Supplemental Documents:
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    3. Appendix B.1 – Qualified Health Plan Coverage Analysis for the Berens Report
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                                        Executive Summary
              (hereinafter referred to as “Mr. Willis”), born                 , is a three-year-old child. He
currently lives with his natural parents in Grovetown (Columbia County), Georgia. Mr. Willis sustained
injuries during childbirth resulting in a diagnosis of fetal acidosis and Hypoxic-ischemic encephalopathy
(HIE). i Mr. Willis’ healthcare needs are discussed in the reports prepared by Debra Berens (hereinafter
referred to as the “Berens Report”) and Susan Riddick-Grisham (hereinafter referred to as the “Riddick
Report”).

Based on my analysis, Coverage is available through the following pathways if Mr. Willis:
    1. Maintains coverage under CHAMPVA;
    2. Maintains coverage under CHAMPVA and takes up a Qualified Health Plan; or
    3. Maintains coverage under CHAMPVA and takes up the Georgia Medicaid Medically Needy
       Program (Medicaid Pathway 1); or
    4. Maintains coverage under CHAMPVA and takes up the Katie Beckett Medicaid Waiver Program
       (Medicaid Pathway 2); or
    5. Maintains coverage under CHAMPVA and takes up the Georgia Medicaid Medically Needy
       Program and the Katie Beckett Medicaid Waiver (Medicaid Pathway 3); or
    6. Maintains coverage under CHAMPVA, and takes up a Qualified Health Plan, and Georgia
       Medicaid (Medicaid Pathway 1, 2, or 3).

The Berens Report disregards the coverage pathways available to Mr. Willis. As a result, the Report’s
calculation of future medical expenses is incorrect. In contrast, TD&P recognizes the various coverage
pathways available to Mr. Willis. Based on this distinction, we calculate that Mr. Willis’ future medical
expenses are substantially less than the amounts presented in the Berens Report.

Finally, the Berens Report puts forward costs for healthcare items that do not reflect the average rates paid
in the market by all payors – i.e., the reasonable value. In fact, based on TD&P’s analysis, the costs in the
Berens Report are considerably higher than the average market rates. (Note: Appendices C.1 and C.2
compare reasonable value of Mr. Willis’ care to that offered in the Berens Report and the Riddick-Grisham
Report.)

My opinions are offered to reasonable degree of professional certainty based on my education, training,
experience, and expertise in healthcare coverage analysis, public health, and healthcare policy. TD&P
Consulting, Inc. reserves the right to amend its conclusions if additional information is made available in
response to current or future discovery requests by the plaintiff’s or defendant’s counsel.




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                                   Records Reviewed

1) Complaint
2) Plaintiff’s answers to defendant’s interrogatories
3) Mr. Willis claim for damage, injury, or death
4) Debra Berens life care plan
5) Susan Riddick-Grisham life care plan
6) Sherecia Willis deposition
7) Derrique Newsome deposition
8) Denise Casas deposition
9) Martin Jeffries deposition
10) John Earwood deposition
11) Mary Black deposition
12) Angela Hogan deposition
13) Evelyn Hickson expert witness report
14) Gillian Kahdim deposition
15) Jalisha Willis deposition
16) Tulisha Harris deposition
17) Halit Pinar expert witness report
18) Frederick Raffa expert witness report
19) John Partridge expert witness report
20) Scott Sullivan expert witness report
21) Stephen Nelson expert witness report
22) Geoffrey Negin expert witness report
23) Mr. Willis Augusta University Health medical records
24) Mr. Willis Department of the Army medical records
25) Mr. Willis Trinity Hospital medical records
26) Mr. Willis Children’s Hospital of Georgia medical records
27) Mr. Willis GR Health medical records
28) Mr. Willis In Home Pediatric Therapy medical records
29) Sherecia Willis Department of the Army medical records
30) Sherecia Willis Trinity Hospital medical records
31) Sherecia Willis Award Letter




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                                   Part 1 - Healthcare Summary
On                     , Mr. Willis was delivered ii at Trinity Hospital in Augusta, Georgia. He was diagnosed
with: iii

     •      hypoxic-ischemic encephalopathy (HIE);
     •      fetal acidosis;
     •      neonatal seizures;
     •      developmental delays; and
     •      Cerebral Palsy.

Mr. Willis was transferred to Children’s Hospital in Augusta, Georgia, shortly after his delivery. iv




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                                  Part 2 - Access to Coverage
Background
The Patient Protection and Affordable Care Act (P.L. 111-148; PPACA), as amended by the Health Care
and Education Reconciliation Act of 2010 (P.L. 111-152; HCERA), and hereafter referred to as ACA,
established a framework for the delivery of healthcare. There are two components of this law, which are
relevant in the present case: the individual mandate, and guaranteed issue requirement. The individual
mandate requires that all individuals lawfully present v in the United States maintain some form of minimum
essential coverage. vi Mr. Willis complies with this provision by participating in the Civilian Health and
Medical Program of the Department of Veteran’s Affairs (VA) (CHAMPVA), vii viii health care coverage
which satisfies federal requirements for minimum essential coverage. ix

In 2017, Congress passed legislation x repealing the individual mandate’s shared responsibility provision.
The law did not eliminate the mandate. Rather, it preserved the duty of all persons legally present in the
United States to maintain healthcare coverage.xi The guaranteed issue requirement prohibits insurers from
denying coverage due to preexisting health conditions. Congress has not demonstrated a willingness to
repeal the guaranteed issue requirement in 2019. And the provision maintains strong bipartisan support. xii
Similar policies exist in Georgia, which prohibits, with limited exceptions, xiii insurers from denying
coverage based on a preexisting condition. xiv

Conclusion
The Affordable Care Act requires Mr. Willis to maintain minimum essential coverage. He complies with
the law by participating in CHAMPVA. Mr. Willis’ duty is not diminished by the elimination of the shared
responsibility penalty in the PPACA. Finally, the “guaranteed issue” requirement ensures that Mr. Willis
will continue to have access to healthcare coverage in the future.

Governing Rule(s)
26 CFR § 1.5000A-1. Maintenance of minimum essential coverage and liability for the shared
responsibility payment. (Individual Mandate)
The individual mandate requires a nonexempt individual to take up minimum essential coverage.

45 CFR § 147.104. Guaranteed availability of coverage. (Guaranteed Issue Requirement)
The guaranteed issue requirement requires an issuer of health insurance coverage in a State to offer any
individual in the State all health insurance products approved for sale, and to accept any individual that
applies for any of those products.

38 CFR § 17.271(a)(1). Eligibility.
The CHAMPVA provision provides the basis on which a spouse or child of a veteran who is permanently
disabled may take-up CHAMPVA benefits.

Ga. Comp. R. & Regs. R. 120-2-67-.05. Preexisting Conditions.
The preexisting conditions regulation requires issuers of health insurance not to discriminate against
persons with preexisting conditions. There are limited exceptions to this rule.




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                              Part 3 – Determination of Disability
Background
Under federal law, a child under age 18 meets the definition of disabled if he or she has: xv

    •   A medically determinable physical or mental impairment or impairments that causes marked and
        severe functional limitation; and
    •   It can be expected to cause death or last for a continuous period of not less than twelve months.

The Social Security Administration (SSA) maintains a list of impairments that may result in a determination
of disability. xvi Based on Mr. Willis’ medical records, he has a diagnosis of cerebral palsy (CP). This
impairment is listed under section 111.07 of the SSA’s disability appendix. xvii SSA’s determination of
disability is based on several factors, including the collection of medical evidence and the decision of the
Disability Determination Service. The confluence of these and other factors will bear out whether an SSA
disability determination will be made in Mr. Willis’ favor. xviii
Setting aside the question of disability under federal law, xix Mr. Willis may be identified as disabled under
Georgia law. Georgia’s definition of disability includes developmental disability. xx Mr. Willis’ diagnoses
of cerebral palsy (CP) coupled with extensive records describing his lack of functionality, as indicated by
his physician and the Berens Report, reflect a need for significant disability services. Moreover, Georgia
categorically defines CP as a developmental disability. xxi
Conclusion
Based on Mr. Willis’ diagnosis of cerebral palsy, his medical records, and the inclusion of CP on SSA’s
list of identified impairments, Mr. Willis meets the federal definition of disabled. Finally, Mr. Willis is
developmentally delayed under Georgia rules due to his CP diagnosis.

Rule(s)
20 CFR § 416.905 - Basic definition of disability for adults.
The definition of disability for adults under the Social Security Act is the inability to engage in any
substantial gainful activity by reason of any medically determinable physical or mental impairment(s)
which can be expected to result in death or which has lasted or can be expected to last for a continuous
period of not less than 12 months.

20 CFR § 416.906 - Basic definition of disability for children.
The definition of disability for children under age 18 under the Social Security Act is having a medically
determinable physical or mental impairment or combination of impairments that causes marked and severe
functional limitations, and that can be expected to cause death or that has lasted or can be expected to last
for a continuous period of not less than 12 months.

Ga. Code Ann. § 30-4-1(2) (2015) "Physically disabled person".
Georgia law defines physical disability to mean any person, regardless of age, who is subject to a
physiological defect or deficiency regardless of its cause, nature, or extent that renders the person unable
to move about without the aid of crutches, a wheelchair, or any other form of support, or that limits the
person's functional ability to ambulate, climb, descend, sit, rise, or to perform any related function.

Ga. Code Ann. §§ 37-1-1(8), (9) (2015). – Governing and Regulation of Mental Health.
Georgia law defines “developmental disability” to mean a severe, chronic disability of an individual that:
   (A) Is attributable to a significant intellectual disability, or any combination of a significant intellectual
       disability and physical impairments;



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    (B) Is manifested before the individual attains age 22;
    (C) Is likely to continue indefinitely;
    (D) Results in substantial functional limitations in three or more of the following areas of major life
        activities:
             (i) Self-care;
             (ii) Receptive and expressive language;
             (iii) Learning;
             (iv) Mobility;
             (v) Self-direction; and
             (vi) Capacity for independent living; and
    (E) Reflects the person's need for a combination and sequence of special, interdisciplinary, or generic
        services, individualized supports, or other forms of assistance which are of lifelong or extended
        duration and are individually planned and coordinated.

Georgia law defines “Disability” to mean: (a) Mental or emotional illness; (b) Developmental disability; or
(c) Addictive disease.




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          Part 4 - Medicaid, Waivers, and Other Special Needs Programs
Background
The Medicaid xxii program was established in 1965, under Title XIX of the Social Security Act (SSA), xxiii
and is a jointly funded xxiv state and federal program. It was originally designed to extend medical assistance
to families with dependent children, the aged, blind, and disabled with financial need. xxv Georgia adopted
the program two years after its inception in 1967. xxvi Today, the program is administered by Georgia’s
State Department of Community Health. xxvii Under federal law, states are permitted to: xxviii

    •   Administer their own programs,
    •   Establish their own eligibility standards, (outside of mandatory coverage categories), and
    •   Determine the type, amount, duration, and scope of services they wish to provide.

A major trend in state Medicaid programs has been the move from fee-for-service to managed care
arrangements. Georgia’s program has experienced similar movement. Georgia Medicaid first adopted
managed care in 1993 and transitioned to a statewide Medicaid managed care program called Georgia
Families in 2006. Most Medicaid and PeachCare for Kids (the state’s CHIP program) beneficiaries are
required to enroll in Georgia Families, including low-income adults and children, foster care children, and
pregnant women. However, individuals with disabilities or long-term care needs are not permitted to
participate in Georgia Families. Individuals with disabilities may access medical assistance through the
Aged, Blind, and Disabled Medicaid (ABD) program through Georgia’s Division of Family and Children
Services.

Under Georgia’s Medicaid eligibility guidelines, Georgians are required to meet specific criteria to enroll
in Medicaid. To establish eligibility, Georgians must demonstrate that they are legally present in the United
States. xxix They must also meet strict household income and asset requirements. For example:

Aged, blind and disabled individuals xxx
• Is an aged, blind or disabled individual who receives Supplemental Security Income (SSI) recipient
   with assets not exceeding $2,000 as an individual and $3,000 as a couple, or
• Is an aged, blind or disabled individual who lives in a nursing home resident with an income not
   exceeding $27,756 per year and assets not exceeding $2,000 as an individual and $3,000 as a couple,
   or
• Is an aged, blind or disabled individual who needs regular nursing care and personal services but can
   stay at home with special community care services – with an income not exceeding $27,756 per year
   and assets not exceeding $2,000 as an individual and $3,000 as a couple, or

Terminally ill xxxi
• Is a terminally ill individual who is not expected to live more than six months with an income not
   exceeding $27,756 per year and assets not exceeding $2,000 as an individual and $3,000 as a couple,
   or

Aged individuals xxxii
• Is an aged, blind or disabled individual who has Medicare Part A (hospital) insurance with income less
   than 100 percent of the federal poverty level and limited resources. Note: Medicaid will pay the
   Medicare premiums (A&B), coinsurance and deductibles only, or

Parent with minor children xxxiii
• Is the parent of a minor child whose family income is at or below 35 percent of the federal poverty
    level, or xxxiv



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•   Is pregnant or have an infant with family income at or below 220 percent of the federal poverty level,
    or

Children under 19 xxxv
• Is a child under age one (1) whose family income is at or below 205 percent of the federal poverty level,
    or
• Is a child age one (1) to fine (5) whose family income is at or below 149 percent of the federal poverty
    level, or
• Is a child under age six (6) to 19 whose family income is at or below 133 percent of the federal poverty
    level, or

Blind and Disabled individuals xxxvi
• Is blind or disabled with family income at or below 133 percent of the federal poverty level, or
• Is a parent/caretaker of an individual who is blind or disabled with a household income at or below 133
    percent of the federal poverty level, or

Medically Needy: Exception to Georgia Resource Cap Requirements xxxvii
• Is aged, blind or disabled with family income that is over the income limit for Medicaid but may be
   eligible if he has high medical bills in relation to their income. xxxviii

If the Georgian is an adult without a dependent child, and does not meet any of the Medicaid Guidelines,
she may not participate in the program.

Conclusion
Based on the records reviewed, Mr. Willis’ family exceeds the resource requirements for participation in
the Georgia Families Medicaid program. xxxix However, his CP diagnosis coupled with high medical bills
qualifies him for eligibility in Georgia’s Aged, Blind and Disabled (ABD) Medically Needy Program. xl

Rule(s)
42 USC § 1396d (42 CFR § 435.118). – Infants and children under age 19.
In the Social Security Act a single State agency designated or established by a State to provide medical
assistance to children under the age of 19 whose household income is at or below the income 133
percent FPL for the applicable family size.
20 CFR § 416.906 - Basic definition of disability for children.
A child under age 18 who is not engaged in substantial gainful activity is considered disabled if she has a
medically determinable physical or mental impairment or combination of impairments that causes marked
and severe functional limitations, and that can be expected to cause death or that has lasted or can be
expected to last for a continuous period of not less than 12 months.


Katie Beckett Medicaid Waiver Programxli

Background
Established in 1982 under the Tax Equity and Fiscal Responsibility Act/TEFRA (P.L. 97-248), the
Katie Beckett Medicaid Program (KB), or TEFRA Medicaid Waiver, is an eligibility pathway for
the Medicaid Program. Under the waiver, Georgia is permitted to make “Medicaid benefits
available to children age 18 or younger (living at home) who qualify as disabled individuals under
§1614(a) of the Social Security Act as long as certain conditions are met, even though these children
would not ordinarily be eligible for Supplemental Security Income (SSI) benefits because of
parental income or resources.”




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To establish eligibility under TEFRA, the following criteria must be met: xlii

    •   The applicant must be 18 years old or younger,
    •   The applicant must be chronically impaired to the extent of being a suitable candidate for
        institutionalized care (nursing facility, hospital or intermediate care facility for the
        intellectually disabled),
    •   The applicant must be financially ineligible for SSI in a private living arrangement (LA-A,
        B or C) due to his/her own income and/or resources or income/resources deemed from
        his/her parent(s),
    •   The applicant must require the level of care provided in a hospital, skilled nursing facility
        or intermediate-care facility (including an intermediate-care facility for people with
        intellectual disabilities),
    •   The applicant must meet the Level of Care (LOC) basic eligibility criteria – can be cared
        for at home, and
    •   The applicant must meet all other basic and financial eligibility criteria?

Mr. Willis is not eligible for Georgia Families because his household income exceeds the resource
limits. However, he is eligible for Medicaid under the Katie Beckett Medicaid Program.
Specifically:

    •   Mr. Willis is under 18 years old;
    •   Mr. Willis is disabled;
    •   Mr. Willis received an SSI denial letter describing him as financially ineligible to receive SSI
        benefits;
    •   Mr. Willis requires a level of care provided in a hospital, skilled nursing facility, or intermediate
        care facility;
    •   Mr. Willis can be cared for at home; and
    •   Mr. Willis care costs are not higher than if he were institutionalized.

Conclusion
Mr. Willis meets the criteria for participation in the Katie Beckett Medicaid Waiver Program.

Rule(s)
20 CFR § 416.906. Basic definition of disability for children.

42 CFR § 435.225. Individuals under age 19 who would be eligible for Medicaid if they were in a
medical institution.


Individuals with Disabilities Education Act (IDEA)

Background
Individuals with Disabilities Educations Act (IDEA) legislation was enacted in 1975. xliii The goal of IDEA
is ensuring that children with disabilities are provided with a free and appropriate public education (FAPE).
Georgia state rules expand on this to say that FAPE is designed to meet the unique needs of children with
special needs and prepare them for “further education, employment, and independent living.” xliv
IDEA regulations provide a definition of a child with a disability. xlv The definition includes a list of related
services that are designed to assist a child who would benefit from special education. Mr. Willis’ diagnosis
of cerebral palsy is an orthopedic impairment, xlvi classifying him as a child with a disability. xlvii Some of



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the services that are available to a child with a disability who is enrolled as a special education student
include: xlviii

    •   Transportation services;
    •   Speech-language pathology and audiology services;
    •   Physical and occupational therapy;
    •   Orientation and mobility services;
    •   Medical services for diagnostic or evaluation purposes;
    •   School health services; and
    •   School nurse services.
Conclusion
Mr. Willis’ diagnosis of cerebral palsy and the records provided indicate that he is eligible to receive
services under IDEA.

Rule(s)
34 CFR § 300. Assistance to states for the education of children with disabilities.

34 CFR § 300.8 Child with a disability.

Ga. Comp. R. & Regs. R. 160-4-7. Special Education.
The Georgia code cites to the federal code and gives the same purpose as the federal regulations.


Individualized Education Program

Background
Individualized Education Program (IEPs) is derived from IDEA. It serves as the framework for ensuring
that disabled children receive “free appropriate public education” and are educated with their peers in the
least restrictive environment. One goal of the program is to set reasonable objectives for the child. The
other is to describe the “related services” that the school district should provide for the child.xlix IEPs
include a variety of services intended to aid in a student’s education including supplementary aids, school
nurse services, and communications devices for special education students.l Mr. Willis’ diagnosis of
cerebral palsy li is an orthopedic impairment lii identifying him as a child with a disability. liii Based on his
disability, Mr. Willis would could access the services connected with the IEP.

Conclusion
Mr. Willis can participate in the IEP due to his diagnosis of cerebral palsy.

Rule(s)
34 CFR § 300, Subpart D. Evaluations, Eligibility Determinations, Individualized Education
Programs, and Educational Placements.

34 CFR § 300.8 Child with a disability.

Ga. Comp. R. & Regs. R. 160-4-7-.06. Individualized Education Program. (IEP)
The Georgia regulations detail what is required in an IEP and mirror the federal regulations.


Georgia’s Children 1st Program



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Background
The Children 1st program is available to minors under the age five at no cost. liv It identifies early childhood
medical conditions and enrolls children in early intervention programs. lv Georgia’s Children 1st program
is funded under a Title V grant for maternal and child health. lvi The program is the entry point to all state
public health programs lvii including Children’s Medical Services and Babies Can’t Wait.
Conclusion
Mr. Willis is eligible to participate in the Children 1st program.

Rule(s)
42 CFR § 51a. Project Grants for Maternal and Child Health.
The regulation in this part applies to grants, contracts, and other arrangements under section 502(a) and
502(b)(1)(A) of the Social Security Act, as amended (42 U.S.C. 702(a) and 702(b)(1)(A)), the Maternal
and Child Health (MCH) Federal Set-Aside project grant programs. Section 502(a) authorizes funding for
special projects of regional and national significance (SPRANS), research and training projects with respect
to maternal and child health and children with special health care needs (including early intervention
training and services development); genetic disease testing, counseling and information programs;
comprehensive hemophilia diagnostic and treatment centers; projects for screening and follow-up of
newborns for sickle cell anemia and other genetic disorders; and special maternal and child health
improvement projects. Section 502(b)(1)(A) authorizes funding for projects termed community integrated
service system (CISS) projects for the development and expansion of: maternal and infant health home
visiting; projects to increase the participation of obstetricians and pediatricians in title V and title XIX
programs; integrated maternal and child health service systems; maternal and child health centers operating
under the direction of not-for-profit hospitals; rural maternal and child health programs; and outpatient and
community-based services programs for children with special health care needs.




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Part 5 - Civilian Health and Medical Program of the Department of Veteran's
                          Affairs (VA) (CHAMPVA)
Background
CHAMPVA is a health care benefits program in which the Department of Veterans Affairs (VA) shares the
cost of certain health care services and supplies with the Primary Family Caregiver, who is not entitled to
care or services under a health plan contract, including a health insurance plan, TRICARE, Medicare or
Medicaid. CHAMPVA provides veteran health insurance for spouses and dependents of military personnel
who meet specific eligibility requirements. The benefits are available to the disabled veteran’s spouse and
children during her life and when she dies. Moreover, CHAMPVA satisfies ACA requirement as minimum
essential coverage. Mr. Willis satisfies his obligation to maintain minimum essential coverage by
participating in his mother’s CHMPVA plan. lix lx

Conclusion
Based on Ms. Willis’ status as a 100 percent permanently disabled veteran and current participation in
CHAMPVA, Mr. Willis complies with his obligation to maintain minimum essential coverage.

Rule(s)
38 CFR § 17.271(a)(1). Eligibility.
The CHAMPVA provision provides the basis on which a spouse or child of a veteran who is permanently
disabled may take-up CHAMPVA benefits.




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                  Part 6 - Commercial Healthcare Coverage Options
Background
Mr. Willis may purchase a qualified health plan (QHP) in the Georgia Health Insurance Exchange. lxi A
QHP is an insurance plan certified by the Health Insurance Marketplace. QHPs offer minimum essential
health benefits, follow established limits on cost-sharing, (like deductibles, copayments, and out-of-pocket
maximum amounts), and other requirements. lxii

TD& P reviewed several plans operating in the Georgia Exchange and identified a plan for Mr. Willis,
given his diagnosis and the list of services included in the Berens Report. For Purposes of our analysis, we
selected the Blue Cross Blue Shield (BCBS) Gold Pathway X HMO 1300. The BCBS plan is one of
several QHPs operating in the Georgia Marketplace and reflects a typical plan in the state. Like other
plans, lxiii it adheres to state benchmark requirements and can address several of Mr. Willis’ medical needs
as identified in the Berens’ Report.

Conclusion
As of May 9, 2019, the monthly premium for this plan is $630.38 and the annual Out-of- Pocket (OOP)
maximum is $7900. (Note: Gold Pathway is an Open Access HMO and does not require a primary care
referral to see specialists. lxiv)




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                                     Part 7 - Reasonable Value
Background
Reasonable value reflects the fair market value (FMV) of goods and services in the marketplace. In the
healthcare context, three principles should be followed when calculating reasonable value:

    •   Principle I: The calculation should be independent of any one individual’s experience of price,
        mode of healthcare payment, and medical condition or diagnosis.
    •   Principle II: The calculation should use objective and independently verifiable pricing and cost data
        derived from the actual payments made by market defined payors: i.e., public insurers, commercial
        insurers, self-insured.
    •   Principle III: The calculation should use population data regarding the take up market defined
        modes of health care financing.

Calculation of reasonable value involves the consideration of Current Procedural Terminology (CPT)
codes lxv and Healthcare Common Procedure Coding System (HCPCS) codes lxvi to value self-insured,
public, lxvii and private payor reimbursement rates. Then, it is coupled with the weighted average lxviii of
market participants lxix in each group lxx to provide a representative sample of the reasonable value of medical
goods and services in the market. The calculation reflects what is considered the fair and reasonable amount
the provider expects to receive. lxxi The federal government lxxii and university purchasing departments apply
similar methodologies when determining price reasonableness. lxxiii

The billed amount, the allowed amount, the charge amount, and the usual and customary amount do not
reflect the reasonable value of goods or services in the market. More importantly, they do not reflect the
amount healthcare providers expect to be paid. None of these amounts are determined based on the
experience of all payors in the market. In Gaddy v Terex Corp, lxxiv the Georgia District Court ruled that the
reasonable value should be based on the average rates paid in the market by all payors. lxxv In United States
v. Berkeley Heartlab, Inc. lxxvi, the court pointed out that “physicians set their charges higher than the actual
payment they expect to receive...” lxxvii The Court found that the evidence in this case suggested that
physicians set their rates 200% to 500% higher due to annual changes in the Medicare Physician Fee
Schedule (MPFS) rates lxxviii (with the knowledge that Medicare is not allowed to pay above the MPFS lxxix).
The federal court rejected the argument that a physician’s charged rate reflects the actual value of his
services, and any analysis relying solely on his medical bills is not the reasonable value of his services.
Reasonable value is the average amount providers expect to be paid for goods and services in the market.
The charged, billed, and usual and customary amounts do not reflect the expected payment.

Conclusion
The costs reported in the Berens report do not reflect the reasonable value of goods and services required
to care for Mr. Willis because the report fails to base the reasonable value of services on the average rate
paid in the market by all payors.




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                                  Part 8 - Pricing Methodology
TD&P employs a comparative pricing methodology to calculate the reasonable value of Mr. Willis’ medical
expenses. TD&P relies on its special knowledge of the services rendered to Mr. Willis and accepts the
amounts presented in the Berens Report (and Riddick Report) as usual and customary to apply the method.
Comparative pricing is a reliable tool for determining value. It is difficult to value items in the market
without using it. Generally, providers are not open about the price they expect to be paid for their services,
and payers do not readily reveal how much they have paid.

Healthcare analysts and others are tasked with using the comparative pricing method as a means for
modeling and pricing goods in the marketplace. A comparative pricing analysis permits market participants
to measure the financial relationship between two or more prices (i.e., “fair and reasonable” price or
“reasonable value”) for items in the market over a period. TD&P applies comparative pricing analysis, like
state,xxx federal,xxxi and private market participants,xxxii to measure the relationship between prices and
determine price reasonableness.




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                                                                Conclusion
The ACA changed the legal framework for the delivery of healthcare. Under its authority, Mr. Willis is
required to maintain a health benefit plan that provides minimum essential coverage. After examining the
Georgia Exchange, the Berens Report, and considering the ACA along with several federal and state law
requirements, I have identified four ways in which Mr. Willis may comply with the law and address his
healthcare needs:

      1. Maintains coverage under CHAMPVA;
      2. Maintains coverage under CHAMPVA and takes up a Qualified Health Plan; or
      3. Maintains coverage under CHAMPVA and takes up the Georgia Medicaid Medically Needy
         Program (Medicaid Pathway 1); or
      4. Maintains coverage under CHAMPVA and takes up the Katie Beckett Medicaid Waiver Program
         (Medicaid Pathway 2); or
      5. Maintains coverage under CHAMPVA and takes up the Georgia Medicaid Medically Needy
         Program and the Katie Beckett Medicaid Waiver (Medicaid Pathway 3); or
      6. Maintains coverage under CHAMPVA, and takes up a Qualified Health Plan, and Georgia
         Medicaid (Medicaid Pathway 1, 2, or 3).

Each pathway for obtaining health benefits would extend minimum essential coverage to Mr. Willis and
deliver cost-effective coverage based on the goods and services identified in the Berens and Riddick
Reports.




i
  Compl. ¶¶ 29-30.
ii
   He was delivered full term with a weight of 3kg.
iii
    Compl. ¶¶ 29-30. For further diagnoses see Pl. Berens life care plan.
iv
    Willis dep. 48:13-14, Feb. 22, 2018.
v
   45 CFR §152.2.
vi
    See 45 CFR § 147.104 for guaranteed availability of coverage. 26 CFR § 1 5000A-1 mandate for an individual to maintain minimum essential coverage.
vii
     See records indicating that Ms. Willis and her beneficiaries are CHAMPVA participants.
viii
     38 CFR § 17.271(a)(1).
ix
    P.L. 111-173, signed into law on May 27, 2010, clarifies that CHAMPVA meets the minimum essential coverage requirement.
x
   An Act to provide for reconciliation pursuant to titles II and V of the concurrent resolution on the budget for fiscal year 2018, Pub. L. No. 89-670, §11081
(2017).
xi
    While the duty to maintain healthcare coverage was preserved, the penalty for not having coverage was removed from the tax code.




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xii
     See Bipartisan Health Care Stabilization Act of 2017. This legislation can be found at
https://www.help.senate.gov/imo/media/doc/THE%20BIPARTISAN%20HEALTH%20CARE%20STABILIZATION%20ACT%20OF%202017-
%20TEXT.pdf
xiii
      Ga. Comp. R. & Regs. R. 120-2-67.05(b).
xiv
      sGa. Comp. R. & Regs. R. 120-2-67.05.
xv
     20 CFR §416 906 (Basic definition of disability for children).
xvi
      20 CFR §404 Appendix 1 to Subpart P.
xvii
       Id.
xviii
        Id. See What is cerebral palsy, and how do we evaluate it under 111.07?
xix
      An application was previously sent to the Social Security Administration but was denied due to his family income.
xx
     Ga. Code Ann. § 37-1-1(9).
xxi
      Ga. Code Ann. § 37-1-1(8).
xxii
       See Current Population Survey, Health Insurance Definitions. The survey is jointly sponsored by the US Census Bureau and the Bureau of Labor Statistics.
The survey contains a definition of Medicaid.
xxiii
        42 U.S.C. § 1396 et seq, 42 C.F.R. §§ 430-456. See also Social Security Administration, Social Security Programs in the United States,
https://www.ssa.gov/policy/docs/progdesc/sspus/medicaid.pdf (Last visited May 4, 2018).
xxiv
       The federal government pays states for a specified percentage of program expenditures, called the Federal Medical Assistance Percentage (FMAP). In the
state of Georgia, the FMAP rate is 68 5%.
xxv
      Medicaid.gov, Eligibility, https://www.medicaid.gov/medicaid/eligibility/index.html (Last visited May 4, 2018).
xxvi
       Kaiser Family Foundation, Medicaid and the Uninsured, https://kaiserfamilyfoundation.files.wordpress.com/2013/01/8349.pdf (Last visited May 4, 2018).
xxvii
        Georgia Department of Community Health, Medicaid, https://dch.georgia.gov/medicaid, (Last visited May 9, 2018).
xxviii
         Center on Budget and Policy Priorities, Policy Basics Introduction to Medicaid (Aug. 16, 2016), https://www.cbpp.org/research/health/policy-basics-
introduction-to-medicaid.
xxix
       Georgia Department of Community Health, Medicaid FAQs, https://dch.georgia.gov/medicaid-faqs#additionalmedicaid-, (Last visited May 10, 2018).
xxx
      See Georgia Medicaid Manual, file:///C:/Users/td/Downloads/MAN3480.pdf (Last visited May 7, 2019)
xxxi
        Id.
xxxii
         Id.
xxxiii
          Id.
xxxiv
         42 CFR §435, Subpart E. See also 42 CFR §435.118 for income requirements for children under age 19.
xxxv
        42 CFR §435, Subpart E. See also 42 CFR §435.118 for income requirements for children under age 19.
xxxvi
         See Georgia Medicaid Manual.
xxxvii
          Id.
xxxviii
           The Medically Needy program allows a person to use incurred/unpaid medical bills to “spend down” the difference between their income and the income
limit to become eligible.
xxxix
         Reference based on documents provided by plaintiff.
xl
     Reference CP Medical Needy categorical eligibility for Program in Georgia Regs
xli
     See Georgia Medicaid Manual, Section 2133- TEFRA/Katie Beckett, file:///C:/Users/td/Downloads/MAN3480.pdf (Last visited May 7, 2019)
xlii
      Id.
xliii
       20 U.S.C. § 1400 et seq.
xliv
       Ga. Comp. R. & Regs. R. 160-4-7-.01.
xlv
      34 CFR § 300.8. Some of disabilities described in the rule include children with an intellectual disability, a hearing impairment, a speech and language
impairment, a visual impairment, autism, traumatic brain injury and other health impairment.; Id.
xlvi
       There are a number of examples of what are considered orthopedic impairments in the regulations including cerebral palsy.
xlvii
        34 CFR §300.8(c)(8).
xlviii
         34 CFR § 300.34.
xlix
       34 C.F.R. §320. See also Center for Parent Information and Resources, The Short and Sweet IEP Overview, http://www.parentcenterhub.org/iep-overview/
(Last visited Mar. 27, 2018).
l
   Id.
li
    Ga. Code Ann. § 37-1-1(8)
lii
     Id. There are a number of examples of what are considered orthopedic impairments in the regulations including cerebral palsy.
liii
      34 CFR §300.8(c)(8).
liv
     Georgia Dep’t of Public Health, Services for Children 1st, https://dph.georgia.gov/serviceschildren1st (Last visited May 8, 2018).
lv
     Georgia Dep’t of Public Health, Children 1st, https://dph.georgia.gov/children1st (Last visited May 8, 2018).
lvi
     Georgia Dep’t of Public Health, Maternal and Child Health Services Title V Block Grant, https://dph.georgia.gov/TitleV (Last visited May 16, 2018).
lvii
      Georgia Dep’t of Public Health, Children 1st, https://dph.georgia.gov/children1st (Last visited May 8, 2018).
lviii
       An application has been submitted on behalf of Mr. Willis to BCW. Willis depo. 85:6-9.
lix
     See records indicating that Ms. Willis and her beneficiaries are CHAMPVA participants.
lx
     38 CFR § 17 271(a)(1).
lxi
     A QHP can also be purchased on Mr. Willis’ behalf by other individuals.
lxii
      Healthcare.gov, Minimum Essential Coverage (MEC) https://www.healthcare.gov/glossary/minimum-essential-coverage/ (last visited Feb. 20, 2018).
lxiii
       There are no PPO options on the Georgia exchange.
lxiv
       See Summary of Benefits and Coverage. BCBSHP Gold Pathway X HMO 1300 (p. 1).
lxv
      Find-A-Code Comprehensive Search, available at, https://www.findacode.com/search/search.php
lxvi
       Id.
lxvii
        Ill. Admin. Code § 68(b)(1350.25); See also, Illinois Department of Healthcare and Family Services, available at,
https://www.illinois.gov/hfs/SiteCollectionDocuments/7117PractitionerFeeSchedule.pdf
lxviii
         A weighted average is a more accurate average of prices that are relative importance to each other this is often the case in pricing analysis. To calculate the
weighted, identify the numbers that are weighted. Identify the weights of each number. Covert the percentages to decimals. Multiply each number by its
weight. Add the weighted scores together. Note that the total should be 100 if you are using percentages.

                                                         Price                               Weight                     Weighted Average Amount
                                                         $90.00                               25%                                 22.5
                                                         $75.00                               50%                                 37.5
                                                         $87.00                               25%                                21.75
                                                                                                                 TD&P Consulting, Inc. | May 7, 2019 | 18
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                         Total                                                               100%                                  81.75
lxix
      Health Insurance Coverage of the Total Population , 2016, available at, https://www.kff.org/other/state-indicator/total-
population/?currentTimeframe=0&sortModel=%7B%22colId%22:%22Location%22,%22sort%22:%22asc%22%7D
lxx
     Id.
lxxi
      Where public insurance pricing information is not generally available, reasonable value is calculated using the FMV of the relevant medical items and services.
There are several items for which a state Medicaid fee schedule or Centers for Medicare & Medicaid Services (CMS) Medicare fee schedule do not provide
sufficient information to determine an item’s value. In this instance, the sources used to determine FMV include the Veterans Health Administration and U.S.
Bureau of Labor statistics. When reasonable value cannot be calculated, the unit prices from a life care plan are used. When the life care plan fails to include
information regarding frequency, quantity, or duration, TD&P Consulting does not independently determine a cost for that item. For example, for items that a
life care plan indicates a frequency of “as needed,” the charts reflect that the cost is “subject to speculation” because the requisite information is not available to
determine the item’s annual and/or one-time cost.
lxxii
       See 42 U.S.C. § 1395nn(h)(3) (The term “fair market value” means the value in arm’s length transactions, consistent with the general market value . . .); see
also 42 C.F.R. 411.351 (Fair Market Value means . . . the compensation that would be included in a service agreement as the result of bona fide bargaining
between well-informed parties to the agreement who are not otherwise in a position to generate business for the other party, on the date of acquisition of the asset
or at the time of the service agreement. Usually, the fair market price is the price at which bona fide sales have been consummated for assets of like type, quality,
and quantity in a particular market at the time of acquisition).
lxxiii
        See, Stanford University, Administrative Guide, Purchasing and Payments, available at, https://adminguide.stanford.edu/chapter-5. See also, Loyola Univ.
of Chicago, Purchasing Dept., Methods to Determine Price Reasonableness, available at, http://www.luc.edu/purchasing/ price reasonableness.shtml (“what
follows is a listing of the most common methods or criteria used to determine a price fair and reasonable by price analysis . . . b. Comparable to price sold to fed.
Gov’t.: . . .these are presumed to be fair and reasonable . . .c. CATALOG OR ESTABLISHED PRICE LIST: . . . the seller has published or established price list
or catalog, available to the general public, which sets for the price of a commercial item, this fact can be used to find the price fair and reasonable. The catalog
should be current . . .d. MARKET PRICES: Where an item has an established market price, verification of an equal or low price also establishes the price to be
fair and reasonable.”). See also, FAR 15.404-1(c)(1), FAR 15.404-1(b)(2), FAR 31.201-3, DAR 215.4.
lxxiv
        Gaddy v. Terex Corp., 2017 WL 3473872 (N.D.GA July 21, 2017).
lxxv
       Id. at 3.
lxxvi
        United States v. Berkeley Heartlab, Inc., U.S. Dist. LEXIS 107481 (D.S.C. July 11, 2017).
lxxvii
         Id.
lxxviii
          Id. at 14.
lxxix
        Id.




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                                                                                                                  C.W.
                                                                                                             Appendix A.1
                                                                                        Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                              Plaintiff LCP
                                                                                          Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                            Project Evaluations - Non Physician
                                                           The Berens Report                                                                                                                         TD&P Consulting, Inc.

                                                                                                                                                             GA
                                                                                                                                                                           CMS Medicare      Estimated Carrier
                                                                                                                                                         Medicaid Fee                                                                   CPT / HCPCS Code
    Recommended Needs for             Duration     Frequency       Unit Cost         Min.          Max.         Min. One Time        Max. One                              Fee Schedule       Reimbursement        Annual
                                                                                                                                                          Schedule                                                                             and
        Christian Willis                                          (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                 Rate                Rate        Reasonable Value
                                                                                                                                                            Rate                                                                           Description
                                                                                                                                                                             (per unit)          (per unit)
                                                                                                                                                          (per unit)

                                                                                                                 Private / Outpatient to 2037




   Augmentative and Alternative
                                                                     $1,200 -                                                                          GA Medicaid has
        Communication(ACC)/                                                                                                                                                                                                                   97799 -
                                                                      $3,600                                                                            not established                        $1,200 - $3,600
 Assistive Technology Evaluation by                                                                                                                                       Medicare has not                                               Unlisted physical
                                                   Every 1 to 3    for 3 hours                                                                            fees for this                          for 3 hours
 Qualified Occupational and Speech    Age 5 - 21                                     $400         $3,600               N/A                N/A                            established fees for                        $2,000       medicine/rehabilitation service or
                                                     years        Evaluation by                                                                         medical code;                         Evaluation by both
   Therapist to develop Adaptive                                                                                                                                          this medical code                                                  procedure
                                                                  both OT and                                                                           subject to prior                        OT and SLP
communication program using switch
                                                                       SLP                                                                               authorization
    access and/or other devices




                                                                                                                    School- based to 2037




   Augmentative and Alternative
        Communication(ACC)/                                                                                                                                                                                                                   97799 -
 Assistive Technology Evaluation by                                    $0                                                                                                                                                                Unlisted physical
                                                   Every 1 to 3
 Qualified Occupational and Speech    Age 5 - 21                   provided by        $0             $0                N/A                N/A                  $0                $0                  $0                $0         medicine/rehabilitation service or
                                                     years
   Therapist to develop Adaptive                                  public school                                                                                                                                                              procedure
communication program using switch
    access and/or other devices




                                                                                                                                                                                                                         TD&P Consulting, Inc. | May 7, 2019 | 12
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                                                                                                                         C.W.
                                                                                                                    Appendix A.1
                                                                                               Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                     Plaintiff LCP
                                                                                                 Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                                               Project Therapy
                                                                 The Berens Report                                                                                                                  TD&P Consulting, Inc.

                                                                                                                                                                    GA
                                                                                                                                                                               CMS Medicare   Estimated Carrier
                                                                                                                                                                Medicaid Fee                                                                CPT / HCPCS Code
     Recommended Needs for                 Duration      Frequency        Unit Cost         Min.          Max.         Min. One Time        Max. One                           Fee Schedule    Reimbursement        Annual
                                                                                                                                                                 Schedule                                                                          and
         Christian Willis                                                (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                              Rate             Rate        Reasonable Value
                                                                                                                                                                   Rate                                                                        Description
                                                                                                                                                                                 (per unit)       (per unit)
                                                                                                                                                                 (per unit)




  Physical Therapy and Occupational
                                                                              $0                                                                                                                                                                  T1018-
                Therapy
                                          Age 22 - LE    As needed       include with        $0             $0                N/A                N/A                  $0            $0               $0               $0           School-based individualized education
include music therapy, equal therapy or
                                                                          home care                                                                                                                                                   program (iep) services, bundled
      therapeutic horseback riding




            Speech Therapy                                                    $0                                                                                                                                                                  T1018-
                                                        Continue AAC
 for feeding program, swallowing, oral    Age 22 - LE                    include with        $0             $0                N/A                N/A                  $0            $0               $0               $0           School-based individualized education
                                                          program
           motor coordination                                             home care                                                                                                                                                   program (iep) services, bundled




                Initial
     Psychology/Counseling for
                                                                                                                                                                                                                                                 90838 -
parents/family for copying strategies,
                                                         1 time only     $100 - $200        $100          $200                N/A                N/A                $78.87       $113.34          $131.47           $123.17        Psychotherapy, 60 minutes with patient
problem solving, stress management,
                                                                                                                                                                                                                                   when performed with an evaluation and
 adjustment to Christina's permanent
                                                                                                                                                                                                                                           management service
              disability




                                            Age 2




              Follow up
     Psychology/Counseling for
                                                                                                                                                                                                                                                 90837 -
parents/family for copying strategies,                                    $60 - $200
                                                        8 - 10 session                      $480         $2,000               N/A                N/A               $111.16       $131.02          $151.98          $1,265.14       Psychotherapy, 60 minutes with patient
problem solving, stress management,                                        per visit
 adjustment to Christina's permanent
              disability




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                                                                                                                Appendix A.1
                                                                                           Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                 Plaintiff LCP
                                                                                             Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                                           Project Therapy
                                                             The Berens Report                                                                                                                  TD&P Consulting, Inc.

                                                                                                                                                                GA
                                                                                                                                                                           CMS Medicare   Estimated Carrier
                                                                                                                                                            Medicaid Fee                                                                CPT / HCPCS Code
     Recommended Needs for               Duration    Frequency        Unit Cost         Min.          Max.         Min. One Time        Max. One                           Fee Schedule    Reimbursement        Annual
                                                                                                                                                             Schedule                                                                          and
         Christian Willis                                            (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                              Rate             Rate        Reasonable Value
                                                                                                                                                               Rate                                                                        Description
                                                                                                                                                                             (per unit)       (per unit)
                                                                                                                                                             (per unit)




                Initial
     Psychology/Counseling for
                                                                                                                                                                                                                                             90838 -
parents/family for copying strategies,
                                                     1 time only     $100 - $200        $100          $200                N/A                N/A                $78.90       $113.34          $131.47           $123.17        Psychotherapy, 60 minutes with patient
problem solving, stress management,
                                                                                                                                                                                                                               when performed with an evaluation and
 adjustment to Christina's permanent
                                                                                                                                                                                                                                       management service
              disability




                                          Age 5




              Follow Up
     Psychology/Counseling for
                                                                                                                                                                                                                                             90837 -
parents/family for copying strategies,                                $60 - $200
                                                    8 - 10 session                      $480         $2,000               N/A                N/A               $111.16       $131.02          $151.98          $1,265.14       Psychotherapy, 60 minutes with patient
problem solving, stress management,                                    per visit
 adjustment to Christina's permanent
               disability




                Initial
     Psychology/Counseling for
                                                                                                                                                                                                                                             90838 -
parents/family for copying strategies,
                                                     1 time only     $100 - $200        $100          $200                N/A                N/A                $78.90       $113.34          $131.47           $123.17        Psychotherapy, 60 minutes with patient
problem solving, stress management,
                                                                                                                                                                                                                               when performed with an evaluation and
 adjustment to Christina's permanent
                                                                                                                                                                                                                                       management service
              disability




                                          Age 9




              Follow Up
     Psychology/Counseling for
                                                                                                                                                                                                                                             90837 -
parents/family for copying strategies,                                $60 - $200
                                                    8 - 10 session                      $480         $2,000               N/A                N/A               $111.16       $131.02          $151.98          $1,265.14       Psychotherapy, 60 minutes with patient
problem solving, stress management,                                    per visit
 adjustment to Christina's permanent
               disability




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                                                                                                                     C.W.
                                                                                                                Appendix A.1
                                                                                           Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                 Plaintiff LCP
                                                                                             Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                                           Project Therapy
                                                             The Berens Report                                                                                                                  TD&P Consulting, Inc.

                                                                                                                                                                GA
                                                                                                                                                                           CMS Medicare   Estimated Carrier
                                                                                                                                                            Medicaid Fee                                                                CPT / HCPCS Code
     Recommended Needs for               Duration    Frequency        Unit Cost         Min.          Max.         Min. One Time        Max. One                           Fee Schedule    Reimbursement        Annual
                                                                                                                                                             Schedule                                                                          and
         Christian Willis                                            (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                              Rate             Rate        Reasonable Value
                                                                                                                                                               Rate                                                                        Description
                                                                                                                                                                             (per unit)       (per unit)
                                                                                                                                                             (per unit)




                Initial
     Psychology/Counseling for
                                                                                                                                                                                                                                             90838 -
parents/family for copying strategies,
                                                     1 time only     $100 - $200        $100          $200                N/A                N/A                $78.90       $113.34          $131.47           $123.17        Psychotherapy, 60 minutes with patient
problem solving, stress management,
                                                                                                                                                                                                                               when performed with an evaluation and
 adjustment to Christina's permanent
                                                                                                                                                                                                                                       management service
              disability



                                         Age 12



              Follow up
     Psychology/Counseling for
                                                                                                                                                                                                                                             90837 -
parents/family for copying strategies,                                $60 - $200
                                                    8 - 10 session                      $480         $2,000               N/A                N/A               $111.16       $131.02          $151.98          $1,265.14       Psychotherapy, 60 minutes with patient
problem solving, stress management,                                    per visit
 adjustment to Christina's permanent
              disability




                Initial
     Psychology/Counseling for
                                                                                                                                                                                                                                             90838 -
parents/family for copying strategies,
                                                     1 time only     $100 - $200        $100          $200                N/A                N/A                $78.90       $113.34          $131.47           $123.17        Psychotherapy, 60 minutes with patient
problem solving, stress management,
                                                                                                                                                                                                                               when performed with an evaluation and
 adjustment to Christina's permanent
                                                                                                                                                                                                                                       management service
              disability



                                         Age 15



              Follow up
     Psychology/Counseling for
                                                                                                                                                                                                                                             90837 -
parents/family for copying strategies,                                $60 - $200
                                                    8 - 10 session                      $480         $2,000               N/A                N/A               $111.16       $131.02          $151.98          $1,265.14       Psychotherapy, 60 minutes with patient
problem solving, stress management,                                    per visit
 adjustment to Christina's permanent
              disability




                                                                                                                                                                                                                    TD&P Consulting, Inc. | May 7, 2019 | 15
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                                                                                                                        C.W.
                                                                                                                   Appendix A.1
                                                                                              Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                    Plaintiff LCP
                                                                                                Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                                              Project Therapy
                                                                The Berens Report                                                                                                                           TD&P Consulting, Inc.

                                                                                                                                                                   GA
                                                                                                                                                                                 CMS Medicare         Estimated Carrier
                                                                                                                                                               Medicaid Fee                                                                         CPT / HCPCS Code
     Recommended Needs for                Duration      Frequency        Unit Cost         Min.          Max.         Min. One Time        Max. One                              Fee Schedule          Reimbursement        Annual
                                                                                                                                                                Schedule                                                                                   and
         Christian Willis                                               (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                 Rate                   Rate        Reasonable Value
                                                                                                                                                                  Rate                                                                                 Description
                                                                                                                                                                                   (per unit)             (per unit)
                                                                                                                                                                (per unit)



                Initial
     Psychology/Counseling for
                                                                                                                                                                                                                                                         90838 -
parents/family for copying strategies,
                                                        1 time only     $100 - $200        $100          $200                N/A                N/A                $78.90            $113.34              $131.47           $123.17        Psychotherapy, 60 minutes with patient
problem solving, stress management,
                                                                                                                                                                                                                                           when performed with an evaluation and
 adjustment to Christina's permanent
                                                                                                                                                                                                                                                   management service
              disability

                                           Age 18

              Follow Up
     Psychology/Counseling for
                                                                                                                                                                                                                                                         90837 -
parents/family for copying strategies,                                   $60 - $200
                                                       8 - 10 session                      $480         $2,000               N/A                N/A               $111.16            $131.02              $151.98          $1,265.14       Psychotherapy, 60 minutes with patient
problem solving, stress management,                                       per visit
 adjustment to Christina's permanent
               disability



                Initial
     Psychology/Counseling for
                                                                                                                                                                                                                                                         90838 -
parents/family for copying strategies,
                                                        1 time only     $100 - $200        $100          $200                N/A                N/A                $78.90            $113.34              $131.47           $123.17        Psychotherapy, 60 minutes with patient
problem solving, stress management,
                                                                                                                                                                                                                                           when performed with an evaluation and
 adjustment to Christina's permanent
                                                                                                                                                                                                                                                   management service
              disability

                                           Age 21

              Follow up
     Psychology/Counseling for
                                                                                                                                                                                                                                                         90837 -
parents/family for copying strategies,                                   $60 - $200
                                                       8 - 10 session                      $480         $2,000               N/A                N/A               $111.16            $131.02              $151.98          $1,265.14       Psychotherapy, 60 minutes with patient
problem solving, stress management,                                       per visit
 adjustment to Christina's permanent
              disability



                                                                                                                                                                                                    $34.72 per hour for
Case Manager to coordinate care and                                                                                                                                                                    Nurse Case
                                                                                                                                                                                Medicare has not
 equipment, liaison among multiple                      4 hours per      $80 - $100                                                                            $24.36 per 15                         Manager/Social                                    T1016-
                                         Age 2 - LE                                       $3,840        $4,800               N/A                N/A                            established fees for                        $1,666.56
   providers and service venders,                          month          per hour                                                                               minutes                              Worker Labor                          Case management, each 15 minutes
                                                                                                                                                                                this medical code
       advocate for Christian                                                                                                                                                                         Statistic near
                                                                                                                                                                                                       Augusta, GA

                                                                                                                                                                                                                                                            T1999-
                                                                                                                                                             GA Medicaid has                                                                Miscellaneous therapeutic items and
                                                                                                                                                              not established                                                                  supplies, retail purchases, not
Gordian/ Financial Planner/Manager                                                                                                                                              Medicare has not
                                                        2 hours per     $100 - $125                                                                             fees for this                           $100 - $125                        otherwise classified; identify product in
 for money management, oversea           Age 18 - LE                                      $2,400        $3,000               N/A                N/A                            established fees for                        $2,700.00
                                                           month         per hour                                                                             medical code;                              per hour                                         "remarks"
     financial decision making                                                                                                                                                  this medical code
                                                                                                                                                              subject to prior
                                                                                                                                                               authorization                                                                             A9270-
                                                                                                                                                                                                                                                Non-covered item or service




                                                                                                                                                                                                                                TD&P Consulting, Inc. | May 7, 2019 | 16
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                                                                                                                    C.W.
                                                                                                               Appendix A.1
                                                                                          Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                Plaintiff LCP
                                                                                            Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                                          Project Therapy
                                                              The Berens Report                                                                                                                  TD&P Consulting, Inc.

                                                                                                                                                               GA
                                                                                                                                                                           CMS Medicare    Estimated Carrier
                                                                                                                                                           Medicaid Fee                                                                  CPT / HCPCS Code
     Recommended Needs for               Duration     Frequency      Unit Cost         Min.          Max.         Min. One Time        Max. One                            Fee Schedule     Reimbursement        Annual
                                                                                                                                                            Schedule                                                                            and
         Christian Willis                                           (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                               Rate              Rate        Reasonable Value
                                                                                                                                                              Rate                                                                          Description
                                                                                                                                                                             (per unit)        (per unit)
                                                                                                                                                            (per unit)

                                                                                                                   Private / Outpatient to 2037

                                                                                                                                                                                                                                               97110 -
                                                                                                                                                                                                                                  Therapeutic procedure, 1 or more
                                                                                                                                                                                                                                 areas, each 15 minutes; therapeutic
                                                      2 times per   $160 - $168                                                                            $20.07 per 15   $29.92 per 15
                                                                                      $15,360       $16,128              N/A                N/A                                                 $34.71         $12,501.17         exercises to develop strength and
                                                          week      PT(60 min)                                                                               minutes         minutes
                                                                                                                                                                                                                                   endurance, range of motion and
                                                                                                                                                                                                                                               flexibility
  Physical Therapy and Occupational
               Therapy
include Music Therapy, Equal Therapy    Age 2 - 12
    or Therapeutic Horseback riding

                                                                                                                                                                                                                                                97140-
                                                                                                                                                                                                                                    Manual therapy techniques (eg,
                                                      2 times per   $160 - $168                                                                            $22.98 per 15   $27.19 per 15
                                                                                      $15,360       $16,128              N/A                N/A                                                 $31.54         $11,842.42         mobilization/ manipulation, manual
                                                          week      OT(60 min)                                                                               minutes         minutes
                                                                                                                                                                                                                                lymphatic drainage, manual traction), 1
                                                                                                                                                                                                                                   or more regions, each 15 minutes




                                                                                                                                                                                                                                               97110 -
                                                                                                                                                                                                                                  Therapeutic procedure, 1 or more
                                                                                                                                                                                                                                 areas, each 15 minutes; therapeutic
                                                                    $160 - $168                                                                            $20.07 per 15   $29.92 per 15
                                                                                      $7,680        $8,064               N/A                N/A                                                 $34.71          $6,250.59         exercises to develop strength and
                                                                    PT(60 min)                                                                               minutes         minutes
                                                                                                                                                                                                                                   endurance, range of motion and
                                                                                                                                                                                                                                               flexibility
  Physical Therapy and Occupational
               Therapy
                                                      1 time per
include Music Therapy, Equal Therapy    Age 13 - 21
                                                         week
    or Therapeutic Horseback riding

                                                                                                                                                                                                                                                97140-
                                                                                                                                                                                                                                    Manual therapy techniques (eg,
                                                                    $160 - $168                                                                            $22.98 per 15   $27.19 per 15
                                                                                      $7,680        $8,064               N/A                N/A                                                 $31.54          $5,921.21         mobilization/ manipulation, manual
                                                                    OT(60 min)                                                                               minutes         minutes
                                                                                                                                                                                                                                lymphatic drainage, manual traction), 1
                                                                                                                                                                                                                                   or more regions, each 15 minutes




                                                                                                                                                                                                                                              92507 -
                                                                                                                                                                                                                                Treatment of speech, language, voice,
                                                      2 times per
                                        Age 2 - 12                                    $13,824       $15,360              N/A                N/A                $39.55         $76.89            $89.19          $8,372.51          communication, and/or auditory
                                                          week
                                                                                                                                                                                                                                   processing disorder; individual


           Speech Therapy
                                                                    $144 - $160
for feeding program, swallowing, oral
                                                                      (60 min)
          motor coordination

                                                                                                                                                                                                                                              92507 -
                                                                                                                                                                                                                                Treatment of speech, language, voice,
                                                      1 time per
                                        Age 13 - 21                                   $6,912        $7,680               N/A                N/A                $39.55         $76.89            $89.19          $4,186.25          communication, and/or auditory
                                                         week
                                                                                                                                                                                                                                   processing disorder; individual




                                                                                                                                                                                                                     TD&P Consulting, Inc. | May 7, 2019 | 17
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                                                                                                                    Appendix A.1
                                                                                               Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                     Plaintiff LCP
                                                                                                 Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                                               Project Therapy
                                                                 The Berens Report                                                                                                                  TD&P Consulting, Inc.

                                                                                                                                                                    GA
                                                                                                                                                                               CMS Medicare   Estimated Carrier
                                                                                                                                                                Medicaid Fee                                                               CPT / HCPCS Code
     Recommended Needs for                Duration      Frequency         Unit Cost         Min.          Max.         Min. One Time        Max. One                           Fee Schedule    Reimbursement        Annual
                                                                                                                                                                 Schedule                                                                         and
         Christian Willis                                                (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                              Rate             Rate        Reasonable Value
                                                                                                                                                                   Rate                                                                       Description
                                                                                                                                                                                 (per unit)       (per unit)
                                                                                                                                                                 (per unit)

                                                                                                                           School- based to 2037




  Physical Therapy and Occupational                      2 time per
                                                                              $0                                                                                                                                                                  T1018-
                Therapy                                week to age 12
                                          Age 2 - 21                      provide by         $0             $0                N/A                N/A                  $0            $0               $0               $0           School-based individualized education
include music therapy, equal therapy or                then 1 time per
                                                                            school                                                                                                                                                    program (iep) services, bundled
      therapeutic horseback riding                          week




                                                         2 time per
            Speech therapy                                                    $0                                                                                                                                                                  T1018-
                                                       week to age 12
 for feeding program, swallowing, oral    Age 2 - 21                      provide by         $0             $0                N/A                N/A                  $0            $0               $0               $0           School-based individualized education
                                                       then 1 time per
           motor coordination                                               school                                                                                                                                                    program (iep) services, bundled
                                                            week




                                                                              $0                                                                                                                                                                  T1018-
            Vision Specialis                           As determined
                                            Age 2                         provide by         $0             $0                N/A                N/A                  $0            $0               $0               $0           School-based individualized education
 t as part of school - based therapies                  by the BCW
                                                                         public school                                                                                                                                                program (iep) services, bundled




                                                                                                                                                                                                                        TD&P Consulting, Inc. | May 7, 2019 | 18
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                                                                                                                    Appendix A.1
                                                                                               Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                     Plaintiff LCP
                                                                                                 Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                             Diagnostic Testing / Educational Assessment
                                                                 The Berens Report                                                                                                                           TD&P Consulting, Inc.

                                                                                                                                                                    GA
                                                                                                                                                                                  CMS Medicare         Estimated Carrier
                                                                                                                                                                Medicaid Fee                                                                         CPT / HCPCS Code
     Recommended Needs for                Duration      Frequency         Unit Cost         Min.          Max.         Min. One Time        Max. One                              Fee Schedule          Reimbursement        Annual
                                                                                                                                                                 Schedule                                                                                   and
         Christian Willis                                                (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                 Rate                   Rate        Reasonable Value
                                                                                                                                                                   Rate                                                                                 Description
                                                                                                                                                                                    (per unit)             (per unit)
                                                                                                                                                                 (per unit)




                                                                              $0                                                                                                                                                                           T1018-
Early Intervention through Babies can't                Determined by
                                          Age 2 - 3                       provide by         $0             $0                N/A                N/A                  $0                 $0                   $0               $0           School-based individualized education
          wait (BCW) program                             program
                                                                         public school                                                                                                                                                         program (iep) services, bundled




   Special Education Through public
                                                         5 days per
school system with IEP, educationally-                                        $0                                                                                                                                                                           T1018-
                                                            week
 related therapies, school aide/nurse,    Age 3 - 21                      provide by         $0             $0                N/A                N/A                  $0                 $0                   $0               $0           School-based individualized education
                                                        during scool
   adopted transportation , adoptive                                     public school                                                                                                                                                         program (iep) services, bundled
                                                            year
              equipment




                                                                                                                                                                                                                                                             T1999-
                                                                                                                                                              GA Medicaid has
   Educational consultant/student                                                                                                                                                                                                            Miscellaneous therapeutic items and
                                                                                                                                                               not established
 Advocate knowledgeable in I.D.E.A                                                                                                                                               Medicare has not                                               supplies, retail purchases, not
                                                                            $125                                                                                 fees for this                              $125
  provisions to attend annual IEP         Age 2 - 21   4 hour per year                      $500          $500                N/A                N/A                            established fees for                          $500          otherwise classified; identify product in
                                                                           per hour                                                                            medical code;                               per hour
 meetings with parents, school and                                                                                                                                               this medical code                                                         "remarks"
                                                                                                                                                               subject to prior
         related personnel
                                                                                                                                                                authorization
                                                                                                                                                                                                                                                          A9270-
                                                                                                                                                                                                                                                 Non-covered item or service




                                                                                                                                                                                                                                 TD&P Consulting, Inc. | May 7, 2019 | 19
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                                                                                                      C.W.
                                                                                                 Appendix A.1
                                                                            Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                  Plaintiff LCP
                                                                              Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                          Diagnostic Testing / Educational Assessment
                                               The Berens Report                                                                                                                 TD&P Consulting, Inc.

                                                                                                                                                 GA
                                                                                                                                                            CMS Medicare   Estimated Carrier
                                                                                                                                             Medicaid Fee                                                                 CPT / HCPCS Code
Recommended Needs for   Duration      Frequency        Unit Cost         Min.          Max.         Min. One Time        Max. One                           Fee Schedule    Reimbursement        Annual
                                                                                                                                              Schedule                                                                           and
    Christian Willis                                  (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                              Rate             Rate        Reasonable Value
                                                                                                                                                Rate                                                                         Description
                                                                                                                                                              (per unit)       (per unit)
                                                                                                                                              (per unit)

                                                                                                     Private / Outpatient to 2037




                                                                                                                                                                                                                                  96118 -
                                                                                                                                                                                                                     Neuropsychological testing (eg,
                                                                                                                                                                                                                  Halstead-Reitan Neuropsychological
                                                                                                                                                                                                                 Battery, Wechsler Memory Scales and
                                                                                                                                                                                                                Wisconsin Card Sorting Test), per hour
  Neuropsychological                 4 times only
                        Age 2 - 21                    $2500 - $4500      N/A            N/A           $10,000.00         $18,000.00             $109.20        $95.88          $111.22          $2,064.75       of the psychologist's or physician's time,
      Evaluation                     over life time
                                                                                                                                                                                                                  both face-to-face time administering
                                                                                                                                                                                                                tests to the patient and time interpreting
                                                                                                                                                                                                                   these test results and preparing the
                                                                                                                                                                                                                                   report




                                                                                                        School- based to 2037




                                                                                                                                                                                                                                  96118 -
                                                                                                                                                                                                                     Neuropsychological testing (eg,
                                                                                                                                                                                                                  Halstead-Reitan Neuropsychological
                                                                                                                                                                                                                 Battery, Wechsler Memory Scales and
                                                           $0                                                                                                                                                   Wisconsin Card Sorting Test), per hour
  Neuropsychological
                        Age 2 - 21   Every 3 years     provide by         $0             $0                N/A                N/A                  $0            $0               $0               $0           of the psychologist's or physician's time,
      Evaluation
                                                         school                                                                                                                                                   both face-to-face time administering
                                                                                                                                                                                                                tests to the patient and time interpreting
                                                                                                                                                                                                                   these test results and preparing the
                                                                                                                                                                                                                                   report




                                                                                                                                                                                                     TD&P Consulting, Inc. | May 7, 2019 | 20
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                                                                                                                         C.W.
                                                                                                                    Appendix A.1
                                                                                               Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                     Plaintiff LCP
                                                                                                 Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                           Wheelchair Needs, Accessories and Maintenance
                                                                  The Berens Report                                                                                                                        TD&P Consulting, Inc.

                                                                                                                                                                    GA
                                                                                                                                                                                CMS Medicare
                                                                                                                                                                Medicaid Fee                                                                     CPT / HCPCS Code
     Recommended Needs for                  Duration      Frequency       Unit Cost         Min.          Max.         Min. One Time        Max. One                            Fee Schedule       Fair Market Value     Annual
                                                                                                                                                                 Schedule                                                                               and
         Christian Willis                                                (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                               Rate                (per unit)   Reasonable Value
                                                                                                                                                                   Rate                                                                             Description
                                                                                                                                                                                  (per unit)
                                                                                                                                                                 (per unit)




                                                                                                                                                                                                       $4,045.95
                                                                                                                                                                                                                                                         E1161-
                                                         Every 4 to 6                                                                                                          $266.30 per rental (rate based on the
                                           Age 2 - 18                       $7,306        $1,217.67     $1,826.50             N/A                N/A              $1,892.87                                                $809.19      Manual adult size wheelchair, includes
                                                           years                                                                                                                     rate          VHA Reasonable
                                                                                                                                                                                                                                                     tilt in space
                                                                                                                                                                                                    Cost estimate)



   Quickie Zippy or similar manual
  wheelchair with tilt'n space recline,
   caregiver handlebars, headrest,
back/trunk/hip supports, foot rests, lap
                 tray



                                                                                                                                                                                                       $4,045.95
                                                                                                                                                                                                                                                         E1161-
                                                                                                                                                                               $266.30 per rental (rate based on the
                                           Age 19 - LE   Every 7 years      $7,306        $1,043.71     $1,043.71             N/A                N/A              $1,892.87                                                $577.99      Manual adult size wheelchair, includes
                                                                                                                                                                                     rate          VHA Reasonable
                                                                                                                                                                                                                                                     tilt in space
                                                                                                                                                                                                    Cost estimate)




                                                                                                                                                                                                                                                        K0739 -
                                                                                                                                                                                                                                           Repair or nonroutine service for
                                                                          10% cost of
                                                                                                                                                                                Medicare has not       10% cost of                      durable medical equipment other than
                                                                         weelchair per
                                           Age 2 - 18      Annually                        $547.95       $608.83              N/A                N/A                $10.73     established fees for weelchair per year     $323.68      oxygen equipment requiring the skill of
                                                                           year after
                                                                                                                                                                                this medical code     after warranty                    a technician, labor component, per 15
                                                                           warranty
                                                                                                                                                                                                                                                        minutes




      Wheelchair Maintenance




                                                                                                                                                                                                                                                        K0739 -
                                                                                                                                                                                                                                           Repair or nonroutine service for
                                                                          10% cost of
                                                                                                                                                                                Medicare has not       10% cost of                      durable medical equipment other than
                                                                         weelchair per
                                           Age 19 - LE     Annually                        $626.23       $626.23              N/A                N/A                $10.73     established fees for weelchair per year     $346.80      oxygen equipment requiring the skill of
                                                                           year after
                                                                                                                                                                                this medical code     after warranty                    a technician, labor component, per 15
                                                                           warranty
                                                                                                                                                                                                                                                        minutes




                                                                                                                                                                                                                               TD&P Consulting, Inc. | May 7, 2019 | 21
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                                                                                                                   C.W.
                                                                                                              Appendix A.1
                                                                                         Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                               Plaintiff LCP
                                                                                           Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                     Wheelchair Needs, Accessories and Maintenance
                                                            The Berens Report                                                                                                                           TD&P Consulting, Inc.

                                                                                                                                                              GA
                                                                                                                                                                            CMS Medicare
                                                                                                                                                          Medicaid Fee                                                                         CPT / HCPCS Code
    Recommended Needs for             Duration      Frequency       Unit Cost         Min.          Max.         Min. One Time        Max. One                              Fee Schedule         Fair Market Value     Annual
                                                                                                                                                           Schedule                                                                                   and
        Christian Willis                                           (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                 Rate                  (per unit)   Reasonable Value
                                                                                                                                                             Rate                                                                                 Description
                                                                                                                                                                              (per unit)
                                                                                                                                                           (per unit)




                                                                                                                                                                                                       $132.76                                      E2601 -
Custom foam contour wheelchair seat                Every 3 to 5                                                                                                                                  (rate based on the                   General use wheelchair seat cushion,
                                      Age 2 - LE                   $400 - $520        $80          $173.33              N/A                N/A                $48.93             $59.33                                 $33.19
             cushion                                 years                                                                                                                                        VHA Reasonable                      width less than 22 inches, any depth
                                                                                                                                                                                                   Cost estimate)




                                                                                                                                                                                                                                                    E2619 -
                                                                                                                                                                                                                                      Replacement cover for wheelchair seat
       Seat Cushion Covers            Age 2 - LE   Every 2 years       $100           $50            $50                N/A                N/A                $41.06             $49.77                $100               $50
                                                                                                                                                                                                                                         cushion or back cushion, each




                                                                                                                                                                                                     $126.76                                       E0240 -
                                                                                                                                                                           Medicare has not
 Rifton Wave Adapted bath chair or                                                                                                                                                             (rate based on the                       Bath/shower chair, with or without
                                        Age 2      One time only   $349 - $517        N/A            N/A               $349               $517               $157.67      established fees for                          $126.76
              similar                                                                                                                                                                           VHA Reasonable                                  wheels, any size
                                                                                                                                                                           this medical code
                                                                                                                                                                                                 Cost estimate)




                                                                                                                                                        GA Medicaid has
                                                                                                                                                         not established                                                                            E1399 -
                                                                                                                                                                           Medicare has not
                                                                                                                                                           fees for this                                                                   Durable medical equipment,
ActiveAid Shower wheelchair Shower    Age 8 - LE   Every 5 years    $2,850.00         $570          $570                N/A                N/A                            established fees for       $2,850.00           $570
                                                                                                                                                         medical code;                                                                           miscellaneous
                                                                                                                                                                           this medical code
                                                                                                                                                         subject to prior
                                                                                                                                                          authorization




                                                                                                                                                                                                                                                      K0739 -
                                                                    10% cost of                                                                                                                                                          Repair or nonroutine service for
                                                                                                                                                                                                  10% cost of
                                                                      Shower                                                                                               Medicare has not                                           durable medical equipment other than
                                                                                                                                                                                               Shower weelchair
  Shower wheelchair maintenance       Age 8 - LE     Annually      weelchair per      $228          $228                N/A                N/A                $10.73      established fees for                           $228         oxygen equipment requiring the skill of
                                                                                                                                                                                                 per year after
                                                                     year after                                                                                            this medical code                                          a technician, labor component, per 15
                                                                                                                                                                                                   warranty
                                                                     warranty                                                                                                                                                                         minutes




                                                                                                                                                                                                                            TD&P Consulting, Inc. | May 7, 2019 | 22
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                                                                                                                         C.W.
                                                                                                                    Appendix A.1
                                                                                               Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                     Plaintiff LCP
                                                                                                 Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                                                    Orthotics
                                                                 The Berens Report                                                                                                                  TD&P Consulting, Inc.

                                                                                                                                                                    GA
                                                                                                                                                                               CMS Medicare   Estimated Carrier
                                                                                                                                                                Medicaid Fee                                                                CPT / HCPCS Code
    Recommended Needs for                 Duration      Frequency         Unit Cost         Min.          Max.         Min. One Time        Max. One                           Fee Schedule    Reimbursement        Annual
                                                                                                                                                                 Schedule                                                                          and
        Christian Willis                                                 (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                              Rate             Rate        Reasonable Value
                                                                                                                                                                   Rate                                                                        Description
                                                                                                                                                                                 (per unit)       (per unit)
                                                                                                                                                                 (per unit)




                                                                                                                                                                                                                                                   L1950 -
                                                                                                                                                                                                                                   Ankle foot orthosis, spiral, (institute of
                                                                         $1062 - $2000
                                         Age 2 - 18    1 time per year                     $1,062        $2,000               N/A                N/A               $467.84       $675.96          $784.11           $810.51        rehabilitative medicine type), plastic,
                                                                             pair
                                                                                                                                                                                                                                             custom-fabricated




    Bilateral custom-made solid
         Ankle/foot/orthosis




                                                                                                                                                                                                                                                   L1950 -
                                                                                                                                                                                                                                   Ankle foot orthosis, spiral, (institute of
                                                        Every 2 to 3     $1062 - $2000
                                         Age 19 - LE                                        $354         $1,000               N/A                N/A               $467.84       $675.96          $784.11           $324.20        rehabilitative medicine type), plastic,
                                                          years              pair
                                                                                                                                                                                                                                             custom-fabricated




                                                                                                                                                                                                                                                   L1690 -
                                                                                                                                                                                                                                    Combination, bilateral, lumbo-sacral,
              SWASH                                                                                                                                                                                                                hip, femur orthosis providing adduction
    (standing,walkingand sitting         Age 2 - 18     2 times only       $2,695.50        N/A            N/A            $5,391.00          $5,391.00            $1,306.02      $1,887.00       $2,188.92         $4,146.40             and internal rotation control,
            hip)orthosis                                                                                                                                                                                                              prefabricated, includes fitting and
                                                                                                                                                                                                                                                  adjustment




                                                                                                                                                                                                                                                  L3908 -
Bilateral Benik or similar hand splits                                                                                                                                                                                              Wrist hand orthosis, wrist extension
                                         Age 2 - LE    1 time per year     $610.00         $610.00       $610.00              N/A                N/A                $36.82        $53.20           $61.71           $122.53
         with thumb support                                                                                                                                                                                                            control cock-up, non molded,
                                                                                                                                                                                                                                        prefabricated, off-the-shelf




                                                                                                                                                                                                                        TD&P Consulting, Inc. | May 7, 2019 | 23
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                                                                                                                         C.W.
                                                                                                                    Appendix A.1
                                                                                               Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                     Plaintiff LCP
                                                                                                 Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                             Home Furnishings/Durable Medical Equipment
                                                                  The Berens Report                                                                                                                         TD&P Consulting, Inc.

                                                                                                                                                                    GA
                                                                                                                                                                                   CMS Medicare
                                                                                                                                                                Medicaid Fee                                                                       CPT / HCPCS Code
     Recommended Needs for                  Duration      Frequency       Unit Cost         Min.          Max.         Min. One Time        Max. One                               Fee Schedule      Fair Market Value     Annual
                                                                                                                                                                 Schedule                                                                                 and
         Christian Willis                                                (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                  Rate               (per unit)   Reasonable Value
                                                                                                                                                                   Rate                                                                               Description
                                                                                                                                                                                     (per unit)
                                                                                                                                                                 (per unit)




                                                                                                                                                              GA Medicaid has
                                                                                                                                                                                                                                                       E0642 -
                                                                                                                                                               not established                            $2,460.38
       Easy Stand Stander:                                                                                                                                                       Medicare has not                                         Standing frame/table system, mobile
                                                                                                                                                                 fees for this                       (rate based on the
Bantam Extra Small for children up to                     1 time only       $4,583          N/A            N/A              $4,583             $4,583                           established fees for                       $2,460.38      (dynamic stander), any size including
                                                                                                                                                               medical code;                          VHA Reasonable
              50 lbs.                                                                                                                                                            this medical code                                                     pediatric
                                                                                                                                                               subject to prior                        Cost estimate)
                                                                                                                                                                authorization




                                                                                                                                                              GA Medicaid has
                                                                                                                                                                                                                                                          E0636 -
                                                                                                                                                               not established                            $1,957.64
                                                                                                                                                                                                                                          Multipositional patient support system,
                  Zing                                                                                                                                           fees for this    $956.24 per rental (rate based on the
                                           Age 2 - LE     1 time only       $3,207          N/A            N/A              $3,207             $3,207                                                                      $1,957.64      with integrated lift, patient accessible
       for children up to 70 lbs.                                                                                                                              medical code;            rate          VHA Reasonable
                                                                                                                                                                                                                                                          controls
                                                                                                                                                               subject to prior                        Cost estimate)
                                                                                                                                                                authorization




                                                                                                                                                              GA Medicaid has
                                                                                                                                                                                                                                                          E0636 -
                                                                                                                                                               not established                            $1,957.64
                                                                                                                                                                                                                                          Multipositional patient support system,
                                                                                                                                                                 fees for this    $956.24 per rental (rate based on the
         Zing 2 up to 154 lbs.                            1 time only       $5,468          N/A            N/A              $5,468             $5,468                                                                      $1,957.64      with integrated lift, patient accessible
                                                                                                                                                               medical code;            rate          VHA Reasonable
                                                                                                                                                                                                                                                          controls
                                                                                                                                                               subject to prior                        Cost estimate)
                                                                                                                                                                authorization




                                                                                                                                                              GA Medicaid has
                                                                                                                                                                                                                                                          E0636 -
                                                                                                                                                               not established                            $1,957.64
                                                                                                                                                                                                                                          Multipositional patient support system,
Evolv up to 200 lbs., or similar stander                                                                                                                         fees for this    $956.24 per rental (rate based on the
                                           Age 18 - LE   Every 7 years      $5,675         $810.71       $810.71              N/A                N/A                                                                        $279.66       with integrated lift, patient accessible
        with resting arm tray                                                                                                                                  medical code;            rate          VHA Reasonable
                                                                                                                                                                                                                                                          controls
                                                                                                                                                               subject to prior                        Cost estimate)
                                                                                                                                                                authorization




                                                                                                                                                                                                                                TD&P Consulting, Inc. | May 7, 2019 | 24
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                                                                                                                           C.W.
                                                                                                                      Appendix A.1
                                                                                                 Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                       Plaintiff LCP
                                                                                                   Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                                 Home Furnishings/Durable Medical Equipment
                                                                  The Berens Report                                                                                                                              TD&P Consulting, Inc.

                                                                                                                                                                        GA
                                                                                                                                                                                      CMS Medicare
                                                                                                                                                                    Medicaid Fee                                                                         CPT / HCPCS Code
   Recommended Needs for                  Duration       Frequency        Unit Cost         Min.             Max.          Min. One Time        Max. One                              Fee Schedule         Fair Market Value     Annual
                                                                                                                                                                     Schedule                                                                                   and
       Christian Willis                                                  (Min. - Max.)   Annual Cost      Annual Cost           Cost            Time Cost                                 Rate                  (per unit)   Reasonable Value
                                                                                                                                                                       Rate                                                                                 Description
                                                                                                                                                                                        (per unit)
                                                                                                                                                                     (per unit)



                                                                                                                                                                                                                                                                K0739 -
                                                                                                                                                                                                                                                   Repair or nonroutine service for
                                       Not quantifiable 5% of cost of Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable                                                                                      durable medical equipment other than
Maintenance and adjustments for
                                        - Subject to     stander per   - Subject to     - Subject to     - Subject to     - Subject to     - Subject to                   $0                 $0                   $0               $0           oxygen equipment requiring the skill of
           stander
                                        speculation         year       speculation      speculation      speculation      speculation      speculation                                                                                          a technician, labor component, per 15
                                                                                                                                                                                                                                                                minutes




                                                                                                                                                                  GA Medicaid has
                                                                                                                                                                                                                                                                E8000 -
                                                                                                                                                                   not established
                                                                                                                                                                                     Medicare has not                                            Gait trainer, pediatric size, posterior
                                                                                                                                                                     fees for this
                                           Age 2          1 time only        $680            $680             $680                N/A                N/A                            established fees for         $680             $680          support, includes all accessories and
                                                                                                                                                                   medical code;
                                                                                                                                                                                     this medical code                                                        components
                                                                                                                                                                   subject to prior
                                                                                                                                                                    authorization




                                                                                                                                                                  GA Medicaid has
                                                                                                                                                                                                                                                                E8000 -
                                                                                                                                                                   not established
                                                                                                                                                                                     Medicare has not                                            Gait trainer, pediatric size, posterior
                                                                                                                                                                     fees for this
                                           Age 7          1 time only        $920            $920             $920                N/A                N/A                            established fees for         $920             $920          support, includes all accessories and
                                                                                                                                                                   medical code;
                                                                                                                                                                                     this medical code                                                        components
                                                                                                                                                                   subject to prior
                                                                                                                                                                    authorization


Rifton Pacer or similar Gait Trainer


                                                                                                                                                                  GA Medicaid has
                                                                                                                                                                                                                                                                E8000 -
                                                                                                                                                                   not established
                                                                                                                                                                                     Medicare has not                                            Gait trainer, pediatric size, posterior
                                                                                                                                                                     fees for this
                                           Age 12         1 time only   $1310 - $1480        $1,310          $1,480               N/A                N/A                            established fees for    $1,310 - $1,480      $1,395         support, includes all accessories and
                                                                                                                                                                   medical code;
                                                                                                                                                                                     this medical code                                                        components
                                                                                                                                                                   subject to prior
                                                                                                                                                                    authorization




                                                                                                                                                                  GA Medicaid has
                                                                                                                                                                                                                                                                E8000 -
                                                                                                                                                                   not established
                                                                                                                                                                                     Medicare has not                                            Gait trainer, pediatric size, posterior
                                                                                                                                                                     fees for this
                                           Age 18         1 time only   $1310 - $1480        $1,310          $1,480               N/A                N/A                            established fees for    $1,310 - $1,480      $1,395         support, includes all accessories and
                                                                                                                                                                   medical code;
                                                                                                                                                                                     this medical code                                                        components
                                                                                                                                                                   subject to prior
                                                                                                                                                                    authorization




                                                                                                                                                                                                                                     TD&P Consulting, Inc. | May 7, 2019 | 25
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                                                                                                                   Appendix A.1
                                                                                              Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                    Plaintiff LCP
                                                                                                Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                            Home Furnishings/Durable Medical Equipment
                                                                The Berens Report                                                                                                                             TD&P Consulting, Inc.

                                                                                                                                                                   GA
                                                                                                                                                                                   CMS Medicare
                                                                                                                                                               Medicaid Fee                                                                           CPT / HCPCS Code
     Recommended Needs for                Duration      Frequency        Unit Cost         Min.          Max.         Min. One Time        Max. One                                Fee Schedule         Fair Market Value     Annual
                                                                                                                                                                Schedule                                                                                     and
         Christian Willis                                               (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                   Rate                  (per unit)   Reasonable Value
                                                                                                                                                                  Rate                                                                                   Description
                                                                                                                                                                                     (per unit)
                                                                                                                                                                (per unit)




                                                                                                                                                                                                                                                             E0265 -
Invacare hospital bed, mattress, safety                                                                                                                                                                                                      Hospital bed, total electric (head, foot
                                                                                                                                                                                 $139.64 per rental
   side rails, remote controlled head     Age 3 - LE   Every 10 years      $1,944         $194.40       $194.40              N/A                N/A              $1,359.20                                 $1,944.00          $194.40        and height adjustments), with any type
                                                                                                                                                                                       rate
                 elevation                                                                                                                                                                                                                          side rails, with mattress




                                                                                                                                                                                                                                                             K0739 -
                                                                                                                                                                                                                                                Repair or nonroutine service for
     Maintenance/Service contract
                                                                                                                                                                                  Medicare has not                                           durable medical equipment other than
Invacare hospital bed, mattress, safety
                                          Age 3 - LE   Every 3 years       $250           $83.33        $83.33               N/A                N/A                $10.73        established fees for        $250             $83.33         oxygen equipment requiring the skill of
   side rails, remote controlled head
                                                                                                                                                                                  this medical code                                          a technician, labor component, per 15
                 elevation
                                                                                                                                                                                                                                                             minutes




                                                                                                                                                                                                                                                            E0315 -
                                                                                                                                                                                  Medicare has not
  Adjustable height bedside table to                                                                                                                                                                                                         Bed accessory: board, table, or support
                                          Age 3 - LE   Every 10 years    $69 - $74         $6.90         $7.40               N/A                N/A                $29.11        established fees for      $69 - $74           $7.15
     provide flat surface for care                                                                                                                                                                                                                     device, any type
                                                                                                                                                                                  this medical code




                                                                                                                                                             GA Medicaid has
                                                                                                                                                              not established                                                                                 B9002 -
Kangaroo Joey feeding pump w/pole                                                                                                                               fees for this                                                                  Enteral nutrition infusion pump, any
                                          Age 5 - LE   Every 5 years    $669 - $714       $133.80       $142.80              N/A                N/A                                   $639.98             $669 - $714         $138.30
             clamp                                                                                                                                            medical code;                                                                                     type
                                                                                                                                                              subject to prior
                                                                                                                                                               authorization




                                                                                                                                                                                                                                  TD&P Consulting, Inc. | May 7, 2019 | 26
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                                                                                                                     Appendix A.1
                                                                                                Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                      Plaintiff LCP
                                                                                                  Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                              Home Furnishings/Durable Medical Equipment
                                                                 The Berens Report                                                                                                                              TD&P Consulting, Inc.

                                                                                                                                                                     GA
                                                                                                                                                                                     CMS Medicare
                                                                                                                                                                 Medicaid Fee                                                                           CPT / HCPCS Code
     Recommended Needs for                 Duration      Frequency        Unit Cost          Min.          Max.         Min. One Time        Max. One                                Fee Schedule         Fair Market Value     Annual
                                                                                                                                                                  Schedule                                                                                     and
         Christian Willis                                                (Min. - Max.)    Annual Cost   Annual Cost          Cost            Time Cost                                   Rate                  (per unit)   Reasonable Value
                                                                                                                                                                    Rate                                                                                   Description
                                                                                                                                                                                       (per unit)
                                                                                                                                                                  (per unit)



                                                                                                                                                                                                                                                               K0739 -
                                                                                                                                                                                                                                                  Repair or nonroutine service for
                                                                          $50 per year                                                                                              Medicare has not        $50 per year                       durable medical equipment other than
        Maintenance for pump              Age 2 - LE     Every year        except on         $40            $40                N/A                N/A                $10.73        established fees for    except on years        $40          oxygen equipment requiring the skill of
                                                                         years replaces                                                                                             this medical code         replaces                         a technician, labor component, per 15
                                                                                                                                                                                                                                                               minutes




                                                                                                                                                               GA Medicaid has
                                                                                                                                                                not established
                                                                                                                                                                                                                                                               E0776 -
                                                                                                                                                                  fees for this
       IV pole for feeding bags           Age 10 - LE   Every 10 years        $24            $2.40         $2.40               N/A                N/A                                    136.96                 $24              $2.40                         Iv pole
                                                                                                                                                                medical code;
                                                                                                                                                                subject to prior
                                                                                                                                                                 authorization




                                                                                                                                                                                                                                                                T1999-
                                                                                                                                                               GA Medicaid has
                                                                      tomato feeding                                                                                                                       tomato feeding                       Miscellaneous therapeutic items and
                                                                                                                                                                not established
                                                                          chair                                                                                                   Medicare has not             chair                               supplies, retail purchases, not
                                                                                                                                                                  fees for this
                                           Age 2 - 8    Every 6 years   $616 size1          $124.33       $124.33              N/A                N/A                            established fees for        $616 size1         $124.33        otherwise classified; identify product in
                                                                                                                                                                medical code;
                                                                        $728 size2                                                                                                this medical code          $728size2                                        "remarks"
                                                                                                                                                                subject to prior
                                                                        $894 size3                                                                                                                           $894size3
                                                                                                                                                                 authorization
                                                                                                                                                                                                                                                             A9270-
                                                                                                                                                                                                                                                    Non-covered item or service



                                                                                                                                                                                                                                                                T1999-
                                                                                                                                                               GA Medicaid has
                                                                                                                                                                                                                                                Miscellaneous therapeutic items and
Special tomato seater/feeding chair up                                                                                                                          not established
                                                                                                                                                                                  Medicare has not              $949                               supplies, retail purchases, not
  to 80 lbs. then Tumble Forms 2 or                                                                                                                               fees for this
                                          Age 9 - 13    Every 5 years        $949           $189.80       $189.80              N/A                N/A                            established fees for       Tumble forms        $189.80        otherwise classified; identify product in
similar adopted feeder/positioning seat                                                                                                                         medical code;
                                                                                                                                                                                  this medical code            seater                                         "remarks"
         with tray up to 200 lbs.                                                                                                                               subject to prior
                                                                                                                                                                 authorization
                                                                                                                                                                                                                                                             A9270-
                                                                                                                                                                                                                                                    Non-covered item or service



                                                                                                                                                                                                                                                                T1999-
                                                                                                                                                               GA Medicaid has
                                                                                                                                                                                                                                                Miscellaneous therapeutic items and
                                                                                                                                                                not established
                                                                                                                                                                                  Medicare has not                                                 supplies, retail purchases, not
                                                                                                                                                                  fees for this
                                          Age 14 - 18   Every 5 years       $1,728          $345.60       $345.60              N/A                N/A                            established fees for          $1,728           $345.60        otherwise classified; identify product in
                                                                                                                                                                medical code;
                                                                                                                                                                                  this medical code                                                           "remarks"
                                                                                                                                                                subject to prior
                                                                                                                                                                 authorization
                                                                                                                                                                                                                                                             A9270-
                                                                                                                                                                                                                                                    Non-covered item or service




                                                                                                                                                                                                                                    TD&P Consulting, Inc. | May 7, 2019 | 27
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                                                                                                                             C.W.
                                                                                                                        Appendix A.1
                                                                                                   Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                         Plaintiff LCP
                                                                                                     Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                                 Home Furnishings/Durable Medical Equipment
                                                                    The Berens Report                                                                                                                             TD&P Consulting, Inc.

                                                                                                                                                                        GA
                                                                                                                                                                                        CMS Medicare
                                                                                                                                                                    Medicaid Fee                                                                         CPT / HCPCS Code
      Recommended Needs for                  Duration      Frequency        Unit Cost           Min.          Max.         Min. One Time        Max. One                                Fee Schedule       Fair Market Value     Annual
                                                                                                                                                                     Schedule                                                                                   and
          Christian Willis                                                 (Min. - Max.)     Annual Cost   Annual Cost          Cost            Time Cost                                   Rate                (per unit)   Reasonable Value
                                                                                                                                                                       Rate                                                                                 Description
                                                                                                                                                                                          (per unit)
                                                                                                                                                                     (per unit)




                                                                                                                                                                                                                                                                 E0630 -
         Hoyer Hydraulic Lift/                                                                                                                                                                                  $1,432.14
                                                                                                                                                                                                                                                 Patient lift, hydraulic or mechanical,
Portable power patient lift for transfers.                                                                                                                                             $57.84 per rental   (rate based on the
                                             Age 8 - LE   Every 10 years   $731 - $2758        $73.10        $275.80              N/A                N/A               $734.60                                                    $143.21        includes any seat, sling, strap(s) or
 See also sure Hands track lift system                                                                                                                                                       rate           VHA Reasonable
                                                                                                                                                                                                                                                                  pad(s)
                below                                                                                                                                                                                        Cost estimate)




                                                                                                                                                                                                                 $227.50                                        E0621 -
                                                           Every 1 to 2                                                                                                                                    (rate based on the                     Sling or seat, patient lift, canvas or
        Spray sling for transfers            Age 8 - LE                        $109            $54.50         $109                N/A                N/A                $65.27              $77.91                                $151.67
                                                             years                                                                                                                                          VHA Reasonable                                        nylon
                                                                                                                                                                                                             Cost estimate)




                                                                                                                                                                                                                                                                K0739 -
                                                                                                                                                                                                                                                   Repair or nonroutine service for
                                                                           5% cost of Lift                                                                                             Medicare has not                                         durable medical equipment other than
                                                                                                                                                                                                           5% cost of Lift per
          Maintenance for lift               Age 8 - LE      Annually      per year after      $32.90        $124.11              N/A                N/A                $10.73        established fees for                        $64.45        oxygen equipment requiring the skill of
                                                                                                                                                                                                           year after warranty
                                                                             warranty                                                                                                  this medical code                                        a technician, labor component, per 15
                                                                                                                                                                                                                                                                minutes




                                                                                                                                                                  GA Medicaid has
                                                                                                                                                                   not established                              $2356.86                                           E0640 -
              Optional:
                                                                              $7,500 -                                                                               fees for this                         (rate based on the                    Patient lift, fixed system, includes all
  Sure Hands or similar overhead lift        Age 8 - LE     1 time only                         N/A            N/A            $7,500.00         $10,000.00                                 $123.64                               $2,356.86
                                                                              $10,000                                                                              medical code;                            VHA Reasonable                            components/accessories
    system for bedroom and bath
                                                                                                                                                                   subject to prior                          Cost estimate)
                                                                                                                                                                    authorization




                                                                                                                                                                                                                                      TD&P Consulting, Inc. | May 7, 2019 | 28
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                                                                                                                        C.W.
                                                                                                                   Appendix A.1
                                                                                              Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                    Plaintiff LCP
                                                                                                Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                            Home Furnishings/Durable Medical Equipment
                                                                The Berens Report                                                                                                                            TD&P Consulting, Inc.

                                                                                                                                                                   GA
                                                                                                                                                                                 CMS Medicare
                                                                                                                                                               Medicaid Fee                                                                         CPT / HCPCS Code
     Recommended Needs for                Duration      Frequency        Unit Cost         Min.          Max.         Min. One Time        Max. One                              Fee Schedule         Fair Market Value     Annual
                                                                                                                                                                Schedule                                                                                   and
         Christian Willis                                               (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                 Rate                  (per unit)   Reasonable Value
                                                                                                                                                                  Rate                                                                                 Description
                                                                                                                                                                                   (per unit)
                                                                                                                                                                (per unit)




                                                                                                                                                             GA Medicaid has                                                                                T1999-
                                                                                                                                                              not established                                                               Miscellaneous therapeutic items and
                                                                                                                                                                                Medicare has not
              Optional:                                                                                                                                         fees for this                                                                  supplies, retail purchases, not
                                         Age 10 - LE   Every 2 years       $150            $75            $75                N/A                N/A                            established fees for         $150               $75
               Battery                                                                                                                                        medical code;                                                                otherwise classified; identify product in
                                                                                                                                                                                this medical code
                                                                                                                                                              subject to prior                                                                            "remarks"
                                                                                                                                                               authorization




                                                                                                                                                                                                            $227.55                                        E0621 -
              Optional:                                 Every 4 to 5                                                                                                                                  (rate based on the                     Sling or seat, patient lift, canvas or
                                         Age 8 - LE                        $450            $90          $112.50              N/A                N/A                $65.27             $77.91                                 $50.57
               Sling                                      years                                                                                                                                        VHA Reasonable                                        nylon
                                                                                                                                                                                                        Cost estimate)




                                                                                                                                                                                                                                                           K0739 -
                                                                                                                                                                                                                                              Repair or nonroutine service for
                                                                                                                                                                                Medicare has not                                           durable medical equipment other than
             Optional:
                                         Age 9 - 13     Every year         $150            $150          $150                N/A                N/A                $10.73      established fees for         $150              $150         oxygen equipment requiring the skill of
      Overhead lift maintenance
                                                                                                                                                                                this medical code                                          a technician, labor component, per 15
                                                                                                                                                                                                                                                           minutes




                                                                                                                                                             GA Medicaid has
                                                                                                                                                              not established
                                                                                                                                                                                Medicare has not                                                          A9300 -
                                                                                                                                                                fees for this
   Therapy Table with cushion mat        Age 3 - LE    Every 10 years   $115 - $198       $11.50        $19.80               N/A                N/A                            established fees for      $115 - $198         $15.65                 Exercise equipments
                                                                                                                                                              medical code;
                                                                                                                                                                                this medical code
                                                                                                                                                              subject to prior
                                                                                                                                                               authorization




                                                                                                                                                                                                                                                            T1999-
                                                                                                                                                             GA Medicaid has
                                                                                                                                                                                                                                            Miscellaneous therapeutic items and
  Allowance for items such as room                                                                                                                            not established
                                                                                                                                                                                Medicare has not                                               supplies, retail purchases, not
   monitor, handheld shower head,                                                                                                                               fees for this
                                         Age 2 - LE      Annually         $100.00         $100.00       $100.00              N/A                N/A                            established fees for       $100.00            $100.00       otherwise classified; identify product in
wheelchair carry bags, foam wedges for                                                                                                                        medical code;
                                                                                                                                                                                this medical code                                                         "remarks"
 positioning, portable wheelchair ramp                                                                                                                        subject to prior
                                                                                                                                                               authorization
                                                                                                                                                                                                                                                         A9270-
                                                                                                                                                                                                                                                Non-covered item or service




                                                                                                                                                                                                                                 TD&P Consulting, Inc. | May 7, 2019 | 29
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                                                                                                                    Appendix A.1
                                                                                               Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                     Plaintiff LCP
                                                                                                 Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                       Health and Strength Maintenance(Leisure Time Activities)
                                                                 The Berens Report                                                                                                                             TD&P Consulting, Inc.

                                                                                                                                                                    GA
                                                                                                                                                                                   CMS Medicare
                                                                                                                                                                Medicaid Fee                                                                          CPT / HCPCS Code
      Recommended Needs for                Duration      Frequency       Unit Cost          Min.          Max.         Min. One Time        Max. One                               Fee Schedule         Fair Market Value     Annual
                                                                                                                                                                 Schedule                                                                                    and
          Christian Willis                                              (Min. - Max.)    Annual Cost   Annual Cost          Cost            Time Cost                                  Rate                  (per unit)   Reasonable Value
                                                                                                                                                                   Rate                                                                                  Description
                                                                                                                                                                                     (per unit)
                                                                                                                                                                 (per unit)



                                                                                                                                                              GA Medicaid has
                                                                                                                                                               not established
                                                                             $460                                                                                                                              $460
                                                                                                                                                                 fees for this    Medicare has not
                                                                         for 10 week-                                                                                                                      for 10 week-                                    S8940-
                                          Age 4 - 21      Annually                         $460.00       $460.00              N/A                N/A           medical code;     established fees for                          $460.00
                                                                            session                                                                                                                           session                        Equestrian/hippotherapy, per session
                                                                                                                                                             subject to medical this medical code
                                                                        therapy riding                                                                                                                    therapy riding
                                                                                                                                                             necessity and prior
                                                                                                                                                                authorization
 Therapeutic Horseback Riding and or
   Summer Camps for children with
            special needs
                                                                                                                                                              GA Medicaid has
                                                                                                                                                               not established
                                                                                                                                                                 fees for this    Medicare has not
                                                                         $100 - $435                                                                                                                      $100 - $435                                      S8940-
                                          Age 7 - 21      Annually                         $100.00       $435.00              N/A                N/A           medical code;     established fees for                          $267.50
                                                                        Summer camp                                                                                                                      Summer camp                         Equestrian/hippotherapy, per session
                                                                                                                                                             subject to medical this medical code
                                                                                                                                                             necessity and prior
                                                                                                                                                                authorization



                                                                                                                                                              GA Medicaid has                                                                                 T1999-
Allowance for items such as cause and                                                                                                                          not established                                                                Miscellaneous therapeutic items and
 effect toys, adopted switch activated                                                                                                                           fees for this    Medicare has not                                               supplies, retail purchases, not
devices, therapy balls, iPad w/apps,and   Age 2 - LE      Annually        $100.00          $100.00       $100.00              N/A                N/A           medical code;     established fees for       $100.00            $100.00       otherwise classified; identify product in
 other auditory and tactile stimulation                                                                                                                      subject to medical this medical code                                                           "remarks"
                 items                                                                                                                                       necessity and prior
                                                                                                                                                                authorization                                                                              A9270-
                                                                                                                                                                                                                                                  Non-covered item or service


                                                                                                                                                                                                                                                              T1999-
                                                                                                                                                              GA Medicaid has
                                                                           $95 print                                                                                                                                                          Miscellaneous therapeutic items and
  Subscription to Exceptional Parent                                                                                                                           not established
                                                                          magazine                                                                                               Medicare has not $95 print magazine                             supplies, retail purchases, not
  online magazine and other reading                                                                                                                              fees for this
                                          Age 2 - 21      Annually      $0 eMagazine        $110          $110                N/A                N/A                            established fees for $0 eMagazine               $110         otherwise classified; identify product in
 resources for parents of children with                                                                                                                        medical code;
                                                                         $15 Parent's                                                                                            this medical code $15 Parent's Guide                                       "remarks"
                  CP                                                                                                                                           subject to prior
                                                                            Guide
                                                                                                                                                                authorization
                                                                                                                                                                                                                                                           A9270-
                                                                                                                                                                                                                                                  Non-covered item or service


                                                                                                                                                              GA Medicaid has
                                                                                                                                                               not established                                                                             E2511 -
                                                                                                                                                                 fees for this    Medicare has not                                           Speech generating software program,
           Go Talk 9+ACC
                                          Age 6 - LE    Every 5 years       $199           $39.80        $39.80               N/A                N/A           medical code;     established fees for         $199             $39.80         for personal computer or personal
           Speech Device
                                                                                                                                                             subject to medical this medical code                                                      digital assistant
                                                                                                                                                             necessity and prior
                                                                                                                                                                authorization

                                                                                                                                                                                                                                                              T1999-
                                                                                                                                                                                                                                              Miscellaneous therapeutic items and
                                                                                                                                                              GA Medicaid has
                                                                                                                                                                                                                                                 supplies, retail purchases, not
                                                                                                                                                               not established
               Possible:                                                                                                                                                                                                                     otherwise classified; identify product in
                                                                                                                                                                 fees for this    Medicare has not
  TOBII I-12 or similar eye gaze AAC                                      $16,605 -                                                                                                                                                                         "remarks"
                                          Age 10 - LE   Every 5 years                      $3,321       $3,510.80             N/A                N/A           medical code;     established fees for $16,605 - $17,554       $3,415.90
                system                                                     $17,554                                                                                                                                                                           E2511 -
                                                                                                                                                             subject to medical this medical code
                                                                                                                                                                                                                                             Speech generating software program,
                                                                                                                                                             necessity and prior
                                                                                                                                                                                                                                               for personal computer or personal
                                                                                                                                                                authorization
                                                                                                                                                                                                                                                        digital assistant




                                                                                                                                                                                                                                   TD&P Consulting, Inc. | May 7, 2019 | 30
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                                                                                              Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                                             Transportation
                                                               The Berens Report                                                                                                                           TD&P Consulting, Inc.

                                                                                                                                                                 GA
                                                                                                                                                                                CMS Medicare
                                                                                                                                                             Medicaid Fee                                                                          CPT / HCPCS Code
     Recommended Needs for               Duration      Frequency       Unit Cost         Min.          Max.         Min. One Time        Max. One                               Fee Schedule         Fair Market Value     Annual
                                                                                                                                                              Schedule                                                                                    and
         Christian Willis                                             (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                  Rate                  (per unit)   Reasonable Value
                                                                                                                                                                Rate                                                                                  Description
                                                                                                                                                                                  (per unit)
                                                                                                                                                              (per unit)




                                                                                                                                                           GA Medicaid has
                                                                                                                                                            not established
Wheelchair accessible van with remote                                                                                                                                                                                                                   T2039 -
                                                                                                                                                              fees for this    Medicare has not
controlled power lift/ramp, wheelchair                Every 7 to 10    $45,000 -                                                                                                                                                            Vehicle modifications, waiver; per
                                         Age 2 - LE                                     $4,500       $7,142.86             N/A                N/A           medical code;     established fees for $45,000 - 50,000       $5,821.43
 tie downs, safety straps, and other                     years          50,000                                                                                                                                                                          service
                                                                                                                                                          subject to medical this medical code
         accessibility features
                                                                                                                                                          necessity and prior
                                                                                                                                                             authorization




                                                                                                                                                                                                                                                           T1999-
                                                                                                                                                           GA Medicaid has
                                                                                                                                                                                                                                           Miscellaneous therapeutic items and
                                                                                                                                                            not established
                                                                                                                                                                                                                                              supplies, retail purchases, not
                                                                                                                                                              fees for this    Medicare has not
 Roosevelt or other special needs car                                                                                                                                                                                                     otherwise classified; identify product in
                                         Age 3 - 17   Every 5 years      $895            $179          $179                N/A                N/A           medical code;     established fees for        $895              $179
   seat with 5-point harness straps                                                                                                                                                                                                                     ""remarks""
                                                                                                                                                          subject to medical this medical code
                                                                                                                                                          necessity and prior
                                                                                                                                                                                                                                                        A9270-
                                                                                                                                                             authorization
                                                                                                                                                                                                                                               Non-covered item or service




                                                                                                                                                                                                                               TD&P Consulting, Inc. | May 7, 2019 | 31
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                                                                                                                        Drug Needs
                                                                                                                   Option 1: In Home Care
                                                   The Berens Report                                                                                                                                  TD&P Consulting, Inc.

                                                                                                                                                            GA
                                                                                                                                                                           CMS Medicare
                                                                                                                                                        Medicaid Fee                                                                     CPT / HCPCS Code
Recommended Needs for      Duration       Frequency          Unit Cost          Min.             Max.          Min. One Time        Max. One                               Fee Schedule        Fair Market Value     Annual
                                                                                                                                                         Schedule                                                                               and
    Christian Willis                                        (Min. - Max.)    Annual Cost      Annual Cost           Cost            Time Cost                                  Rate                 (per unit)   Reasonable Value
                                                                                                                                                           Rate                                                                             Description
                                                                                                                                                                             (per unit)
                                                                                                                                                         (per unit)



                                                                                                                                                      GA Medicaid has
                                                                                                                                                       not established                                                                          J8499 -
                                                                                                                                                                         Medicare has not
                                        2 times per day                                                                                                  fees for this                                                                Prescription drug, oral, non
                          Age 2 - 16                        $170 - $188         $2,040           $2,256               N/A                N/A                            established fees for     $170 - $188          $2,148
                                             , 3-5cc                                                                                                   medical code;                                                                    chemotherapeutic, nos
                                                                                                                                                                         this medical code
                                                                                                                                                       subject to prior
                                                                                                                                                        authorization
     Glycopyrrolate
    (Cuvposa) liquid

                                                                                                                                                                                                                                                J8499 -
                                                           Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable
                                                                                                                                                                                                                                      Prescription drug, oral, non
                         Age 17 - LE       As needed        - Subject to     - Subject to     - Subject to     - Subject to     - Subject to                  $0                 $0                   $0                $0
                                                                                                                                                                                                                                        chemotherapeutic, nos
                                                            speculation      speculation      speculation      speculation      speculation




                                                                                                                                                                                                                                                J8499 -
                        Not quantifiable                Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable
                                         1 time per day                                                                                                                                                                               Prescription drug, oral, non
     Robinul Tablet      - Subject to                    - Subject to     - Subject to     - Subject to     - Subject to     - Subject to                     $0                 $0                   $0                $0
                                           as needed                                                                                                                                                                                    chemotherapeutic, nos
                         speculation                     speculation      speculation      speculation      speculation      speculation




                                                                                                                                                      GA Medicaid has
                                                                                                                                                       not established                                                                          J8499 -
                                                                                                                                                                         Medicare has not
       Baclofen                                               $43 - $61                                                                                  fees for this                             $43 - $61                          Prescription drug, oral, non
                          Age 2 - 12    3 times per day                        $523.00          $742.00               N/A                N/A                            established fees for                          $632.50
        10 mg                                               for 90 Tablets                                                                             medical code;                             for 90 Tablets                         chemotherapeutic, nos
                                                                                                                                                                         this medical code
                                                                                                                                                       subject to prior
                                                                                                                                                        authorization



                                                                                                                                                      GA Medicaid has
                                                                                                                                                       not established                                                                          J8499 -
    Ranitidine Liquid                                                                                                                                                    Medicare has not
                                        2 times per day      $69 - $77                                                                                   fees for this                            $69 - $77                           Prescription drug, oral, non
       (Zantac)           Age 2 - LE                                           $828.00          $924.00               N/A                N/A                            established fees for                          $876.00
                                             3 mg            per month                                                                                 medical code;                              per month                             chemotherapeutic, nos
                                                                                                                                                                         this medical code
                                                                                                                                                       subject to prior
                                                                                                                                                        authorization



                                                                                                                                                      GA Medicaid has
                                                                                                                                                       not established
                                                              $23.99                                                                                                     Medicare has not
                                        1 to 2 times per                                                                                                 fees for this                              $23.99                                    A9150 -
        MiraLAX           Age 2 - LE                        bottle for 45      $195.00          $195.00               N/A                N/A                            established fees for                          $195.00
                                               day                                                                                                     medical code;                         bottle for 45 doses                        Non-prescription drugs
                                                               doses                                                                                                     this medical code
                                                                                                                                                       subject to prior
                                                                                                                                                        authorization




                                                                                                                                                                                                                          TD&P Consulting, Inc. | May 7, 2019 | 32
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                                                                                                  Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                                            Option 1: In Home Care
                                                                                                                                Supply Needs
                                                                  The Berens Report                                                                                                                            TD&P Consulting, Inc.

                                                                                                                                                                     GA
                                                                                                                                                                                    CMS Medicare
                                                                                                                                                                 Medicaid Fee                                                                          CPT / HCPCS Code
      Recommended Needs for                Duration      Frequency         Unit Cost         Min.          Max.         Min. One Time        Max. One                               Fee Schedule         Fair Market Value     Annual
                                                                                                                                                                  Schedule                                                                                    and
          Christian Willis                                                (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                  Rate                  (per unit)   Reasonable Value
                                                                                                                                                                    Rate                                                                                  Description
                                                                                                                                                                                      (per unit)
                                                                                                                                                                  (per unit)


                                                                                                                                                                                                                                                               B4152 -
                                                                                                                                                                                                                                                    Enteral nutritionally complete,
                                                                                                                                                                                                                                                calorically dense (equal to or greater
 Pediasure Grow and Gain w/Fiber, 8                                         $10.97 -                                                                                                                                                            than 1.5 kcal/ml) with intact nutrients,
                                                        Every 4 hours                                                                                                                                     $10.97 - $14.99
                oz.                        Age 2 - LE                        $14.99        $4,004.05     $5,471.35             N/A                N/A                 $0.46              0.31                                 $4,737.70       includes proteins, fats, carbohydrates,
                                                         one bottle                                                                                                                                         for 6 bottle
               bottle                                                      for 6 bottle                                                                                                                                                          vitamins and minerals, may include
                                                                                                                                                                                                                                               fiber, administered through an enteral
                                                                                                                                                                                                                                                  feeding tube, 100 calories = 1 unit




          Feeding supplies:                                                                                                                                                                                                                                   B4036 -
            feeding bags                                                                                                                                                                                                                       Enteral feeding supply kit; gravity fed,
                                           Age 2 - LE    Every month        $347.00        $4,164.00     $4,164.00             N/A                N/A                 $6.67              $4.26               $347.00          $4,164.00
   connector and extension tubing,                                                                                                                                                                                                              per day, includes but not limited to
   adhesive tape, feeding pump set                                                                                                                                                                                                            feeding/flushing syringe, administration
                                                                                                                                                                                                                                                    set tubing, dressings, tape



                                                                                                                                                                                                                                                            B4087 -
                                                                                                                                                                                                                                                 Gastrostomy/jejunostomy tube,
         Gastrostomy/G-tube                                               $157 - $190                                                                                                                      $157 - $190                        standard, any material, any type, each
                                           Age 2 - LE   4 tube per year                     $628.00       $760.00              N/A                N/A                $30.58             $26.01                                 $694.00
         (MOC-KEY or other)                                                 per tube                                                                                                                         per tube




                                                                           $45.88 -                                                                                                Medicare has not                                                           T4523-
                                                                                                                                                                                                       $45.88 - $46.99 for
            Diapers/Briefs                 Age 2 - LE   5 to 6 per day $46.99 for pack      $910.12       $932.14              N/A                N/A                 $0.60       established fees for                         $921.13         Adult sized disposable incontinence
                                                                                                                                                                                                       pack of 92 diapers
                                                                        of 92 diapers                                                                                              this medical code                                            product, brief/diaper, large, each




                                                                                                                                                               GA Medicaid has                                                                                 T1999-
 Allowance for miscellaneous supplies                                                                                                                           not established                                                                Miscellaneous therapeutic items and
        such as personal hygiene                                                                                                                                  fees for this    Medicare has not                                               supplies, retail purchases, not
wips,glovs,baby powder, sterile water to   Age 2 - LE      Annually         $200.00         $200.00       $200.00              N/A                N/A           medical code;     established fees for       $200.00           $200.00        otherwise classified; identify product in
   flush feeding tube , Pedialyte, bed                                                                                                                        subject to medical this medical code                                                           "remarks"
     under pads, NUK dental swabs                                                                                                                             necessity and prior
                                                                                                                                                                 authorization                                                                              A9270-
                                                                                                                                                                                                                                                   Non-covered item or service




                                                                                                                                                                                                                                   TD&P Consulting, Inc. | May 7, 2019 | 33
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                                                                                         Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                            Option 2: Residential Facility care
                                                                                                               Architectural Renovations
                                                           The Berens Report                                                                                                                          TD&P Consulting, Inc.

                                                                                                                                                            GA
                                                                                                                                                                           CMS Medicare         Estimated Carrier
                                                                                                                                                        Medicaid Fee                                                                          CPT / HCPCS Code
    Recommended Needs for             Duration     Frequency      Unit Cost         Min.          Max.         Min. One Time        Max. One                               Fee Schedule          Reimbursement        Annual
                                                                                                                                                         Schedule                                                                                    and
        Christian Willis                                         (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                  Rate                   Rate        Reasonable Value
                                                                                                                                                           Rate                                                                                  Description
                                                                                                                                                                             (per unit)             (per unit)
                                                                                                                                                         (per unit)




                                                                                                                                                      GA Medicaid has
                                                                                                                                                       not established
                                                                                                                                                                                                                                                   S5165-
                                                                                                                                                         fees for this    Medicare has not
Home with a first floor bedroom and                                                                                                                                                                                                     Home modifications; per service
                                                                                                                                                       medical code;     established fees for
         lipless shower
                                                                                                                                                     subject to medical this medical code
                                                                                                                                                     necessity and prior
                                                                                                                                                        authorization




                                      Age 2 - LE   1 time only     $81,080          N/A            N/A             $81,080            $81,080                                                      under grant          $0




                                                                                                                                                                                                                                                      T1999-
                                                                                                                                                      GA Medicaid has
                                                                                                                                                                                                                                      Miscellaneous therapeutic items and
                                                                                                                                                       not established
                                                                                                                                                                                                                                         supplies, retail purchases, not
                                                                                                                                                         fees for this    Medicare has not
                                                                                                                                                                                                                                     otherwise classified; identify product in
           Moving Cost                                                                                                                                 medical code;     established fees for
                                                                                                                                                                                                                                                   ""remarks""
                                                                                                                                                     subject to medical this medical code
                                                                                                                                                     necessity and prior
                                                                                                                                                                                                                                                   A9270-
                                                                                                                                                        authorization
                                                                                                                                                                                                                                          Non-covered item or service




                                                                                                                                                      GA Medicaid has
                                                                                                                                                       not established                                                                                T1028-
                                                                                                                                                         fees for this    Medicare has not                                            Assessment of home, physical and
         Home Evaluation              Age 2 - LE   1 time only      $2,300          N/A            N/A              $2,300             $2,300          medical code;     established fees for        $2,300           $2,300           family environment, to determine
                                                                                                                                                     subject to medical this medical code                                             suitability to meet patient's medical
                                                                                                                                                     necessity and prior                                                                              needs
                                                                                                                                                        authorization




                                                                                                                                                                                                                          TD&P Consulting, Inc. | May 7, 2019 | 34
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                                                                                                             Surgical Intervention, Aggressive Treatment
                                                              The Berens Report                                                                                                                             TD&P Consulting, Inc.

                                                                                                                                                                   GA
                                                                                                                                                                                CMS Medicare
                                                                                                                                                               Medicaid Fee                                                                        CPT / HCPCS Code
    Recommended Needs for              Duration      Frequency         Unit Cost           Min.          Max.         Min. One Time        Max. One                             Fee Schedule         Fair Market Value     Annual
                                                                                                                                                                Schedule                                                                                  and
        Christian Willis                                              (Min. - Max.)     Annual Cost   Annual Cost          Cost            Time Cost                                Rate                  (per unit)   Reasonable Value
                                                                                                                                                                  Rate                                                                                Description
                                                                                                                                                                                  (per unit)
                                                                                                                                                                (per unit)




                                                                                                                                                                                                                                                           49440 -
                                                                                                                                                                                                          $8,100.25                            Insertion of gastrostomy tube,
Surgical conversion of NG tube to G-                                                                                                                                                                 (rate based on the                      percutaneous, under fluoroscopic
                                         Age 2        1 time only        $8,975           $8,975        $8,975               N/A                N/A               $174.53          $905.90                                 $8,100.25
                tube                                                                                                                                                                                  VHA Reasonable                      guidance including contrast injection(s),
                                                                                                                                                                                                       Cost estimate)                        image documentation and report




                                                                                                                                                                                                                                                          J0585 -
                                                                                                                                                                               Medicare has not
                                                                                                                                                                                                                                           Injection, onabotulinumtoxina, 1 unit
                                                                                                                                                                    $6.15     established fees for
                                                                                                                                                                               this medical code




                                                                         $445 -
                                                                        $2,044.50                                                                                                                    $445 - $2,044.50                                 64644 -
                                                                    2 times in office                                                                                                                 2 times in office                   Chemodenervation of one extremity; 5
    Botox injection to arms/legs       Age 2 - 12   4 time per year                       $1,781        $8,178               N/A                N/A               $136.98          $161.56                                 $4,979.50
                                                                      and 2 times                                                                                                                    and 2 times under                            or more muscles
                                                                          under                                                                                                                          anesthesia
                                                                       anesthesia




                                                                                                                                                                                                                                                          64645 -
                                                                                                                                                                                                                                           Chemodenervation of one extremity;
                                                                                                                                                                                                                                           each additional extremity, 5 or more
                                                                                                                                                                   $96.50          $112.82
                                                                                                                                                                                                                                           muscles (List separately in addition to
                                                                                                                                                                                                                                              code for primary procedure)




                                                                                                                                                                                                                                TD&P Consulting, Inc. | May 7, 2019 | 35
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                                                                                                  Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                               Surgical Intervention, Aggressive Treatment
                                                                 The Berens Report                                                                                                                              TD&P Consulting, Inc.

                                                                                                                                                                     GA
                                                                                                                                                                                    CMS Medicare
                                                                                                                                                                 Medicaid Fee                                                                           CPT / HCPCS Code
     Recommended Needs for                Duration       Frequency         Unit Cost         Min.          Max.         Min. One Time        Max. One                               Fee Schedule         Fair Market Value     Annual
                                                                                                                                                                  Schedule                                                                                     and
         Christian Willis                                                 (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                  Rate                  (per unit)   Reasonable Value
                                                                                                                                                                    Rate                                                                                   Description
                                                                                                                                                                                      (per unit)
                                                                                                                                                                  (per unit)




                                                                                                                                                               GA Medicaid has
                                                                                                                                                                not established
                                                                                                                                                                  fees for this    Medicare has not
                                                                              $5,965                                                                                                                           $5,965                                        64999-
                                                       One time only                         N/A            N/A              $5,965             $5,965          medical code;     established fees for                          $5,965
                                                                             ITB trail                                                                                                                        ITB trail                        Unlisted procedure, nervous system
                                                                                                                                                              subject to medical this medical code
                                                                                                                                                              necessity and prior
                                                                                                                                                                 authorization




                                                                                                                                                               GA Medicaid has                                                                                  62362-
                                                                                                                                                                not established                                                                Implantation or replacement of device
                                                                                                                                                                                                             $31,892.02
                                                                             $59,147                                                                              fees for this                                                               for intrathecal or epidural drug infusion;
                                                                                                                                                                                                         (rate based on the
                                                       One time only        Initial ITB      N/A            N/A             $59,147            $59,147          medical code;           $386.08                               $31,892.02           programmable pump, including
                                                                                                                                                                                                          VHA Reasonable
                                                                             implant                                                                          subject to medical                                                                preparation of pump, with or without
                                                                                                                                                                                                           Cost estimate)
                                                                                                                                                              necessity and prior                                                                           programming
                                                                                                                                                                 authorization




Intrathecal Baclofen Pump(ITB) implant   Age 12 - LE




                                                                                                                                                               GA Medicaid has                                                                                  62350-
                                                                                                                                                                not established                                                               Implantation, revision or repositioning of
                                                                          $2796 - $5592                                                                           fees for this                                                                   tunneled intrathecal or epidural
                                                       2 to 4 times per                                                                                                                                   $2796 - $5592
                                                                             Pump           $5,592        $22,368              N/A                N/A           medical code;            $402                                   $13,980          catheter, for long-term medication
                                                             year                                                                                                                                        Pump adjustment
                                                                           adjustment                                                                         subject to medical                                                               administration via an external pump or
                                                                                                                                                              necessity and prior                                                               implantable reservoir/infusion pump;
                                                                                                                                                                 authorization                                                                          without laminectomy




                                                                                                                                                               GA Medicaid has
                                                                                                                                                                not established
                                                                                                                                                                                                             $31,892.02                                         62361-
                                                                             $36,948                                                                              fees for this
                                                                                                                                                                                                         (rate based on the                    Implantation or replacement of device
                                                       Every 7 years        ITB pump       $5,278.29     $5,278.29             N/A                N/A           medical code;           $434.21                                 $4,556
                                                                                                                                                                                                          VHA Reasonable                      for intrathecal or epidural drug infusion;
                                                                          replacement                                                                         subject to medical
                                                                                                                                                                                                           Cost estimate)                              nonprogrammable pump
                                                                                                                                                              necessity and prior
                                                                                                                                                                 authorization




                                                                                                                                                                                                                                    TD&P Consulting, Inc. | May 7, 2019 | 36
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                                                                                                                   Plaintiff LCP
                                                                                               Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                              Surgical Intervention, Aggressive Treatment
                                                             The Berens Report                                                                                                                           TD&P Consulting, Inc.

                                                                                                                                                                    GA
                                                                                                                                                                                   CMS Medicare
                                                                                                                                                                Medicaid Fee                                                                    CPT / HCPCS Code
     Recommended Needs for             Duration      Frequency        Unit Cost         Min.             Max.          Min. One Time        Max. One                               Fee Schedule   Fair Market Value     Annual
                                                                                                                                                                 Schedule                                                                              and
         Christian Willis                                            (Min. - Max.)   Annual Cost      Annual Cost           Cost            Time Cost                                  Rate            (per unit)   Reasonable Value
                                                                                                                                                                   Rate                                                                            Description
                                                                                                                                                                                     (per unit)
                                                                                                                                                                 (per unit)




                                                                                                                                                              GA Medicaid has
                                                                                                                                                               not established                                                                       27151 -
                                                                                                                                                                 fees for this                                                             Osteotomy, iliac, acetabular or
Femoral osteotomy due to expected or
                                         Age 6      One time only     $135,210            N/A              N/A            $135,210           $135,210          medical code;         $1,608.22        $135,210          $135,210           innominate bone; with femoral
       probable hip dysplasia
                                                                                                                                                             subject to medical                                                                     osteotomy
                                                                                                                                                             necessity and prior
                                                                                                                                                                authorization




                                                                                                                                                              GA Medicaid has
                                                                                                                                                               not established
                                                                                                                                                                                                      $21,981.72                                       27652 -
                                                                                                                                                                 fees for this
                                                                                                                                                                                                  (rate based on the                   Repair, primary, open or percutaneous,
  Achilles tendon/Heelcord release     Age 6 - 12   One time only      $32,821            N/A              N/A             $32,821            $32,821          medical code;         $678.48                           $21,981.72
                                                                                                                                                                                                   VHA Reasonable                        ruptured Achilles tendon; with graft
                                                                                                                                                             subject to medical
                                                                                                                                                                                                    Cost estimate)                            (includes obtaining graft)
                                                                                                                                                             necessity and prior
                                                                                                                                                                authorization




                                                                                                                                                                                                                                                      27392 -
                                                                  Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable
                                                                                                                                                                                                                                        Tenotomy, open, hamstring, knee to
     Hamstring tendon release          Age 8 - 14   One time only  - Subject to     - Subject to     - Subject to     - Subject to     - Subject to                   $0                $0               $0                $0
                                                                                                                                                                                                                                          hip; multiple tendons, bilateral
                                                                   speculation      speculation      speculation      speculation      speculation




                                                                                                                                                                                                                             TD&P Consulting, Inc. | May 7, 2019 | 37
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                                                                                                          C.W.
                                                                                                     Appendix A.1
                                                                                Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                      Plaintiff LCP
                                                                                  Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                             Home / Facility Care
                                                                                                            Option 1: In Home Care
                                                 The Berens Report                                                                                                                             TD&P Consulting, Inc.

                                                                                                                                                     GA
                                                                                                                                                                   CMS Medicare
                                                                                                                                                 Medicaid Fee                                                                        CPT / HCPCS Code
Recommended Needs for    Duration       Frequency          Unit Cost         Min.          Max.         Min. One Time        Max. One                              Fee Schedule         Fair Market Value     Annual
                                                                                                                                                  Schedule                                                                                  and
    Christian Willis                                      (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                 Rate                  (per unit)   Reasonable Value
                                                                                                                                                    Rate                                                                                Description
                                                                                                                                                                     (per unit)
                                                                                                                                                  (per unit)



                                                                                                                                                                                                                                            S9122 -
                                                                                                                                                                                      $12.14 per hour for
                                                                                                                                                                  Medicare has not                                            Home health aide or certified nurse
                                       16 hours per                                                                                               $5.00 per 15                        Home Health Aide
                        Age 18 - 21                                        $113,880      $146,000              N/A                N/A                            established fees for                         $70,897.60     assistant, providing care in the home;
                                           day                                                                                                      minutes                           per Labor Statistic
                                                                                                                                                                  this medical code                                                         per hour
                                                                                                                                                                                       near Augusta, GA

                                                          $19.50 - $25
        C.N.A
                                                            per hour

                                                                                                                                                                                                                                            S9122 -
                                                                                                                                                                                      $12.14 per hour for
                                                                                                                                                                  Medicare has not                                            Home health aide or certified nurse
                                       24 hours per                                                                                               $5.00 per 15                        Home Health Aide
                        Age 22 - LE                                        $170,820      $219,000              N/A                N/A                            established fees for                         $106,346.40    assistant, providing care in the home;
                                           day                                                                                                      minutes                           per Labor Statistic
                                                                                                                                                                  this medical code                                                         per hour
                                                                                                                                                                                       near Augusta, GA




                                                                                                                                                                                        $41.95 per hour for
                                                                                                                                                                  Medicare has not                                                         S9123-
                                                                                                                                                                                          RN per Labor
                                                                                                                                                  $65 per day    established fees for                                            Nursing care, in the home; by
                                                                                                                                                                                          Statistic near
                                                                                                                                                                  this medical code                                               registered nurse, per hour
                                                                                                                                                                                           Augusta, GA




                                                                                                                                                                                      $24.70 per hour for
                                                                                                                                                                  Medicare has not                                                           S9124-
                                                                                                                                                                                      LPN/LVN per Labor
                                                                                                                                                  $50 per day    established fees for                                        Nursing care, in the home; by licensed
                                                                                                                                                                                        Statistic near
                                                                                                                                                                  this medical code                                                practical nurse, per hour
                                                                                                                                                                                         Augusta, GA

                                      2 to 3 visits per      $120
       LPN/RN           Age 18 - LE                                         $87,600      $131,400              N/A                N/A                                                                         $30,413.63
                                            day             per visit

                                                                                                                                                                                        $41.95 per hour for
                                                                                                                                                                  Medicare has not                                                         S9123-
                                                                                                                                                                                          RN per Labor
                                                                                                                                                  $65 per day    established fees for                                            Nursing care, in the home; by
                                                                                                                                                                                          Statistic near
                                                                                                                                                                  this medical code                                               registered nurse, per hour
                                                                                                                                                                                           Augusta, GA




                                                                                                                                                                                      $24.70 per hour for
                                                                                                                                                                  Medicare has not                                                           S9124-
                                                                                                                                                                                      LPN/LVN per Labor
                                                                                                                                                  $50 per day    established fees for                                        Nursing care, in the home; by licensed
                                                                                                                                                                                        Statistic near
                                                                                                                                                                  this medical code                                                practical nurse, per hour
                                                                                                                                                                                         Augusta, GA




                                                                                                                                                                                                                   TD&P Consulting, Inc. | May 7, 2019 | 38
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                                                                                                                           C.W.
                                                                                                                      Appendix A.1
                                                                                                 Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                                       Plaintiff LCP
                                                                                                   Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                                                Home / Facility Care
                                                                                                                               Option 1: In Home Care
                                                                The Berens Report                                                                                                                                 TD&P Consulting, Inc.

                                                                                                                                                                        GA
                                                                                                                                                                                       CMS Medicare
                                                                                                                                                                    Medicaid Fee                                                                       CPT / HCPCS Code
     Recommended Needs for               Duration       Frequency         Unit Cost         Min.             Max.          Min. One Time        Max. One                               Fee Schedule         Fair Market Value     Annual
                                                                                                                                                                     Schedule                                                                                 and
         Christian Willis                                                (Min. - Max.)   Annual Cost      Annual Cost           Cost            Time Cost                                  Rate                  (per unit)   Reasonable Value
                                                                                                                                                                       Rate                                                                               Description
                                                                                                                                                                                         (per unit)
                                                                                                                                                                     (per unit)



                                                                                                                                                                  GA Medicaid has
                                                                                                                                                                   not established
                                                                                                                                                                     fees for this    Medicare has not                                                       S5102 -
                                                       3 to 5 days in       $65                                                                                                                                  $65
         Adult Day Program              Age 21 - 65                                         $9,360          $15,600               N/A                N/A           medical code;     established fees for                         $12,480        Day care services, adult; per diem
                                                          the week         per day                                                                                                                              per day
                                                                                                                                                                 subject to medical this medical code
                                                                                                                                                                 necessity and prior
                                                                                                                                                                    authorization



                                                                                                                                                                  GA Medicaid has
                                                                                                                                                                   not established
                                                       2 days per
                                                                                                                                                                     fees for this    Medicare has not                                                       T1005-
         Respite for parents:                          month or 48       $19.50 - $25                                                                                                                         $19.50 - $25
                                                                                           $11,232          $14,400               N/A                N/A           medical code;     established fees for                         $12,816         Respite care services, up to 15
               C.N.A                                    hours per          per hour                                                                                                                             per hour
                                                                                                                                                                 subject to medical this medical code                                                        minutes
                                                         month
                                                                                                                                                                 necessity and prior
                                                                                                                                                                    authorization

                                        Age 2 - 17

                                                                                                                                                                  GA Medicaid has
                                                                                                                                                                   not established
                                                      4 visits per day                                                                                               fees for this    Medicare has not                                                       T1005 -
         Respite for parents:                                               $120                                                                                                                                 $120
                                                        2 days per                         $11,520          $11,520               N/A                N/A           medical code;     established fees for                         $11,520         Respite care services, up to 15
              LPN/RN                                                       per visit                                                                                                                            per visit
                                                           month                                                                                                 subject to medical this medical code                                                        minutes
                                                                                                                                                                 necessity and prior
                                                                                                                                                                    authorization




                                                                                                                                                                                                                                                             S5120 -
                                                                                                                                                                          $0                 $0                   $0                $0
                                                                                                                                                                                                                                                  Chore services; per 15 minutes


           As adult 2034:
                                                      Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable
   Replace value of lost service for
                                        Age 18 - LE    - Subject to     - Subject to     - Subject to     - Subject to     - Subject to     - Subject to
 homemaking, interior/exterior home
                                                       speculation      speculation      speculation      speculation      speculation      speculation
maintenance, housecleaning, yard care

                                                                                                                                                                                                                                                           S5130-
                                                                                                                                                                          $0                 $0                   $0                $0           Homemaker service, nos; per 15
                                                                                                                                                                                                                                                          minutes




                                                                                                                                                                                                                                      TD&P Consulting, Inc. | May 7, 2019 | 39
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                                                                                                       Appendix A.1
                                                                                  Healthcare Delivery Valuation Charts - The Berens Report
                                                                                                        Plaintiff LCP
                                                                                    Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                                       Option 2: Residential Facility Care
                                                   The Berens Report                                                                                                                             TD&P Consulting, Inc.

                                                                                                                                                       GA
                                                                                                                                                                      CMS Medicare
                                                                                                                                                   Medicaid Fee                                                                         CPT / HCPCS Code
Recommended Needs for       Duration      Frequency          Unit Cost         Min.          Max.         Min. One Time        Max. One                               Fee Schedule         Fair Market Value     Annual
                                                                                                                                                    Schedule                                                                                   and
    Christian Willis                                        (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                  Rate                  (per unit)   Reasonable Value
                                                                                                                                                      Rate                                                                                 Description
                                                                                                                                                                        (per unit)
                                                                                                                                                    (per unit)



                                          2 days per
                                                                                                                                                                     Medicare has not                                                         T1005-
  Respite for parents:                    month or 48       $19.50 - $25                                                                                                                     $19.50 - $25
                                                                              $11,232       $14,400              N/A                N/A                             established fees for                       $12,816.00          Respite care services, up to 15
        C.N.A                              hours per          per hour                                                                                                                         per hour
                                                                                                                                                                     this medical code                                                        minutes
                                            month

                           Age 2 - 17
                                                                                                                                                 GA Medicaid has
                                                                                                                                                  not established
                                         4 visits per day                                                                                           fees for this    Medicare has not                                                         T1005 -
  Respite for parents:                                         $120                                                                                                                             $120
                                           2 days per                         $11,520       $11,520              N/A                N/A           medical code;     established fees for                         $11,520           Respite care services, up to 15
       LPN/RN                                                 per visit                                                                                                                        per visit
                                              month                                                                                             subject to medical this medical code                                                          minutes
                                                                                                                                                necessity and prior
                                                                                                                                                   authorization



                                            24 hours                                                                                                                 Medicare has not                                                          T2033 -
          Facility                                          $550 - $575                                                                                                                      $550 - $575
                           Age 18 - LE    365 days per                       $200,750      $209,875              N/A                N/A                             established fees for                       $205,312.50         Residential care, not otherwise
  Brain injury residence                                      per day                                                                                                                          per day
                                              year                                                                                                                   this medical code                                            specified (nos), waiver; per diem




                                                                                                                                                                                                                                               S9122 -
                                                                                                                                                                                         $12.14 per hour for
                                                                                                                                                                     Medicare has not                                            Home health aide or certified nurse
                                         all day except                                                                                             $5.00 per 15                         Home Health Aide
                             Age 2                                           $102,648      $131,600                                                                 established fees for                       $58,081.60       assistant, providing care in the home;
                                            overnight                                                                                                 minutes                            per Labor Statistic
                                                                                                                                                                     this medical code                                                         per hour
                                                                                                                                                                                          near Augusta, GA
         C.N.A
                                                            $19.50 - $25
                                                                                                                 N/A                N/A
                                                              per hour
                                            every day                                                                                                                                                                                          S9122 -
                                                                                                                                                                                         $12.14 per hour for
                                           except over                                                                                                               Medicare has not                                            Home health aide or certified nurse
                                                                                                                                                    $5.00 per 15                         Home Health Aide
                           Age 3 - 17       night and                         $81,588      $104,600                                                                 established fees for                       $44,970.40       assistant, providing care in the home;
                                                                                                                                                      minutes                            per Labor Statistic
                                         5 to 7 hours for                                                                                                            this medical code                                                         per hour
                                                                                                                                                                                          near Augusta, GA
                                           school days




                                                                                                                                                 GA Medicaid has
                                                                                                                                                  not established
                                                                                                                                                    fees for this    Medicare has not                                                         T1005 -
                                          2-3 visits per                                                                                                                                        $120
        LPN/RN             Age 2 - 17                          $120           $76,080      $119,880              N/A                N/A           medical code;     established fees for                         $97,980           Respite care services, up to 15
                                               day                                                                                                                                             per visit
                                                                                                                                                subject to medical this medical code                                                          minutes
                                                                                                                                                necessity and prior
                                                                                                                                                   authorization




                                                                                                                                                                                                                     TD&P Consulting, Inc. | May 7, 2019 | 40
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                                                                              Healthcare Delivery Valuation Charts - The Riddick Grisham Report
                                                                                                         Defense LCP
                                                                                     Prepared by: Thomas J. Dawson, III, Esq., MPH, MA


                                                                                                        Project Evaluations - Non Physician
                                              The Riddick-Grisham Report                                                                                                                    TD&P Consulting, Inc.

                                                                                                                                                GA
                                                                                                                                                                    CMS Medicare   Estimated Carrier
                                                                                                                                            Medicaid Fee                                                                                  CPT / HCPCS Code
Recommended Needs for   Duration      Frequency         Unit Cost         Min.          Max.       Min. One Time        Max. One                                    Fee Schedule    Reimbursement        Annual
                                                                                                                                             Schedule                                                                                            and
    Christian Willis                                   (Min. - Max.)   Annual Cost   Annual Cost        Cost            Time Cost                                       Rate             Rate        Reasonable Value
                                                                                                                                               Rate                                                                                          Description
                                                                                                                                                                      (per unit)       (per unit)
                                                                                                                                             (per unit)




                                                                                                                                                                                                                                                     97163-
                                                                                                                                                                                                                          Physical therapy evaluation: high complexity, requiring
                                                                                                                                                                                                                                               these components:
                                                                                                                                                                                                                          A history of present problem with 3 or more personal
                                                                                                                                                                                                                        factors and/or comorbidities that impact the plan of care;
                                                                                                                                                                                                                        An examination of body systems using standardized tests
                                                                                                                                                                                                                         and measures addressing a total of 4 or more elements
                                                                                                                                                                                                                        from any of the following: body structures and functions,
   Physical Therapy
                        Age 2 - 22   1 time per year     $280.50         $280.50       $280.50            N/A               N/A                 $69.34                 $81.70           $94.77           $111.59            activity limitations, and/or participation restrictions;
     Evaluation                                                                                                                                                                                                          A clinical presentation with unstable and unpredictable
                                                                                                                                                                                                                                               characteristics; and
                                                                                                                                                                                                                             Clinical decision making of high complexity using
                                                                                                                                                                                                                           standardized patient assessment instrument and/or
                                                                                                                                                                                                                              measurable assessment of functional outcome.
                                                                                                                                                                                                                           Typically, 45 minutes are spent face-to-face with the
                                                                                                                                                                                                                                              patient and/or family.




                                                                                                                                                                                                                                                      97167-
                                                                                                                                                                                                                            Occupational therapy evaluation, high complexity,
                                                                                                                                                                                                                                         requiring these components:
                                                                                                                                                                                                                        An occupational profile and medical and therapy history,
                                                                                                                                                                                                                        which includes review of medical and/or therapy records
                                                                                                                                                                                                                        and extensive additional review of physical, cognitive, or
                                                                                                                                                                                                                             psychosocial history related to current functional
                                                                                                                                                                                                                                                  performance;
                                                                                                                                                                                                                         An assessment(s) that identifies 5 or more performance
                                                                                                                                                                                                                        deficits (ie, relating to physical, cognitive, or psychosocial
                                                                                                                                                                                                                        skills) that result in activity limitations and/or participation
  Occupation Therapy                                                                                                                                                                                                                            restrictions; and
                        Age 2 - 22   1 time per year     $262.50         $262.50       $262.50            N/A               N/A                 $67.21                 $87.85          $101.91           $114.05          Clinical decision making of high analytic complexity,
      Evaluation
                                                                                                                                                                                                                        which includes an analysis of the patient profile, analysis
                                                                                                                                                                                                                             of data from comprehensive assessment(s), and
                                                                                                                                                                                                                           consideration of multiple treatment options. Patient
                                                                                                                                                                                                                           presents with comorbidities that affect occupational
                                                                                                                                                                                                                             performance. Significant modification of tasks or
                                                                                                                                                                                                                        assistance (eg, physical or verbal) with assessment(s) is
                                                                                                                                                                                                                           necessary to enable patient to complete evaluation
                                                                                                                                                                                                                                                   component.
                                                                                                                                                                                                                          Typically, 60 minutes are spent face-to-face with the
                                                                                                                                                                                                                                             patient and/or family.




                                                                                                                                                                                                                                            92523 -
                                                                                                                                                                                                                         Evaluation of speech sound production (eg,
                                                                                                                                                                                                                         articulation, phonological process, apraxia,
    Speech Therapy
                        Age 2 - 22   1 time per year     $334.50         $334.50       $334.50            N/A               N/A                $163.81                $192.83          $223.68           $224.10           dysarthria); with evaluation of language
      Evaluation
                                                                                                                                                                                                                        comprehension and expression (eg, receptive
                                                                                                                                                                                                                                   and expressive language)




                                                                                                                                                                                                                        TD&P Consulting, Inc. | May 7, 2019 |1
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                                                                                  Healthcare Delivery Valuation Charts - The Riddick Grisham Report
                                                                                                             Defense LCP
                                                                                         Prepared by: Thomas J. Dawson, III, Esq., MPH, MA


                                                                                                          Project Evaluations - Non Physician
                                               The Riddick-Grisham Report                                                                                                                        TD&P Consulting, Inc.

                                                                                                                                                  GA
                                                                                                                                                                      CMS Medicare    Estimated Carrier
                                                                                                                                              Medicaid Fee                                                                              CPT / HCPCS Code
Recommended Needs for    Duration      Frequency         Unit Cost         Min.           Max.       Min. One Time        Max. One                                    Fee Schedule     Reimbursement        Annual
                                                                                                                                               Schedule                                                                                        and
    Christian Willis                                    (Min. - Max.)   Annual Cost    Annual Cost        Cost            Time Cost                                       Rate              Rate        Reasonable Value
                                                                                                                                                 Rate                                                                                      Description
                                                                                                                                                                        (per unit)        (per unit)
                                                                                                                                               (per unit)




                                                                                                                                                                                                                                                97802-
                                                                                                                                             $14.89 per 15
      Nutritional                                                                                                                                                     $33.77 per 15                                         Medical nutrition therapy; initial assessment
                        Age 2 - LE    1 time per year      $140            $140           $140              N/A               N/A            minutes; not to                               $39.17             $46.67
      Evaluation                                                                                                                                                        minutes                                             and intervention, individual, face-to-face with
                                                                                                                                             exceed 3 units
                                                                                                                                                                                                                                    the patient, each 15 minutes




                                                                                                                                                                                                                                                97542-
                                        Every 3 to 5                                                                                          $13.94 per 15           $32.62 per 15
                        Age 2 - 15                                        $72.20         $120.33            N/A               N/A                                                          $37.84             $18.02         Wheelchair management (eg, assessment,
                                      times per year                                                                                            minutes                 minutes
                                                                                                                                                                                                                                fitting, training), each 15 minutes




      Wheelchair
                                                           $361
      Evaluation




                                                                                                                                                                                                                                                97542-
                                                                                                                                              $13.94 per 15           $32.62 per 15
                        Age 16 - 21   Every 5 years                       $72.20         $72.20             N/A               N/A                                                          $3,784            $433.99         Wheelchair management (eg, assessment,
                                                                                                                                                minutes                 minutes
                                                                                                                                                                                                                                fitting, training), each 15 minutes




                                                                                                                                            GA Medicaid has
                                                                                                                                             not established                                                                                    97799 -
                                                                                                                                                               Medicare has not
                                                                                                                                               fees for this                                                               Unlisted physical medicine/rehabilitation service
                         Age 2 - 8    1 time per year                    $1,990.80      $2,698.18           N/A               N/A                             established fees for                          $2,344.49
                                                                                                                                             medical code;                                                                                   or procedure
                                                                                                                                                               this medical code
                                                                                                                                             subject to prior
                                                            $408
                                                                                                                                              authorization
                                                         If done in                                                                                                                           $408
    Augmentative
                                                          Augusta                                                                                                                     If done in Augusta
 Communication(ACC)/
                                                        $3,573.60 -                                                                                                                        $3,573.60 -
 Assistive Technology
                                                         $4,988.35                                                                                                                          $4,988.35
      Evaluation
                                                         If done in                                                                                                                    If done in Atlanta
                                                                                                                                            GA Medicaid has
                                                           Atlanta
                                                                                                                                             not established                                                                                    97799 -
                                                                                                                                                               Medicare has not
                                                                                                                                               fees for this                                                               Unlisted physical medicine/rehabilitation service
                        Age 9 - LE    Every 3 years                       $663.60        $899.39            N/A               N/A                             established fees for                           $781.50
                                                                                                                                             medical code;                                                                                   or procedure
                                                                                                                                                               this medical code
                                                                                                                                             subject to prior
                                                                                                                                              authorization




                                                                                                                                                                                                                           TD&P Consulting, Inc. | May 7, 2019 |2
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                                                                               Healthcare Delivery Valuation Charts - The Riddick Grisham Report
                                                                                                          Defense LCP
                                                                                      Prepared by: Thomas J. Dawson, III, Esq., MPH, MA


                                                                                                                   Project Therapeutic
                                               The Riddick-Grisham Report                                                                                                                     TD&P Consulting, Inc.

                                                                                                                                                 GA
                                                                                                                                                                     CMS Medicare    Estimated Carrier
                                                                                                                                             Medicaid Fee                                                                             CPT / HCPCS Code
Recommended Needs for     Duration      Frequency        Unit Cost         Min.          Max.       Min. One Time        Max. One                                    Fee Schedule     Reimbursement        Annual
                                                                                                                                              Schedule                                                                                       and
    Christian Willis                                    (Min. - Max.)   Annual Cost   Annual Cost        Cost            Time Cost                                       Rate              Rate        Reasonable Value
                                                                                                                                                Rate                                                                                     Description
                                                                                                                                                                       (per unit)        (per unit)
                                                                                                                                              (per unit)




                                                                                                                                             $20.07 per 15           $29.92 per 15
                         Age 2 - 12       weekly                          $16,608       $16,608            N/A               N/A                                                          $34.71          $7,299.21
                                                                                                                                               minutes                 minutes




                                                                                                                                                                                                                                              97110 -
                                                                                                                                                                                                                          Therapeutic procedure, 1 or more areas, each
                                         1 time per                                                                                          $20.07 per 15           $29.92 per 15                                         15 minutes; therapeutic exercises to develop
    Physical Therapy     Age 13 - 21                       $346           $4,152        $4,152             N/A               N/A                                                          $34.71          $1,824.80
                                           month                                                                                               minutes                 minutes                                            strength and endurance, range of motion and
                                                                                                                                                                                                                                             flexibility




                                                                                                                                             $20.07 per 15           $29.92 per 15
                         Age 22 - LE   Every 3 months                     $1,384        $1,384             N/A               N/A                                                          $34.71           $608.27
                                                                                                                                               minutes                 minutes




                                                                                                                                             $22.98 per 15           $27.19 per 15
                         Age 2 - 12       weekly                          $18,048       $18,048            N/A               N/A                                                          $31.54          $7,142.28
                                                                                                                                               minutes                 minutes




                                                                                                                                                                                                                                              97140-
                                                                                                                                                                                                                           Manual therapy techniques (eg, mobilization/
                                         1 time per                                                                                          $22.98 per 15           $27.19 per 15
  Occupational Therapy   Age 13- 21                        $376           $4,512        $4,512             N/A               N/A                                                          $31.54          $1,785.57         manipulation, manual lymphatic drainage,
                                           month                                                                                               minutes                 minutes
                                                                                                                                                                                                                           manual traction), 1 or more regions, each 15
                                                                                                                                                                                                                                              minutes




                                                                                                                                             $22.98 per 15           $27.19 per 15
                         Age 22 - LE   Every 3 months                     $1,504        $1,504             N/A               N/A                                                          $31.54           $595.19
                                                                                                                                               minutes                 minutes




                                                                                                                                                                                                                          TD&P Consulting, Inc. | May 7, 2019 |3
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                                                                                       Healthcare Delivery Valuation Charts - The Riddick Grisham Report
                                                                                                                  Defense LCP
                                                                                              Prepared by: Thomas J. Dawson, III, Esq., MPH, MA


                                                                                                                         Project Therapeutic
                                                    The Riddick-Grisham Report                                                                                                                      TD&P Consulting, Inc.

                                                                                                                                                       GA
                                                                                                                                                                           CMS Medicare   Estimated Carrier
                                                                                                                                                   Medicaid Fee                                                                             CPT / HCPCS Code
 Recommended Needs for        Duration      Frequency         Unit Cost         Min.           Max.       Min. One Time        Max. One                                    Fee Schedule    Reimbursement        Annual
                                                                                                                                                    Schedule                                                                                       and
     Christian Willis                                        (Min. - Max.)   Annual Cost    Annual Cost        Cost            Time Cost                                       Rate             Rate        Reasonable Value
                                                                                                                                                      Rate                                                                                     Description
                                                                                                                                                                             (per unit)       (per unit)
                                                                                                                                                    (per unit)




                             Age 2 - 12        weekly                          $9,096         $9,096             N/A               N/A                 $39.55                 $76.89           $89.19          $4,402.25




                                                                                                                                                                                                                                                 92507 -
                                                                                                                                                                                                                                   Treatment of speech, language, voice,
                                             1 time per
     Speech Therapy          Age 13 - 21                       $189.50         $2,274         $2,274             N/A               N/A                 $39.55                 $76.89           $89.19          $1,100.56         communication, and/or auditory processing
                                               month
                                                                                                                                                                                                                                           disorder; individual




                             Age 22 - LE   Every 3 months                       $758           $758              N/A               N/A                 $39.55                 $76.89           $89.19           $366.85




                                                                                                                                                                                                                                                 90837 -
                                           Every 2 years
     Family counseling       Age 2 - 21                        $192.50        $1,636.25      $1,636.25           N/A               N/A                $111.16                $131.02          $151.98          $1,258.60           Psychotherapy, 60 minutes with patient
                                            17 session




                                                                                                                                                 GA Medicaid has
                                                                                                                                                  not established                                                                                   97799 -
                                                                                                                                                                    Medicare has not
Augmentative Communication                 6 hours every 3      $283                                                                                fees for this                               $283                           Unlisted physical medicine/rehabilitation service
                             Age 2 - LE                                        $56.60         $94.33             N/A               N/A                             established fees for                          $75.47
         Training                             to 5 years     per session                                                                          medical code;                              per session                                         or procedure
                                                                                                                                                                    this medical code
                                                                                                                                                  subject to prior
                                                                                                                                                   authorization




                                                                                                                                                                                                                               TD&P Consulting, Inc. | May 7, 2019 |4
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                                                                                                                           Wheelchair Needs
                                                    The Riddick-Grisham Report                                                                                                                            TD&P Consulting, Inc.

                                                                                                                                                        GA
                                                                                                                                                                             CMS Medicare
                                                                                                                                                    Medicaid Fee                                                                                 CPT / HCPCS Code
 Recommended Needs for          Duration      Frequency       Unit Cost         Min.          Max.         Min. One Time        Max. One                                     Fee Schedule      Fair Market Value     Annual
                                                                                                                                                     Schedule                                                                                           and
     Christian Willis                                        (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                        Rate               (per unit)   Reasonable Value
                                                                                                                                                       Rate                                                                                         Description
                                                                                                                                                                               (per unit)
                                                                                                                                                     (per unit)




                                                                                                                                                                                                    $4,045.95
                                                                                                                                                                                                                                                       E1161-
                                             Every 3 to 5                                                                                                                   $266.30 per rental (rate based on the
                               Age 2 - 15                                      $1,750       $2,916.67             N/A               N/A               $1,892.87                                                      $1,011.49       Manual adult size wheelchair, includes tilt in
                                               years                                                                                                                              rate          VHA Reasonable
                                                                                                                                                                                                                                                       space
                                                                                                                                                                                                 Cost estimate)



Custom light - weight manual
  wheelchair with shelf for
                                                                $8,750
augmentative communication
          device



                                                                                                                                                                                                    $4,045.95
                                                                                                                                                                                                                                                       E1161-
                                                                                                                                                                            $266.30 per rental (rate based on the
                               Age 16 - LE   Every 5 years                     $1,750        $1,750               N/A               N/A               $1,892.87                                                       $809.19        Manual adult size wheelchair, includes tilt in
                                                                                                                                                                                  rate          VHA Reasonable
                                                                                                                                                                                                                                                       space
                                                                                                                                                                                                 Cost estimate)




                                                                                                                                                                                                     $132.76
                                                                                                                                                                                                                                                      E2601-
                                                                $442                                                                                                                           (rate based on the
                                             Every 3 years                     $147.33       $147.33              N/A               N/A                 $48.93                   $59.33                                $44.25        General use wheelchair seat cushion, width
                                                               Cushion                                                                                                                          VHA Reasonable
                                                                                                                                                                                                                                          less than 22 inches, any depth
                                                                                                                                                                                                 Cost estimate)




Wheelchair cushion w/covers    Age 2 - LE




                                                                                                                                                                                                                                                     E2619 -
                                                                 $78                                                                                                                                  $78                           Replacement cover for wheelchair seat cushion
                                               Annually                         $78           $78                 N/A               N/A                 $41.06                   $49.77                                 $78
                                                                Cover                                                                                                                                Cover                                    or back cushion, each




                                                                                                                                                                                                                                    TD&P Consulting, Inc. | May 7, 2019 |5
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                                                                                               Wheelchair Accessories and Maintenance
                                           The Riddick-Grisham Report                                                                                                                      TD&P Consulting, Inc.

                                                                                                                                           GA
                                                                                                                                                               CMS Medicare
                                                                                                                                       Medicaid Fee                                                                                 CPT / HCPCS Code
Recommended Needs for   Duration     Frequency     Unit Cost         Min.          Max.       Min. One Time        Max. One                                    Fee Schedule       Fair Market Value     Annual
                                                                                                                                        Schedule                                                                                           and
    Christian Willis                              (Min. - Max.)   Annual Cost   Annual Cost        Cost            Time Cost                                       Rate                (per unit)   Reasonable Value
                                                                                                                                          Rate                                                                                         Description
                                                                                                                                                                 (per unit)
                                                                                                                                        (per unit)




                                                                                                                                                                                                                                         K0739 -
                                                                                                                                                                                                                          Repair or nonroutine service for durable
                                                                                                                                                            Medicare has not
   Manual Wheelchair                                                                                                                                                                                                       medical equipment other than oxygen
                        Age 2 - LE    Annually      $437.50         $291.66        $350              N/A               N/A                 $10.73          established fees for       $437.50           $320.83
     Maintenance                                                                                                                                                                                                        equipment requiring the skill of a technician,
                                                                                                                                                            this medical code
                                                                                                                                                                                                                             labor component, per 15 minutes




                                                                                                                                                                                                                       TD&P Consulting, Inc. | May 7, 2019 |6
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                                                                                                               Aids for Independent Function
                                               The Riddick-Grisham Report                                                                                                                          TD&P Consulting, Inc.

                                                                                                                                                   GA
                                                                                                                                                                       CMS Medicare
                                                                                                                                               Medicaid Fee                                                                                 CPT / HCPCS Code
Recommended Needs for      Duration      Frequency       Unit Cost         Min.          Max.         Min. One Time        Max. One                                    Fee Schedule       Fair Market Value     Annual
                                                                                                                                                Schedule                                                                                           and
    Christian Willis                                    (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                       Rate                (per unit)   Reasonable Value
                                                                                                                                                  Rate                                                                                         Description
                                                                                                                                                                         (per unit)
                                                                                                                                                (per unit)




                                                                                                                                             GA Medicaid has
                                                                                                                                              not established
                                                                                                                                                                Medicare has not                                                                E1399 -
                                                                                                                                                fees for this
    Portable Ramps         Age 2 - LE   2 times only      $229.50          N/A           N/A              $459.00            $459.00                           established fees for           $229.50           $459.00         Durable medical equipment, miscellaneous
                                                                                                                                              medical code;
                                                                                                                                                                this medical code
                                                                                                                                              subject to prior
                                                                                                                                               authorization




                                                                                                                                                                                              $126.76                                             E0240 -
                                                                                                                                                                    Medicare has not
                                                          $1,336 -                                                                                                                      (rate based on the                     Bath/shower chair, with or without wheels, any
      Shower Chair         Age 2 - LE   Every 5 years                     $267.20       $322.20              N/A               N/A                $157.67          established fees for                         $25.35
                                                           $1,611                                                                                                                        VHA Reasonable                                            size
                                                                                                                                                                    this medical code
                                                                                                                                                                                          Cost estimate)




                                                                                                                                             GA Medicaid has
                                                                                                                                              not established                             $31.80
                                                                                                                                                                Medicare has not                                                                 A9281-
         Grab bars                                         $38                                                                                  fees for this                       (rate based on the
                           Age 2 - LE   2 times only                       N/A           N/A                $228               $228                            established fees for                             $190.80          Reaching/grabbing device, any type, any
  ( 1- 3 bars each time)                                  per bar                                                                             medical code;                          VHA Reasonable
                                                                                                                                                                this medical code                                                             length, each
                                                                                                                                              subject to prior                        Cost estimate)
                                                                                                                                               authorization




                                                                                                                                                                                                                                                 K0739 -
                                                                                                                                                                                                                                  Repair or nonroutine service for durable
        Installation                                                                                                                                                Medicare has not
                                                                                                                                                                                                                                   medical equipment other than oxygen
         Grab bars         Age 2 - LE   2 times only       $125            N/A           N/A                $250               $250                  $11           established fees for        $125              $250
                                                                                                                                                                                                                                equipment requiring the skill of a technician,
  ( 1- 3 bars each time)                                                                                                                                            this medical code
                                                                                                                                                                                                                                     labor component, per 15 minutes




                                                                                                                                                                                                                               TD&P Consulting, Inc. | May 7, 2019 |7
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                                                                                                                  Aids for Independent Function
                                                   The Riddick-Grisham Report                                                                                                                      TD&P Consulting, Inc.

                                                                                                                                                      GA
                                                                                                                                                                          CMS Medicare
                                                                                                                                                  Medicaid Fee                                                                              CPT / HCPCS Code
 Recommended Needs for        Duration      Frequency       Unit Cost         Min.          Max.         Min. One Time        Max. One                                    Fee Schedule    Fair Market Value     Annual
                                                                                                                                                   Schedule                                                                                        and
     Christian Willis                                      (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                       Rate             (per unit)   Reasonable Value
                                                                                                                                                     Rate                                                                                      Description
                                                                                                                                                                            (per unit)
                                                                                                                                                   (per unit)




                                                                                                                                                GA Medicaid has
                                                                                                                                                 not established                                                                                   E8000 -
      Rolling walker -                                                                                                                                             Medicare has not
                                                                                                                                                   fees for this                                                                Gait trainer, pediatric size, posterior support,
       Gait trainer          Age 2 - LE    Every 5 years    $3,284.00        $656.80       $656.80              N/A               N/A                             established fees for       $3,284.00          $656.80
                                                                                                                                                 medical code;                                                                   includes all accessories and components
   w/communication tray                                                                                                                                            this medical code
                                                                                                                                                 subject to prior
                                                                                                                                                  authorization




                                                                                                                                                GA Medicaid has
                                                                                                                                                 not established
                                                                                                                                                                                                                                                 E2511 -
                                                                                                                                                   fees for this    Medicare has not
                                                                                                                                                                                                                                 Speech generating software program, for
                             Age 4 - 21    4 times only                       N/A           N/A               $2,258             $2,258          medical code;     established fees for                         $2,258
                                                                                                                                                                                                                               personal computer or personal digital assistant
                                                                                                                                               subject to medical this medical code
                                                                                                                                               necessity and prior
                                                                                                                                                  authorization




Augmentative Communication
                                                             $564.50                                                                                                                          $564.50
          Device




                                                                                                                                                GA Medicaid has
                                                                                                                                                 not established
                                                                                                                                                                                                                                                 E2511 -
                                                                                                                                                   fees for this    Medicare has not
                                           Every 5 to 10                                                                                                                                                                         Speech generating software program, for
                             Age 22 - LE                                     $56.45        $112.90              N/A               N/A            medical code;     established fees for                         $84.68
                                              years                                                                                                                                                                            personal computer or personal digital assistant
                                                                                                                                               subject to medical this medical code
                                                                                                                                               necessity and prior
                                                                                                                                                  authorization




                                                                                                                                                                                                                               TD&P Consulting, Inc. | May 7, 2019 |8
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                                                                                                                               Orthotics
                                                     The Riddick-Grisham Report                                                                                                                      TD&P Consulting, Inc.

                                                                                                                                                       GA
                                                                                                                                                                           CMS Medicare
                                                                                                                                                   Medicaid Fee                                                                             CPT / HCPCS Code
Recommended Needs for           Duration      Frequency        Unit Cost         Min.          Max.       Min. One Time        Max. One                                    Fee Schedule   Fair Market Value     Annual
                                                                                                                                                    Schedule                                                                                       and
    Christian Willis                                          (Min. - Max.)   Annual Cost   Annual Cost        Cost            Time Cost                                       Rate            (per unit)   Reasonable Value
                                                                                                                                                      Rate                                                                                     Description
                                                                                                                                                                             (per unit)
                                                                                                                                                    (per unit)




                                                                                                                                                                                                                                                   L1950 -
                                                                                                                                                                                               $1,261.94
                                                                                                                                                                                                                                   Ankle foot orthosis, spiral, (institute of
                                             Every 1 to 1.5                                                                                                                               (rate based on the
                                Age 2 - 15                                      $933.33       $1,400             N/A               N/A                $467.84                $675.96                            $1,009.55       rehabilitative medicine type), plastic, custom-
                                                years                                                                                                                                      VHA Reasonable
                                                                                                                                                                                                                                                  fabricated
                                                                                                                                                                                            Cost estimate)




Bilateral Ankle/Foot Orthosis                                    $1,400




                                                                                                                                                                                                                                                   L1950 -
                                                                                                                                                                                               $1,261.94
                                                                                                                                                                                                                                   Ankle foot orthosis, spiral, (institute of
                                                                                                                                                                                          (rate based on the
                                Age 16- LE   Every 3 years                      $466.67       $466.67            N/A               N/A                $467.84                $675.96                             $420.65        rehabilitative medicine type), plastic, custom-
                                                                                                                                                                                           VHA Reasonable
                                                                                                                                                                                                                                                  fabricated
                                                                                                                                                                                            Cost estimate)




                                                                                                                                                                                                                               TD&P Consulting, Inc. | May 7, 2019 |9
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                                                                                                          Home Furnishings and Accessories
                                              The Riddick-Grisham Report                                                                                                                              TD&P Consulting, Inc.

                                                                                                                                                  GA
                                                                                                                                                                       CMS Medicare
                                                                                                                                              Medicaid Fee                                                                                  CPT / HCPCS Code
Recommended Needs for    Duration      Frequency        Unit Cost         Min.          Max.         Min. One Time        Max. One                                     Fee Schedule        Fair Market Value     Annual
                                                                                                                                               Schedule                                                                                            and
    Christian Willis                                   (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                        Rate                 (per unit)   Reasonable Value
                                                                                                                                                 Rate                                                                                          Description
                                                                                                                                                                         (per unit)
                                                                                                                                               (per unit)

                                                                                                                   Option 1: In Home Care



                                                                                                                                                                                                                                                   E0265 -
                                                                                                                                                                                                                                 Hospital bed, total electric (head, foot and
                                                                                                                                                                      $139.64 per rental        $9,084
                                                          $9,804         $605.60       $908.40              N/A               N/A               $1,359.20                                                           $757        height adjustments), with any type side rails,
                                                                                                                                                                            rate                 twin
                                                                                                                                                                                                                                                with mattress



                                      Every 10 to 15
    Sleep Safe Bed       Age 7 - LE
                                          years

                                                                                                                                            GA Medicaid has                                                                                          T1999-
                                                                                                                                             not established                                                                    Miscellaneous therapeutic items and supplies,
                                                                                                                                               fees for this    Medicare has not                $1,000                            retail purchases, not otherwise classified;
                                                          $1,000         $66.67         $100                N/A               N/A            medical code;     established fees for            shipping/           $83.33                identify product in ""remarks""
                                                                                                                                           subject to medical this medical code                assembly
                                                                                                                                           necessity and prior                                                                                   A9270-
                                                                                                                                              authorization                                                                             Non-covered item or service




                                                                                                                                            GA Medicaid has
                                                                                                                                             not established                                    $2,356.86                                             E0640 -
                                                                                                                                               fees for this                               (rate based on the                       Patient lift, fixed system, includes all
                                                          $4,826          N/A           N/A               $9,652             $9,652                                       $123.64                                $4,713.72
                                                                                                                                             medical code;                                  VHA Reasonable                               components/accessories
                                                                                                                                             subject to prior                                Cost estimate)
                                                                                                                                              authorization




                                                                                                                                            GA Medicaid has                                                                                          T1999-
                                                                                                                                             not established                                                                    Miscellaneous therapeutic items and supplies,
                                                                                                                                               fees for this    Medicare has not                                                  retail purchases, not otherwise classified;
                                                                                                                                                                                                $275
  Overhead Lift System   Age 7 - LE      2 times          $275            N/A           N/A                $550               $550           medical code;     established fees for                                 $550                 identify product in ""remarks""
                                                                                                                                                                                             Hand control
                                                                                                                                           subject to medical this medical code
                                                                                                                                           necessity and prior                                                                                   A9270-
                                                                                                                                              authorization                                                                             Non-covered item or service




                                                                                                                                            GA Medicaid has                                                                                          T1999-
                                                                                                                                             not established                                                                    Miscellaneous therapeutic items and supplies,
                                                                                                                                               fees for this    Medicare has not                                                  retail purchases, not otherwise classified;
                                                                                                                                                                                               $2,191
                                                          $225            N/A           N/A               $4,382             $4,382          medical code;     established fees for                                $4,382                identify product in ""remarks""
                                                                                                                                                                                              Easy track
                                                                                                                                           subject to medical this medical code
                                                                                                                                           necessity and prior                                                                                   A9270-
                                                                                                                                              authorization                                                                             Non-covered item or service




                                                                                                                                                                                                                              TD&P Consulting, Inc. | May 7, 2019 |10
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                                                                                                         Home Furnishings and Accessories
                                                The Riddick-Grisham Report                                                                                                                          TD&P Consulting, Inc.

                                                                                                                                                 GA
                                                                                                                                                                     CMS Medicare
                                                                                                                                             Medicaid Fee                                                                                 CPT / HCPCS Code
Recommended Needs for      Duration      Frequency       Unit Cost         Min.          Max.       Min. One Time        Max. One                                    Fee Schedule        Fair Market Value     Annual
                                                                                                                                              Schedule                                                                                           and
    Christian Willis                                    (Min. - Max.)   Annual Cost   Annual Cost        Cost            Time Cost                                       Rate                 (per unit)   Reasonable Value
                                                                                                                                                Rate                                                                                         Description
                                                                                                                                                                       (per unit)
                                                                                                                                              (per unit)

                                                                                                                 Option 1: In Home Care




                                                                                                                                                                                               $227.50
                                                                                                                                                                                                                                                 E0621 -
                                                                                                                                                                                         (rate based on the
 Sling for Overhead Lift   Age 7 - LE   Every 3 years      $415           $138.33       $138.33            N/A               N/A                 $65.27                   $77.91                                 $75.83         Sling or seat, patient lift, canvas or nylon
                                                                                                                                                                                          VHA Reasonable
                                                                                                                                                                                           Cost estimate)




                                                                                                                                                                                              $1,432.14                                           E0630 -
                                        Every 7 to 10     $1,693 -                                                                                                   $57.84 per rental   (rate based on the                   Patient lift, hydraulic or mechanical, includes
   Electric Hoyer Lift     Age 7 - LE                                     $169.30       $375.29            N/A               N/A                $734.60                                                         $168.49
                                           years           $2,627                                                                                                          rate           VHA Reasonable                           any seat, sling, strap(s) or pad(s)
                                                                                                                                                                                           Cost estimate)




                                                                                                                                                                                               $227.50
                                                                                                                                                                                                                                                 E0621 -
                                        Every 3 to 5                                                                                                                                     (rate based on the
        Lift sling         Age 7 - LE                     $133.50         $26.70        $44.50             N/A               N/A                 $65.27                   $77.91                                 $56.88         Sling or seat, patient lift, canvas or nylon
                                          years                                                                                                                                           VHA Reasonable
                                                                                                                                                                                           Cost estimate)




                                                                                                                                                                                                                            TD&P Consulting, Inc. | May 7, 2019 |11
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                                                                                                             Home Furnishings and Accessories
                                                 The Riddick-Grisham Report                                                                                                                              TD&P Consulting, Inc.

                                                                                                                                                     GA
                                                                                                                                                                          CMS Medicare
                                                                                                                                                 Medicaid Fee                                                                                  CPT / HCPCS Code
Recommended Needs for       Duration      Frequency        Unit Cost         Min.          Max.         Min. One Time        Max. One                                     Fee Schedule        Fair Market Value     Annual
                                                                                                                                                  Schedule                                                                                            and
    Christian Willis                                      (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                        Rate                 (per unit)   Reasonable Value
                                                                                                                                                    Rate                                                                                          Description
                                                                                                                                                                            (per unit)
                                                                                                                                                  (per unit)

                                                                                                              Option 2: Residential Facility Care

                                                                                                                                                                                                                                                      E0265 -
                                                                                                                                                                                                                                    Hospital bed, total electric (head, foot and
                                                             $9,084                                                                                                      $139.64 per rental        $9,084
                                                                            $605.60       $908.40              N/A               N/A               $1,359.20                                                         $757.00       height adjustments), with any type side rails,
                                                              twin                                                                                                             rate                 twin
                                                                                                                                                                                                                                                   with mattress

                                         Every 10 to 15
     Sleep safe bed         Age 7 - 21
                                             years                                                                                                                                                                                                      T1999-
                                                                                                                                                                                                                                   Miscellaneous therapeutic items and supplies,
                                                            $1,000                                                                                                    Medicare has not             $1,000                            retail purchases, not otherwise classified;
                                                           shipping/        $66.67        $100.00              N/A               N/A                                 established fees for         shipping/           $83.33                identify product in ""remarks""
                                                           assembly                                                                                                   this medical code           assembly
                                                                                                                                                                                                                                                    A9270-
                                                                                                                                                                                                                                           Non-covered item or service


                                                                                                                                                                                                   $2,356.86                                             E0640 -
                                                            $4,826                                                                                                                            (rate based on the                       Patient lift, fixed system, includes all
                                                                             N/A           N/A             $9,652.00          $9,652.00                                      $123.64                                $4,713.72
                                                            Voyager                                                                            GA Medicaid has                                 VHA Reasonable                               components/accessories
                                                                                                                                                not established                                 Cost estimate)
                                                                                                                                                  fees for this
                                                                                                                                                medical code;
                                                                                                                                              subject to medical                                                                                        T1999-
                                                                                                                                              necessity and prior                                                                  Miscellaneous therapeutic items and supplies,
                                                                                                                                                 authorization        Medicare has not                                               retail purchases, not otherwise classified;
                                                             $275                                                                                                                                  $275
  Overhead Lift System      Age 7 - 21      2 times                          N/A           N/A              $550.00            $550.00                               established fees for                            $550.00                identify product in ""remarks""
                                                          Hand control                                                                                                                          Hand control
                                                                                                                                                                      this medical code
                                                                                                                                                                                                                                                        A9270-
                                                                                                                                                                                                                                             Non-covered item or service
                                                                                                                                                                                                                                                        T1999-
                                                                                                                                                                                                                                   Miscellaneous therapeutic items and supplies,
                                                                                                                                                                      Medicare has not                                               retail purchases, not otherwise classified;
                                                            $2,191                                                                                                                                $2,191
                                                                             N/A           N/A             $4,382.00          $4,382.00                              established fees for                           $4,382.00               identify product in ""remarks""
                                                           Easy track                                                                                                                            Easy track
                                                                                                                                                                      this medical code
                                                                                                                                                                                                                                                    A9270-
                                                                                                                                                                                                                                           Non-covered item or service


                                                                                                                                                                                                    $227.50
                                                                                                                                                                                                                                                      E0621 -
                                                                                                                                                                                              (rate based on the
  Sling for overhead lift   Age 7 - 21   Every 3 years       $415           $138.33       $138.33              N/A               N/A                 $65.27                   $77.91                                  $75.83         Sling or seat, patient lift, canvas or nylon
                                                                                                                                                                                               VHA Reasonable
                                                                                                                                                                                                Cost estimate)




                                                                                                                                                                                                   $1,432.14                                           E0630 -
                                         Every 7 to 10      $1,693 -                                                                                                     $57.84 per rental    (rate based on the                   Patient lift, hydraulic or mechanical, includes
   Electric Hoyer Lift      Age 7 - 21                                      $169.30       $375.29              N/A               N/A                $734.60                                                          $168.49
                                            years            $2,627                                                                                                            rate            VHA Reasonable                           any seat, sling, strap(s) or pad(s)
                                                                                                                                                                                                Cost estimate)




                                                                                                                                                                                                    $227.50
                                                                                                                                                                                                                                                      E0621 -
                                          Every 3 to 5                                                                                                                                        (rate based on the
         Lift sling         Age 7 - 21                      $133.50         $26.70        $44.50               N/A               N/A                 $65.27                   $77.91                                  $56.88         Sling or seat, patient lift, canvas or nylon
                                            years                                                                                                                                              VHA Reasonable
                                                                                                                                                                                                Cost estimate)




                                                                                                                                                                                                                                 TD&P Consulting, Inc. | May 7, 2019 |12
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                                                                                     Prepared by: Thomas J. Dawson, III, Esq., MPH, MA


                                                                                                                       Medications
                                             The Riddick-Grisham Report                                                                                                                     TD&P Consulting, Inc.

                                                                                                                                                GA
                                                                                                                                                                    CMS Medicare
                                                                                                                                            Medicaid Fee                                                                      CPT / HCPCS Code
Recommended Needs for   Duration      Frequency        Unit Cost          Min.          Max.       Min. One Time        Max. One                                    Fee Schedule   Fair Market Value     Annual
                                                                                                                                             Schedule                                                                                and
    Christian Willis                                  (Min. - Max.)    Annual Cost   Annual Cost        Cost            Time Cost                                       Rate            (per unit)   Reasonable Value
                                                                                                                                               Rate                                                                              Description
                                                                                                                                                                      (per unit)
                                                                                                                                             (per unit)




                                                                                                                                          GA Medicaid has
                                                                                                                                           not established
                                                      $39.99 per 59                                                                                          Medicare has not
                                     3 teaspoon per                                                                                          fees for this                       $39.99 per 59 oz.                                 A9150 -
      Mira LAX          Age 2 - LE                          oz.          $123.78       $123.78            N/A               N/A                             established fees for                         $123.78
                                           day                                                                                             medical code;                           1 oz. = 6 tsp                             Non-prescription drugs
                                                       1 oz. = 6 tsp                                                                                         this medical code
                                                                                                                                           subject to prior
                                                                                                                                            authorization




                                                                                                                                                                                                                    TD&P Consulting, Inc. | May 7, 2019 |13
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                                                                                                                Supplies and Equipment
                                              The Riddick-Grisham Report                                                                                                                         TD&P Consulting, Inc.

                                                                                                                                                GA
                                                                                                                                                                    CMS Medicare
                                                                                                                                            Medicaid Fee                                                                               CPT / HCPCS Code
Recommended Needs for    Duration      Frequency        Unit Cost         Min.          Max.       Min. One Time        Max. One                                    Fee Schedule       Fair Market Value     Annual
                                                                                                                                             Schedule                                                                                         and
    Christian Willis                                   (Min. - Max.)   Annual Cost   Annual Cost        Cost            Time Cost                                       Rate                (per unit)   Reasonable Value
                                                                                                                                               Rate                                                                                       Description
                                                                                                                                                                      (per unit)
                                                                                                                                             (per unit)




                                                                                                                                                                 Medicare has not                                                               T4523-
        Diapers          Age 2 - LE     6 per day       $.22 - $.70      $482.13      $1,534.05           N/A               N/A                  $0.60          established fees for      $.22 - $.70         $1,008        Adult sized disposable incontinence product,
                                                                                                                                                                 this medical code                                                     brief/diaper, large, each




                                                          $3.97                                                                                                                             $3.97                                              A5120-
        Wipes            Age 2 - LE   1 box per week                     $190.56       $190.56            N/A               N/A                  $0.18                  0.27                                 $190.56
                                                         per box                                                                                                                           per box                               Skin barrier, wipes or swabs, each




                                                                                                                                          GA Medicaid has
                                                                                                                                           not established
                                                                                                                                                             Medicare has not
                                       2 boxes per        $4.99                                                                              fees for this                                  $4.99                                             A4927-
  Non - sterile Gloves   Age 2 - LE                                      $518.96       $518.96            N/A               N/A                             established fees for                             $518.96
                                          week           per box                                                                           medical code;                                   per box                                  Gloves, non-sterile, per 100
                                                                                                                                                             this medical code
                                                                                                                                           subject to prior
                                                                                                                                            authorization




                                                                                                                                                                                                                                                T4535-
                                                                                                                                                                 Medicare has not
                                                                                                                                                                                                                                              Disposable
   Protective bed pad    Age 2 - LE   1 time per day      $0.17          $62.09        $62.09             N/A               N/A                  $0.50          established fees for        $0.17             $62.09
                                                                                                                                                                                                                              liner/shield/guard/pad/undergarment, for
                                                                                                                                                                 this medical code
                                                                                                                                                                                                                                          incontinence, each




                                                                                                                                                                                                                                              B4087 -
                                                                                                                                                                                                                            Gastrostomy/jejunostomy tube, standard, any
                                       4 times per                                                                                                                                                                                    material, any type, each
     Mickey button       Age 2 - LE                      $168.71         $674.84       $674.84            N/A               N/A                 $30.58                 $26.01              $168.71           $674.84
                                           year




                                                                                                                                                                                                                         TD&P Consulting, Inc. | May 7, 2019 |14
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                                                                                      Prepared by: Thomas J. Dawson, III, Esq., MPH, MA


                                                                                                                 Supplies and Equipment
                                             The Riddick-Grisham Report                                                                                                                       TD&P Consulting, Inc.

                                                                                                                                                 GA
                                                                                                                                                                     CMS Medicare
                                                                                                                                             Medicaid Fee                                                                              CPT / HCPCS Code
Recommended Needs for   Duration      Frequency        Unit Cost         Min.          Max.         Min. One Time        Max. One                                    Fee Schedule   Fair Market Value     Annual
                                                                                                                                              Schedule                                                                                        and
    Christian Willis                                  (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                       Rate            (per unit)   Reasonable Value
                                                                                                                                                Rate                                                                                      Description
                                                                                                                                                                       (per unit)
                                                                                                                                              (per unit)


                                                                                                                                                                                                                                               B4152 -
                                                                                                                                                                                                                         Enteral nutritionally complete, calorically dense
                                                                                                                                                                                                                         (equal to or greater than 1.5 kcal/ml) with intact
                                                          1.44                                                                                                                            1.44                                   nutrients, includes proteins, fats,
       Pediasure        Age 2 - LE   240 ml per day                     $525.96       $525.96              N/A               N/A                  $0.46                  0.31                             $525.96
                                                        per each                                                                                                                        per each                            carbohydrates, vitamins and minerals, may
                                                                                                                                                                                                                          include fiber, administered through an enteral
                                                                                                                                                                                                                                feeding tube, 100 calories = 1 unit




                                                                                                                                           GA Medicaid has
                                                                                                                                            not established
                                                                                                                                                                                                                                              B9002 -
                                                                                                                                              fees for this
    Kangaroo pump       Age 2 - LE   Every 5 years       $529           $105.80       $105.80              N/A               N/A                                       $639.98           $529             $105.80           Enteral nutrition infusion pump, any type
                                                                                                                                            medical code;
                                                                                                                                            subject to prior
                                                                                                                                             authorization




                                                                                                                                           GA Medicaid has
                                                                                                                                            not established
                                                                                                                                                              Medicare has not
                                                                                                                                              fees for this                                                                                   S1015-
    Extension tubing    Age 2 - LE      Weekly           $3.41          $177.32       $177.32              N/A               N/A                             established fees for        $3.41            $177.32
                                                                                                                                            medical code;                                                                             Iv tubing extension set
                                                                                                                                                              this medical code
                                                                                                                                            subject to prior
                                                                                                                                             authorization




                                                                                                                                           GA Medicaid has
                                                                                                                                            not established
                                                                                                                                                                                                                                             E0776 -
                                                                                                                                              fees for this
        IV Pole         Age 2 - LE    2 times only       $27.43          N/A           N/A               $54.86             $54.86                                      136.96           $27.43            $54.86                            Iv pole
                                                                                                                                            medical code;
                                                                                                                                            subject to prior
                                                                                                                                             authorization




                                                                                                                                                                                                                                              B4034-
                                                                                                                                                                                                                         Enteral feeding supply kit; syringe fed, per day,
                                                        $109.07                                                                                                                         $109.07
      Feed bags         Age 2 - LE       Daily                         $1,327.93     $1,327.93             N/A               N/A                  $5.10                 $3.08                            $1,327.93         includes but not limited to feeding/flushing
                                                       case of 30                                                                                                                      case of 30
                                                                                                                                                                                                                          syringe, administration set tubing, dressings,
                                                                                                                                                                                                                                               tape




                                                                                                                                           GA Medicaid has
                                                                                                                                            not established
                                                                                                                                                              Medicare has not
                                                                                                                                              fees for this                                                                                   A4213-
    60 CC syringes      Age 2 - LE      Weekly           $0.40          $20.80        $20.80               N/A               N/A                             established fees for        $0.40             $20.80
                                                                                                                                            medical code;                                                                    Syringe, sterile, 20 cc or greater, each
                                                                                                                                                              this medical code
                                                                                                                                            subject to prior
                                                                                                                                             authorization




                                                                                                                                                                                                                      TD&P Consulting, Inc. | May 7, 2019 |15
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                                                                                                                   Home / Facility Care
                                              The Riddick-Grisham Report                                                                                                                         TD&P Consulting, Inc.

                                                                                                                                                 GA
                                                                                                                                                                     CMS Medicare
                                                                                                                                             Medicaid Fee                                                                              CPT / HCPCS Code
Recommended Needs for   Duration      Frequency          Unit Cost         Min.          Max.       Min. One Time        Max. One                                    Fee Schedule    Fair Market Value     Annual
                                                                                                                                              Schedule                                                                                        and
    Christian Willis                                    (Min. - Max.)   Annual Cost   Annual Cost        Cost            Time Cost                                       Rate             (per unit)   Reasonable Value
                                                                                                                                                Rate                                                                                      Description
                                                                                                                                                                       (per unit)
                                                                                                                                              (per unit)




                                     39 weeks per
                                          year
                                      8 hours per                                                                                                                                     $12.14 per hour for                                   S9122 -
                                                                                                                                                                  Medicare has not
                                       weekdays                                                                                               $5.00 per 15                            Home Health Aide                     Home health aide or certified nurse assistant,
                        Age 2 - 7                                       $73,820.50    $73,820.50           N/A               N/A                                 established fees for                       $43,716.14
                                     11 hours per                                                                                               minutes                               per Labor Statistic                     providing care in the home; per hour
                                                                                                                                                                  this medical code
                                     weekend plus                                                                                                                                      near Augusta, GA
                                     11 weeks for
                                        summer

                                                           $20.50
        C.N.A
                                                          per hour
                                      39 weeks per
                                          year
                                       8 hours per
                                                                                                                                                                                      $12.14 per hour for                                   S9122 -
                                        weekdays                                                                                                                  Medicare has not
                                                                                                                                              $5.00 per 15                            Home Health Aide                     Home health aide or certified nurse assistant,
                        Age 8 - 21    11 hours per                      $74,886.50    $74,886.50           N/A               N/A                                 established fees for                       $44,347.42
                                                                                                                                                minutes                               per Labor Statistic                     providing care in the home; per hour
                                      weekend plus                                                                                                                this medical code
                                                                                                                                                                                       near Augusta, GA
                                      11 weeks for
                                     summer minus
                                     4 days at camp




                                                                                                                                                                                      $24.70 per hour for
                                                                                                                                                                  Medicare has not                                                            S9123-
                                                                                                                                                                                      LPN/LVN per Labor
                        Age 2 - 4    3 visits per day                   $60,266.25    $60,266.25           N/A               N/A              $65 per day        established fees for                       $27,065.03    Nursing care, in the home; by registered nurse,
                                                                                                                                                                                        Statistic near
                                                                                                                                                                  this medical code                                                           per hour
                                                                                                                                                                                         Augusta, GA



                                                            $55
        LPN
                                                          per visit




                                                                                                                                                                                      $24.70 per hour for
                                                                                                                                                                  Medicare has not                                                             S9124-
                                                                                                                                                                                      LPN/LVN per Labor
                        Age 5 - 21   2 visit per day                    $40,177.50    $40,177.50           N/A               N/A              $50 per day        established fees for                       $18,043.35    Nursing care, in the home; by licensed practical
                                                                                                                                                                                        Statistic near
                                                                                                                                                                  this medical code                                                       nurse, per hour
                                                                                                                                                                                         Augusta, GA




                                                                                                                                                                                                                         TD&P Consulting, Inc. | May 7, 2019 |16
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                                                                                                                     Home / Facility Care
                                               The Riddick-Grisham Report                                                                                                                          TD&P Consulting, Inc.

                                                                                                                                                   GA
                                                                                                                                                                       CMS Medicare
                                                                                                                                               Medicaid Fee                                                                              CPT / HCPCS Code
Recommended Needs for    Duration       Frequency         Unit Cost         Min.           Max.       Min. One Time        Max. One                                    Fee Schedule    Fair Market Value     Annual
                                                                                                                                                Schedule                                                                                        and
    Christian Willis                                     (Min. - Max.)   Annual Cost    Annual Cost        Cost            Time Cost                                       Rate             (per unit)   Reasonable Value
                                                                                                                                                  Rate                                                                                      Description
                                                                                                                                                                         (per unit)
                                                                                                                                                (per unit)

                                                                                                                   Option 1: In Home Care




                                      Mon - Friday x
                                       48 weeks per
                                                                                                                                                                                        $12.14 per hour for                                   S9122 -
                                      year minus the                                                                                                                Medicare has not
                                                                                                                                                $5.00 per 15                            Home Health Aide                     Home health aide or certified nurse assistant,
        C.N.A           Age 22 - LE      6 ours he          $20.50        $149,568       $149,568            N/A               N/A                                 established fees for                       $88,573.44
                                                                                                                                                  minutes                               per Labor Statistic                     providing care in the home; per hour
                                      attends a Day                                                                                                                 this medical code
                                                                                                                                                                                         near Augusta, GA
                                      program plus 3
                                        LPN visits




                                                                                                                                                                                        $24.70 per hour for
                                                                                                                                                                    Medicare has not                                                            S9123-
                                                                                                                                                                                        LPN/LVN per Labor
                                                                                                                                                $65 per day        established fees for                                     Nursing care, in the home; by registered nurse,
                                                                                                                                                                                          Statistic near
                                                                                                                                                                    this medical code                                                           per hour
                                                                                                                                                                                           Augusta, GA


                                       Mon - Friday
                                         48 weeks
                                       3 visits plus 5
         LPN            Age 22 - LE   visits for weeks      $55.00         $73,700        $73,700            N/A               N/A                                                                             $33,098
                                        he dose not
                                       attend to day
                                          program


                                                                                                                                                                                        $24.70 per hour for
                                                                                                                                                                    Medicare has not                                                             S9124-
                                                                                                                                                                                        LPN/LVN per Labor
                                                                                                                                                $50 per day        established fees for                                     Nursing care, in the home; by licensed practical
                                                                                                                                                                                          Statistic near
                                                                                                                                                                    this medical code                                                       nurse, per hour
                                                                                                                                                                                           Augusta, GA




                                                                                                                                             GA Medicaid has
                                                                                                                                              not established
                                                                                                                                                fees for this    Medicare has not
                                      1 to 2 times per                                                                                                                                                                                         S5120 -
  Heavy housecleaning   Age 22 - LE                      $105 - $135        $105           $270              N/A               N/A            medical code;     established fees for       $105 - $135         $187.50
                                           month                                                                                                                                                                                    Chore services; per 15 minutes
                                                                                                                                            subject to medical this medical code
                                                                                                                                            necessity and prior
                                                                                                                                               authorization




                                                                                                                                                                                                                           TD&P Consulting, Inc. | May 7, 2019 |17
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                                                                                                                      Home / Facility Care
                                                The Riddick-Grisham Report                                                                                                                        TD&P Consulting, Inc.

                                                                                                                                                    GA
                                                                                                                                                                        CMS Medicare
                                                                                                                                                Medicaid Fee                                                                             CPT / HCPCS Code
Recommended Needs for      Duration      Frequency        Unit Cost         Min.          Max.         Min. One Time        Max. One                                    Fee Schedule    Fair Market Value     Annual
                                                                                                                                                 Schedule                                                                                       and
    Christian Willis                                     (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                       Rate             (per unit)   Reasonable Value
                                                                                                                                                   Rate                                                                                     Description
                                                                                                                                                                          (per unit)
                                                                                                                                                 (per unit)

                                                                                                                     Option 1: In Home Care




                                                                                                                                              GA Medicaid has                                                                                     T1999-
                                                                                                                                               not established                                                               Miscellaneous therapeutic items and supplies,
    Initial set-up fee                                                                                                                           fees for this    Medicare has not                                             retail purchases, not otherwise classified;
         Financial                       1 time only        $2,500          N/A           N/A               $2,500             $2,500          medical code;     established fees for        $2,500            $2,500                 identify product in ""remarks""
 oversight/guardianship                                                                                                                      subject to medical this medical code
                                                                                                                                             necessity and prior                                                                              A9270-
                                                                                                                                                authorization                                                                        Non-covered item or service




                          Age 22 - LE




                                                                                                                                              GA Medicaid has                                                                                     T1999-
                                                                                                                                               not established                                                               Miscellaneous therapeutic items and supplies,
                                                                                                                                                 fees for this    Medicare has not                                             retail purchases, not otherwise classified;
        Financial                       12 to 14 hours      $100                                                                                                                             $100
                                                                           $1,200        $1,400               N/A               N/A            medical code;     established fees for                          $1,300                 identify product in ""remarks""
 oversight/guardianship                    per year        per hour                                                                                                                         per hour
                                                                                                                                             subject to medical this medical code
                                                                                                                                             necessity and prior                                                                              A9270-
                                                                                                                                                authorization                                                                        Non-covered item or service




                                                                                                                                              GA Medicaid has
                                                                                                                                               not established
                                        Mon - Friday x                                                                                           fees for this    Medicare has not                                                            S5102 -
                                                         $66.2 - $75                                                                                                                       $66.2 - $75
     Day Program          Age 22 - LE   48 weeks per                       $15,888       $18,000              N/A               N/A            medical code;     established fees for                         $16,944             Day care services, adult; per diem
                                                           per day                                                                                                                           per day
                                            year                                                                                             subject to medical this medical code
                                                                                                                                             necessity and prior
                                                                                                                                                authorization




                                                                                                                                                                                                                          TD&P Consulting, Inc. | May 7, 2019 |18
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                                                                                                                      Home / Facility Care
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                                                                                                                                                    GA
                                                                                                                                                                        CMS Medicare
                                                                                                                                                Medicaid Fee                                                                              CPT / HCPCS Code
Recommended Needs for      Duration      Frequency        Unit Cost         Min.          Max.         Min. One Time        Max. One                                    Fee Schedule    Fair Market Value     Annual
                                                                                                                                                 Schedule                                                                                        and
    Christian Willis                                     (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                       Rate             (per unit)   Reasonable Value
                                                                                                                                                   Rate                                                                                      Description
                                                                                                                                                                          (per unit)
                                                                                                                                                 (per unit)

                                                                                                             Option 2: Residential Facility care




                                                                                                                                              GA Medicaid has
                                                                                                                                               not established
                                                                                                                                                                 Medicare has not                                                                T2033 -
   Residential living                                       $285                                                                                 fees for this                               $285
                          Age 22 - LE     24/7 care                      $104,096.25   $104,096.25            N/A               N/A                             established fees for                        $104,096.25      Residential care, not otherwise specified (nos),
    private room                                           per day                                                                             medical code;                                per day
                                                                                                                                                                 this medical code                                                          waiver; per diem
                                                                                                                                               subject to prior
                                                                                                                                                authorization




                                                                                                                                              GA Medicaid has                                                                                     T1999-
                                                                                                                                               not established                                                               Miscellaneous therapeutic items and supplies,
    Initial set-up fee                                                                                                                           fees for this    Medicare has not                                             retail purchases, not otherwise classified;
         Financial                       1 time only      $2,500.00         N/A           N/A               $2,500             $2,500          medical code;     established fees for        $2,500            $2,500                 identify product in ""remarks""
 oversight/guardianship                                                                                                                      subject to medical this medical code
                                                                                                                                             necessity and prior                                                                               A9270-
                                                                                                                                                authorization                                                                         Non-covered item or service




                          Age 22 - LE




                                                                                                                                              GA Medicaid has                                                                                     T1999-
                                                                                                                                               not established                                                               Miscellaneous therapeutic items and supplies,
                                                                                                                                                 fees for this    Medicare has not                                             retail purchases, not otherwise classified;
        Financial                       12 to 14 hours      $100                                                                                                                             $100
                                                                           $1,200        $1,400               N/A               N/A            medical code;     established fees for                          $1,300                 identify product in ""remarks""
 oversight/guardianship                    per year        per hour                                                                                                                         per hour
                                                                                                                                             subject to medical this medical code
                                                                                                                                             necessity and prior                                                                               A9270-
                                                                                                                                                authorization                                                                         Non-covered item or service




                                                                                                                                                                                                                          TD&P Consulting, Inc. | May 7, 2019 |19
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                                                                                                         Routine Future Medical Care
                                            The Riddick-Grisham Report                                                                                                                   TD&P Consulting, Inc.

                                                                                                                                             GA
                                                                                                                                                                 CMS Medicare   Estimated Carrier
                                                                                                                                         Medicaid Fee                                                                             CPT / HCPCS Code
Recommended Needs for   Duration     Frequency      Unit Cost         Min.           Max.       Min. One Time        Max. One                                    Fee Schedule    Reimbursement        Annual
                                                                                                                                          Schedule                                                                                       and
    Christian Willis                               (Min. - Max.)   Annual Cost    Annual Cost        Cost            Time Cost                                       Rate             Rate        Reasonable Value
                                                                                                                                            Rate                                                                                     Description
                                                                                                                                                                   (per unit)       (per unit)
                                                                                                                                          (per unit)




                                                                                                                                                                                                                        99215 -                              Office or
                                                                                                                                                                                                                        other outpatient visit for the evaluation and
                                                                                                                                                                                                                       management of an established patient, which
                                                                                                                                                                                                                      requires at least 2 of these 3 key components:
                                     2 times per
      Neurologist       Age 2 - LE                   $212.50          $425           $425              N/A               N/A                 $93.46                $141.30          $163.91           $311.57           A comprehensive history; A comprehensive
                                         year
                                                                                                                                                                                                                       examination; Medical decision making of high
                                                                                                                                                                                                                     complexity. Typically, 40 minutes are spent face-
                                                                                                                                                                                                                           to-face with the patient and/or family.




                                                                                                                                                                                                                        99215 -                              Office or
                                                                                                                                                                                                                        other outpatient visit for the evaluation and
                                                                                                                                                                                                                       management of an established patient, which
                                                                                                                                                                                                                      requires at least 2 of these 3 key components:
                                     2 times per
      Physiatrist       Age 2 - LE                   $212.50          $425           $425              N/A               N/A                 $93.46                $141.30          $163.91           $311.57           A comprehensive history; A comprehensive
                                         year
                                                                                                                                                                                                                       examination; Medical decision making of high
                                                                                                                                                                                                                     complexity. Typically, 40 minutes are spent face-
                                                                                                                                                                                                                           to-face with the patient and/or family.




                                                                                                                                                                                                                        99215 -                              Office or
                                                                                                                                                                                                                        other outpatient visit for the evaluation and
                                                                                                                                                                                                                       management of an established patient, which
                                                                                                                                                                                                                      requires at least 2 of these 3 key components:
                                     2 times per
      Orthopedist       Age 2 - LE                   $212.50          $425           $425              N/A               N/A                 $93.46                $141.30          $163.91           $311.57           A comprehensive history; A comprehensive
                                         year
                                                                                                                                                                                                                       examination; Medical decision making of high
                                                                                                                                                                                                                     complexity. Typically, 40 minutes are spent face-
                                                                                                                                                                                                                           to-face with the patient and/or family.




                                                                                                                                                                                                                 TD&P Consulting, Inc. | May 7, 2019 |20
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                                                                                       Healthcare Delivery Valuation Charts - The Riddick Grisham Report
                                                                                                                  Defense LCP
                                                                                              Prepared by: Thomas J. Dawson, III, Esq., MPH, MA


                                                                                                                     Routine Future Medical Care
                                                    The Riddick-Grisham Report                                                                                                                       TD&P Consulting, Inc.

                                                                                                                                                         GA
                                                                                                                                                                             CMS Medicare   Estimated Carrier
                                                                                                                                                     Medicaid Fee                                                                             CPT / HCPCS Code
Recommended Needs for         Duration      Frequency         Unit Cost         Min.           Max.         Min. One Time        Max. One                                    Fee Schedule    Reimbursement        Annual
                                                                                                                                                      Schedule                                                                                       and
    Christian Willis                                         (Min. - Max.)   Annual Cost    Annual Cost          Cost            Time Cost                                       Rate             Rate        Reasonable Value
                                                                                                                                                        Rate                                                                                     Description
                                                                                                                                                                               (per unit)       (per unit)
                                                                                                                                                      (per unit)




                                                                                                                                                                                                                                                       72082-
                                                                                                                                                                                                                                 Radiologic examination, spine, entire thoracic
                                                                                                                                                                                                                                 and lumbar, including skull, cervical and sacral
    Scoliosis screen         Age 2 - LE      1 time only        $269            N/A            N/A                $269               $269                $53.20                 $58.28           $67.60           $88.51         spine if performed (eg, scoliosis evaluation); 2
                                                                                                                                                                                                                                                   or 3 views




                                                                                                                                                                                                                                    99215 -                              Office or
                                                                                                                                                                                                                                    other outpatient visit for the evaluation and
                                                                                                                                                                                                                                   management of an established patient, which
                                                                                                                                                                                                                                  requires at least 2 of these 3 key components:
                                            2 times per
 Primary care physician      Age 2 - LE                        $179.65         $359.30        $359.30              N/A               N/A                 $93.46                $141.30          $163.91           $303.69           A comprehensive history; A comprehensive
                                                year
                                                                                                                                                                                                                                   examination; Medical decision making of high
                                                                                                                                                                                                                                 complexity. Typically, 40 minutes are spent face-
                                                                                                                                                                                                                                       to-face with the patient and/or family.




                                                                                                                                                                                                                                                   73521 -
                                                                                                                                                                                                                                   Radiologic examination, hips, bilateral, with
 X-rays of hips, bilateral   Age 12 - 18   1 time per year   $160 - $175        $160           $175                N/A               N/A                 $33.74                 $35.23           $40.87           $54.36                pelvis when performed; 2 views




                                                                                                                                                                                                                                                      92526-
     Swallow Study           Age 2 - LE     2 times only       $858.00          N/A            N/A               $1,716             $1,716               $44.66                 $83.83           $97.24           $356.84        Treatment of swallowing dysfunction and/or oral
                                                                                                                                                                                                                                               function for feeding




                                                                                                                                                                                                                             TD&P Consulting, Inc. | May 7, 2019 |21
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                                                                            Healthcare Delivery Valuation Charts - The Riddick Grisham Report
                                                                                                       Defense LCP
                                                                                   Prepared by: Thomas J. Dawson, III, Esq., MPH, MA


                                                                                                          Routine Future Medical Care
                                            The Riddick-Grisham Report                                                                                                                      TD&P Consulting, Inc.

                                                                                                                                              GA
                                                                                                                                                                  CMS Medicare   Estimated Carrier
                                                                                                                                          Medicaid Fee                                                                             CPT / HCPCS Code
Recommended Needs for   Duration     Frequency      Unit Cost         Min.          Max.         Min. One Time        Max. One                                    Fee Schedule    Reimbursement        Annual
                                                                                                                                           Schedule                                                                                       and
    Christian Willis                               (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                       Rate             Rate        Reasonable Value
                                                                                                                                             Rate                                                                                     Description
                                                                                                                                                                    (per unit)       (per unit)
                                                                                                                                           (per unit)




                                                                                                                                                                                                                                           95808-
                                                     $2,893                                                                                                                           $2,893                          Polysomnography; any age, sleep staging with
                        Age 2 - LE                                    N/A           N/A               $2,893             $2,893              $391.67                $650.07                              $2,893
                                                   hospital fee                                                                                                                     hospital fee                      1-3 additional parameters of sleep, attended by
                                                                                                                                                                                                                                       a technologist




     Sleep Study                     1 time only




                                                                                                                                                                                                                                           95808-
                                                      $309
                                                                                                                                                                                                                      Polysomnography; any age, sleep staging with
                        Age 2 - LE                 professional       N/A           N/A                $309               $309               $391.67                $650.07          $754.08            $629.96
                                                                                                                                                                                                                      1-3 additional parameters of sleep, attended by
                                                       fee
                                                                                                                                                                                                                                       a technologist




                                                                                                                                                                                                                         99215 -                              Office or
                                                                                                                                                                                                                         other outpatient visit for the evaluation and
                                                                                                                                                                                                                        management of an established patient, which
                                                                                                                                                                                                                       requires at least 2 of these 3 key components:
                                     2 times per
   Gastroenterology     Age 2 - LE                   $212.50         $425.00       $425.00              N/A               N/A                 $93.46                $141.30          $163.91            $311.57          A comprehensive history; A comprehensive
                                         year
                                                                                                                                                                                                                        examination; Medical decision making of high
                                                                                                                                                                                                                      complexity. Typically, 40 minutes are spent face-
                                                                                                                                                                                                                            to-face with the patient and/or family.




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                                                                                      Prepared by: Thomas J. Dawson, III, Esq., MPH, MA


                                                                                                             Routine Future Medical Care
                                               The Riddick-Grisham Report                                                                                                                    TD&P Consulting, Inc.

                                                                                                                                                 GA
                                                                                                                                                                     CMS Medicare   Estimated Carrier
                                                                                                                                             Medicaid Fee                                                                             CPT / HCPCS Code
Recommended Needs for    Duration      Frequency         Unit Cost         Min.          Max.       Min. One Time        Max. One                                    Fee Schedule    Reimbursement        Annual
                                                                                                                                              Schedule                                                                                       and
    Christian Willis                                    (Min. - Max.)   Annual Cost   Annual Cost        Cost            Time Cost                                       Rate             Rate        Reasonable Value
                                                                                                                                                Rate                                                                                     Description
                                                                                                                                                                       (per unit)       (per unit)
                                                                                                                                              (per unit)




                                                                                                                                                                                                                            99215 -                              Office or
                                                                                                                                                                                                                            other outpatient visit for the evaluation and
                                                                                                                                                                                                                           management of an established patient, which
                                                                                                                                                                                                                          requires at least 2 of these 3 key components:
                                       2 times per
                        Age 2 - 12                                        $425.00       $425.00            N/A               N/A                 $93.46                $141.30          $163.91           $311.57           A comprehensive history; A comprehensive
                                           year
                                                                                                                                                                                                                           examination; Medical decision making of high
                                                                                                                                                                                                                         complexity. Typically, 40 minutes are spent face-
                                                                                                                                                                                                                               to-face with the patient and/or family.




                                                                                                                                                                                                                           99205-                                Office or
                                                                                                                                                                                                                            other outpatient visit for the evaluation and
                                                                                                                                                                                                                          management of a new patient, which requires
                                                                                                                                                                                                                           these 3 key components: A comprehensive
        ENT             Age 13 - 17   1 time per year     $212.50         $212.50       $212.50            N/A               N/A                $137.12                $202.67          $235.10           $212.89        history; A comprehensive examination; Medical
                                                                                                                                                                                                                          decision making of high complexity. Typically,
                                                                                                                                                                                                                            60 minutes are spent face-to-face with the
                                                                                                                                                                                                                                       patient and/or family.




                                                                                                                                                                                                                            99215 -                              Office or
                                                                                                                                                                                                                            other outpatient visit for the evaluation and
                                                                                                                                                                                                                           management of an established patient, which
                                                                                                                                                                                                                          requires at least 2 of these 3 key components:
                                       Every 4 to 5
                        Age 18 - LE                                       $42.50        $53.13             N/A               N/A                 $93.46                $141.30          $163.91           $34.62            A comprehensive history; A comprehensive
                                         years
                                                                                                                                                                                                                           examination; Medical decision making of high
                                                                                                                                                                                                                         complexity. Typically, 40 minutes are spent face-
                                                                                                                                                                                                                               to-face with the patient and/or family.




                                                                                                                                                                                                                     TD&P Consulting, Inc. | May 7, 2019 |23
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                                                                                                                Defense LCP
                                                                                            Prepared by: Thomas J. Dawson, III, Esq., MPH, MA


                                                                                                                            Transportation
                                                    The Riddick-Grisham Report                                                                                                                          TD&P Consulting, Inc.

                                                                                                                                                       GA
                                                                                                                                                                           CMS Medicare       Estimated Carrier
                                                                                                                                                   Medicaid Fee                                                                                CPT / HCPCS Code
Recommended Needs for         Duration      Frequency          Unit Cost         Min.          Max.       Min. One Time        Max. One                                    Fee Schedule        Reimbursement        Annual
                                                                                                                                                    Schedule                                                                                          and
    Christian Willis                                          (Min. - Max.)   Annual Cost   Annual Cost        Cost            Time Cost                                       Rate                 Rate        Reasonable Value
                                                                                                                                                      Rate                                                                                        Description
                                                                                                                                                                             (per unit)           (per unit)
                                                                                                                                                    (per unit)

                                                                                                                       Option 1: In Home Care



                                                                                                                                                 GA Medicaid has
                                                                                                                                                  not established
                                                                                                                                                    fees for this    Medicare has not
                                           Every 7 to 10                                                                                                                                                                                             T2039-
Van to Transport Wheelchair   Age 2 - LE                        $27,988        $2,798.80     $3,998.29           N/A               N/A            medical code;     established fees for         $27,988.00        $3,398.54
                                              years                                                                                                                                                                                 Vehicle modifications, waiver; per service
                                                                                                                                                subject to medical this medical code
                                                                                                                                                necessity and prior
                                                                                                                                                   authorization




                                                                                                                                                                                                                                                    K0739 -
                                            2 times per                                                                                                                                                                              Repair or nonroutine service for durable
                                                                                                                                                                        Medicare has not
 Maintenance of Adaptive                        year             $120                                                                                                                              $120                               medical equipment other than oxygen
                              Age 2 - LE                                        $205.71       $216.00            N/A               N/A                 $10.73          established fees for                         $210.86
       Equipment                           after first year     per time                                                                                                                          per time                         equipment requiring the skill of a technician,
                                                                                                                                                                        this medical code
                                            of purchase                                                                                                                                                                                 labor component, per 15 minutes




                                                                                                                Option 2: Residential Facility care



                                                                                                                                                 GA Medicaid has
                                                                                                                                                  not established
                                                                                                                                                    fees for this    Medicare has not
                                           Every 7 to 10                                                                                                                                                                                             T2039-
Van to Transport Wheelchair   Age 2 - 21                      $27,988.00       $2,798.80     $3,998.29           N/A               N/A            medical code;     established fees for         $27,988.00        $3,398.54
                                              years                                                                                                                                                                                 Vehicle modifications, waiver; per service
                                                                                                                                                subject to medical this medical code
                                                                                                                                                necessity and prior
                                                                                                                                                   authorization




                                                                                                                                                                                                                                                    K0739 -
                                            2 times per                                                                                                                                                                              Repair or nonroutine service for durable
                                                                                                                                                                        Medicare has not
 Maintenance of Adaptive                        year             $120                                                                                                                              $120                               medical equipment other than oxygen
                              Age 2 - 21                                        $205.71       $216.00            N/A               N/A                 $10.73          established fees for                         $210.86
       Equipment                           after first year     per time                                                                                                                          per time                         equipment requiring the skill of a technician,
                                                                                                                                                                        this medical code
                                            of purchase                                                                                                                                                                                 labor component, per 15 minutes




                                                                                                                                                                                                                                TD&P Consulting, Inc. | May 7, 2019 |24
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                                                                         Healthcare Delivery Valuation Charts - The Riddick Grisham Report
                                                                                                    Defense LCP
                                                                                Prepared by: Thomas J. Dawson, III, Esq., MPH, MA


                                                                                                           Therapeutic Recreation
                                           The Riddick-Grisham Report                                                                                                                    TD&P Consulting, Inc.

                                                                                                                                           GA
                                                                                                                                                               CMS Medicare    Estimated Carrier
                                                                                                                                       Medicaid Fee                                                                             CPT / HCPCS Code
Recommended Needs for   Duration     Frequency     Unit Cost         Min.          Max.       Min. One Time        Max. One                                    Fee Schedule     Reimbursement        Annual
                                                                                                                                        Schedule                                                                                       and
    Christian Willis                              (Min. - Max.)   Annual Cost   Annual Cost        Cost            Time Cost                                       Rate              Rate        Reasonable Value
                                                                                                                                          Rate                                                                                     Description
                                                                                                                                                                 (per unit)        (per unit)
                                                                                                                                        (per unit)




                                                                                                                                     GA Medicaid has                                                                                     T1999-
                                                                                                                                      not established                                                               Miscellaneous therapeutic items and supplies,
                                                                                                                                        fees for this    Medicare has not                                             retail purchases, not otherwise classified;
                                                      $500                                                                                                                           $500
        Camp            Age 8 - 21    Annually                      $500.00       $500.00            N/A               N/A            medical code;     established fees for                         $500.00                 identify product in ""remarks""
                                                   for session                                                                                                                    for session
                                                                                                                                    subject to medical this medical code
                                                                                                                                    necessity and prior                                                                              A9270-
                                                                                                                                       authorization                                                                        Non-covered item or service"




                                                                                                                                                                                                                 TD&P Consulting, Inc. | May 7, 2019 |25
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                                                                                      Healthcare Delivery Valuation Charts - The Riddick Grisham Report
                                                                                                                 Defense LCP
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                                                                                                                      Architectural Renovations
                                                      The Riddick-Grisham Report                                                                                                                      TD&P Consulting, Inc.

                                                                                                                                                        GA
                                                                                                                                                                            CMS Medicare    Estimated Carrier
                                                                                                                                                    Medicaid Fee                                                                         CPT / HCPCS Code
 Recommended Needs for            Duration     Frequency      Unit Cost         Min.          Max.         Min. One Time        Max. One                                    Fee Schedule     Reimbursement        Annual
                                                                                                                                                     Schedule                                                                                   and
     Christian Willis                                        (Min. - Max.)   Annual Cost   Annual Cost          Cost            Time Cost                                       Rate              Rate        Reasonable Value
                                                                                                                                                       Rate                                                                                 Description
                                                                                                                                                                              (per unit)        (per unit)
                                                                                                                                                     (per unit)




                                                                                                                                                  GA Medicaid has
                                                                                                                                                   not established
                                                                                                                                                     fees for this    Medicare has not
Home with a first floor bedroom                                                                                                                                                                                                                S5165-
                                  Age 2 - LE   1 time only     $81,080          N/A           N/A              $81,080            $81,080          medical code;     established fees for      under grant           $0
     and lipless shower                                                                                                                                                                                                             Home modifications; per service
                                                                                                                                                 subject to medical this medical code
                                                                                                                                                 necessity and prior
                                                                                                                                                    authorization




                                                                                                                                                                                                                              TD&P Consulting, Inc. | May 7, 2019 |26
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                                                                                                                        Defense LCP
                                                                                                    Prepared by: Thomas J. Dawson, III, Esq., MPH, MA


                                                                                                                     Surgical Intervention, Aggressive Treatment
                                                           The Riddick-Grisham Report                                                                                                                            TD&P Consulting, Inc.

                                                                                                                                                                  GA
                                                                                                                                                                                      CMS Medicare   Estimated Carrier
                                                                                                                                                              Medicaid Fee                                                                            CPT / HCPCS Code
  Recommended Needs for             Duration       Frequency        Unit Cost          Min.             Max.         Min. One Time        Max. One                                    Fee Schedule    Reimbursement        Annual
                                                                                                                                                               Schedule                                                                                      and
      Christian Willis                                             (Min. - Max.)    Annual Cost      Annual Cost          Cost            Time Cost                                       Rate             Rate        Reasonable Value
                                                                                                                                                                 Rate                                                                                    Description
                                                                                                                                                                                        (per unit)       (per unit)
                                                                                                                                                               (per unit)




                                Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable
                                                                                                                                                                                                                                                            43870-
         Gastrostomy             - Subject to     - Subject to     - Subject to     - Subject to     - Subject to     - Subject to     - Subject to                 $0                     $0               $0                  $0
                                                                                                                                                                                                                                                Closure of gastrostomy, surgical
                                 speculation      speculation      speculation      speculation      speculation      speculation      speculation




                                                                                                                                                                                                                                                              62362-
                                Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable                                                                                      Implantation or replacement of device for
        Baclofen pump            - Subject to     - Subject to     - Subject to     - Subject to     - Subject to     - Subject to     - Subject to                 $0                     $0               $0                  $0            intrathecal or epidural drug infusion;
                                 speculation      speculation      speculation      speculation      speculation      speculation      speculation                                                                                        programmable pump, including preparation of
                                                                                                                                                                                                                                               pump, with or without programming




                                Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable                                                                                                      27605-
   Achilles tendon releases
                                 - Subject to     - Subject to     - Subject to     - Subject to     - Subject to     - Subject to     - Subject to                 $0                     $0               $0                  $0          Tenotomy, percutaneous, Achilles tendon
           bilaterally
                                 speculation      speculation      speculation      speculation      speculation      speculation      speculation                                                                                           (separate procedure); local anesthesia




                                                                                                                                                                                                                                                              27151 -
                               Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable
Osteotomy with tendon release,                                                                                                                                                                                                              Osteotomy, iliac, acetabular or innominate
                                - Subject to     - Subject to     - Subject to     - Subject to     - Subject to     - Subject to     - Subject to                  $0                     $0               $0                  $0
         bilaterally                                                                                                                                                                                                                              bone; with femoral osteotomy
                                speculation      speculation      speculation      speculation      speculation      speculation      speculation




                                                                                                                                                                                                                                                              J0585 -
                                Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable Not quantifiable
                                                                                                                                                                                                                                               Injection, onabotulinumtoxina, 1 unit
        Botox injection          - Subject to     - Subject to     - Subject to     - Subject to     - Subject to     - Subject to     - Subject to                 $0                     $0               $0                  $0
                                 speculation      speculation      speculation      speculation      speculation      speculation      speculation




                                                                                                                                                                                                                                         TD&P Consulting, Inc. | May 7, 2019 |27
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                                       C.W - Document       212Analysis
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                                                            Coverage Analysis Charts for the Berens Report
                                                          Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                   Routine Future Medical Care - Physician Only

                                                                    Blue Cross Blue
                                                                                            Limitations
     The Berens Report's                                           Shield Healthcare
                                         Min.          Max.                                     on                                                      Referral
   Recommended Needs for                                          Plan Of Georgia, Inc.                           PA Required       Limit Specified
                                      Annual Cost   Annual Cost                             Goods and                                                   Needed
            C.W                                                      BCBSHP Gold
                                                                                             Services
                                                                  Pathway X HMO 1300


                                         $340          $340             Covered                NONE                   NO                 N/A              NO


            Physiatrist                  $292          $639             Covered                NONE                   NO                 N/A              NO


                                         $584          $852             Covered                NONE                   NO                 N/A              NO


            Pediatric
                                         $269          $269             Covered                NONE                   NO                 N/A              NO
           Neurologist

                EEG                                                                        Provider must
                                         N/A           N/A              Covered                                       NO                 N/A              Yes
    (include interpretation fee)                                                               order


                                         $269          $269             Covered                NONE                   NO                 N/A              NO
            Pediatric
Orthopedist / Orthopedic Surgeon
                                         $159          $159             Covered                NONE                   NO                 N/A              NO


                                                                                           Provider must
                                         $172          $172             Covered                                       NO                 N/A              Yes
                                                                                               order
              X-rays
            Hips/Pelvis
                                                                                           Provider must
                                         $305          $305             Covered                                       NO                 N/A              Yes
                                                                                               order


        Gastroenterologist               $269          $269             Covered                NONE                   NO                 N/A              NO


       Dietician/Nutritionist                                                              Provider must
                                         $120          $133             Covered                                       NO                 N/A              Yes
            Evaluation                                                                         order

                                                                                           Provider must
       Dietician/Nutritionist            $100          $119             Covered                                       NO                 N/A              Yes
                                                                                               order

                                                                                           Provider must
          Sallow Studies                 $764         $1,528            Covered                                       NO                 N/A              Yes
                                                                                               order

Labs:Chem panel,CMP,and Vitamin                                                            Provider must
                                         $145          $379             Covered                                       NO                 N/A              Yes
            D level                                                                            order


               ENT                       $269          $269             Covered                NONE                   NO                 N/A              NO

            Pediatric
         Ophthalmologist                 N/A           N/A              Covered                NONE                   NO                 N/A              NO
           Evaluation
            Pediatric
                                         $340          $340             Covered                NONE                   NO                 N/A              NO
          Pulmonologist

                                       Subject to    Subject to                            Provider must
           Sleep Study                                                  Covered                                      YES                 N/A              YES
                                      speculation   speculation                                order
            Pediatric
         Endocrinologist                 N/A           N/A              Covered                NONE                   NO                 N/A              NO
           Evaluation

                                         $358          $358             Covered                NONE                   NO                 N/A              NO
     DEXA bone density scan
          Evaluation
                                         $358          $358             Covered                NONE                   NO                 N/A              NO


              Dentist                     $0           $0.00            Covered                NONE                   NO                 N/A              NO

     Sedation for dental care
            30-60 min                    $794         $1,586            Covered                NONE                   NO                 N/A              NO
        anesthesia time

Pediatrician/Primary care physician       $0            $0              Covered                NONE                   NO                 N/A              NO


          Flu vaccination                 $0            $0              Covered                NONE                   NO                 N/A              NO




                                                                                                                           TD&P Consulting, Inc. | May 7, 2019| 1
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                                      C.W - Document       212Analysis
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                                                          Coverage Analysis Charts for the Berens Report
                                                        Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                       Project Evaluations - Non Physician

                                                                   Blue Cross Blue
                                                                                            Limitations
     The Berens Report's                                          Shield Healthcare
                                        Min.          Max.                                      on                                                 Referral
   Recommended Needs for                                         Plan Of Georgia, Inc.                       PA Required       Limit Specified
                                     Annual Cost   Annual Cost                              Goods and                                              Needed
            C.W                                                     BCBSHP Gold
                                                                                             Services
                                                                 Pathway X HMO 1300



                                        $320          $480             Covered                 NONE              NO                 N/A              NO
        Physical Therapy
           Evaluation
                                        $160          $240             Covered                 NONE              NO                 N/A              NO



                                        $320          $480             Covered                 NONE              NO                 N/A              NO
       Occupation Therapy
           Evaluation
                                        $160          $240             Covered                 NONE              NO                 N/A              NO



                                        $320          $480             Covered                 NONE              NO                 N/A              NO
         Speech Therapy
           Evaluation
                                        $160          $240             Covered                 NONE              NO                 N/A              NO



    Vision and Hearing Screen            $0            $0              Covered                 NONE              NO                 N/A              NO


Wheelchair Seating and Positioning
                                         $0            $0              Covered                 NONE              NO                 N/A              NO
           Evaluation


  Augmentative and Alternative                                                             Provider must                      Must be Medically
                                        $240         $1,200            Covered                                  Yes                                  Yes
       Communication                                                                           order                             Necessary

                                                                           Private / Outpatient to 2037


  Augmentative and Alternative
 Communication(ACC)/Assistive
Technology Evaluation by Qualified
                                                                                           Provider must                      Must be Medically
    Occupation-al and Speech            $400         $3,600            Covered                                  Yes                                  Yes
                                                                                               order                             Necessary
  Therapist to develop Adaptive
  communication program using
switch access and/or other devices


                                                                             School- based to 2037


  Augmentative and Alternative
 Communication(ACC)/Assistive
Technology Evaluation by Qualified
                                                                                           Provider must                      Must be Medically
    Occupation-al and Speech             $0            $0              Covered                                  Yes                                  Yes
                                                                                               order                             Necessary
  Therapist to develop Adaptive
  communication program using
switch access and/or other devices




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                                                                                  Project Therapy

                                                                    Blue Cross Blue
                                                                                             Limitations
     The Berens Report's                                           Shield Healthcare
                                         Min.          Max.                                      on                                              Referral
   Recommended Needs for                                          Plan Of Georgia, Inc.                    PA Required       Limit Specified
                                      Annual Cost   Annual Cost                              Goods and                                           Needed
            C.W                                                      BCBSHP Gold
                                                                                              Services
                                                                  Pathway X HMO 1300



Physical Therapy and Occupational
              Therapy
   include music therapy, equal           $0            $0              Covered                NONE            NO                 N/A              NO
 therapy or therapeutic horseback
               riding




           Speech therapy
 for feeding program, swallowing,         $0            $0              Covered                NONE            NO                 N/A              NO
       oral motor coordination



               Initial
    Psychology/Counseling for
     parents/family for copying
                                         $100          $200             Covered                NONE            NO                 N/A              NO
strategies, problem solving, stress
management, adjustment to C.W
        permanent disability


             Follow up
    Psychology/Counseling for
     parents/family for copying
                                         $480         $2,000            Covered                NONE            NO                 N/A              NO
strategies, problem solving, stress
management, adjustment to C.W
        permanent disability
                                                                                  Project Therapy

                                                                    Blue Cross Blue
                                                                                             Limitations
     The Berens Report's                                           Shield Healthcare
                                         Min.          Max.                                      on                                              Referral
   Recommended Needs for                                          Plan Of Georgia, Inc.                    PA Required       Limit Specified
                                      Annual Cost   Annual Cost                              Goods and                                           Needed
            C.W                                                      BCBSHP Gold
                                                                                              Services
                                                                  Pathway X HMO 1300


               Initial
    Psychology/Counseling for
     parents/family for copying
                                         $100          $200             Covered                NONE            NO                 N/A              NO
strategies, problem solving, stress
management, adjustment to C.W
        permanent disability


             Follow up
    Psychology/Counseling for
     parents/family for copying
                                         $480         $2,000            Covered                NONE            NO                 N/A              NO
strategies, problem solving, stress
management, adjustment to C.W
        permanent disability


               Initial
    Psychology/Counseling for
     parents/family for copying
                                         $100          $200             Covered                NONE            NO                 N/A              NO
strategies, problem solving, stress
management, adjustment to C.W
        permanent disability


             Follow up
    Psychology/Counseling for
     parents/family for copying
                                         $480         $2,000            Covered                NONE            NO                 N/A              NO
strategies, problem solving, stress
management, adjustment to C.W
        permanent disability


               Initial
    Psychology/Counseling for
     parents/family for copying
                                         $100          $200             Covered                NONE            NO                 N/A              NO
strategies, problem solving, stress
management, adjustment to C.W
        permanent disability


             Follow up
    Psychology/Counseling for
     parents/family for copying
                                         $480         $2,000            Covered                NONE            NO                 N/A              NO
strategies, problem solving, stress
management, adjustment to C.W
        permanent disability




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                                                                                  Project Therapy

                                                                    Blue Cross Blue
                                                                                             Limitations
     The Berens Report's                                           Shield Healthcare
                                         Min.          Max.                                      on                                              Referral
   Recommended Needs for                                          Plan Of Georgia, Inc.                    PA Required       Limit Specified
                                      Annual Cost   Annual Cost                              Goods and                                           Needed
            C.W                                                      BCBSHP Gold
                                                                                              Services
                                                                  Pathway X HMO 1300


               Initial
    Psychology/Counseling for
     parents/family for copying
                                         $100          $200             Covered                NONE            NO                 N/A              NO
strategies, problem solving, stress
management, adjustment to C.W
        permanent disability


             Follow up
    Psychology/Counseling for
     parents/family for copying
                                         $480         $2,000            Covered                NONE            NO                 N/A              NO
strategies, problem solving, stress
management, adjustment to C.W
        permanent disability


               Initial
    Psychology/Counseling for
     parents/family for copying
                                         $100          $200             Covered                NONE            NO                 N/A              NO
strategies, problem solving, stress
management, adjustment to C.W
        permanent disability


             Follow up
    Psychology/Counseling for
     parents/family for copying
                                         $480         $2,000            Covered                NONE            NO                 N/A              NO
strategies, problem solving, stress
management, adjustment to C.W
        permanent disability
                                                                                  Project Therapy

                                                                    Blue Cross Blue
                                                                                             Limitations
     The Berens Report's                                           Shield Healthcare
                                         Min.          Max.                                      on                                              Referral
   Recommended Needs for                                          Plan Of Georgia, Inc.                    PA Required       Limit Specified
                                      Annual Cost   Annual Cost                              Goods and                                           Needed
            C.W                                                      BCBSHP Gold
                                                                                              Services
                                                                  Pathway X HMO 1300


               Initial
    Psychology/Counseling for
     parents/family for copying
                                         $100          $200             Covered                NONE            NO                 N/A              NO
strategies, problem solving, stress
management, adjustment to C.W
        permanent disability


             Follow up
    Psychology/Counseling for
     parents/family for copying
                                         $480         $2,000            Covered                NONE            NO                 N/A              NO
strategies, problem solving, stress
management, adjustment to C.W
        permanent disability



Case Manager it coordinate care
 and equipment, liaison among
                                        $3,840        $4,800            Covered                NONE            NO                 N/A              NO
 multiple providers and service
venders, advocate for Christian




       Guardian/ Financial
                                        $2,400        $3,000        NOT COVERED                 N/A           N/A                 N/A              N/A
        Planner/Manager




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                                                                                     Project Therapy

                                                                      Blue Cross Blue
                                                                                                Limitations
      The Berens Report's                                            Shield Healthcare
                                           Min.          Max.                                       on                                                   Referral
    Recommended Needs for                                           Plan Of Georgia, Inc.                          PA Required       Limit Specified
                                        Annual Cost   Annual Cost                               Goods and                                                Needed
             C.W                                                       BCBSHP Gold
                                                                                                 Services
                                                                    Pathway X HMO 1300

                                                                              Private / Outpatient to 2037


Physical Therapy and Occupational         $15,360       $16,128           Covered                                      NO                                  NO
              Therapy
   include music therapy, equal
 therapy or therapeutic horseback
               riding
                                          $15,360       $16,128           Covered                                      NO                                  NO
                                                                                              Does not include
                                                                                                                                    Must be Medically
                                                                                               recreational or
                                                                                                                                       Necessary
                                                                                            vocational therapies
Physical Therapy and Occupational         $7,680        $8,064            Covered                                      NO                                  NO
              Therapy
   include music therapy, equal
 therapy or therapeutic horseback
               riding
                                          $7,680        $8,064            Covered                                      NO                                  NO




                                          $13,824       $15,360           Covered                  NONE                NO                 N/A              NO
           Speech therapy
 for feeding program, swallowing,
       oral motor coordination
                                          $6,912        $7,680            Covered                  NONE                NO                 N/A              NO


                                                                                     Project Therapy

                                                                      Blue Cross Blue
                                                                                                Limitations
      The Berens Report's                                            Shield Healthcare
                                           Min.          Max.                                       on                                                   Referral
    Recommended Needs for                                           Plan Of Georgia, Inc.                          PA Required       Limit Specified
                                        Annual Cost   Annual Cost                               Goods and                                                Needed
             C.W                                                       BCBSHP Gold
                                                                                                 Services
                                                                    Pathway X HMO 1300

                                                                                  School- based to 2037



Physical Therapy and Occupational
              Therapy
   include music therapy, equal             $0            $0                N/A                     N/A               N/A                 N/A              N/A
 therapy or therapeutic horseback
               riding




           Speech therapy
 for feeding program, swallowing,           $0            $0                N/A                     N/A               N/A                 N/A              N/A
       oral motor coordination




Vision Specialist as part of school -
                                            $0            $0                N/A                     N/A               N/A                 N/A              N/A
         based therapies




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                                                                     Diagnostic Testing / Educational Assessment

                                                                      Blue Cross Blue
                                                                                                Limitations
      The Berens Report's                                            Shield Healthcare
                                           Min.          Max.                                       on                                                      Referral
    Recommended Needs for                                           Plan Of Georgia, Inc.                           PA Required       Limit Specified
                                        Annual Cost   Annual Cost                               Goods and                                                   Needed
             C.W                                                       BCBSHP Gold
                                                                                                 Services
                                                                    Pathway X HMO 1300




 Early Intervention through Babies
                                            $0            $0                N/A                    N/A                 N/A                  N/A               N/A
     can't wait (BCW) program




 Special Education Through public
      school system with IEP,
   educationally-related therapies,         $0            $0                N/A                    N/A                 N/A                  N/A               N/A
     school aide/nurse, adopted
transportation , adoptive equipment



  Educational consultant/student
Advocate knowledgeable in I.D.E A
 provisions to attend annual EP            $500          $500               N/A                    N/A                 N/A                  N/A               N/A
meetings with parents, school and
        related personnel

                                                                              Private / Outpatient to 2037
        Neuropsychological
                                           N/A           N/A              Covered                 NONE                  NO                  N/A               NO
            Evaluation
                                                                                  School- based to 2037
        Neuropsychological
                                            $0            $0                N/A                    N/A                 N/A                  N/A               N/A
            Evaluation
                                                                    Wheelchair Needs, Accessories and Maintenance

                                                                      Blue Cross Blue
                                                                                                Limitations
      The Berens Report's                                            Shield Healthcare
                                           Min.          Max.                                       on                                                      Referral
    Recommended Needs for                                           Plan Of Georgia, Inc.                           PA Required       Limit Specified
                                        Annual Cost   Annual Cost                               Goods and                                                   Needed
             C.W                                                       BCBSHP Gold
                                                                                                 Services
                                                                    Pathway X HMO 1300



 Quickie Zippy or similar manual                                                              Provider must                          Must be Medically
                                         $1,217 67     $1,826.50          Covered                                      Yes                                    Yes
wheelchair with tilt'n space recline,                                                             order                                 Necessary
 caregiver handlebars, headrest,
back/trunk/hip supports, foot rests,
                                                                                              Provider must                          Must be Medically
              lap tray                   $1,043.71     $1,043.71          Covered                                      Yes                                    Yes
                                                                                                  order                                 Necessary


                                                                                                Repair and                         Must not be related to
                                          $136.99       $101.47           Covered                                      Yes                                    NO
                                                                                            replacement costs                            neglect
     Wheelchair maintenance
                                                                                                Repair and                         Must not be related to
                                          $89.46        $89.46            Covered                                      Yes                                    NO
                                                                                            replacement costs                            neglect


 Custom foam contour wheelchair                                                                                                      Must be Medically
                                           $80          $173 33           Covered           Supplies included          Yes                                    Yes
          seat cushion                                                                                                                  Necessary


                                                                                                                                     Must be Medically
       Seat cushion covers                 $50           $50              Covered           Supplies included          Yes                                    Yes
                                                                                                                                        Necessary


Rifton Wave Adapted bath chair or                                                             Provider must                          Must be Medically
                                           N/A           N/A              Covered                                      Yes                                    Yes
             similar                                                                              order                                 Necessary


   ActiveAid Shower wheelchair                                                                Provider must                          Must be Medically
                                           $570          $570             Covered                                      Yes                                    Yes
             Shower                                                                               order                                 Necessary


                                                                                                Repair and                         Must not be related to
 Shower wheelchair maintenance            $45 60        $45.60            Covered                                      Yes                                    NO
                                                                                            replacement costs                            neglect




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                                                                                        Orthotics

                                                                       Blue Cross Blue
                                                                                                Limitations
      The Berens Report's                                             Shield Healthcare
                                            Min.          Max.                                      on                                                  Referral
    Recommended Needs for                                            Plan Of Georgia, Inc.                        PA Required       Limit Specified
                                         Annual Cost   Annual Cost                              Goods and                                               Needed
             C.W                                                        BCBSHP Gold
                                                                                                 Services
                                                                     Pathway X HMO 1300




                                                                                              Provider must                        Must be Medically
                                          $1,062 00     $2,000.00          Covered                                   Yes                                  Yes
                                                                                                  order                               Necessary


    Bilateral custom-made solid
         Ankle/foot/orthosis


                                                                                              Provider must                        Must be Medically
                                           $354.00      $1,000.00          Covered                                   Yes                                  Yes
                                                                                                  order                               Necessary




  SWASH(standing,walking and                                                                  Provider must                        Must be Medically
                                            N/A           N/A              Covered                                   Yes                                  Yes
     sitting hip) orthosis                                                                        order                               Necessary




Bilateral Benik or similar hand splits                                                        Provider must                        Must be Medically
                                           $610.00       $610 00           Covered                                   Yes                                  Yes
         with thumb support                                                                       order                               Necessary



                                                                     Home Furnishings/Durable Medical Equipment

                                                                       Blue Cross Blue
                                                                                                Limitations
      The Berens Report's                                             Shield Healthcare
                                            Min.          Max.                                      on                                                  Referral
    Recommended Needs for                                            Plan Of Georgia, Inc.                        PA Required       Limit Specified
                                         Annual Cost   Annual Cost                              Goods and                                               Needed
             C.W                                                        BCBSHP Gold
                                                                                                 Services
                                                                     Pathway X HMO 1300




Easy Stand Stander: Bantam Extra                                                              Provider must                        Must be Medically
                                            N/A           N/A              Covered                                   Yes                                  Yes
  Small for children up to 50 lbs.                                                                order                               Necessary




                 Zing                                                                         Provider must                        Must be Medically
                                            N/A           N/A              Covered                                   Yes                                  Yes
      for children up to 70 lbs.                                                                  order                               Necessary




                                                                                              Provider must                        Must be Medically
        Zing 2 up to 154 lbs.               N/A           N/A              Covered                                   Yes                                  Yes
                                                                                                  order                               Necessary




   Evolv up to 200 lbs., or similar                                                           Provider must                        Must be Medically
                                           $810.71       $810.71           Covered                                   Yes                                  Yes
   stander with resting arm tray                                                                  order                               Necessary




 Maintenance and adjustments for          Subject to    Subject to                            Provider must                        Must be Medically
                                                                           Covered                                   Yes                                  Yes
            stander                      speculation   speculation                                order                               Necessary




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                                                                   Home Furnishings/Durable Medical Equipment

                                                                     Blue Cross Blue
                                                                                            Limitations
     The Berens Report's                                            Shield Healthcare
                                          Min.          Max.                                    on                                                    Referral
   Recommended Needs for                                           Plan Of Georgia, Inc.                        PA Required       Limit Specified
                                       Annual Cost   Annual Cost                            Goods and                                                 Needed
            C.W                                                       BCBSHP Gold
                                                                                             Services
                                                                   Pathway X HMO 1300


                                                                                           Provider must                         Must be Medically
                                          $680          $680             Covered                                   Yes                                  Yes
                                                                                               order                                Necessary

                                                                                           Provider must                         Must be Medically
                                          $920          $920             Covered                                   Yes                                  Yes
                                                                                               order                                Necessary
Rifton pacer or similar Gait Trainer
                                                                                           Provider must                         Must be Medically
                                         $1,310        $1,480            Covered                                   Yes                                  Yes
                                                                                               order                                Necessary

                                                                                           Provider must                         Must be Medically
                                         $1,310        $1,480            Covered                                   Yes                                  Yes
                                                                                               order                                Necessary
 Invacare hospital bed, mattress,
                                                                                           Provider must                         Must be Medically
safety side rails, remote controlled     $194.40       $194.40           Covered                                   Yes                                  Yes
                                                                                               order                                Necessary
          head elevation
  Maintenance/Service contract
                                                                                           Provider must                         Must be Medically
 Invacare hospital bed, mattress,        $83 33        $83.33            Covered                                   Yes                                  Yes
                                                                                               order                                Necessary
safety side rails, remote controlled
Adjustable height bedside table to                                                         Provider must                         Must be Medically
                                          $6.90         $7.40            Covered                                   Yes                                  Yes
   provide flat surface for care                                                               order                                Necessary

  Kangaroo Joey feeding pump                                                               Provider must                         Must be Medically
                                         $133.80       $142 80           Covered                                   Yes                                  Yes
         w/pole clamp                                                                          order                                Necessary

                                                                                           Provider must                         Must be Medically
      Maintenance for pump                $40           $40              Covered                                   Yes                                  Yes
                                                                                               order                                Necessary

                                                                                           Provider must                         Must be Medically
     IV pole for feeding bags             $2.40         $2.40            Covered                                   Yes                                  Yes
                                                                                               order                                Necessary

                                                                                           Provider must                         Must be Medically
                                         $124.33       $124 33           Covered                                   Yes                                  Yes
  Special Tomato seater/feeding                                                                order                                Necessary
  chair up to 80 lbs. then Tumble
                                                                                           Provider must                         Must be Medically
    Forms 2 or similar adopted           $189.80       $189 80           Covered                                   Yes                                  Yes
                                                                                               order                                Necessary
feeder/positioning seat with tray up
             to 200 lbs.
                                                                                           Provider must                         Must be Medically
                                         $345.60       $345 60           Covered                                   Yes                                  Yes
                                                                                               order                                Necessary

Hoyer hydraulic lift/Portable power                                                        Provider must                         Must be Medically
                                         $73.10        $275 80           Covered                                   Yes                                  Yes
    patient lift for transfers.                                                                order                                Necessary

                                                                                           Provider must                         Must be Medically
     Spray sling for transfers           $54 50        $109 00           Covered                                   Yes                                  Yes
                                                                                               order                                Necessary
                                                                   Home Furnishings/Durable Medical Equipment

                                                                     Blue Cross Blue
                                                                                            Limitations
     The Berens Report's                                            Shield Healthcare
                                          Min.          Max.                                    on                                                    Referral
   Recommended Needs for                                           Plan Of Georgia, Inc.                        PA Required       Limit Specified
                                       Annual Cost   Annual Cost                            Goods and                                                 Needed
            C.W                                                       BCBSHP Gold
                                                                                             Services
                                                                   Pathway X HMO 1300


                                                                                           Provider must                         Must be Medically
        Maintenance for lift              $3.29        $11.60            Covered                                   Yes                                  Yes
                                                                                               order                                Necessary


Sure Hands or similar overhead lift                                                        Provider must                         Must be Medically
                                          N/A           N/A              Covered                                   Yes                                  Yes
  system for bedroom and bath                                                                  order                                Necessary


             Optional:                                                                     Provider must                         Must be Medically
                                          $75           $75              Covered                                   Yes                                  Yes
              Battery                                                                          order                                Necessary


             Optional:                                                                     Provider must                         Must be Medically
                                         $90 00        $112 50           Covered                                   Yes                                  Yes
              Sling                                                                            order                                Necessary


           Optional:                                                                       Provider must                         Must be Medically
                                          $150          $150             Covered                                   Yes                                  Yes
    Overhead lift maintenance                                                                  order                                Necessary


                                                                                           Provider must                         Must be Medically
 Therapy Table with cushion mat          $11 50        $19.80            Covered                                   Yes                                  Yes
                                                                                               order                                Necessary


       Allowance for items                $100          $100         NOT COVERED               N/A                 N/A                 N/A              N/A




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                                                                     Health and Strength Maintenance(Leisure Time Activities)

                                                                             Blue Cross Blue
                                                                                                     Limitations
      The Berens Report's                                                   Shield Healthcare
                                           Min.             Max.                                         on                                                        Referral
    Recommended Needs for                                                  Plan Of Georgia, Inc.                          PA Required          Limit Specified
                                        Annual Cost      Annual Cost                                 Goods and                                                     Needed
             C.W                                                              BCBSHP Gold
                                                                                                      Services
                                                                           Pathway X HMO 1300




                                            $460             $460            NOT COVERED                    N/A                 N/A                 N/A              N/A

Therapeutic Horseback Riding and
or Summer Camps for children with
         special needs

                                            $100             $435            NOT COVERED                    N/A                 N/A                 N/A              N/A




 Allowance for items such as cause
   and effect toys, adopted switch
  activated devices, therapy balls,         $100             $100            NOT COVERED                    N/A                 N/A                 N/A              N/A
iPad w/apps,and other auditory and
       tactile stimulation items


Subscription to Exceptional Parent
online magazine and other reading
                                            $110             $110            NOT COVERED                    N/A                 N/A                 N/A              N/A
 resources for parents of children
              with CP




          Go Talk 9+ACC                                                                             Provider must                             Must be Medically
                                           $39 80           $39.80               Covered                                        Yes                                  Yes
          Speech device                                                                                 order                                    Necessary




TOBII I-12 or similar eye gaze AAC                                                                  Provider must                             Must be Medically
                                         $3,321 00        $3,510.80              Covered                                        Yes                                  Yes
              system                                                                                    order                                    Necessary


                                                                                           Transportation

                                                                             Blue Cross Blue
                                                                                                     Limitations
      The Berens Report's                                                   Shield Healthcare
                                           Min.             Max.                                         on                                                        Referral
    Recommended Needs for                                                  Plan Of Georgia, Inc.                          PA Required          Limit Specified
                                        Annual Cost      Annual Cost                                 Goods and                                                     Needed
             C.W                                                              BCBSHP Gold
                                                                                                      Services
                                                                           Pathway X HMO 1300



  Wheelchair accessible van with
 remote controlled power lift/ramp,
                                           $4,500         $7,142.86          NOT COVERED                    N/A                 N/A                 N/A              N/A
wheelchair tie downs, safety straps,
  and other accessibility features




 Roosevelt or other special needs
                                            $179             $179            NOT COVERED                    N/A                 N/A                 N/A              N/A
car seat with 5-point harness straps


                                                                                            Drug Needs

                                                                             Blue Cross Blue
                                                                                                     Limitations
      The Berens Report's                                                   Shield Healthcare
                                           Min.             Max.                                         on                                                        Referral
    Recommended Needs for                                                  Plan Of Georgia, Inc.                          PA Required          Limit Specified
                                        Annual Cost      Annual Cost                                 Goods and                                                     Needed
             C.W                                                              BCBSHP Gold
                                                                                                      Services
                                                                           Pathway X HMO 1300


                                                                                                    Provider must
  Glycopyrrolate (Cuvposa) liquid          $2,040           $2,256               Covered                                        NO                  N/A              NO
                                                                                                        order
                                       Not quantifiable Not quantifiable
                                                                                                    Provider must
          Robinul Tablet                - Subject to     - Subject to            Covered                                        NO                  N/A              NO
                                                                                                        order
                                        speculation      speculation
             Baclofen                                                                               Provider must
                                            $523             $742                Covered                                        NO                  N/A              NO
              10 mg                                                                                     order


     Ranitidine Liquid(Zantac)              $828             $924            NOT COVERED                    N/A                 N/A                 N/A              N/A


             MiraLAX                        $195             $195            NOT COVERED                    N/A                 N/A                 N/A              N/A




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                                                                                 Supply Needs

                                                                   Blue Cross Blue
                                                                                            Limitations
     The Berens Report's                                          Shield Healthcare
                                        Min.          Max.                                      on                                                   Referral
   Recommended Needs for                                         Plan Of Georgia, Inc.                           PA Required     Limit Specified
                                     Annual Cost   Annual Cost                              Goods and                                                Needed
            C.W                                                     BCBSHP Gold
                                                                                             Services
                                                                 Pathway X HMO 1300




Pediasure Grow and Gain w/Fiber,
                                                                                          Provider must
             8 oz.                    $4,004 05     $5,471.35          Covered                                      YES               N/A              NO
                                                                                              order
             bottle




       Feeding supplies:
         Feeding bags                                                                     Provider must
                                       $4,164        $4,164            Covered                                      YES               N/A              NO
connector and extension tubing,                                                               order
adhesive tape, feeding pump set




      Gastrostomy/G-tube                                                                  Provider must
                                        $628          $760             Covered                                      YES               N/A              NO
      (MOC-KEY or other)                                                                      order




                                                                                          Provider must
          Diapers/Briefs               $910.12       $932.14           Covered                                      YES               N/A              NO
                                                                                              order




   Allowance for miscellaneous
supplies such as personal hygiene
 wips,glovs,baby powder, sterile                                                          Provider must
                                       $200.00       $200 00           Covered                                      YES               N/A              NO
   water to flush feeding tube ,                                                              order
 Pedialyte, bed under pads, NUK
           dental swabs

                                                                   Surgical Intervention, Aggressive Treatment

                                                                   Blue Cross Blue
                                                                                            Limitations
     The Berens Report's                                          Shield Healthcare
                                        Min.          Max.                                      on                                                   Referral
   Recommended Needs for                                         Plan Of Georgia, Inc.                           PA Required     Limit Specified
                                     Annual Cost   Annual Cost                              Goods and                                                Needed
            C.W                                                     BCBSHP Gold
                                                                                             Services
                                                                 Pathway X HMO 1300


Surgical conversion of NG tube to                                                         Provider must
                                       $8,975        $8,975            Covered                                      YES               N/A              YES
             G-tube                                                                           order

                                                                                          Provider must
                                                                       Covered                                      YES               N/A              YES
                                                                                              order

                                                                                          Provider must
   Botox injection to arms/legs        $1,781        $8,178            Covered                                      YES               N/A              YES
                                                                                              order

                                                                                          Provider must
                                                                       Covered                                      YES               N/A              YES
                                                                                              order

                                                                                          Provider must
                                        N/A           N/A              Covered                                      YES               N/A              YES
                                                                                              order

                                                                                          Provider must
                                        N/A           N/A              Covered                                      YES               N/A              YES
                                                                                              order
 Intrathecal Baclofen Pump(ITB)
              implant
                                                                                          Provider must
                                       $5,592        $22,368           Covered                                      YES               N/A              YES
                                                                                              order

                                                                                          Provider must
                                      $5,278 29     $5,278.29          Covered                                      YES               N/A              YES
                                                                                              order

    Femoral osteotomy due to                                                              Provider must
                                        N/A           N/A              Covered                                      YES               N/A              YES
expected or probable hip dysplasia                                                            order

                                                                                          Provider must
Achilles tendon/Heelcord release        N/A           N/A              Covered                                      YES               N/A              YES
                                                                                              order

                                      Subject to    Subject to                            Provider must
    Hamstring tendon release                                           Covered                                      YES               N/A              YES
                                     speculation   speculation                                order




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                                                         QHP Analysis
                                                            Coverage Analysis Charts for the Berens Report
                                                          Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                               Option 1 In Home Care

                                                                    Blue Cross Blue
                                                                                               Limitations
     The Berens Report's                                           Shield Healthcare
                                      Min.            Max.                                         on                                                  Referral
   Recommended Needs for                                          Plan Of Georgia, Inc.                            PA Required     Limit Specified
                                   Annual Cost     Annual Cost                                 Goods and                                               Needed
            C.W                                                      BCBSHP Gold
                                                                                                Services
                                                                  Pathway X HMO 1300


                                                                                           In-Network 120 visit                   Must be Medically
                                     $113,880        $146,000            Covered                                      Yes                                Yes
                                                                                           limit Limit = 4 hours                     Necessary
             C.N.A
                                                                                           In-Network 120 visit                   Must be Medically
                                     $170,820        $219,000            Covered                                      Yes                                Yes
                                                                                           limit Limit = 4 hours                     Necessary

                                                                                           In-Network 120 visit                   Must be Medically
                                                                         Covered                                      Yes                                Yes
                                                                                           limit Limit = 4 hours                     Necessary
            LPN/RN                    $87,600        $131,400
                                                                                           In-Network 120 visit                   Must be Medically
                                                                         Covered                                      Yes                                Yes
                                                                                           limit Limit = 4 hours                     Necessary


       Adult day Program              $9,360          $15,600      Unable to determine             N/A                N/A               N/A              N/A


       Respite for parents:                                                                In-Network 120 visit                   Must be Medically
                                      $11,232         $14,400            Covered                                      Yes                                Yes
             C.N.A                                                                         limit Limit = 4 hours                     Necessary

       Respite for parents:                                                                In-Network 120 visit                   Must be Medically
                                      $11,520         $11,520            Covered                                      Yes                                Yes
            LPN/RN                                                                         limit Limit = 4 hours                     Necessary

         As adult 2034:
                                                                     Unable to determine           N/A                N/A               N/A              N/A
 Replace value of lost service for Not quantifiable Not quantifiable
homemaking, interior/exterior home - Subject to      - Subject to
maintenance, housecleaning, yard    speculation      speculation
                                                                     Unable to determine           N/A                N/A               N/A              N/A
              care
                                                                          Option 2 Residential Facility care

                                                                    Blue Cross Blue
                                                                                               Limitations
     The Berens Report's                                           Shield Healthcare
                                      Min.            Max.                                         on                                                  Referral
   Recommended Needs for                                          Plan Of Georgia, Inc.                            PA Required     Limit Specified
                                   Annual Cost     Annual Cost                                 Goods and                                               Needed
            C.W                                                      BCBSHP Gold
                                                                                                Services
                                                                  Pathway X HMO 1300


              Facility
                                     $200,750        $209,875        NOT COVERED                   N/A                N/A               N/A              N/A
      Brain injury residence




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                                                                             Routine Future Medical Care - Physician Only


                                                                                                                   Limitations
  The Berens Report's
                                Unit Cost           Min.             Max.                                              on                                                       Referral
Recommended Needs for                                                                   CHAMP VA                                              PA Required   Limit Specified
                               (Min. - Max.)     Annual Cost      Annual Cost                                      Goods and                                                    Needed
    Christian Willis
                                                                                                                    Services



                                   $340              $340             $340               Covered                      NONE                        NO             N/A              NO


        Physiatrist             $146 - $213          $292             $639               Covered                      NONE                        NO             N/A              NO


                                $146 - $213          $584             $852               Covered                      NONE                        NO             N/A              NO

        Pediatric
                                   $269              $269             $269               Covered                      NONE                        NO             N/A              NO
       Neurologist

            EEG                                                                                                  Provider must
                                  $1,036             N/A              N/A                Covered                                                  NO             N/A              Yes
(include interpretation fee)                                                                                         order

                                   $269              $269             $269               Covered                      NONE                        NO             N/A              NO
        Pediatric
 Orthopedist / Orthopedic
        Surgeon
                                   $159              $159             $159               Covered                      NONE                        NO             N/A              NO

                                                                                                                 Provider must
                                   $172              $172             $172               Covered                                                  NO             N/A              Yes
          X-rays                                                                                                     order
        Hips/Pelvis
                                                                                                                 Provider must
                                   $305              $305             $305               Covered                                                  NO             N/A              Yes
                                                                                                                     order

                                   $269              $269             $269               Covered                      NONE                        NO             N/A              NO


                                   $159              $159             $159               Covered                      NONE                        NO             N/A              NO
    Gastroenterologist
                                                     $318             $318               Covered                      NONE                        NO             N/A              NO
                                   $159
                                                     $159             $159               Covered                      NONE                        NO             N/A              NO

   Dietician/Nutritionist                                                                                        Provider must
                                $120 - $133          $120             $133               Covered                                                  NO             N/A              Yes
        Evaluation                                                                                                   order

                                                                                                                 Provider must
   Dietician/Nutritionist       $100 - $119          $100             $119               Covered                                                  NO             N/A              Yes
                                                                                                                     order

                                                                                                                 Provider must
                                                     $200             $238               Covered                                                  NO             N/A              Yes
                                                                                                                     order
   Dietician/Nutritionist       $100 - $119
                                                                                                                 Provider must
                                                     $100             $119               Covered                                                  NO             N/A              Yes
                                                                                                                     order

                                                                                                                 Provider must
     Swallow Studies               $764              $764            $1,528              Covered                                                  NO             N/A              Yes
                                                                                                                     order

                                                                                                                 Provider must
                                                                                         Covered                                                  NO             N/A              Yes
                                                                                                                     order
                                                     $145             $379
Labs:Chem panel,CMP,and                                                                                          Provider must
                                $145 - $379                                              Covered                                                  NO             N/A              Yes
     Vitamin D level                                                                                                 order

                                                                                                                 Provider must
                                                     $29              $126               Covered                                                  NO             N/A              Yes
                                                                                                                     order

           ENT                     $269              $269             $269               Covered                      NONE                        NO             N/A              NO

        Pediatric
     Ophthalmologist               $300              N/A              N/A                Covered                      NONE                        NO             N/A              NO
       Evaluation
        Pediatric
                                   $340              $340             $340               Covered                      NONE                        NO             N/A              NO
      Pulmonologist
                                   Not               Not              Not
                                                                                                                 Provider must
       Sleep Study             quantifiable -    quantifiable -   quantifiable -         Covered                                                 YES             N/A             YES
                                                                                                                     order
                                Subject to        Subject to       Subject to
        Pediatric
     Endocrinologist               $340              N/A              N/A                Covered                      NONE                        NO             N/A              NO
       Evaluation

                                                     $358             $358               Covered                      NONE                        NO             N/A              NO
 DEXA bone density scan
                                   $358
      Evaluation
                                                     $358             $358               Covered                      NONE                        NO             N/A              NO


          Dentist                    $0               $0               $0                Covered                      NONE                        NO             N/A              NO

 Sedation for dental care
                                 $397 -$793
       30-60 min                                     $794            $1,586              Covered                      NONE                        NO             N/A              NO
                               for 30 - 60 min
    anesthesia time
 Pediatrician/Primary care
                                     $0               $0               $0                Covered                      NONE                        NO             N/A              NO
         physician




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      Flu vaccination               $0             $0            $0                 Covered                      NONE                        NO              N/A              NO

                                                                            Project Evaluations - Non Physician


                                                                                                              Limitations
   The Berens Report's
                                Unit Cost         Min.          Max.                                              on                                                        Referral
 Recommended Needs for                                                             CHAMP VA                                              PA Required    Limit Specified
                               (Min. - Max.)   Annual Cost   Annual Cost                                      Goods and                                                     Needed
     Christian Willis
                                                                                                               Services



                                                  $320          $480                Covered                      NONE                        NO              N/A              NO
     Physical Therapy
                               $160 - $240
        Evaluation
                                                  $160          $240                Covered                      NONE                        NO              N/A              NO


                                                  $320          $480                Covered                      NONE                        NO              N/A              NO
    Occupation Therapy
                               $160 - $240
        Evaluation
                                                  $160          $240                Covered                      NONE                        NO              N/A              NO


                                                  $320          $480                Covered                      NONE                        NO              N/A              NO
      Speech Therapy
                               $160 - $240
        Evaluation
                                                  $160          $240                Covered                      NONE                        NO              N/A              NO

                                    $0
 Vision and Hearing Screen     provide by          $0            $0                 Covered                      NONE                        NO              N/A              NO
                              public school
  Wheelchair Seating and            $0
         Positioning           included in         $0            $0                 Covered                      NONE                        NO              N/A              NO
         Evaluation              cost of
                             $1200 - $3600
Augmentative and Alternative                                                                                Provider must
                               for 3 hours        $240         $1,200               Covered                                                  NO              N/A              NO
       Communication                                                                                            order
                             Evaluation by
                                                                                  Private / Outpatient to 2037
Augmentative and Alternative $1200 - $3600
                                                                                                            Provider must                              Must be Medically
Communication(ACC)/Assistiv for 3 hours           $400         $3,600               Covered                                                 Yes                               Yes
                                                                                                                order                                     Necessary
 e Technology Evaluation by Evaluation by
                                                                                     School- based to 2037
Augmentative and Alternative      $0
                                                                                                            Provider must                              Must be Medically
Communication(ACC)/Assistiv provide by             $0            $0             NOT COVERED                                                 Yes                               Yes
                                                                                                                order                                     Necessary
 e Technology Evaluation by public school
                                                                                         Project Therapy


                                                                                                              Limitations
   The Berens Report's
                                Unit Cost         Min.          Max.                                              on                                                        Referral
 Recommended Needs for                                                             CHAMP VA                                              PA Required    Limit Specified
                               (Min. - Max.)   Annual Cost   Annual Cost                                      Goods and                                                     Needed
     Christian Willis
                                                                                                               Services


    Physical Therapy and            $0
                                                                                                            Provider must                              Must be Medically
    Occupational Therapy       include with        $0            $0                 Covered                                                 Yes                               Yes
                                                                                                                order                                     Necessary
include music therapy, equal    home care
       Speech therapy               $0
                                                                                                            Provider must                              Must be Medically
     for feeding program,      include with        $0            $0                 Covered                                                 Yes                               Yes
                                                                                                                order                                     Necessary
    swallowing, oral motor      home care
             Initial
                                                                                                            Provider must                              Must be Medically
 Psychology/Counseling for     $100 - $200        $100          $200                Covered                                                 Yes                               Yes
                                                                                                                order                                     Necessary
  parents/family for copying
           Follow up
                                $60 - $200                                                                  Provider must                              Must be Medically
 Psychology/Counseling for                        $480         $2,000               Covered                                                 Yes                               Yes
                                 per visit                                                                      order                                     Necessary
  parents/family for copying
             Initial
                                                                                                            Provider must                              Must be Medically
 Psychology/Counseling for     $100 - $200        $100          $200                Covered                                                 Yes                               Yes
                                                                                                                order                                     Necessary
  parents/family for copying
           Follow up
                                $60 - $200                                                                  Provider must                              Must be Medically
 Psychology/Counseling for                        $480         $2,000               Covered                                                 Yes                               Yes
                                 per visit                                                                      order                                     Necessary
  parents/family for copying
             Initial
                                                                                                            Provider must                              Must be Medically
 Psychology/Counseling for     $100 - $200        $100          $200                Covered                                                 Yes                               Yes
                                                                                                                order                                     Necessary
  parents/family for copying
           Follow up
                                $60 - $200                                                                  Provider must                              Must be Medically
 Psychology/Counseling for                        $480         $2,000               Covered                                                 Yes                               Yes
                                 per visit                                                                      order                                     Necessary
  parents/family for copying
             Initial
                                                                                                            Provider must                              Must be Medically
 Psychology/Counseling for     $100 - $200        $100          $200                Covered                                                 Yes                               Yes
                                                                                                                order                                     Necessary
  parents/family for copying
           Follow up
                                $60 - $200                                                                  Provider must                              Must be Medically
 Psychology/Counseling for                        $480         $2,000               Covered                                                 Yes                               Yes
                                 per visit                                                                      order                                     Necessary
  parents/family for copying
             Initial
                                                                                                            Provider must                              Must be Medically
 Psychology/Counseling for     $100 - $200        $100          $200                Covered                                                 Yes                               Yes
                                                                                                                order                                     Necessary
  parents/family for copying
           Follow up
                                $60 - $200                                                                  Provider must                              Must be Medically
 Psychology/Counseling for                        $480         $2,000               Covered                                                 Yes                               Yes
                                 per visit                                                                      order                                     Necessary
  parents/family for copying
             Initial
                                                                                                            Provider must                              Must be Medically
 Psychology/Counseling for     $100 - $200        $100          $200                Covered                                                 Yes                               Yes
                                                                                                                order                                     Necessary
  parents/family for copying
           Follow up
                                $60 - $200                                                                  Provider must                              Must be Medically
 Psychology/Counseling for                        $480         $2,000               Covered                                                 Yes                               Yes
                                 per visit                                                                      order                                     Necessary
  parents/family for copying
             Initial
                                                                                                            Provider must                              Must be Medically
 Psychology/Counseling for     $100 - $200        $100          $200                Covered                                                 Yes                               Yes
                                                                                                                order                                     Necessary
  parents/family for copying
           Follow up
                                $60 - $200                                                                  Provider must                              Must be Medically
 Psychology/Counseling for                        $480         $2,000               Covered                                                 Yes                               Yes
                                 per visit                                                                      order                                     Necessary
  parents/family for copying




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 Case Manager it coordinate
                                 $80 - $100                                                                  Provider must                              Must be Medically
 care and equipment, liaison                      $3,840        $4,800               Covered                                                 Yes                                Yes
                                  per hour                                                                       order                                     Necessary
among multiple providers and
     Gordian/ Financial          $100 - $125
                                                  $2,400        $3,000           NOT COVERED                        N/A                      N/A               N/A              N/A
     Planner/Manager              per hour
                                                                                   Private / Outpatient to 2037
    Physical Therapy and         $160 - $168                                                                 Provider must                              Must be Medically
                                                  $15,360       $16,128              Covered                                                 Yes                                Yes
    Occupational Therapy         PT(60 min)                                                                      order                                     Necessary
include music therapy, equal
    therapy or therapeutic       $160 - $168                                                                 Provider must                              Must be Medically
                                                  $15,360       $16,128              Covered                                                 Yes                                Yes
       horseback riding          OT(60 min)                                                                      order                                     Necessary

    Physical Therapy and         $160 - $168                                                                 Provider must                              Must be Medically
                                                  $7,680        $8,064               Covered                                                 Yes                                Yes
    Occupational Therapy         PT(60 min)                                                                      order                                     Necessary
include music therapy, equal
    therapy or therapeutic       $160 - $168                                                                 Provider must                              Must be Medically
                                                  $7,680        $8,064               Covered                                                 Yes                                Yes
       horseback riding          OT(60 min)                                                                      order                                     Necessary

                                                                                                             Provider must                              Must be Medically
      Speech therapy                              $13,824       $15,360              Covered                                                 Yes                                Yes
    for feeding program,         $144 - $160                                                                     order                                     Necessary
   swallowing, oral motor          (60 min)
         coordination                             $6,912        $7,680               Covered                      NONE                        NO               N/A              Yes

                                                                                      School- based to 2037
    Physical Therapy and              $0
    Occupational Therapy         provide by         $0            $0                    N/A                         N/A                      N/A               N/A              N/A
include music therapy, equal       school
       Speech therapy                 $0
     for feeding program,        provide by         $0            $0                    N/A                         N/A                      N/A               N/A              N/A
    swallowing, oral motor         school
                                      $0
 Vision Specialist as part of
                                 provide by         $0            $0                    N/A                         N/A                      N/A               N/A              N/A
  school - based therapies
                                public school
                                                                        Diagnostic Testing / Educational Assessment


                                                                                                               Limitations
   The Berens Report's
                                 Unit Cost         Min.          Max.                                              on                                                         Referral
 Recommended Needs for                                                              CHAMP VA                                              PA Required     Limit Specified
                                (Min. - Max.)   Annual Cost   Annual Cost                                      Goods and                                                      Needed
     Christian Willis
                                                                                                                Services


  Early Intervention through         $0
   Babies can't wait (BCW)      provide by          $0            $0                    N/A                         N/A                      N/A               N/A              N/A
           program             public school
  Special Education Through          $0
public school system with IEP, provide by           $0            $0                    N/A                         N/A                      N/A               N/A              N/A
     educationally-related     public school
          Educational
                                   $125
 consultant/student Advocate                       $500          $500                   N/A                         N/A                      N/A               N/A              N/A
                                 per hour
   knowledgeable in I.D.E.A
                                                                                   Private / Outpatient to 2037
     Neuropsychological
                                $2500 - $4500      N/A            N/A                Covered                      NONE                        NO               N/A              NO
         Evaluation
                                                                                      School- based to 2037
                                     $0
     Neuropsychological
                                 provide by         $0            $0                    N/A                         N/A                      N/A               N/A              N/A
         Evaluation
                                   school
                                                                     Wheelchair Needs, Accessories and Maintenance


                                                                                                               Limitations
   The Berens Report's
                                 Unit Cost         Min.          Max.                                              on                                                         Referral
 Recommended Needs for                                                              CHAMP VA                                              PA Required     Limit Specified
                                (Min. - Max.)   Annual Cost   Annual Cost                                      Goods and                                                      Needed
     Christian Willis
                                                                                                                Services

  Quickie Zippy or similar
                                                                                                             Provider must                              Must be Medically
manual wheelchair with tilt'n      $7,306         $1,218        $1,827               Covered                                                 Yes                                Yes
  space recline, caregiver                                                                                       order                                     Necessary
   handlebars, headrest,
                                                                                                             Provider must                              Must be Medically
back/trunk/hip supports, foot      $7,306         $1,044        $1,044               Covered                                                 Yes                                Yes
                                                                                                                 order                                     Necessary
       rests, lap tray
                                10% cost of
                                                                                                              Repair and                                Must not be related
                                weelchair per      $137          $101                Covered                                                 Yes                                NO
                                                                                                          replacement costs                                 to neglect
  Wheelchair maintenance         year after
                                10% cost of
                                                                                                              Repair and                                Must not be related
                                weelchair per      $89            $89                Covered                                                 Yes                                NO
                                                                                                          replacement costs                                 to neglect
                                 year after
   Custom foam contour                                                                                                                                  Must be Medically
                                 $400 - $520       $80           $173                Covered               Supplies included                 Yes                                Yes
  wheelchair seat cushion                                                                                                                                  Necessary

                                                                                                                                                        Must be Medically
    Seat cushion covers             $100           $50            $50                Covered               Supplies included                 Yes                                Yes
                                                                                                                                                           Necessary

 Rifton Wave Adapted bath                                                                                    Provider must                              Must be Medically
                                 $349 - $517       N/A            N/A                Covered                                                 Yes                                Yes
       chair or similar                                                                                          order                                     Necessary

ActiveAid Shower wheelchair                                                                                  Provider must                              Must be Medically
                                   $2,850          $570          $570                Covered                                                 Yes                                Yes
          Shower                                                                                                 order                                     Necessary
                                10% cost of
     Shower wheelchair                                                                                        Repair and                                Must not be related
                                  Shower           $46            $46                Covered                                                 Yes                                NO
       maintenance                                                                                        replacement costs                                 to neglect
                                weelchair per
                                                                                              Orthotics


                                                                                                               Limitations
   The Berens Report's
                                  Unit Cost        Min.          Max.                                              on                                                         Referral
 Recommended Needs for                                                              CHAMP VA                                              PA Required     Limit Specified




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 Recommended Needs for                                                                       CHAMP VA                                              PA Required    Limit Specified
                                    (Min. - Max.)     Annual Cost      Annual Cost                                      Goods and                                                     Needed
     Christian Willis
                                                                                                                         Services


                                    $1062 - $2000                                                                     Provider must                              Must be Medically
                                                         $1,062           $2,000              Covered                                                 Yes                               Yes
                                        pair                                                                              order                                     Necessary
 Bilateral custom-made solid
      Ankle/foot/orthosis
                                    $1062 - $2000                                                                     Provider must                              Must be Medically
                                                          $354            $1,000              Covered                                                 Yes                               Yes
                                        pair                                                                              order                                     Necessary

SWASH(standing,walking and                                                                                            Provider must                              Must be Medically
                                       $2,696             N/A              N/A                Covered                                                 Yes                               Yes
   sitting hip) orthosis                                                                                                  order                                     Necessary

Bilateral Benik or similar hand                                                                                       Provider must                              Must be Medically
                                        $610              $610             $610               Covered                                                 Yes                               Yes
   splits with thumb support                                                                                              order                                     Necessary
                                                                                 Home Furnishings/Durable Medical Equipment


                                                                                                                        Limitations
   The Berens Report's
                                     Unit Cost           Min.             Max.                                              on                                                        Referral
 Recommended Needs for                                                                       CHAMP VA                                              PA Required    Limit Specified
                                    (Min. - Max.)     Annual Cost      Annual Cost                                      Goods and                                                     Needed
     Christian Willis
                                                                                                                         Services


Easy Stand Stander: bantam
                                        $4583                                                                         Provider must                              Must be Medically
Extra Small for children up to                            N/A              N/A                Covered                                                 Yes                               Yes
                                      xtra small                                                                          order                                     Necessary
          50 lbs.
              Zing                      $3207                                                                         Provider must                              Must be Medically
                                                          N/A              N/A                Covered                                                 Yes                               Yes
   for children up to 70 lbs.           Zing1                                                                             order                                     Necessary

                                        $5468                                                                         Provider must                              Must be Medically
     Zing 2 up to 154 lbs.                                N/A              N/A                Covered                                                 Yes                               Yes
                                        Zing 2                                                                            order                                     Necessary
    Evolv up to 200 lbs., or
                                        $5675                                                                         Provider must                              Must be Medically
  similar stander with resting                            $811             $811               Covered                                                 Yes                               Yes
                                        Evolv                                                                             order                                     Necessary
            arm tray
                                Not                       Not              Not
Maintenance and adjustments                                                                                           Provider must                              Must be Medically
                            quantifiable -            quantifiable -   quantifiable -         Covered                                                 Yes                               Yes
        for stander                                                                                                       order                                     Necessary
                             Subject to                Subject to       Subject to
                                                                                                                      Provider must                              Must be Medically
                                        $680              $680             $680               Covered                                                 Yes                               Yes
                                                                                                                          order                                     Necessary

                                                                                                                      Provider must                              Must be Medically
                                        $920              $920             $920               Covered                                                 Yes                               Yes
  Rifton pacer or similar Gait                                                                                            order                                     Necessary
            Trainer
                                                                                                                      Provider must                              Must be Medically
                                    $1310 - $1480        $1,310           $1,480              Covered                                                 Yes                               Yes
                                                                                                                          order                                     Necessary

                                                                                                                      Provider must                              Must be Medically
                                    $1310 - $1480        $1,310           $1,480              Covered                                                 Yes                               Yes
                                                                                                                          order                                     Necessary
     Invacare hospital bed,
                                                                                                                      Provider must                              Must be Medically
  mattress, safety side rails,         $1,944             $194             $194               Covered                                                 Yes                               Yes
                                                                                                                          order                                     Necessary
    remote controlled head
Maintenance/Service contract
                                                                                                                      Provider must                              Must be Medically
     Invacare hospital bed,             $250              $83              $83                Covered                                                 Yes                               Yes
                                                                                                                          order                                     Necessary
  mattress, safety side rails,
  Adjustable height bedside
                                                                                                                      Provider must                              Must be Medically
table to provide flat surface for     $69 - $74            $7               $7                Covered                                                 Yes                               Yes
                                                                                                                          order                                     Necessary
              care
Kangaroo Joey feeding pump                                                                                            Provider must                              Must be Medically
                                     $669 - $714          $134             $143               Covered                                                 Yes                               Yes
       w/pole clamp                                                                                                       order                                     Necessary
                                     $50 per year
                                                                                                                      Provider must                              Must be Medically
    Maintenance for pump              except on           $40              $40                Covered                                                 Yes                               Yes
                                                                                                                          order                                     Necessary
                                    years replaces
                                                                                                                      Provider must                              Must be Medically
   IV pole for feeding bags              $24               $2               $2                Covered                                                 Yes                               Yes
                                                                                                                          order                                     Necessary
                               tomato feeding
                                                                                                                      Provider must                              Must be Medically
                                    chair                 $124             $124               Covered                                                 Yes                               Yes
Special tomato seater/feeding $616 size1                                                                                  order                                     Necessary
   chair up to 80 lbs. then         $949
                                                                                                                      Provider must                              Must be Medically
  Tumble Forms 2 or similar     Tumble forms              $190             $190               Covered                                                 Yes                               Yes
                                                                                                                          order                                     Necessary
 adopted feeder/positioning        seater
 seat with tray up to 200 lbs.     $1728                                                                              Provider must                              Must be Medically
                                                          $346             $346               Covered                                                 Yes                               Yes
                                     Xlarg chair                                                                          order                                     Necessary
 Hoyer hydraulic lift/Portable
                                                                                                                      Provider must                              Must be Medically
power patient lift for transfers. $731 - $2758            $73              $276               Covered                                                 Yes                               Yes
                                                                                                                          order                                     Necessary
See also sure Hands track lift
                                                                                                                      Provider must                              Must be Medically
   Spray sling for transfers            $109              $55              $109               Covered                                                 Yes                               Yes
                                                                                                                          order                                     Necessary
                                    5% cost of Lift
                                                                                                                      Provider must                              Must be Medically
      Maintenance for lift          per year after         $3              $12                Covered                                                 Yes                               Yes
                                                                                                                          order                                     Necessary
                                      warranty
          Optional:
                                       $7500 -                                                                        Provider must                              Must be Medically
    Sure Hands or similar                                 N/A              N/A                Covered                                                 Yes                               Yes
                                       $10000                                                                             order                                     Necessary
   overhead lift system for
           Optional:                                                                                                  Provider must                              Must be Medically
                                        $150              $75              $75                Covered                                                 Yes                               Yes
            Battery                                                                                                       order                                     Necessary

           Optional:                                                                                                  Provider must                              Must be Medically
                                        $450              $90              $113               Covered                                                 Yes                               Yes
            Sling                                                                                                         order                                     Necessary

         Optional:                                                                                                    Provider must                              Must be Medically
                                        $150              $150             $150               Covered                                                 Yes                               Yes
  Overhead lift maintenance                                                                                               order                                     Necessary

 Therapy Table with cushion                                                                                           Provider must                              Must be Medically
                                     $115 - $198          $12              $20                Covered                                                 Yes                               Yes
           mat                                                                                                            order                                     Necessary




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 Allowance for items such as
                                                                                                                  Provider must                              Must be Medically
   room monitor, handheld            $100             $100             $100               Covered                                                 Yes                               Yes
                                                                                                                      order                                     Necessary
shower head, wheelchair carry
                                                                      Health and Strength Maintenance(Leisure Time Activities)


                                                                                                                    Limitations
   The Berens Report's
                                  Unit Cost          Min.             Max.                                              on                                                        Referral
 Recommended Needs for                                                                   CHAMP VA                                              PA Required    Limit Specified
                                 (Min. - Max.)    Annual Cost      Annual Cost                                      Goods and                                                     Needed
     Christian Willis
                                                                                                                     Services


                                 $460
                                                                                                                  Provider must                              Must be Medically
                                                      $460             $460           NOT COVERED                                                 Yes                               Yes
Therapeutic Horseback Riding for 10 week-                                                                             order                                     Necessary
 and or Summer Camps for        session
 children with special needs  $100 - $435                                                                         Provider must                              Must be Medically
                                                      $100             $435           NOT COVERED                                                 Yes                               Yes
                             Summer camp                                                                              order                                     Necessary
 Allowance for items such as
                                                                                                                  Provider must                              Must be Medically
    cause and effect toys,           $100             $100             $100           NOT COVERED                                                 Yes                               Yes
                                                                                                                      order                                     Necessary
  adopted switch activated
 Subscription to Exceptional       $95 print
 Parent online magazine and        magazine           $110             $110           NOT COVERED                        N/A                      N/A              N/A              N/A
 other reading resources for     $0 eMagazine
      Go Talk 9+ACC                                                                                               Provider must                              Must be Medically
                                     $199             $40              $40                Covered                                                 Yes                               Yes
      Speech device                                                                                                   order                                     Necessary

TOBII I-12 or similar eye gaze     $16605 -                                                                       Provider must                              Must be Medically
                                                     $3,321           $3,511              Covered                                                 Yes                               Yes
         AAC system                 $17554                                                                            order                                     Necessary
                                                                                               Transportation


                                                                                                                    Limitations
   The Berens Report's
                                  Unit Cost          Min.             Max.                                              on                                                        Referral
 Recommended Needs for                                                                   CHAMP VA                                              PA Required    Limit Specified
                                 (Min. - Max.)    Annual Cost      Annual Cost                                      Goods and                                                     Needed
     Christian Willis
                                                                                                                     Services


 Wheelchair accessible van
                                   $45,000 -                                                                      Provider must                              Must be Medically
with remote controlled power                         $4,500           $7,143        Unable to determine                                           Yes                               Yes
                                    50,000                                                                            order                                     Necessary
   lift/ramp, wheelchair tie
 Roosevelt or other special
                                                                                                                  Provider must                              Must be Medically
 needs car seat with 5-point         $895             $179             $179               Covered                                                 Yes                               Yes
                                                                                                                      order                                     Necessary
         harness straps
                                                                                                 Drug Needs


                                                                                                                    Limitations
   The Berens Report's
                                  Unit Cost          Min.             Max.                                              on                                                        Referral
 Recommended Needs for                                                                   CHAMP VA                                              PA Required    Limit Specified
                                 (Min. - Max.)    Annual Cost      Annual Cost                                      Goods and                                                     Needed
     Christian Willis
                                                                                                                     Services


  Glycopyrrolate (Cuvposa)                                                                                        Provider must                              Must be Medically
                                 $170 - $188         $2,040           $2,256              Covered                                                 Yes                               Yes
           liquid                                                                                                     order                                     Necessary
                                     Not              Not              Not
                                                                                                                  Provider must                              Must be Medically
       Robinul Tablet            quantifiable -   quantifiable -   quantifiable -         Covered                                                 Yes                               Yes
                                                                                                                      order                                     Necessary
                                  Subject to       Subject to       Subject to
          Baclofen                 $43 - $61                                                                      Provider must                              Must be Medically
                                                      $523             $742               Covered                                                 Yes                               Yes
           10 mg                 for 90 Tablets                                                                       order                                     Necessary

                                  $69 - $77                                                                       Provider must                              Must be Medically
  Ranitidine Liquid(Zantac)                           $828             $924               Covered                                                 Yes                               Yes
                                  per month                                                                           order                                     Necessary
                                   $23.99
                                                                                                                  Provider must                              Must be Medically
          MiraLAX                bottle for 45        $195             $195               Covered                                                 Yes                               Yes
                                                                                                                      order                                     Necessary
                                    doses
                                                                                                Supply Needs


                                                                                                                    Limitations
   The Berens Report's
                                  Unit Cost          Min.             Max.                                              on                                                        Referral
 Recommended Needs for                                                                   CHAMP VA                                              PA Required    Limit Specified
                                 (Min. - Max.)    Annual Cost      Annual Cost                                      Goods and                                                     Needed
     Christian Willis
                                                                                                                     Services


  Pediasure Grow and Gain          $10.97 -
                                                                                                                  Provider must                              Must be Medically
       w/Fiber, 8 oz.               $14.99           $4,004           $5,471              Covered                                                 Yes                               Yes
                                                                                                                      order                                     Necessary
           bottle                 for 6 bottle
     Feeding supplies:
                                                                                                                  Provider must                              Must be Medically
        feeding bags                 $347            $4,164           $4,164              Covered                                                 Yes                               Yes
                                                                                                                      order                                     Necessary
  connector and extension
    Gastrostomy/G-tube           $157 - $190                                                                      Provider must                              Must be Medically
                                                      $628             $760               Covered                                                 Yes                               Yes
    (MOC-KEY or other)            per tube                                                                            order                                     Necessary
                                   $45.88 -
                                                                                                                  Provider must                              Must be Medically
       Diapers/Briefs             $46.99 for          $910             $932               Covered                                                 Yes                               Yes
                                                                                                                      order                                     Necessary
                                  pack of 92
 Allowance for miscellaneous
                                                                                                                  Provider must                              Must be Medically
  supplies such as personal          $200             $200             $200               Covered                                                 Yes                               Yes
                                                                                                                      order                                     Necessary
   hygiene wips,glovs,baby
                                                                               Surgical Intervention, Aggressive Treatment


                                                                                                                    Limitations
   The Berens Report's
                                  Unit Cost          Min.             Max.                                              on                                                        Referral
 Recommended Needs for                                                                   CHAMP VA                                              PA Required    Limit Specified
                                 (Min. - Max.)    Annual Cost      Annual Cost                                      Goods and                                                     Needed
     Christian Willis
                                                                                                                     Services


  Surgical conversion of NG                                                                                       Provider must                              Must be Medically
                                    $8,975           $8,975           $8,975              Covered                                                 Yes                               Yes
        tube to G-tube                                                                                                order                                     Necessary




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                                                                                                                 Provider must                              Must be Medically
                                                                                         Covered                                                 Yes                               Yes
                                $445 - 2,044.5                                                                       order                                     Necessary
                                   2 times in
                                                                                                                 Provider must                              Must be Medically
Botox injection to arms/legs     office and 2       $1,781           $8,178              Covered                                                 Yes                               Yes
                                                                                                                     order                                     Necessary
                                 times under
                                  anesthesia                                                                     Provider must                              Must be Medically
                                                                                         Covered                                                 Yes                               Yes
                                                                                                                     order                                     Necessary

                                    $5,965                                                                       Provider must                              Must be Medically
                                                     N/A              N/A                Covered                                                 Yes                               Yes
                                   ITB trail                                                                         order                                     Necessary
                                    $59,147
                                                                                                                 Provider must                              Must be Medically
                                   Initial ITB       N/A              N/A                Covered                                                 Yes                               Yes
    Intrathecal Baclofen                                                                                             order                                     Necessary
                                    implant
     Pump(ITB) implant          $2796 - $5592
                                                                                                                 Provider must                              Must be Medically
                                     Pump           $5,592          $22,368              Covered                                                 Yes                               Yes
                                                                                                                     order                                     Necessary
                                  adjustment
                                    $36,948
                                                                                                                 Provider must                              Must be Medically
                                   ITB pump         $5,278           $5,278              Covered                                                 Yes                               Yes
                                                                                                                     order                                     Necessary
                                 replacement
 Femoral osteotomy due to
                                                                                                                 Provider must                              Must be Medically
 expected or probable hip         $135,210           N/A              N/A                Covered                                                 Yes                               Yes
                                                                                                                     order                                     Necessary
        dysplasia
  Achilles tendon/Heelcord                                                                                       Provider must                              Must be Medically
                                   $32,821           N/A              N/A                Covered                                                 Yes                               Yes
            release                                                                                                  order                                     Necessary
                                    Not              Not              Not
                                                                                                                 Provider must                              Must be Medically
 Hamstring tendon release       quantifiable -   quantifiable -   quantifiable -         Covered                                                 Yes                               Yes
                                                                                                                     order                                     Necessary
                                 Subject to       Subject to       Subject to
                                                                                         Option 1: In Home Care


                                                                                                                   Limitations
  The Berens Report's
                                 Unit Cost          Min.             Max.                                              on                                                        Referral
Recommended Needs for                                                                   CHAMP VA                                              PA Required    Limit Specified
                                (Min. - Max.)    Annual Cost      Annual Cost                                      Goods and                                                     Needed
    Christian Willis
                                                                                                                    Services


                                                                                                                 Provider must                              Must be Medically
                                                  $113,880         $146,000          NOT COVERED                                                 Yes                               Yes
                                $19.50 - $25                                                                         order                                     Necessary
           C.N.A
                                  per hour
                                                                                                                 Provider must                              Must be Medically
                                                  $170,820         $219,000          NOT COVERED                                                 Yes                               Yes
                                                                                                                     order                                     Necessary

                                                                                                                 Provider must                              Must be Medically
                                                                                         Covered                                                 Yes                               Yes
                                    $120                                                                             order                                     Necessary
          LPN/RN                                   $87,600         $131,400
                                   per visit
                                                                                                                 Provider must                              Must be Medically
                                                                                         Covered                                                 Yes                               Yes
                                                                                                                     order                                     Necessary

                                    $65                                                                          Provider must                              Must be Medically
     Adult day Program                              $9,360          $15,600              Covered                                                 Yes                               Yes
                                   per day                                                                           order                                     Necessary

    Respite for parents:        $19.50 - $25                                                                     Provider must                              Must be Medically
                                                   $11,232          $14,400              Covered                                                 Yes                               Yes
          C.N.A                   per hour                                                                           order                                     Necessary

    Respite for parents:            $120                                                                         Provider must                              Must be Medically
                                                   $11,520          $11,520              Covered                                                 Yes                               Yes
         LPN/RN                    per visit                                                                         order                                     Necessary
       As adult 2034:
Replace value of lost service       Not              Not              Not          Unable to determine                  N/A                      N/A              N/A              N/A
      for homemaking,           quantifiable -   quantifiable -   quantifiable -
   interior/exterior home         Subject to       Subject to       Subject to
maintenance, housecleaning,      speculation      speculation      speculation     Unable to determine                  N/A                      N/A              N/A              N/A
          yard care
                                                                                   Option 2: Residential Facility care


                                                                                                                   Limitations
  The Berens Report's
                                 Unit Cost          Min.             Max.                                              on                                                        Referral
Recommended Needs for                                                                   CHAMP VA                                              PA Required    Limit Specified
                                (Min. - Max.)    Annual Cost      Annual Cost                                      Goods and                                                     Needed
    Christian Willis
                                                                                                                    Services


           Facility              $550 - $575                                                                     Provider must                              Must be Medically
                                                  $200,750         $209,875        151 DAYS PER YEAR                                             Yes                               Yes
   Brain injury residence          per day                                                                           order                                     Necessary




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                                                              Routine Future Medical Care - Physician Only


                                                                                     Limitations
  The Berens Report's                                        GA Medicaid and
                                   Min.          Max.                                    on                                                       Referral
Recommended Needs for                                        Medicaid Waiver                                 PA Required     Limit Specified
                                Annual Cost   Annual Cost                            Goods and                                                    Needed
         C.W                                                    Programs
                                                                                      Services



                                   $340          $340            Covered                NONE                     NO               N/A               NO


         Physiatrist               $292          $639            Covered                NONE                     NO               N/A               NO


                                   $584          $852            Covered                NONE                     NO               N/A               NO

         Pediatric
                                   $269          $269            Covered                NONE                     NO               N/A               NO
        Neurologist

             EEG                                                                    Provider must
                                   N/A           N/A             Covered                                         NO               N/A               Yes
 (include interpretation fee)                                                           order

                                   $269          $269            Covered                NONE                     NO               N/A               NO
        Pediatric
 Orthopedist / Orthopedic
        Surgeon
                                   $159          $159            Covered                NONE                     NO               N/A               NO


                                                                                    Provider must
                                   $172          $172            Covered                                         NO               N/A               Yes
          X-rays                                                                        order
        Hips/Pelvis
                                                                                    Provider must
                                   $305          $305            Covered                                         NO               N/A               Yes
                                                                                        order

                                   $269          $269            Covered                NONE                     NO               N/A               NO
     Gastroenterologist
                                   $318          $318            Covered                NONE                     NO               N/A               NO

    Dietician/Nutritionist                                                          Provider must
                                   $120          $133            Covered                                         NO               N/A               Yes
         Evaluation                                                                     order

                                                                                    Provider must
    Dietician/Nutritionist         $100          $119            Covered                                         NO               N/A               Yes
                                                                                        order

                                                                                    Provider must
    Dietician/Nutritionist         $200          $238            Covered                                         NO               N/A               Yes
                                                                                        order

                                                                                    Provider must
       Sallow Studies              $764         $1,528           Covered                                         NO               N/A               Yes
                                                                                        order

Labs:Chem panel, CMP, and                                                           Provider must
                                   $145          $379            Covered                                         NO               N/A               Yes
      Vitamin D level                                                                   order

            ENT                    $269          $269            Covered                NONE                     NO               N/A               NO

         Pediatric
      Ophthalmologist              N/A           N/A             Covered                NONE                     NO               N/A               NO
        Evaluation
         Pediatric
                                   $340          $340            Covered                NONE                     NO               N/A               NO
       Pulmonologist

                                 Subject to    Subject to                           Provider must
        Sleep Study                                              Covered                                        YES               N/A              YES
                                speculation   speculation                               order
         Pediatric
      Endocrinologist              N/A           N/A             Covered                NONE                     NO               N/A               NO
        Evaluation

                                   $358          $358            Covered                NONE                     NO               N/A               NO
 DEXA bone density scan
      Evaluation
                                   $358          $358            Covered                NONE                     NO               N/A               NO


           Dentist                  $0            $0             Covered                NONE                     NO               N/A               NO

  Sedation for dental care
        30-60 min                  $794         $1,586           Covered                NONE                     NO               N/A               NO
     anesthesia time
 Pediatrician/Primary care
                                    $0            $0             Covered                NONE                     NO               N/A               NO
         physician

      Flu vaccination               $0            $0             Covered                NONE                     NO               N/A               NO




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                                                                  Project Evaluations - Non Physician


                                                                                      Limitations
   The Berens Report's                                       GA Medicaid and
                                   Min.          Max.                                     on                                                 Referral
 Recommended Needs for                                       Medicaid Waiver                            PA Required     Limit Specified
                                Annual Cost   Annual Cost                             Goods and                                              Needed
          C.W                                                   Programs
                                                                                       Services




                                   $320          $480            Covered                NONE                NO               N/A               NO

      Physical Therapy
         Evaluation

                                   $160          $240            Covered                NONE                NO               N/A               NO




                                   $320          $480            Covered                NONE                NO               N/A               NO

    Occupation Therapy
        Evaluation

                                   $160          $240            Covered                NONE                NO               N/A               NO




                                   $320          $480            Covered                NONE                NO               N/A               NO

      Speech Therapy
        Evaluation

                                   $160          $240            Covered                NONE                NO               N/A               NO




 Vision and Hearing Screen          $0            $0             Covered                NONE                NO               N/A               NO



   Wheelchair Seating and
        Positioning                 $0            $0             Covered                NONE                NO               N/A               NO
        Evaluation



Augmentative and Alternative                                                        Provider must
                                   $240         $1,200           Covered                                    NO               N/A               NO
     Communication                                                                      order

                                                                      Private / Outpatient to 2037
Augmentative and Alternative
   Communication(ACC)/
    Assistive Technology
   Evaluation by Qualified
                                                                                    Provider must                      Must be Medically
  Occupation-al and Speech         $400         $3,600           Covered                                   Yes                                 Yes
                                                                                        order                             Necessary
Therapist to develop Adaptive
communication program using
 switch access and/or other
           devices
                                                                        School- based to 2037
Augmentative and Alternative
   Communication(ACC)/
    Assistive Technology
   Evaluation by Qualified
                                                                                    Provider must                      Must be Medically
  Occupation-al and Speech          $0            $0             Covered                                   Yes                                 Yes
                                                                                        order                             Necessary
Therapist to develop Adaptive
communication program using
 switch access and/or other
           devices




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                                                                           Project Therapy


                                                                                    Limitations
   The Berens Report's                                       GA Medicaid and
                                   Min.          Max.                                   on                                              Referral
 Recommended Needs for                                       Medicaid Waiver                       PA Required     Limit Specified
                                Annual Cost   Annual Cost                           Goods and                                           Needed
          C.W                                                   Programs
                                                                                     Services



    Physical Therapy and
    Occupational Therapy
                                                                                   Provider must                  Must be Medically
include music therapy, equal        $0            $0             Covered                              Yes                                 Yes
                                                                                       order                         Necessary
    therapy or therapeutic
       horseback riding



       Speech therapy
    for feeding program,                                                           Provider must                  Must be Medically
                                    $0            $0             Covered                              Yes                                 Yes
   swallowing, oral motor                                                              order                         Necessary
         coordination


             Initial
 Psychology/Counseling for
  parents/family for copying
                                                                                   Provider must                  Must be Medically
 strategies, problem solving,      $100          $200            Covered                              Yes                                 Yes
                                                                                       order                         Necessary
     stress management,
adjustment to C.W permanent
           disability
          Follow up
 Psychology/Counseling for
  parents/family for copying
                                                                                   Provider must                  Must be Medically
 strategies, problem solving,      $480         $2,000           Covered                              Yes                                 Yes
                                                                                       order                         Necessary
     stress management,
adjustment to C.W permanent
           disability
             Initial
 Psychology/Counseling for
  parents/family for copying
                                                                                   Provider must                  Must be Medically
 strategies, problem solving,      $100          $200            Covered                              Yes                                 Yes
                                                                                       order                         Necessary
     stress management,
adjustment to C.W permanent
           disability
          Follow up
 Psychology/Counseling for
  parents/family for copying
                                                                                   Provider must                  Must be Medically
 strategies, problem solving,      $480         $2,000           Covered                              Yes                                 Yes
                                                                                       order                         Necessary
     stress management,
adjustment to C.W permanent
           disability
                                                                           Project Therapy


                                                                                    Limitations
   The Berens Report's                                       GA Medicaid and
                                   Min.          Max.                                   on                                              Referral
 Recommended Needs for                                       Medicaid Waiver                       PA Required     Limit Specified
                                Annual Cost   Annual Cost                           Goods and                                           Needed
          C.W                                                   Programs
                                                                                     Services


             Initial
 Psychology/Counseling for
  parents/family for copying
                                                                                   Provider must                  Must be Medically
 strategies, problem solving,      $100          $200            Covered                              Yes                                 Yes
                                                                                       order                         Necessary
     stress management,
adjustment to C.W permanent
           disability
          Follow up
 Psychology/Counseling for
  parents/family for copying
                                                                                   Provider must                  Must be Medically
 strategies, problem solving,      $480         $2,000           Covered                              Yes                                 Yes
                                                                                       order                         Necessary
     stress management,
adjustment to C.W permanent
           disability
             Initial
 Psychology/Counseling for
  parents/family for copying
                                                                                   Provider must                  Must be Medically
 strategies, problem solving,      $100          $200            Covered                              Yes                                 Yes
                                                                                       order                         Necessary
     stress management,
adjustment to C.W permanent
           disability
          Follow up
 Psychology/Counseling for
  parents/family for copying
                                                                                   Provider must                  Must be Medically
 strategies, problem solving,      $480         $2,000           Covered                              Yes                                 Yes
                                                                                       order                         Necessary
     stress management,
adjustment to C.W permanent
           disability




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                                                                           Project Therapy


                                                                                      Limitations
   The Berens Report's                                       GA Medicaid and
                                   Min.          Max.                                     on                                              Referral
 Recommended Needs for                                       Medicaid Waiver                         PA Required     Limit Specified
                                Annual Cost   Annual Cost                             Goods and                                           Needed
          C.W                                                   Programs
                                                                                       Services


             Initial
 Psychology/Counseling for
  parents/family for copying
                                                                                    Provider must                   Must be Medically
 strategies, problem solving,      $100          $200            Covered                                Yes                                 Yes
                                                                                        order                          Necessary
     stress management,
adjustment to C.W permanent
           disability
          Follow up
 Psychology/Counseling for
  parents/family for copying
                                                                                    Provider must                   Must be Medically
 strategies, problem solving,      $480         $2,000           Covered                                Yes                                 Yes
                                                                                        order                          Necessary
     stress management,
adjustment to C.W permanent
           disability
             Initial
 Psychology/Counseling for
  parents/family for copying
                                                                                    Provider must                   Must be Medically
 strategies, problem solving,      $100          $200            Covered                                Yes                                 Yes
                                                                                        order                          Necessary
     stress management,
adjustment to C.W permanent
           disability
          Follow up
 Psychology/Counseling for
  parents/family for copying
                                                                                    Provider must                   Must be Medically
 strategies, problem solving,      $480         $2,000           Covered                                Yes                                 Yes
                                                                                        order                          Necessary
     stress management,
adjustment to C.W permanent
           disability
             Initial
 Psychology/Counseling for
  parents/family for copying
                                                                                    Provider must                   Must be Medically
 strategies, problem solving,      $100          $200            Covered                                Yes                                 Yes
                                                                                        order                          Necessary
     stress management,
adjustment to C.W permanent
           disability
          Follow up
 Psychology/Counseling for
  parents/family for copying
                                                                                    Provider must                   Must be Medically
 strategies, problem solving,      $480         $2,000           Covered                                Yes                                 Yes
                                                                                        order                          Necessary
     stress management,
adjustment to C.W permanent
           disability


     Guardian/ Financial
                                  $2,400        $3,000        NOT COVERED                N/A            N/A               N/A               N/A
      Planner/Manager


 Case Manager it coordinate
 care and equipment, liaison
                                                                                    Provider must                   Must be Medically
among multiple providers and      $3,840        $4,800           Covered                                Yes                                 Yes
                                                                                        order                          Necessary
service venders, advocate for
          Christian
                                                                      Private / Outpatient to 2037

    Physical Therapy and                                                            Provider must                   Must be Medically
                                  $15,360       $16,128          Covered                                Yes                                 Yes
    Occupational Therapy                                                                order                          Necessary
include music therapy, equal
    therapy or therapeutic
                                                                                    Provider must                   Must be Medically
       horseback riding           $15,360       $16,128          Covered                                Yes                                 Yes
                                                                                        order                          Necessary


    Physical Therapy and                                                            Provider must                   Must be Medically
                                  $7,680        $8,064           Covered                                Yes                                 Yes
    Occupational Therapy                                                                order                          Necessary
include music therapy, equal
    therapy or therapeutic
                                                                                    Provider must                   Must be Medically
       horseback riding           $7,680        $8,064           Covered                                Yes                                 Yes
                                                                                        order                          Necessary


                                                                                    Provider must                   Must be Medically
       Speech therapy             $13,824       $15,360          Covered                                Yes                                 Yes
                                                                                        order                          Necessary
    for feeding program,
   swallowing, oral motor
         coordination
                                  $6,912        $7,680           Covered                NONE             NO               N/A               Yes




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                                                                              Project Therapy


                                                                                         Limitations
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                                      Min.          Max.                                     on                                                     Referral
  Recommended Needs for                                         Medicaid Waiver                                PA Required     Limit Specified
                                   Annual Cost   Annual Cost                             Goods and                                                  Needed
           C.W                                                     Programs
                                                                                          Services


                                                                            School- based to 2037

     Physical Therapy and
     Occupational Therapy
 include music therapy, equal          $0            $0               N/A                   N/A                   N/A               N/A               N/A
     therapy or therapeutic
        horseback riding



        Speech therapy
     for feeding program,
                                       $0            $0               N/A                   N/A                   N/A               N/A               N/A
    swallowing, oral motor
          coordination




  Vision Specialist as part of
                                       $0            $0               N/A                   N/A                   N/A               N/A               N/A
   school - based therapies



                                                                 Diagnostic Testing / Educational Assessment


                                                                                         Limitations
    The Berens Report's                                         GA Medicaid and
                                      Min.          Max.                                     on                                                     Referral
  Recommended Needs for                                         Medicaid Waiver                                PA Required     Limit Specified
                                   Annual Cost   Annual Cost                             Goods and                                                  Needed
           C.W                                                     Programs
                                                                                          Services




  Early Intervention through
  Babies can't wait (BCW)              $0            $0               N/A                   N/A                   N/A               N/A               N/A
           program



  Special Education Through
public school system with IEP,
educationally-related therapies,
                                       $0            $0               N/A                   N/A                   N/A               N/A               N/A
  school aide/nurse, adopted
   transportation , adoptive
          equipment


Educational consultant/student
 Advocate knowledgeable in
 I.D E.A provisions to attend
                                      $500          $500              N/A                   N/A                   N/A               N/A               N/A
   annual IEP meetings with
 parents, school and related
           personnel

                                                                         Private / Outpatient to 2037


     Neuropsychological
                                      N/A           N/A             Covered                NONE                    NO               N/A               NO
         Evaluation

                                                                            School- based to 2037


     Neuropsychological
                                       $0            $0               N/A                   N/A                   N/A               N/A               N/A
         Evaluation




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                                                                Wheelchair Needs, Accessories and Maintenance


                                                                                        Limitations
    The Berens Report's                                         GA Medicaid and
                                      Min.          Max.                                    on                                                      Referral
  Recommended Needs for                                         Medicaid Waiver                             PA Required       Limit Specified
                                   Annual Cost   Annual Cost                            Goods and                                                   Needed
           C.W                                                     Programs
                                                                                         Services




                                                                                      Provider must                         Must be Medically
                                    $1,217 67     $1,826.50         Covered                                     Yes                                   Yes
Quickie Zippy or similar manual                                                           order                                Necessary
   wheelchair with tilt'n space
 recline, caregiver handlebars,
    headrest, back/trunk/hip
  supports, foot rests, lap tray                                                      Provider must                         Must be Medically
                                    $1,043.71     $1,043.71         Covered                                     Yes                                   Yes
                                                                                          order                                Necessary



                                                                                        Repair and                         Must not be related to
                                     $136.99       $101.47          Covered                                     Yes                                   NO
                                                                                    replacement costs                            neglect

   Wheelchair maintenance

                                                                                        Repair and                         Must not be related to
                                     $89.46        $89.46           Covered                                     Yes                                   NO
                                                                                    replacement costs                            neglect



    Custom foam contour                                                                                                     Must be Medically
                                      $80          $173.33          Covered          Supplies included          Yes                                   Yes
   wheelchair seat cushion                                                                                                     Necessary



                                                                                                                            Must be Medically
     Seat cushion covers              $50           $50             Covered          Supplies included          Yes                                   Yes
                                                                                                                               Necessary



  Rifton Wave Adapted bath                                                            Provider must                         Must be Medically
                                      N/A           N/A             Covered                                     Yes                                   Yes
        chair or similar                                                                  order                                Necessary



 ActiveAid Shower wheelchair                                                          Provider must                         Must be Medically
                                      $570          $570            Covered                                     Yes                                   Yes
           Shower                                                                         order                                Necessary



      Shower wheelchair                                                                 Repair and                         Must not be related to
                                     $45.60        $45 60           Covered                                     Yes                                   NO
        maintenance                                                                 replacement costs                            neglect

                                                                                  Orthotics


                                                                                        Limitations
    The Berens Report's                                         GA Medicaid and
                                      Min.          Max.                                    on                                                      Referral
  Recommended Needs for                                         Medicaid Waiver                             PA Required       Limit Specified
                                   Annual Cost   Annual Cost                            Goods and                                                   Needed
           C.W                                                     Programs
                                                                                         Services




                                                                                      Provider must                         Must be Medically
                                     $1,062        $2,000           Covered                                     Yes                                   Yes
                                                                                          order                                Necessary
 Bilateral custom-made solid
      Ankle/foot/orthosis
                                                                                      Provider must                         Must be Medically
                                      $354         $1,000           Covered                                     Yes                                   Yes
                                                                                          order                                Necessary



SWASH(standing, walking and                                                           Provider must                         Must be Medically
                                      N/A           N/A             Covered                                     Yes                                   Yes
    sitting hip) orthosis                                                                 order                                Necessary



Bilateral Benik or similar hand                                                       Provider must                         Must be Medically
                                      $610          $610            Covered                                     Yes                                   Yes
   splits with thumb support                                                              order                                Necessary




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                                                                  Home Furnishings/Durable Medical Equipment


                                                                                        Limitations
    The Berens Report's                                          GA Medicaid and
                                      Min.          Max.                                    on                                                      Referral
  Recommended Needs for                                          Medicaid Waiver                               PA Required     Limit Specified
                                   Annual Cost   Annual Cost                            Goods and                                                   Needed
           C.W                                                      Programs
                                                                                         Services



 Easy Stand Stander: Bantam
                                                                                       Provider must                          Must be Medically
 Extra Small for children up to       N/A           N/A              Covered                                      Yes                                 Yes
                                                                                           order                                 Necessary
           50 lbs.



              Zing                                                                     Provider must                          Must be Medically
                                      N/A           N/A              Covered                                      Yes                                 Yes
   for children up to 70 lbs.                                                              order                                 Necessary



                                                                                       Provider must                          Must be Medically
     Zing 2 up to 154 lbs.            N/A           N/A              Covered                                      Yes                                 Yes
                                                                                           order                                 Necessary



Evolv up to 200 lbs., or similar                                                       Provider must                          Must be Medically
                                     $810.71       $810.71           Covered                                      Yes                                 Yes
stander with resting arm tray                                                              order                                 Necessary



Maintenance and adjustments         Subject to    Subject to                           Provider must                          Must be Medically
                                                                     Covered                                      Yes                                 Yes
        for stander                speculation   speculation                               order                                 Necessary



                                                                                       Provider must                          Must be Medically
                                      $680          $680             Covered                                      Yes                                 Yes
                                                                                           order                                 Necessary



                                                                                       Provider must                          Must be Medically
                                      $920          $920             Covered                                      Yes                                 Yes
                                                                                           order                                 Necessary
  Rifton pacer or similar Gait
            Trainer
                                                                                       Provider must                          Must be Medically
                                     $1,310        $1,480            Covered                                      Yes                                 Yes
                                                                                           order                                 Necessary



                                                                                       Provider must                          Must be Medically
                                     $1,310        $1,480            Covered                                      Yes                                 Yes
                                                                                           order                                 Necessary


    Invacare hospital bed,
  mattress, safety side rails,                                                         Provider must                          Must be Medically
                                     $194.40       $194.40           Covered                                      Yes                                 Yes
   remote controlled head                                                                  order                                 Necessary
          elevation


Maintenance/Service contract                                                           Provider must                          Must be Medically
                                     $83.33        $83 33            Covered                                      Yes                                 Yes
   Invacare hospital bed                                                                   order                                 Necessary



Adjustable height bedside table                                                        Provider must                          Must be Medically
                                      $6 90         $7.40            Covered                                      Yes                                 Yes
to provide flat surface for care                                                           order                                 Necessary



Kangaroo Joey feeding pump                                                             Provider must                          Must be Medically
                                     $133.80       $142.80           Covered                                      Yes                                 Yes
       w/pole clamp                                                                        order                                 Necessary



                                                                                       Provider must                          Must be Medically
    Maintenance for pump              $40           $40              Covered                                      Yes                                 Yes
                                                                                           order                                 Necessary



                                                                                       Provider must                          Must be Medically
   IV pole for feeding bags           $2.40         $2.40            Covered                                      Yes                                 Yes
                                                                                           order                                 Necessary




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                                                                  Home Furnishings/Durable Medical Equipment


                                                                                        Limitations
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                                       Min.          Max.                                   on                                                      Referral
 Recommended Needs for                                           Medicaid Waiver                               PA Required     Limit Specified
                                    Annual Cost   Annual Cost                           Goods and                                                   Needed
          C.W                                                       Programs
                                                                                         Services




                                                                                       Provider must                          Must be Medically
                                      $124.33       $124.33          Covered                                      Yes                                 Yes
                                                                                           order                                 Necessary

 Special tomato seater/feeding
chair up to 80 lbs. then Tumble
                                                                                       Provider must                          Must be Medically
  Forms 2 or similar adopted          $189.80       $189.80          Covered                                      Yes                                 Yes
  feeder/positioning seat with                                                             order                                 Necessary
       tray up to 200 lbs.


                                                                                       Provider must                          Must be Medically
                                      $345.60       $345.60          Covered                                      Yes                                 Yes
                                                                                           order                                 Necessary



 Hoyer hydraulic lift/Portable                                                         Provider must                          Must be Medically
                                      $73.10        $275.80          Covered                                      Yes                                 Yes
power patient lift for transfers.                                                          order                                 Necessary



                                                                                       Provider must                          Must be Medically
   Spray sling for transfers          $54.50         $109            Covered                                      Yes                                 Yes
                                                                                           order                                 Necessary



                                                                                       Provider must                          Must be Medically
     Maintenance for lift              $3 29        $11 60           Covered                                      Yes                                 Yes
                                                                                           order                                 Necessary


          Optional:
    Sure Hands or similar                                                              Provider must                          Must be Medically
                                       N/A           N/A             Covered                                      Yes                                 Yes
   overhead lift system for                                                                order                                 Necessary
     bedroom and bath


           Optional:                                                                   Provider must                          Must be Medically
                                       $75           $75             Covered                                      Yes                                 Yes
            Battery                                                                        order                                 Necessary



           Optional:                                                                   Provider must                          Must be Medically
                                       $90          $112.50          Covered                                      Yes                                 Yes
            Sling                                                                          order                                 Necessary



         Optional:                                                                     Provider must                          Must be Medically
                                       $150          $150            Covered                                      Yes                                 Yes
  Overhead lift maintenance                                                                order                                 Necessary



 Therapy Table with cushion                                                            Provider must                          Must be Medically
                                      $11.50        $19 80           Covered                                      Yes                                 Yes
           mat                                                                             order                                 Necessary



                                                                                       Provider must                          Must be Medically
     Allowance for items               $100          $100            Covered                                      Yes                                 Yes
                                                                                           order                                 Necessary




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                                                               Health and Strength Maintenance(Leisure Time Activities)


                                                                                            Limitations
    The Berens Report's                                            GA Medicaid and
                                      Min.          Max.                                        on                                                      Referral
  Recommended Needs for                                            Medicaid Waiver                                PA Required      Limit Specified
                                   Annual Cost   Annual Cost                                Goods and                                                   Needed
           C.W                                                        Programs
                                                                                             Services




                                                                                           Provider must                          Must be Medically
                                      $460          $460               Covered                                        Yes                                 Yes
                                                                                               order                                 Necessary
Therapeutic Horseback Riding
 and or Summer Camps for
 children with special needs

                                                                                           Provider must                          Must be Medically
                                      $100          $435               Covered                                        Yes                                 Yes
                                                                                               order                                 Necessary


  Allowance for items such as
cause and effect toys, adopted
   switch activated devices,                                                               Provider must                          Must be Medically
                                      $100          $100               Covered                                        Yes                                 Yes
therapy balls, iPad w/apps,and                                                                 order                                 Necessary
   other auditory and tactile
       stimulation items

 Subscription to Exceptional
 Parent online magazine and
                                      $110          $110            NOT COVERED                 N/A                   N/A               N/A               N/A
 other reading resources for
 parents of children with CP




       Go Talk 9+ACC                                                                       Provider must                          Must be Medically
                                     $39.80        $39 80              Covered                                        Yes                                 Yes
       Speech device                                                                           order                                 Necessary




TOBII I-12 or similar eye gaze                                                             Provider must                          Must be Medically
                                     $3,321       $3,510.80            Covered                                        Yes                                 Yes
         AAC system                                                                            order                                 Necessary


                                                                                   Transportation


                                                                                            Limitations
    The Berens Report's                                            GA Medicaid and
                                      Min.          Max.                                        on                                                      Referral
  Recommended Needs for                                            Medicaid Waiver                                PA Required      Limit Specified
                                   Annual Cost   Annual Cost                                Goods and                                                   Needed
           C.W                                                        Programs
                                                                                             Services



    Wheelchair accessible van
  with remote controlled power
                                                                                           Provider must                          Must be Medically
lift/ramp, wheelchair tie downs,     $4,500       $7,142.86       Unable to determine                                 Yes                                 Yes
                                                                                               order                                 Necessary
      safety straps, and other
       accessibility features


  Roosevelt or other special
                                                                                           Provider must                          Must be Medically
  needs car seat with 5-point         $179          $179               Covered                                        Yes                                 Yes
                                                                                               order                                 Necessary
       harness straps


                                                                                     Drug Needs


                                                                                            Limitations
    The Berens Report's                                            GA Medicaid and
                                      Min.          Max.                                        on                                                      Referral
  Recommended Needs for                                            Medicaid Waiver                                PA Required      Limit Specified
                                   Annual Cost   Annual Cost                                Goods and                                                   Needed
           C.W                                                        Programs
                                                                                             Services


                                                                                           Provider must                          Must be Medically
Glycopyrrolate (Cuvposa) liquid      $2,040        $2,256              Covered                                        Yes                                 Yes
                                                                                               order                                 Necessary

                                    Subject to    Subject to                               Provider must                          Must be Medically
        Robinul Tablet                                                 Covered                                        Yes                                 Yes
                                   speculation   speculation                                   order                                 Necessary

           Baclofen                                                                        Provider must                          Must be Medically
                                      $523          $742               Covered                                        Yes                                 Yes
            10 mg                                                                              order                                 Necessary

                                                                                           Provider must                          Must be Medically
   Ranitidine Liquid(Zantac)          $828          $924               Covered                                        Yes                                 Yes
                                                                                               order                                 Necessary

                                                                                           Provider must                          Must be Medically
           MiraLAX                    $195          $195               Covered                                        Yes                                 Yes
                                                                                               order                                 Necessary




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                                                                              Supply Needs


                                                                                       Limitations
   The Berens Report's                                        GA Medicaid and
                                    Min.          Max.                                     on                                                     Referral
 Recommended Needs for                                        Medicaid Waiver                                 PA Required     Limit Specified
                                 Annual Cost   Annual Cost                             Goods and                                                  Needed
          C.W                                                    Programs
                                                                                        Services




  Pediasure Grow and Gain
                                                                                      Provider must                         Must be Medically
       w/Fiber, 8 oz.             $4,004 05     $5,471.35         Covered                                        Yes                                Yes
                                                                                          order                                Necessary
           bottle


      Feeding supplies:
         feeding bags
                                                                                      Provider must                         Must be Medically
   connector and extension         $4,164        $4,164           Covered                                        Yes                                Yes
                                                                                          order                                Necessary
tubing, adhesive tape, feeding
           pump set



     Gastrostomy/G-tube                                                               Provider must                         Must be Medically
                                    $628          $760            Covered                                        Yes                                Yes
     (MOC-KEY or other)                                                                   order                                Necessary




                                                                                      Provider must                         Must be Medically
        Diapers/Briefs             $910.12       $932.14          Covered                                        Yes                                Yes
                                                                                          order                                Necessary




 Allowance for miscellaneous                                                          Provider must                         Must be Medically
                                    $200          $200            Covered                                        Yes                                Yes
          supplies                                                                        order                                Necessary


                                                                Surgical Intervention, Aggressive Treatment


                                                                                       Limitations
   The Berens Report's                                        GA Medicaid and
                                    Min.          Max.                                     on                                                     Referral
 Recommended Needs for                                        Medicaid Waiver                                 PA Required     Limit Specified
                                 Annual Cost   Annual Cost                             Goods and                                                  Needed
          C.W                                                    Programs
                                                                                        Services


Surgical conversion of NG tube                                                        Provider must                         Must be Medically
                                   $8,975        $8,975           Covered                                        Yes                                Yes
           to G-tube                                                                      order                                Necessary

                                                                                      Provider must                         Must be Medically
                                                                  Covered                                        Yes                                Yes
                                                                                          order                                Necessary

                                                                                      Provider must                         Must be Medically
 Botox injection to arms/legs      $1,781        $8,178           Covered                                        Yes                                Yes
                                                                                          order                                Necessary

                                                                                      Provider must                         Must be Medically
                                                                  Covered                                        Yes                                Yes
                                                                                          order                                Necessary

                                                                                      Provider must                         Must be Medically
                                    N/A           N/A             Covered                                        Yes                                Yes
                                                                                          order                                Necessary

                                                                                      Provider must                         Must be Medically
                                    N/A           N/A             Covered                                        Yes                                Yes
Intrathecal Baclofen Pump(ITB)                                                            order                                Necessary
             implant
                                                                                      Provider must                         Must be Medically
                                   $5,592        $22,368          Covered                                        Yes                                Yes
                                                                                          order                                Necessary

                                                                                      Provider must                         Must be Medically
                                  $5,278 29     $5,278.29         Covered                                        Yes                                Yes
                                                                                          order                                Necessary
  Femoral osteotomy due to
                                                                                      Provider must                         Must be Medically
   expected or probable hip         N/A           N/A             Covered                                        Yes                                Yes
                                                                                          order                                Necessary
          dysplasia
   Achilles tendon/Heelcord                                                           Provider must                         Must be Medically
                                    N/A           N/A             Covered                                        Yes                                Yes
             release                                                                      order                                Necessary

                                  Subject to    Subject to                            Provider must                         Must be Medically
  Hamstring tendon release                                        Covered                                        Yes                                Yes
                                 speculation   speculation                                order                                Necessary




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                                                                            Option 1 In Home Care


                                                                                         Limitations
   The Berens Report's                                         GA Medicaid and
                                  Min.           Max.                                        on                                                 Referral
 Recommended Needs for                                         Medicaid Waiver                              PA Required     Limit Specified
                               Annual Cost    Annual Cost                                Goods and                                              Needed
          C.W                                                     Programs
                                                                                          Services




                                                                                        Provider must                     Must be Medically
                                $113,880        $146,000            Covered                                    Yes                                Yes
                                                                                            order                            Necessary

           C.N.A

                                                                                        Provider must                     Must be Medically
                                $170,820        $219,000            Covered                                    Yes                                Yes
                                                                                            order                            Necessary



                                                                                        Provider must                     Must be Medically
                                                                    Covered                                    Yes                                Yes
                                                                                            order                            Necessary

          LPN/RN                 $87,600        $131,400

                                                                                        Provider must                     Must be Medically
                                                                    Covered                                    Yes                                Yes
                                                                                            order                            Necessary



                                                                                        Provider must                     Must be Medically
     Adult day Program            $9,360         $15,600            Covered                                    Yes                                Yes
                                                                                            order                            Necessary



    Respite for parents:                                                                Provider must                     Must be Medically
                                 $11,232         $14,400            Covered                                    Yes                                Yes
          C.N.A                                                                             order                            Necessary



    Respite for parents:                                                                Provider must                     Must be Medically
                                 $11,520         $11,520            Covered                                    Yes                                Yes
         LPN/RN                                                                             order                            Necessary




       As adult 2034:                                           Unable to determine          N/A               N/A               N/A              N/A
Replace value of lost service
                              Not quantifiable Not quantifiable
      for homemaking,
                               - Subject to     - Subject to
   interior/exterior home
                               speculation      speculation
maintenance, housecleaning,
          yard care                                             Unable to determine          N/A               N/A               N/A              N/A


                                                                       Option 2 Residential Facility care


                                                                                         Limitations
   The Berens Report's                                         GA Medicaid and
                                  Min.           Max.                                        on                                                 Referral
 Recommended Needs for                                         Medicaid Waiver                              PA Required     Limit Specified
                               Annual Cost    Annual Cost                                Goods and                                              Needed
          C.W                                                     Programs
                                                                                          Services




           Facility                                                                     Provider must                     Must be Medically
                                $200,750        $209,875            Covered                                    Yes                                Yes
   Brain injury residence                                                                   order                            Necessary




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                                                              Routine Future Medical Care - Physician Only


                                                                                     Limitations
  The Berens Report's
                                  Min.          Max.                                     on                                                         Referral
Recommended Needs for                                             IDEA                                       PA Required       Limit Specified
                               Annual Cost   Annual Cost                             Goods and                                                      Needed
       C.W Willis
                                                                                      Services



                                  $340          $340          NOT COVERED                N/A                    N/A                 N/A               N/A


        Physiatrist               $292          $639          NOT COVERED                N/A                    N/A                 N/A               N/A


                                  $584          $852          NOT COVERED                N/A                    N/A                 N/A               N/A

        Pediatric
                                  $269          $269          NOT COVERED                N/A                    N/A                 N/A               N/A
       Neurologist

            EEG
                                  N/A           N/A           NOT COVERED                N/A                    N/A                 N/A               N/A
(include interpretation fee)


                                  $269          $269          NOT COVERED                N/A                    N/A                 N/A               N/A
        Pediatric
 Orthopedist / Orthopedic
        Surgeon
                                  $159          $159          NOT COVERED                N/A                    N/A                 N/A               N/A


                                  $172          $172          NOT COVERED                N/A                    N/A                 N/A               N/A
         X-rays
       Hips/Pelvis
                                  $305          $305          NOT COVERED                N/A                    N/A                 N/A               N/A


                                  $269          $269          NOT COVERED                N/A                    N/A                 N/A               N/A
    Gastroenterologist
                                  $159          $159          NOT COVERED                N/A                    N/A                 N/A               N/A

   Dietician/Nutritionist
                                  $120          $133          NOT COVERED                N/A                    N/A                 N/A               N/A
        Evaluation


   Dietician/Nutritionist         $100          $119          NOT COVERED                N/A                    N/A                 N/A               N/A


   Dietician/Nutritionist         $200          $238          NOT COVERED                N/A                    N/A                 N/A               N/A


     Swallow Studies              $764         $1,528         NOT COVERED                N/A                    N/A                 N/A               N/A


Labs:Chem panel,CMP,and
                                  $145          $379          NOT COVERED                N/A                    N/A                 N/A               N/A
     Vitamin D level


           ENT                    $269          $269          NOT COVERED                N/A                    N/A                 N/A               N/A

        Pediatric
     Ophthalmologist              N/A           N/A           NOT COVERED                N/A                    N/A                 N/A               N/A
       Evaluation
        Pediatric
                                  $340          $340          NOT COVERED                N/A                    N/A                 N/A               N/A
      Pulmonologist

                                Subject to    Subject to
       Sleep Study                                            NOT COVERED                N/A                    N/A                 N/A               N/A
                               speculation   speculation
        Pediatric
     Endocrinologist              N/A           N/A           NOT COVERED                N/A                    N/A                 N/A               N/A
       Evaluation
 DEXA bone density scan
                                 $358.00       $358.00        NOT COVERED                N/A                    N/A                 N/A               N/A
      Evaluation


          Dentist                 $0 00         $0.00         NOT COVERED                N/A                    N/A                 N/A               N/A

 Sedation for dental care
       30-60 min                 $794.00      $1,586.00       NOT COVERED                N/A                    N/A                 N/A               N/A
    anesthesia time
 Pediatrician/Primary care
                                  $0 00         $0.00         NOT COVERED                N/A                    N/A                 N/A               N/A
         physician


      Flu vaccination             $0 00         $0.00         NOT COVERED                N/A                    N/A                 N/A               N/A




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                                                                  Project Evaluations - Non Physician


                                                                                      Limitations
   The Berens Report's
                                   Min.          Max.                                     on                                                        Referral
 Recommended Needs for                                            IDEA                                     PA Required          Limit Specified
                                Annual Cost   Annual Cost                             Goods and                                                     Needed
        C.W Willis
                                                                                       Services




                                   $320          $480            Covered         Must be part of IEP    Must be part of IEP   Must be part of IEP     Yes


      Physical Therapy
         Evaluation


                                   $160          $240            Covered         Must be part of IEP    Must be part of IEP   Must be part of IEP     Yes




                                   $320          $480            Covered         Must be part of IEP    Must be part of IEP   Must be part of IEP     Yes


    Occupation Therapy
        Evaluation


                                   $160          $240            Covered         Must be part of IEP    Must be part of IEP   Must be part of IEP     Yes




                                   $320          $480            Covered         Must be part of IEP    Must be part of IEP   Must be part of IEP     Yes


      Speech Therapy
        Evaluation


                                   $160          $240            Covered         Must be part of IEP    Must be part of IEP   Must be part of IEP     Yes




 Vision and Hearing Screen          $0            $0             Covered         Must be part of IEP    Must be part of IEP   Must be part of IEP     Yes




   Wheelchair Seating and
        Positioning                 $0            $0             Covered         Must be part of IEP    Must be part of IEP   Must be part of IEP     Yes
        Evaluation




Augmentative and Alternative
                                   $240         $1,200           Covered         Must be part of IEP    Must be part of IEP   Must be part of IEP     Yes
     Communication


                                                                      Private / Outpatient to 2037
Augmentative and Alternative
   Communication(ACC)/
    Assistive Technology
   Evaluation by Qualified
  Occupation-al and Speech         $400         $3,600           Covered         Must be part of IEP    Must be part of IEP   Must be part of IEP     Yes
Therapist to develop Adaptive
communication program using
 switch access and/or other
           devices
                                                                         School- based to 2037
Augmentative and Alternative
   Communication(ACC)/
    Assistive Technology
   Evaluation by Qualified
  Occupation-al and Speech          $0            $0             Covered         Must be part of IEP    Must be part of IEP   Must be part of IEP     Yes
Therapist to develop Adaptive
communication program using
 switch access and/or other
           devices




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                                                                           Project Therapy


                                                                                    Limitations
   The Berens Report's                                       GA Medicaid and
                                   Min.          Max.                                   on                                                        Referral
 Recommended Needs for                                       Medicaid Waiver                             PA Required          Limit Specified
                                Annual Cost   Annual Cost                           Goods and                                                     Needed
        C.W Willis                                              Programs
                                                                                     Services



    Physical Therapy and
    Occupational Therapy
include music therapy, equal        $0            $0             Covered        Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
    therapy or therapeutic
       horseback riding



       Speech therapy
    for feeding program,
                                    $0            $0             Covered        Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
   swallowing, oral motor
         coordination


             Initial
 Psychology/Counseling for
  parents/family for copying
 strategies, problem solving,      $100          $200            Covered        Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
     stress management,
adjustment to C.W permanent
           disability
          Follow up
 Psychology/Counseling for
  parents/family for copying
 strategies, problem solving,      $480         $2,000           Covered        Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
     stress management,
adjustment to C.W permanent
           disability
             Initial
 Psychology/Counseling for
  parents/family for copying
 strategies, problem solving,      $100          $200            Covered        Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
     stress management,
adjustment to C.W permanent
           disability
          Follow up
 Psychology/Counseling for
  parents/family for copying
 strategies, problem solving,      $480         $2,000           Covered        Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
     stress management,
adjustment to C.W permanent
           disability
             Initial
 Psychology/Counseling for
  parents/family for copying
 strategies, problem solving,      $100          $200            Covered        Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
     stress management,
adjustment to C.W permanent
           disability
          Follow up
 Psychology/Counseling for
  parents/family for copying
 strategies, problem solving,      $480         $2,000           Covered        Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
     stress management,
adjustment to C.W permanent
           disability
             Initial
 Psychology/Counseling for
  parents/family for copying
 strategies, problem solving,      $100          $200            Covered        Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
     stress management,
adjustment to C.W permanent
           disability
          Follow up
 Psychology/Counseling for
  parents/family for copying
 strategies, problem solving,      $480         $2,000           Covered        Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
     stress management,
adjustment to C.W permanent
           disability




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                                                                           Project Therapy


                                                                                      Limitations
   The Berens Report's                                       GA Medicaid and
                                   Min.          Max.                                     on                                                       Referral
 Recommended Needs for                                       Medicaid Waiver                              PA Required          Limit Specified
                                Annual Cost   Annual Cost                             Goods and                                                    Needed
        C.W Willis                                              Programs
                                                                                       Services


             Initial
 Psychology/Counseling for
  parents/family for copying
 strategies, problem solving,      $100          $200            Covered         Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
     stress management,
adjustment to C.W permanent
           disability
          Follow up
 Psychology/Counseling for
  parents/family for copying
 strategies, problem solving,      $480         $2,000           Covered         Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
     stress management,
adjustment to C.W permanent
           disability
             Initial
 Psychology/Counseling for
  parents/family for copying
 strategies, problem solving,      $100          $200            Covered         Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
     stress management,
adjustment to C.W permanent
           disability
          Follow up
 Psychology/Counseling for
  parents/family for copying
 strategies, problem solving,      $480         $2,000           Covered         Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
     stress management,
adjustment to C.W permanent
           disability
             Initial
 Psychology/Counseling for
  parents/family for copying
 strategies, problem solving,      $100          $200            Covered         Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
     stress management,
adjustment to C.W permanent
           disability
          Follow up
 Psychology/Counseling for
  parents/family for copying
 strategies, problem solving,      $480         $2,000           Covered         Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
     stress management,
adjustment to C.W permanent
           disability


 Case Manager it coordinate
 care and equipment, liaison
among multiple providers and      $3,840        $4,800           Covered         Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
service venders, advocate for
            C.W




     Guardian/ Financial
                                  $2,400        $3,000        NOT COVERED                N/A                  N/A                   N/A              N/A
      Planner/Manager



                                                                      Private / Outpatient to 2037

    Physical Therapy and          $15,360       $16,128          Covered         Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
    Occupational Therapy
include music therapy, equal
    therapy or therapeutic
       horseback riding           $15,360       $16,128          Covered         Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes



    Physical Therapy and          $7,680        $8,064           Covered         Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
    Occupational Therapy
include music therapy, equal
    therapy or therapeutic
       horseback riding           $7,680        $8,064           Covered         Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes

       Speech therapy
    for feeding program,
                                  $13,824       $15,360          Covered         Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
   swallowing, oral motor
         coordination




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                                                                               Project Therapy


                                                                                          Limitations
    The Berens Report's                                         GA Medicaid and
                                      Min.          Max.                                      on                                                       Referral
  Recommended Needs for                                         Medicaid Waiver                                PA Required         Limit Specified
                                   Annual Cost   Annual Cost                              Goods and                                                    Needed
         C.W Willis                                                Programs
                                                                                           Services


                                                                            School- based to 2037
     Physical Therapy and
     Occupational Therapy
 include music therapy, equal          $0            $0             Covered          Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
     therapy or therapeutic
        horseback riding
        Speech therapy
     for feeding program,
                                       $0            $0             Covered          Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
    swallowing, oral motor
          coordination


  Vision Specialist as part of
                                       $0            $0             Covered          Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
   school - based therapies

                                                                 Diagnostic Testing / Educational Assessment


                                                                                          Limitations
    The Berens Report's                                         GA Medicaid and
                                      Min.          Max.                                      on                                                       Referral
  Recommended Needs for                                         Medicaid Waiver                                PA Required         Limit Specified
                                   Annual Cost   Annual Cost                              Goods and                                                    Needed
         C.W Willis                                                Programs
                                                                                           Services




  Early Intervention through
  Babies can't wait (BCW)              $0            $0             Covered          Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
           program



  Special Education Through
public school system with IEP,
educationally-related therapies,
                                       $0            $0             Covered          Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
  school aide/nurse, adapted
   transportation , adaptive
          equipment


Educational consultant/student
 Advocate knowledgeable in
 I.D E.A provisions to attend
                                      $500          $500            Covered          Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
   annual IEP meetings with
 parents, school and related
           personnel

                                                                          Private / Outpatient to 2037
     Neuropsychological
                                      N/A           N/A             Covered          Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
         Evaluation
                                                                            School- based to 2037
     Neuropsychological
                                       $0            $0             Covered          Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
         Evaluation
                                                                Wheelchair Needs, Accessories and Maintenance


                                                                                          Limitations
    The Berens Report's                                         GA Medicaid and
                                      Min.          Max.                                      on                                                       Referral
  Recommended Needs for                                         Medicaid Waiver                                PA Required         Limit Specified
                                   Annual Cost   Annual Cost                              Goods and                                                    Needed
         C.W Willis                                                Programs
                                                                                           Services



Quickie Zippy or similar manual     $1,217 67     $1,826.50      NOT COVERED                 N/A                  N/A                   N/A              N/A
   wheelchair with tilt'n space
 recline, caregiver handlebars,
    headrest, back/trunk/hip
  supports, foot rests, lap tray    $1,043.71     $1,043.71      NOT COVERED                 N/A                  N/A                   N/A              N/A



                                     $136.99       $101.47       NOT COVERED                 N/A                  N/A                   N/A              N/A

   Wheelchair maintenance

                                     $89.46        $89.46        NOT COVERED                 N/A                  N/A                   N/A              N/A


    Custom foam contour
                                      $80          $173.33       NOT COVERED                 N/A                  N/A                   N/A              N/A
   wheelchair seat cushion




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                                                                Wheelchair Needs, Accessories and Maintenance


                                                                                        Limitations
   The Berens Report's                                          GA Medicaid and
                                      Min.          Max.                                    on                                                       Referral
 Recommended Needs for                                          Medicaid Waiver                               PA Required       Limit Specified
                                   Annual Cost   Annual Cost                            Goods and                                                    Needed
        C.W Willis                                                 Programs
                                                                                         Services



    Seat cushion covers               $50           $50          NOT COVERED                  N/A                N/A                 N/A               N/A


 Rifton Wave Adapted bath
                                      N/A           N/A          NOT COVERED                  N/A                N/A                 N/A               N/A
       chair or similar


ActiveAid Shower wheelchair
                                      $570          $570         NOT COVERED                  N/A                N/A                 N/A               N/A
          Shower


     Shower wheelchair
                                     $45.60        $45 60        NOT COVERED                  N/A                N/A                 N/A               N/A
       maintenance

                                                                                  Orthotics


                                                                                        Limitations
   The Berens Report's                                          GA Medicaid and
                                      Min.          Max.                                    on                                                       Referral
 Recommended Needs for                                          Medicaid Waiver                               PA Required       Limit Specified
                                   Annual Cost   Annual Cost                            Goods and                                                    Needed
        C.W Willis                                                 Programs
                                                                                         Services



                                     $1,062        $2,000        NOT COVERED                  N/A                N/A                 N/A               N/A
 Bilateral custom-made solid
      Ankle/foot/orthosis
                                      $354         $1,000        NOT COVERED                  N/A                N/A                 N/A               N/A


SWASH(standing,walking and
                                      N/A           N/A          NOT COVERED                  N/A                N/A                 N/A               N/A
   sitting hip) orthosis

Bilateral Benik or similar hand
                                      $610          $610         NOT COVERED                  N/A                N/A                 N/A               N/A
   splits with thumb support
                                                                 Home Furnishings/Durable Medical Equipment


                                                                                        Limitations
   The Berens Report's                                          GA Medicaid and
                                      Min.          Max.                                    on                                                       Referral
 Recommended Needs for                                          Medicaid Waiver                               PA Required       Limit Specified
                                   Annual Cost   Annual Cost                            Goods and                                                    Needed
        C.W Willis                                                 Programs
                                                                                         Services


Easy Stand Stander: bantam
Extra Small for children up to        N/A           N/A          NOT COVERED                  N/A                N/A                 N/A               N/A
          50 lbs.

              Zing
                                      N/A           N/A          NOT COVERED                  N/A                N/A                 N/A               N/A
   for children up to 70 lbs.


    Zing 2 up to 154 lbs.             N/A           N/A          NOT COVERED                  N/A                N/A                 N/A               N/A


Evolv up to 200 lbs., or similar
                                      $811          $811         NOT COVERED                  N/A                N/A                 N/A               N/A
stander with resting arm tray


Maintenance and adjustments         Subject to    Subject to
                                                                 NOT COVERED                  N/A                N/A                 N/A               N/A
        for stander                speculation   speculation


                                      $680          $680         NOT COVERED                  N/A                N/A                 N/A               N/A


 Rifton pacer or similar Gait
                                      $920          $920         NOT COVERED                  N/A                N/A                 N/A               N/A
           Trainer


                                     $1,310        $1,480        NOT COVERED                  N/A                N/A                 N/A               N/A


   Invacare hospital bed,
 mattress, safety side rails,
                                     $194.40       $194.40       NOT COVERED                  N/A                N/A                 N/A               N/A
  remote controlled head
         elevation
Maintenance/Service contract
    Invacare hospital bed,
 mattress, safety side rails,        $83.33        $83 33        NOT COVERED                  N/A                N/A                 N/A               N/A
   remote controlled head
          elevation



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                                                                    Home Furnishings/Durable Medical Equipment


                                                                                            Limitations
   The Berens Report's                                             GA Medicaid and
                                       Min.          Max.                                       on                                                         Referral
 Recommended Needs for                                             Medicaid Waiver                                PA Required          Limit Specified
                                    Annual Cost   Annual Cost                               Goods and                                                      Needed
        C.W Willis                                                    Programs
                                                                                             Services



   IV pole for feeding bags            $2.40         $2.40          NOT COVERED                 N/A                   N/A                   N/A              N/A



                                      $124.33       $124.33         NOT COVERED                 N/A                   N/A                   N/A              N/A

 Special tomato seater/feeding
chair up to 80 lbs. then Tumble
  Forms 2 or similar adopted          $189.80       $189.80         NOT COVERED                 N/A                   N/A                   N/A              N/A
  feeder/positioning seat with
       tray up to 200 lbs.

                                      $345.60       $345.60         NOT COVERED                 N/A                   N/A                   N/A              N/A

 Hoyer hydraulic lift/Portable
power patient lift for transfers.
                                      $73.10        $275.80         NOT COVERED                 N/A                   N/A                   N/A              N/A
See also sure Hands track lift
       system below

   Spray sling for transfers          $54.50         $109           NOT COVERED                 N/A                   N/A                   N/A              N/A



     Maintenance for lift              $3 29        $11 60          NOT COVERED                 N/A                   N/A                   N/A              N/A

          Optional:
    Sure Hands or similar
                                       N/A           N/A            NOT COVERED                 N/A                   N/A                   N/A              N/A
   overhead lift system for
     bedroom and bath

           Optional:
                                      $75.00        $75 00          NOT COVERED                 N/A                   N/A                   N/A              N/A
            Battery


           Optional:
                                       $90          $112.50         NOT COVERED                 N/A                   N/A                   N/A              N/A
            Sling


         Optional:
                                       $150          $150           NOT COVERED                 N/A                   N/A                   N/A              N/A
  Overhead lift maintenance


 Therapy Table with cushion
                                      $11.50        $19 80          NOT COVERED                 N/A                   N/A                   N/A              N/A
           mat

 Allowance for items such as
   room monitor, handheld
                                       $100          $100           NOT COVERED                 N/A                   N/A                   N/A              N/A
shower head, wheelchair carry
    bags foam wedges for
                                                               Health and Strength Maintenance(Leisure Time Activities)


                                                                                            Limitations
   The Berens Report's                                             GA Medicaid and
                                       Min.          Max.                                       on                                                         Referral
 Recommended Needs for                                             Medicaid Waiver                                PA Required          Limit Specified
                                    Annual Cost   Annual Cost                               Goods and                                                      Needed
        C.W Willis                                                    Programs
                                                                                             Services



                                       $460          $460              Covered           Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
Therapeutic Horseback Riding
 and or Summer Camps for
 children with special needs
                                       $100          $435              Covered           Must be part of IEP   Must be part of IEP   Must be part of IEP     Yes
  Allowance or items such as
cause and effect toys, adopted
                                       $100          $100           NOT COVERED                 N/A                   N/A                   N/A              N/A
   switch activated devices,
thSubscription
         b l P       /
               to Exceptional d
  Parent online magazine and
                                       $110          $110           NOT COVERED                 N/A                   N/A                   N/A              N/A
  other reading resources for
        t f h ld       th CP
        Go Talk 9+ACC
                                      $39.80        $39 80          NOT COVERED                 N/A                   N/A                   N/A              N/A
         Speech device

TOBII I-12 or similar eye gaze
                                     $3,321 00     $3,510.80        NOT COVERED                 N/A                   N/A                   N/A              N/A
         AAC system




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                                        IDEA Program Analysis
                                                             Coverage Analysis Charts for the Berens Report
                                                           Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                Transportation


                                                                                         Limitations
    The Berens Report's                                         GA Medicaid and
                                      Min.          Max.                                     on                                                        Referral
  Recommended Needs for                                         Medicaid Waiver                                 PA Required       Limit Specified
                                   Annual Cost   Annual Cost                             Goods and                                                     Needed
         C.W Willis                                                Programs
                                                                                          Services

    Wheelchair accessible van
  with remote controlled power
                                     $4,500       $7,142.86      NOT COVERED                 N/A                   N/A                 N/A               N/A
lift/ramp, wheelchair tie downs,
        f t t         d th
    Roosevelt or other special
    needs car seat with 5-point       $179          $179         NOT COVERED                 N/A                   N/A                 N/A               N/A
          harness straps
                                                                                  Drug Needs


                                                                                         Limitations
    The Berens Report's                                         GA Medicaid and
                                      Min.          Max.                                     on                                                        Referral
  Recommended Needs for                                         Medicaid Waiver                                 PA Required       Limit Specified
                                   Annual Cost   Annual Cost                             Goods and                                                     Needed
         C.W Willis                                                Programs
                                                                                          Services



Glycopyrrolate (Cuvposa) liquid      $2,040        $2,256        NOT COVERED                 N/A                   N/A                 N/A               N/A


                                    Subject to    Subject to
        Robinul Tablet                                           NOT COVERED                 N/A                   N/A                 N/A               N/A
                                   speculation   speculation

           Baclofen
                                      $523          $742         NOT COVERED                 N/A                   N/A                 N/A               N/A
            10 mg

   Ranitidine Liquid(Zantac)          $828          $924         NOT COVERED                 N/A                   N/A                 N/A               N/A


           MiraLAX                    $195          $195         NOT COVERED                 N/A                   N/A                 N/A               N/A

                                                                                Supply Needs


                                                                                         Limitations
    The Berens Report's                                         GA Medicaid and
                                      Min.          Max.                                     on                                                        Referral
  Recommended Needs for                                         Medicaid Waiver                                 PA Required       Limit Specified
                                   Annual Cost   Annual Cost                             Goods and                                                     Needed
         C.W Willis                                                Programs
                                                                                          Services


  Pediasure Grow and Gain
       w/Fiber, 8 oz.               $4,004 05     $5,471.35      NOT COVERED                 N/A                   N/A                 N/A               N/A
           bottle
      Feeding supplies:
        feeding bags
                                     $4,164        $4,164        NOT COVERED                 N/A                   N/A                 N/A               N/A
   connector and extension
tubing adhesive tape feeding

     Gastrostomy/G-tube
                                      $628          $760         NOT COVERED                 N/A                   N/A                 N/A               N/A
     (MOC-KEY or other)


        Diapers/Briefs               $910.12       $932.14       NOT COVERED                 N/A                   N/A                 N/A               N/A


 Allowance for miscellaneous
                                      $200          $200         NOT COVERED                 N/A                   N/A                 N/A               N/A
          supplies

                                                                  Surgical Intervention, Aggressive Treatment


                                                                                         Limitations
    The Berens Report's                                         GA Medicaid and
                                      Min.          Max.                                     on                                                        Referral
  Recommended Needs for                                         Medicaid Waiver                                 PA Required       Limit Specified
                                   Annual Cost   Annual Cost                             Goods and                                                     Needed
         C.W Willis                                                Programs
                                                                                          Services


Surgical conversion of NG tube
                                     $8,975        $8,975        NOT COVERED                 N/A                   N/A                 N/A               N/A
           to G-tube


                                                                 NOT COVERED                 N/A                   N/A                 N/A               N/A


 Botox injection to arms/legs        $1,781        $8,178        NOT COVERED                 N/A                   N/A                 N/A               N/A


                                                                 NOT COVERED                 N/A                   N/A                 N/A               N/A




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                                       IDEA Program Analysis
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                                                                   Surgical Intervention, Aggressive Treatment


                                                                                          Limitations
   The Berens Report's                                            GA Medicaid and
                                    Min.           Max.                                       on                                                        Referral
 Recommended Needs for                                            Medicaid Waiver                                PA Required       Limit Specified
                                 Annual Cost    Annual Cost                               Goods and                                                     Needed
        C.W Willis                                                   Programs
                                                                                           Services



                                    N/A              N/A          NOT COVERED                 N/A                   N/A                 N/A               N/A


                                    N/A              N/A          NOT COVERED                 N/A                   N/A                 N/A               N/A
Intrathecal Baclofen Pump(ITB)
             implant
                                   $5,592          $22,368        NOT COVERED                 N/A                   N/A                 N/A               N/A


                                  $5,278 29       $5,278.29       NOT COVERED                 N/A                   N/A                 N/A               N/A

  Femoral osteotomy due to
   expected or probable hip         N/A              N/A          NOT COVERED                 N/A                   N/A                 N/A               N/A
          dysplasia
   Achilles tendon/Heelcord
                                    N/A              N/A          NOT COVERED                 N/A                   N/A                 N/A               N/A
             release

                                  Subject to      Subject to
  Hamstring tendon release                                        NOT COVERED                 N/A                   N/A                 N/A               N/A
                                 speculation     speculation
                                                                             Option 1 In Home Care


                                                                                          Limitations
   The Berens Report's                                            GA Medicaid and
                                    Min.           Max.                                       on                                                        Referral
 Recommended Needs for                                            Medicaid Waiver                                PA Required       Limit Specified
                                 Annual Cost    Annual Cost                               Goods and                                                     Needed
        C.W Willis                                                   Programs
                                                                                           Services



                                  $113,880        $146,000        NOT COVERED                 N/A                   N/A                 N/A               N/A
            C.N.A
                                  $170,820        $219,000        NOT COVERED                 N/A                   N/A                 N/A               N/A


                                                                  NOT COVERED                 N/A                   N/A                 N/A               N/A
           LPN/RN                  $87,600        $131,400
                                                                  NOT COVERED                 N/A                   N/A                 N/A               N/A


      Adult day Program            $9,360          $15,600        NOT COVERED                 N/A                   N/A                 N/A               N/A

     Respite for parents:
                                   $11,232         $14,400        NOT COVERED                 N/A                   N/A                 N/A               N/A
           C.N.A

     Respite for parents:
                                   $11,520         $11,520        NOT COVERED                 N/A                   N/A                 N/A               N/A
          LPN/RN
       As adult 2034:
Replace value of lost service                                     NOT COVERED                 N/A                   N/A                 N/A               N/A
                              Not quantifiable Not quantifiable
      for homemaking,
                               - Subject to     - Subject to
   interior/exterior home
                               speculation      speculation
maintenance, housecleaning,                                       NOT COVERED                 N/A                   N/A                 N/A               N/A
          yard care
                                                                        Option 2 Residential Facility care


                                                                                          Limitations
   The Berens Report's                                            GA Medicaid and
                                    Min.           Max.                                       on                                                        Referral
 Recommended Needs for                                            Medicaid Waiver                                PA Required       Limit Specified
                                 Annual Cost    Annual Cost                               Goods and                                                     Needed
        C.W Willis                                                   Programs
                                                                                           Services


            Facility
                                  $200,750        $209,875        NOT COVERED                 N/A                   N/A                 N/A               N/A
    Brain injury residence




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                                                                 QHP Analysis
                                             Coverage Analysis Charts for the Riddick-Grisham Report
                                               Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                    Project Evaluations - Non Physician

                                                         Blue Cross Blue
  The Riddick-Grisham                                                                        Limitations
                                                         Shield Healthcare
 Report's Recommended           Min.          Max.                                               on                                                           Referral
                                                       Plan Of Georgia, Inc ·                                          PA Required        Limit Specified
        Needs for            Annual Cost   Annual Cost                                       Goods and                                                        Needed
                                                          BCBSHP Gold
          C.W.                                                                                Services
                                                       Pathway X HMO 1300


     Physical Therapy
                                $280          $280                 Covered                      NONE                         NO                N/A              NO
        Evaluation

    Occupation Therapy
                               $262.50       $262.50               Covered                      NONE                         NO                N/A              NO
        Evaluation

     Speech Therapy
                               $334.50       $334.50               Covered                      NONE                         NO                N/A              NO
       Evaluation

        Nutritional
                                $140          $140                 Covered                      NONE                         NO                N/A              NO
        Evaluation

                                                                                           Provider must
                               $72.20        $120.33               Covered                                                   NO                N/A              NO
                                                                                               order
        Wheelchair
        Evaluation
                                                                                           Provider must
                               $72.20        $72.20                Covered                                                   NO                N/A              NO
                                                                                               order

                                                                                           Provider must
      Augmentative            $2,026.80     $2,734.18              Covered                                                   Yes               N/A              Yes
                                                                                               order
   Communication(ACC)/
   Assistive Technology
                                                                                           Provider must
        Evaluation             $675.60       $911.39               Covered                                                   Yes               N/A              Yes
                                                                                               order
                                                                              Project Therapeutic

                                                         Blue Cross Blue
  The Riddick-Grisham                                                                        Limitations
                                                         Shield Healthcare
 Report's Recommended           Min.          Max.                                               on                                                           Referral
                                                       Plan Of Georgia, Inc ·                                          PA Required        Limit Specified
        Needs for            Annual Cost   Annual Cost                                       Goods and                                                        Needed
                                                          BCBSHP Gold
          C.W.                                                                                Services
                                                       Pathway X HMO 1300


                               $16,608       $16,608               Covered                      NONE                         NO                N/A              NO


     Physical Therapy          $4,152        $4,152                Covered                      NONE                         NO                N/A              NO


                               $1,384        $1,384                Covered                      NONE                         NO                N/A              NO


                               $18,048       $18,048               Covered                      NONE                         NO                N/A              NO


   Occupational Therapy        $4,512        $4,512                Covered                      NONE                         NO                N/A              NO


                               $1,504        $1,504                Covered                      NONE                         NO                N/A              NO


                               $9,096        $9,096                Covered                      NONE                         NO                N/A              NO


     Speech Therapy            $2,274        $2,274                Covered                      NONE                         NO                N/A              NO


                                $758          $758                 Covered                      NONE                         NO                N/A              NO

                                                                                           Provider must
     Family counseling        $1,636.25     $1,636.25              Covered                                                   Yes               N/A              Yes
                                                                                               order

Augmentative Communication                                                                 Provider must                                 Must be Medically
                               $56.60        $94.33                Covered                                                   Yes                                Yes
         Training                                                                              order                                        Necessary
                                                                               Wheelchair Needs

                                                         Blue Cross Blue
  The Riddick-Grisham                                                                        Limitations
                                                         Shield Healthcare
 Report's Recommended           Min.          Max.                                               on                                                           Referral
                                                       Plan Of Georgia, Inc ·                                          PA Required        Limit Specified
        Needs for            Annual Cost   Annual Cost                                       Goods and                                                        Needed
                                                          BCBSHP Gold
          C.W.                                                                                Services
                                                       Pathway X HMO 1300




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                                                                    QHP Analysis
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                                                                                              Provider must
Custom light - weight manual      $1,500       $3,333.33              Covered                                                   Yes               N/A              Yes
                                                                                                  order
  wheelchair with shelf for
augmentative communication
                                                                                              Provider must
          device                  $1,500        $2,000                Covered                                                   Yes               N/A              Yes
                                                                                                  order

                                                                                                                                            Must be Medically
Wheelchair cushion w/covers       $147.33       $147.33               Covered               Supplies included                   Yes                                Yes
                                                                                                                                               Necessary
                                                                    Wheelchair Accessories and Maintenance

                                                            Blue Cross Blue
  The Riddick-Grisham                                                                           Limitations
                                                            Shield Healthcare
 Report's Recommended              Min.          Max.                                               on                                                           Referral
                                                          Plan Of Georgia, Inc ·                                          PA Required        Limit Specified
        Needs for               Annual Cost   Annual Cost                                       Goods and                                                        Needed
                                                             BCBSHP Gold
          C.W.                                                                                   Services
                                                          Pathway X HMO 1300


    Manual Wheelchair                                                                          Repair and                                  Must not be related
                                  $437.50       $437.50               Covered                                                   Yes                                NO
      Maintenance                                                                          replacement costs                                   to neglect
                                                                           Aids for Independent Function

                                                            Blue Cross Blue
  The Riddick-Grisham                                                                           Limitations
                                                            Shield Healthcare
 Report's Recommended              Min.          Max.                                               on                                                           Referral
                                                          Plan Of Georgia, Inc ·                                          PA Required        Limit Specified
        Needs for               Annual Cost   Annual Cost                                       Goods and                                                        Needed
                                                             BCBSHP Gold
          C.W.                                                                                   Services
                                                          Pathway X HMO 1300


                                                                                              Provider must                                 Must be Medically
      Portable Ramps               N/A            N/A                 Covered                                                   Yes                                Yes
                                                                                                  order                                        Necessary

                                                                                              Provider must                                 Must be Medically
       Shower Chair               $267.20       $322.20               Covered                                                   Yes                                Yes
                                                                                                  order                                        Necessary

          Grab bars                                                                           Provider must                                 Must be Medically
                                   N/A            N/A                 Covered                                                   Yes                                Yes
   ( 1- 3 bars each time)                                                                         order                                        Necessary

         Installation
                                                                                              Provider must                                 Must be Medically
          Grab bars                N/A            N/A                 Covered                                                   Yes                                Yes
                                                                                                  order                                        Necessary
   ( 1- 3 bars each time)
      Rolling walker -
                                                                                              Provider must                                 Must be Medically
       Gait trainer               $656.80       $656.80               Covered                                                   Yes                                Yes
                                                                                                  order                                        Necessary
   w/communication tray

                                                                                              Provider must                                 Must be Medically
                                   N/A            N/A                 Covered                                                   Yes                                Yes
                                                                                                  order                                        Necessary
Augmentative Communication
          Device
                                                                                              Provider must                                 Must be Medically
                                  $56.45        $112.90               Covered                                                   Yes                                Yes
                                                                                                  order                                        Necessary
                                                                                        Orthotics

                                                            Blue Cross Blue
  The Riddick-Grisham                                                                           Limitations
                                                            Shield Healthcare
 Report's Recommended              Min.          Max.                                               on                                                           Referral
                                                          Plan Of Georgia, Inc ·                                          PA Required        Limit Specified
        Needs for               Annual Cost   Annual Cost                                       Goods and                                                        Needed
                                                             BCBSHP Gold
          C.W.                                                                                   Services
                                                          Pathway X HMO 1300


                                                                                              Provider must                                 Must be Medically
                                  $933.33       $1,400                Covered                                                   Yes                                Yes
                                                                                                  order                                        Necessary
Bilateral Ankle/Foot Orthosis
                                                                                              Provider must                                 Must be Medically
                                  $466.67       $466.67               Covered                                                   Yes                                Yes
                                                                                                  order                                        Necessary




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                                                                   Home Furnishings and Accessories

                                                        Blue Cross Blue
 The Riddick-Grisham                                                                        Limitations
                                                        Shield Healthcare
Report's Recommended           Min.          Max.                                               on                                                              Referral
                                                      Plan Of Georgia, Inc ·                                          PA Required        Limit Specified
       Needs for            Annual Cost   Annual Cost                                       Goods and                                                           Needed
                                                         BCBSHP Gold
         C.W.                                                                                Services
                                                      Pathway X HMO 1300

                                                                           Option 1: In Home Care
                                                                                          Provider must                                 Must be Medically
    Sleep Safe Bed            $605.60       $908.40               Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary

                                                                                          Provider must                                 Must be Medically
  Overhead Lift System         N/A            N/A                 Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary

                                                                                          Provider must                                 Must be Medically
 Sling for Overhead Lift      $138.33       $138.33               Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary

                                                                                          Provider must                                 Must be Medically
   Electric Hoyer Lift        $169.30       $375.29               Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary

                                                                                          Provider must                                 Must be Medically
         Lift sling           $26.70        $44.50                Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary
                                                                    Option 2: Residential Facility Care
                                                                                          Provider must                                 Must be Medically
     Sleep safe bed           $605.60       $908.40               Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary

                                                                                          Provider must                                 Must be Medically
  Overhead Lift System         N/A            N/A                 Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary

                                                                                          Provider must                                 Must be Medically
  Sling for overhead lift     $138.33       $138.33               Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary

                                                                                          Provider must                                 Must be Medically
   Electric Hoyer Lift        $169.30       $375.29               Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary

                                                                                          Provider must                                 Must be Medically
         Lift sling           $26.70        $44.50                Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary
                                                                                  Medications

                                                        Blue Cross Blue
 The Riddick-Grisham                                                                        Limitations
                                                        Shield Healthcare
Report's Recommended           Min.          Max.                                               on                                                              Referral
                                                      Plan Of Georgia, Inc ·                                          PA Required        Limit Specified
       Needs for            Annual Cost   Annual Cost                                       Goods and                                                           Needed
                                                         BCBSHP Gold
         C.W.                                                                                Services
                                                      Pathway X HMO 1300


        Mira LAX              $123.78       $123.78           NOT COVERED                        N/A                        N/A               N/A                 N/A

                                                                          Supplies and Equipment

                                                                   GA
                                                                                       CMS Medicare Fee
                                                               Medicaid Fee
Recommended Needs for          Min.          Max.                                         Schedule                 Fair Market Value
                                                                Schedule                                                                Min. Charged Rate   Max. Charged Rate
       C.W.                 Annual Cost   Annual Cost                                       Rate                        (per unit)
                                                                  Rate
                                                                                          (per unit)
                                                                (per unit)


                                                                                          Provider must                                 Must be Medically
         Diapers              $482.13      $1,534.05              Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary

                                                                                          Provider must                                 Must be Medically
          Wipes               $190.56       $190.56               Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary

                                                                                          Provider must                                 Must be Medically
  Non - sterile Gloves        $518.96       $518.96               Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary

                                                                                          Provider must                                 Must be Medically
   Protective bed pad         $62.09        $62.09                Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary

                                                                                          Provider must                                 Must be Medically
     Mickey button            $674.84       $674.84               Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary

                                                                                          Provider must                                 Must be Medically
       Pediasure              $525.96       $525.96               Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary

                                                                                          Provider must                                 Must be Medically
    Kangaroo pump             $105.80       $105.80               Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary

                                                                                          Provider must                                 Must be Medically
    Extension tubing          $177.32       $177.32               Covered                                                   Yes                                   Yes
                                                                                              order                                        Necessary




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                                                                        Supplies and Equipment

                                                                 GA
                                                                                     CMS Medicare Fee
                                                             Medicaid Fee
Recommended Needs for        Min.          Max.                                         Schedule                 Fair Market Value
                                                              Schedule                                                                Min. Charged Rate   Max. Charged Rate
       C.W.               Annual Cost   Annual Cost                                       Rate                        (per unit)
                                                                Rate
                                                                                        (per unit)
                                                              (per unit)


                                                                                        Provider must                                 Must be Medically
         IV Pole             N/A            N/A                 Covered                                                   Yes                                   Yes
                                                                                            order                                        Necessary

                                                                                        Provider must                                 Must be Medically
       Feed bags           $1,327.93     $1,327.93              Covered                                                   Yes                                   Yes
                                                                                            order                                        Necessary

                                                                                        Provider must                                 Must be Medically
    60 CC syringes          $20.80        $20.80                Covered                                                   Yes                                   Yes
                                                                                            order                                        Necessary
                                                                           Home / Facility Care

                                                      Blue Cross Blue
 The Riddick-Grisham                                                                      Limitations
                                                      Shield Healthcare
Report's Recommended         Min.          Max.                                               on                                                              Referral
                                                    Plan Of Georgia, Inc ·                                          PA Required        Limit Specified
       Needs for          Annual Cost   Annual Cost                                       Goods and                                                           Needed
                                                       BCBSHP Gold
         C.W.                                                                              Services
                                                    Pathway X HMO 1300


                                                                                    In-Network; 120 visit                             Must be Medically
                          $73,820.50    $73,820.50              Covered                                                   Yes                                   Yes
                                                                                    limit; Limit = 4 hours                               Necessary
         C.N.A
                                                                                    In-Network; 120 visit                             Must be Medically
                          $74,886.50    $74,886.50              Covered                                                   Yes                                   Yes
                                                                                    limit; Limit = 4 hours                               Necessary

                                                                                    In-Network; 120 visit                             Must be Medically
                          $60,266.25    $60,266.25              Covered                                                   Yes                                   Yes
                                                                                    limit; Limit = 4 hours                               Necessary
        LPN/RN
                                                                                    In-Network; 120 visit                             Must be Medically
                          $40,177.50    $40,177.50              Covered                                                   Yes                                   Yes
                                                                                    limit; Limit = 4 hours                               Necessary
                                                                         Option 1: In Home Care

                                                                                    In-Network; 120 visit                             Must be Medically
         C.N.A             $149,568     $149,568.00             Covered                                                   Yes                                   Yes
                                                                                    limit; Limit = 4 hours                               Necessary

                                                                                    In-Network; 120 visit                             Must be Medically
                                                                Covered                                                   Yes                                   Yes
                                                                                    limit; Limit = 4 hours                               Necessary
        LPN/RN              $73,700       $73,700
                                                                                    In-Network; 120 visit                             Must be Medically
                                                                Covered                                                   Yes                                   Yes
                                                                                    limit; Limit = 4 hours                               Necessary


  Heavy housecleaning        $105          $270             NOT COVERED                        N/A                        N/A               N/A                 N/A

    Initial set-up fee
         Financial           N/A            N/A             NOT COVERED                        N/A                        N/A               N/A                 N/A
 oversight/guardianship

        Financial
                            $1,200        $1,400            NOT COVERED                        N/A                        N/A               N/A                 N/A
 oversight/guardianship


     Day Program            $15,888       $18,000        Unable to determine                   N/A                        N/A               N/A                 N/A

                                                                   Option 2: Residential Facility care

    Residential living
                          $104,096.25   $104,096.25         NOT COVERED                        N/A                        N/A               N/A                 N/A
     private room

    Initial set-up fee
         Financial           N/A            N/A             NOT COVERED                        N/A                        N/A               N/A                 N/A
 oversight/guardianship

        Financial
                            $1,200        $1,400            NOT COVERED                        N/A                        N/A               N/A                 N/A
 oversight/guardianship




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                                                                  QHP Analysis
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                                                                          Routine Future Medical Care

                                                          Blue Cross Blue
  The Riddick-Grisham                                                                         Limitations
                                                          Shield Healthcare
 Report's Recommended            Min.          Max.                                               on                                                           Referral
                                                        Plan Of Georgia, Inc ·                                          PA Required        Limit Specified
        Needs for             Annual Cost   Annual Cost                                       Goods and                                                        Needed
                                                           BCBSHP Gold
          C.W.                                                                                 Services
                                                        Pathway X HMO 1300


        Neurologist              $425          $425                 Covered                      NONE                         NO                N/A              NO


        Physiatrist              $425          $425                 Covered                      NONE                         NO                N/A              NO


        Orthopedist              $425          $425                 Covered                      NONE                         NO                N/A              NO


     Scoliosis screen            N/A            N/A                 Covered                      NONE                         NO                N/A              NO


  Primary care physician        $359.30       $359.30               Covered                      NONE                         NO                N/A              NO

                                                                                            Provider must
  X-rays of hips, bilateral      $160          $175                 Covered                                                   NO                N/A              Yes
                                                                                                order

                                                                                            Provider must
      Swallow Study              N/A            N/A                 Covered                                                   NO                N/A              Yes
                                                                                                order

                                                                                            Provider must
                                 N/A            N/A                 Covered                                                   NO                N/A              Yes
                                                                                                order
       Sleep Study
                                                                                            Provider must
                                 N/A            N/A                 Covered                                                   NO                N/A              Yes
                                                                                                order

     Gastroenterology            $425          $425                 Covered                      NONE                         NO                N/A              NO


                                 $425          $425                 Covered                      NONE                         NO                N/A              NO


            ENT                 $212.50       $212.50               Covered                      NONE                         NO                N/A              NO


                                $42.50        $53.13                Covered                      NONE                         NO                N/A              NO

                                                                                  Transportation

                                                          Blue Cross Blue
  The Riddick-Grisham                                                                         Limitations
                                                          Shield Healthcare
 Report's Recommended            Min.          Max.                                               on                                                           Referral
                                                        Plan Of Georgia, Inc ·                                          PA Required        Limit Specified
        Needs for             Annual Cost   Annual Cost                                       Goods and                                                        Needed
                                                           BCBSHP Gold
          C.W.                                                                                 Services
                                                        Pathway X HMO 1300

                                                                             Option 1: In Home Care

Van to Transport Wheelchair    $2,798.80     $3,998.29          NOT COVERED                        N/A                        N/A               N/A              N/A

 Maintenance of Adaptive
                                $205.71        $216             NOT COVERED                        N/A                        N/A               N/A              N/A
       Equipment
                                                                       Option 2: Residential Facility care

Van to Transport Wheelchair    $2,798.80     $3,998.29          NOT COVERED                        N/A                        N/A               N/A              N/A

 Maintenance of Adaptive
                                $205.71        $216             NOT COVERED                        N/A                        N/A               N/A              N/A
       Equipment
                                                                             Therapeutic Recreation

                                                          Blue Cross Blue
  The Riddick-Grisham                                                                         Limitations
                                                          Shield Healthcare
 Report's Recommended            Min.          Max.                                               on                                                           Referral
                                                        Plan Of Georgia, Inc ·                                          PA Required        Limit Specified
        Needs for             Annual Cost   Annual Cost                                       Goods and                                                        Needed
                                                           BCBSHP Gold
          C.W.                                                                                 Services
                                                        Pathway X HMO 1300


           Camp                  $500          $500             NOT COVERED                        N/A                        N/A               N/A              N/A




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                                                                  C.W - Appendix B.5 -
                                                                     QHP Analysis
                                                 Coverage Analysis Charts for the Riddick-Grisham Report
                                                   Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                            Architectural Renovations

                                                            Blue Cross Blue
  The Riddick-Grisham                                                                          Limitations
                                                            Shield Healthcare
 Report's Recommended           Min.             Max.                                              on                                                           Referral
                                                          Plan Of Georgia, Inc ·                                         PA Required        Limit Specified
        Needs for            Annual Cost      Annual Cost                                      Goods and                                                        Needed
                                                             BCBSHP Gold
          C.W.                                                                                  Services
                                                          Pathway X HMO 1300


   Home with a first floor
                                 N/A              N/A            NOT COVERED                        N/A                        N/A               N/A              N/A
bedroom and lipless shower
                                                                 Surgical Intervention, Aggressive Treatment

                                                            Blue Cross Blue
  The Riddick-Grisham                                                                          Limitations
                                                            Shield Healthcare
 Report's Recommended           Min.             Max.                                              on                                                           Referral
                                                          Plan Of Georgia, Inc ·                                         PA Required        Limit Specified
        Needs for            Annual Cost      Annual Cost                                      Goods and                                                        Needed
                                                             BCBSHP Gold
          C.W.                                                                                  Services
                                                          Pathway X HMO 1300

                                 Not              Not
                             quantifiable -   quantifiable -                                 Provider must                                 Must be Medically
       Gastrostomy                                                   Covered                                                   Yes                                Yes
                               Subject to       Subject to                                       order                                        Necessary
                              speculation      speculation
                                 Not              Not
                             quantifiable -   quantifiable -                                 Provider must                                 Must be Medically
     Baclofen pump                                                   Covered                                                   Yes                                Yes
                               Subject to       Subject to                                       order                                        Necessary
                              speculation      speculation
                                 Not              Not
 Achilles tendon releases    quantifiable -   quantifiable -                                 Provider must                                 Must be Medically
                                                                     Covered                                                   Yes                                Yes
         bilaterally           Subject to       Subject to                                       order                                        Necessary
                              speculation      speculation
                                 Not              Not
  Osteotomy with tendon      quantifiable -   quantifiable -                                 Provider must                                 Must be Medically
                                                                     Covered                                                   Yes                                Yes
    release, bilaterally       Subject to       Subject to                                       order                                        Necessary
                              speculation      speculation
                                 Not              Not
                             quantifiable -   quantifiable -                                 Provider must                                 Must be Medically
      Botox injection                                                Covered                                                   Yes                                Yes
                               Subject to       Subject to                                       order                                        Necessary
                              speculation      speculation




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                                                              C.W - Appendix B.6 -
                                                              CHAMPVA Analysis
                                             Coverage Analysis Charts for the Riddick-Grisham Report
                                               Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                    Project Evaluations - Non Physician


  The Riddick-Grisham                                                                        Limitations
 Report's Recommended           Min.          Max.                                               on                                                           Referral
                                                                  CHAMPVA                                              PA Required        Limit Specified
        Needs for            Annual Cost   Annual Cost                                       Goods and                                                        Needed
          C.W.                                                                                Services


     Physical Therapy
                                $280          $280                 Covered                      NONE                         NO                N/A              NO
        Evaluation

    Occupation Therapy
                               $262.50       $262.50               Covered                      NONE                         NO                N/A              NO
        Evaluation

     Speech Therapy
                               $334.50       $334.50               Covered                      NONE                         NO                N/A              NO
       Evaluation

        Nutritional
                                $140          $140                 Covered                      NONE                         NO                N/A              NO
        Evaluation

                                                                                           Provider must
                               $72.20        $120.33               Covered                                                   NO                N/A              Yes
                                                                                               order
        Wheelchair
        Evaluation
                                                                                           Provider must
                               $72.20        $72.20                Covered                                                   NO                N/A              Yes
                                                                                               order

                                                                                           Provider must
      Augmentative            $2,026.80     $2,734.18          NOT COVERED                                                   Yes               N/A              Yes
                                                                                               order
   Communication(ACC)/
   Assistive Technology
                                                                                           Provider must
        Evaluation             $675.60       $911.39           NOT COVERED                                                   Yes               N/A              Yes
                                                                                               order
                                                                              Project Therapeutic


  The Riddick-Grisham                                                                        Limitations
 Report's Recommended           Min.          Max.                                               on                                                           Referral
                                                                  CHAMPVA                                              PA Required        Limit Specified
        Needs for            Annual Cost   Annual Cost                                       Goods and                                                        Needed
          C.W.                                                                                Services



                               $16,608       $16,608               Covered                      NONE                         Yes               N/A              Yes


     Physical Therapy          $4,152        $4,152                Covered                      NONE                         Yes               N/A              Yes


                               $1,384        $1,384                Covered                      NONE                         Yes               N/A              Yes


                               $18,048       $18,048               Covered                      NONE                         Yes               N/A              Yes


   Occupational Therapy        $4,512        $4,512                Covered                      NONE                         Yes               N/A              Yes


                               $1,504        $1,504                Covered                      NONE                         Yes               N/A              Yes


                               $9,096        $9,096                Covered                      NONE                         Yes               N/A              Yes


     Speech Therapy            $2,274        $2,274                Covered                      NONE                         Yes               N/A              Yes


                                $758          $758                 Covered                      NONE                         Yes               N/A              Yes


     Family counseling        $1,636.25     $1,636.25              Covered                      NONE                         Yes               N/A              Yes

Augmentative Communication                                                                 Provider must                                 Must be Medically
                               $56.60        $94.33            NOT COVERED                                                   Yes                                Yes
         Training                                                                              order                                        Necessary




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                                                                 C.W - Appendix B.6 -
                                                                 CHAMPVA Analysis
                                                Coverage Analysis Charts for the Riddick-Grisham Report
                                                  Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                  Wheelchair Needs


  The Riddick-Grisham                                                                           Limitations
 Report's Recommended              Min.          Max.                                               on                                                           Referral
                                                                     CHAMPVA                                              PA Required        Limit Specified
        Needs for               Annual Cost   Annual Cost                                       Goods and                                                        Needed
          C.W.                                                                                   Services


                                                                                              Provider must
Custom light - weight manual      $1,500       $3,333.33              Covered                                                   Yes               N/A              Yes
                                                                                                  order
  wheelchair with shelf for
augmentative communication
                                                                                              Provider must
          device                  $1,500        $2,000                Covered                                                   Yes               N/A              Yes
                                                                                                  order

                                                                                                                                            Must be Medically
Wheelchair cushion w/covers       $147.33       $147.33               Covered               Supplies included                   Yes                                Yes
                                                                                                                                               Necessary
                                                                    Wheelchair Accessories and Maintenance


  The Riddick-Grisham                                                                           Limitations
 Report's Recommended              Min.          Max.                                               on                                                           Referral
                                                                     CHAMPVA                                              PA Required        Limit Specified
        Needs for               Annual Cost   Annual Cost                                       Goods and                                                        Needed
          C.W.                                                                                   Services


    Manual Wheelchair                                                                          Repair and                                  Must not be related
                                  $437.50       $437.50               Covered                                                   Yes                                NO
      Maintenance                                                                          replacement costs                                   to neglect
                                                                           Aids for Independent Function


  The Riddick-Grisham                                                                           Limitations
 Report's Recommended              Min.          Max.                                               on                                                           Referral
                                                                     CHAMPVA                                              PA Required        Limit Specified
        Needs for               Annual Cost   Annual Cost                                       Goods and                                                        Needed
          C.W.                                                                                   Services



                                                                                              Provider must                                 Must be Medically
      Portable Ramps               N/A           N/A                  Covered                                                   Yes                                Yes
                                                                                                  order                                        Necessary

                                                                                              Provider must                                 Must be Medically
       Shower Chair               $267.20       $322.20               Covered                                                   Yes                                Yes
                                                                                                  order                                        Necessary

          Grab bars                                                                           Provider must                                 Must be Medically
                                   N/A           N/A                  Covered                                                   Yes                                Yes
   ( 1- 3 bars each time)                                                                         order                                        Necessary

         Installation
                                                                                              Provider must                                 Must be Medically
          Grab bars                N/A           N/A                  Covered                                                   Yes                                Yes
                                                                                                  order                                        Necessary
   ( 1- 3 bars each time)
      Rolling walker -
                                                                                              Provider must                                 Must be Medically
       Gait trainer               $656.80       $656.80               Covered                                                   Yes                                Yes
                                                                                                  order                                        Necessary
   w/communication tray

                                                                                              Provider must                                 Must be Medically
                                   N/A           N/A              NOT COVERED                                                   Yes                                Yes
                                                                                                  order                                        Necessary
Augmentative Communication
          Device
                                                                                              Provider must                                 Must be Medically
                                  $56.45        $112.90           NOT COVERED                                                   Yes                                Yes
                                                                                                  order                                        Necessary
                                                                                        Orthotics


  The Riddick-Grisham                                                                           Limitations
 Report's Recommended              Min.          Max.                                               on                                                           Referral
                                                                     CHAMPVA                                              PA Required        Limit Specified
        Needs for               Annual Cost   Annual Cost                                       Goods and                                                        Needed
          C.W.                                                                                   Services


                                                                                              Provider must                                 Must be Medically
                                  $933.33       $1,400                Covered                                                   Yes                                Yes
                                                                                                  order                                        Necessary
Bilateral Ankle/Foot Orthosis
                                                                                              Provider must                                 Must be Medically
                                  $466.67       $466.67               Covered                                                   Yes                                Yes
                                                                                                  order                                        Necessary




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                                                            C.W - Appendix B.6 -
                                                            CHAMPVA Analysis
                                           Coverage Analysis Charts for the Riddick-Grisham Report
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                                                                  Home Furnishings and Accessories


 The Riddick-Grisham                                                                       Limitations
Report's Recommended          Min.          Max.                                               on                                                           Referral
                                                                CHAMPVA                                              PA Required        Limit Specified
       Needs for           Annual Cost   Annual Cost                                       Goods and                                                        Needed
         C.W.                                                                               Services


                                                                          Option 1: In Home Care
                                                                                         Provider must                                 Must be Medically
    Sleep Safe Bed           $605.60       $908.40               Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary

                                                                                         Provider must                                 Must be Medically
 Overhead Lift System         N/A           N/A                  Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary

                                                                                         Provider must                                 Must be Medically
 Sling for Overhead Lift     $138.33       $138.33               Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary

                                                                                         Provider must                                 Must be Medically
   Electric Hoyer Lift       $169.30       $375.29               Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary

                                                                                         Provider must                                 Must be Medically
        Lift sling           $26.70        $44.50                Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary
                                                                   Option 2: Residential Facility Care
                                                                                         Provider must                                 Must be Medically
    Sleep safe bed           $605.60       $908.40               Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary

                                                                                         Provider must                                 Must be Medically
 Overhead Lift System         N/A           N/A                  Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary

                                                                                         Provider must                                 Must be Medically
 Sling for overhead lift     $138.33       $138.33               Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary

                                                                                         Provider must                                 Must be Medically
   Electric Hoyer Lift       $169.30       $375.29               Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary

                                                                                         Provider must                                 Must be Medically
        Lift sling           $26.70        $44.50                Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary
                                                                                 Medications


 The Riddick-Grisham                                                                       Limitations
Report's Recommended          Min.          Max.                                               on                                                           Referral
                                                                CHAMPVA                                              PA Required        Limit Specified
       Needs for           Annual Cost   Annual Cost                                       Goods and                                                        Needed
         C.W.                                                                               Services


                                                                                         Provider must
       Mira LAX              $123.78       $123.78               Covered                                                   NO                N/A              N/A
                                                                                             order
                                                                         Supplies and Equipment


 The Riddick-Grisham                                                                       Limitations
Report's Recommended          Min.          Max.                                               on                                                           Referral
                                                                CHAMPVA                                              PA Required        Limit Specified
       Needs for           Annual Cost   Annual Cost                                       Goods and                                                        Needed
         C.W.                                                                               Services


                                                                                         Provider must                                 Must be Medically
        Diapers              $482.13      $1,534.05              Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary

                                                                                         Provider must                                 Must be Medically
         Wipes               $190.56       $190.56               Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary

                                                                                         Provider must                                 Must be Medically
  Non - sterile Gloves       $518.96       $518.96               Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary

                                                                                         Provider must                                 Must be Medically
  Protective bed pad         $62.09        $62.09                Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary

                                                                                         Provider must                                 Must be Medically
     Mickey button           $674.84       $674.84               Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary

                                                                                         Provider must                                 Must be Medically
       Pediasure             $525.96       $525.96               Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary

                                                                                         Provider must                                 Must be Medically
    Kangaroo pump            $105.80       $105.80               Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary

                                                                                         Provider must                                 Must be Medically
   Extension tubing          $177.32       $177.32               Covered                                                   Yes                                Yes
                                                                                             order                                        Necessary




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                                                           CHAMPVA Analysis
                                          Coverage Analysis Charts for the Riddick-Grisham Report
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                                                                        Supplies and Equipment


 The Riddick-Grisham                                                                      Limitations
Report's Recommended         Min.          Max.                                               on                                                           Referral
                                                               CHAMPVA                                              PA Required        Limit Specified
       Needs for          Annual Cost   Annual Cost                                       Goods and                                                        Needed
         C.W.                                                                              Services


                                                                                        Provider must                                 Must be Medically
        IV Pole              N/A           N/A                  Covered                                                   Yes                                Yes
                                                                                            order                                        Necessary

                                                                                        Provider must                                 Must be Medically
      Feed bags            $1,327.93     $1,327.93              Covered                                                   Yes                                Yes
                                                                                            order                                        Necessary

                                                                                        Provider must                                 Must be Medically
    60 CC syringes          $20.80        $20.80                Covered                                                   Yes                                Yes
                                                                                            order                                        Necessary
                                                                           Home / Facility Care


 The Riddick-Grisham                                                                      Limitations
Report's Recommended         Min.          Max.                                               on                                                           Referral
                                                               CHAMPVA                                              PA Required        Limit Specified
       Needs for          Annual Cost   Annual Cost                                       Goods and                                                        Needed
         C.W.                                                                              Services



                                                                                        Provider must                                 Must be Medically
                          $73,820.50    $73,820.50          NOT COVERED                                                   Yes                                Yes
                                                                                            order                                        Necessary
         C.N.A
                                                                                        Provider must                                 Must be Medically
                          $74,886.50    $74,886.50          NOT COVERED                                                   Yes                                Yes
                                                                                            order                                        Necessary

                                                                                        Provider must                                 Must be Medically
                          $60,266.25    $60,266.25              Covered                                                   Yes                                Yes
                                                                                            order                                        Necessary
        LPN/RN
                                                                                        Provider must                                 Must be Medically
                          $40,177.50    $40,177.50              Covered                                                   Yes                                Yes
                                                                                            order                                        Necessary
                                                                         Option 1: In Home Care

                                                                                        Provider must                                 Must be Medically
         C.N.A             $149,568      $149,568           NOT COVERED                                                   Yes                                Yes
                                                                                            order                                        Necessary

                                                                                        Provider must                                 Must be Medically
                                                                Covered                                                   Yes                                Yes
                                                                                            order                                        Necessary
        LPN/RN              $73,700       $73,700
                                                                                        Provider must                                 Must be Medically
                                                                Covered                                                   Yes                                Yes
                                                                                            order                                        Necessary

                                                                                        Provider must                                 Must be Medically
 Heavy housecleaning         $105          $270             NOT COVERED                                                   Yes                                Yes
                                                                                            order                                        Necessary

    Initial set-up fee
         Financial           N/A           N/A              NOT COVERED                        N/A                        N/A               N/A              N/A
 oversight/guardianship

        Financial
                            $1,200        $1,400            NOT COVERED                        N/A                        N/A               N/A              N/A
 oversight/guardianship

                                                                                        Provider must                                 Must be Medically
     Day Program            $15,888       $18,000               Covered                                                   Yes                                Yes
                                                                                            order                                        Necessary
                                                                   Option 2: Residential Facility care
                                                                                                                                     Must be Medically
   Residential living                                                                   Provider must
                          $104,096.25   $104,096.25             Covered                                                   Yes       Necessary/ 151 DAYS      Yes
    private room                                                                            order
                                                                                                                                        PER YEAR
    Initial set-up fee
         Financial           N/A           N/A              NOT COVERED                        N/A                        N/A               N/A              N/A
 oversight/guardianship

        Financial
                            $1,200        $1,400            NOT COVERED                        N/A                        N/A               N/A              N/A
 oversight/guardianship




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                                                               CHAMPVA Analysis
                                              Coverage Analysis Charts for the Riddick-Grisham Report
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                                                                          Routine Future Medical Care


  The Riddick-Grisham                                                                         Limitations
 Report's Recommended            Min.          Max.                                               on                                                           Referral
                                                                   CHAMPVA                                              PA Required        Limit Specified
        Needs for             Annual Cost   Annual Cost                                       Goods and                                                        Needed
          C.W.                                                                                 Services



        Neurologist              $425          $425                 Covered                      NONE                         NO                N/A              NO


        Physiatrist              $425          $425                 Covered                      NONE                         NO                N/A              NO


        Orthopedist              $425          $425                 Covered                      NONE                         NO                N/A              NO


     Scoliosis screen            N/A           N/A                  Covered                      NONE                         NO                N/A              NO


  Primary care physician        $359.30       $359.30               Covered                      NONE                         NO                N/A              NO

                                                                                            Provider must
  X-rays of hips, bilateral      $160          $175                 Covered                                                   Yes               N/A              Yes
                                                                                                order

                                                                                            Provider must
      Swallow Study              N/A           N/A                  Covered                                                   Yes               N/A              Yes
                                                                                                order

                                                                                            Provider must
                                 N/A           N/A                  Covered                                                   Yes               N/A              Yes
                                                                                                order
       Sleep Study
                                                                                            Provider must
                                 N/A           N/A                  Covered                                                   Yes               N/A              Yes
                                                                                                order

     Gastroenterology            $425          $425                 Covered                      NONE                         NO                N/A              NO


                                 $425          $425                 Covered                      NONE                         NO                N/A              NO


            ENT                 $212.50       $212.50               Covered                      NONE                         NO                N/A              NO


                                $42.50        $53.13                Covered                      NONE                         NO                N/A              NO

                                                                                  Transportation


  The Riddick-Grisham                                                                         Limitations
 Report's Recommended            Min.          Max.                                               on                                                           Referral
                                                                   CHAMPVA                                              PA Required        Limit Specified
        Needs for             Annual Cost   Annual Cost                                       Goods and                                                        Needed
          C.W.                                                                                 Services


                                                                             Option 1: In Home Care
                                                                Unable to make
Van to Transport Wheelchair    $2,798.80     $3,998.29                                             N/A                        N/A               N/A              N/A
                                                                 determination

 Maintenance of Adaptive                                        Unable to make
                                $205.71        $216                                                N/A                        N/A               N/A              N/A
       Equipment                                                 determination
                                                                       Option 2: Residential Facility care
                                                                Unable to make
Van to Transport Wheelchair    $2,798.80     $3,998.29                                             N/A                        N/A               N/A              N/A
                                                                 determination

 Maintenance of Adaptive                                        Unable to make
                                $205.71        $216                                                N/A                        N/A               N/A              N/A
       Equipment                                                 determination
                                                                             Therapeutic Recreation


  The Riddick-Grisham                                                                         Limitations
 Report's Recommended            Min.          Max.                                               on                                                           Referral
                                                                   CHAMPVA                                              PA Required        Limit Specified
        Needs for             Annual Cost   Annual Cost                                       Goods and                                                        Needed
          C.W.                                                                                 Services


                                                                                            Provider must
           Camp                  $500          $500                 Covered                                                   Yes               N/A              Yes
                                                                                                order




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                                                                  CHAMPVA Analysis
                                                 Coverage Analysis Charts for the Riddick-Grisham Report
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                                                                            Architectural Renovations


  The Riddick-Grisham                                                                          Limitations
 Report's Recommended           Min.             Max.                                              on                                                           Referral
                                                                    CHAMPVA                                              PA Required        Limit Specified
        Needs for            Annual Cost      Annual Cost                                      Goods and                                                        Needed
          C.W.                                                                                  Services



   Home with a first floor
                                 N/A              N/A               COVERED                        SAH                         Yes             $81,080            Yes
bedroom and lipless shower
                                                                 Surgical Intervention, Aggressive Treatment


  The Riddick-Grisham                                                                          Limitations
 Report's Recommended           Min.             Max.                                              on                                                           Referral
                                                                    CHAMPVA                                              PA Required        Limit Specified
        Needs for            Annual Cost      Annual Cost                                      Goods and                                                        Needed
          C.W.                                                                                  Services


                                 Not              Not
                             quantifiable -   quantifiable -                                 Provider must                                 Must be Medically
       Gastrostomy                                                   Covered                                                   Yes                                Yes
                               Subject to       Subject to                                       order                                        Necessary
                              speculation      speculation
                                 Not              Not
                             quantifiable -   quantifiable -                                 Provider must                                 Must be Medically
     Baclofen pump                                                   Covered                                                   Yes                                Yes
                               Subject to       Subject to                                       order                                        Necessary
                              speculation      speculation
                                 Not              Not
 Achilles tendon releases    quantifiable -   quantifiable -                                 Provider must                                 Must be Medically
                                                                     Covered                                                   Yes                                Yes
         bilaterally           Subject to       Subject to                                       order                                        Necessary
                              speculation      speculation
                                 Not              Not
  Osteotomy with tendon      quantifiable -   quantifiable -                                 Provider must                                 Must be Medically
                                                                     Covered                                                   Yes                                Yes
    release, bilaterally       Subject to       Subject to                                       order                                        Necessary
                              speculation      speculation
                                 Not              Not
                             quantifiable -   quantifiable -                                 Provider must                                 Must be Medically
      Botox injection                                                Covered                                                   Yes                                Yes
                               Subject to       Subject to                                       order                                        Necessary
                              speculation      speculation




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                                                   Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                Project Evaluations - Non Physician


  The Riddick-Grisham                                                              Limitations
                                                             GA Medicaid
 Report's Recommended           Min.          Max.                                     on                                                    Referral
                                                         and Medicaid Waiver                          PA Required      Limit Specified
        Needs for            Annual Cost   Annual Cost                             Goods and                                                 Needed
                                                              Programs
          C.W.                                                                      Services


     Physical Therapy                                                             Provider must
                                $280          $280            Covered                                    Yes                N/A                Yes
        Evaluation                                                                    order

    Occupation Therapy                                                            Provider must
                               $262.50       $262.50          Covered                                    Yes                N/A                Yes
        Evaluation                                                                    order

     Speech Therapy                                                               Provider must
                               $334.50       $334.50          Covered                                    Yes                N/A                Yes
       Evaluation                                                                     order

        Nutritional                                                               Provider must
                                $140          $140            Covered                                    Yes                N/A                Yes
        Evaluation                                                                    order

                                                                                  Provider must
                               $72 20        $120.33          Covered                                    Yes                N/A                Yes
                                                                                      order
        Wheelchair
        Evaluation
                                                                                  Provider must
                               $72 20         $72.20          Covered                                    Yes                N/A                Yes
                                                                                      order

                                                                                  Provider must
      Augmentative            $2,026.80     $2,734.18         Covered                                    Yes                N/A                Yes
                                                                                      order
   Communication(ACC)/
   Assistive Technology
                                                                                  Provider must
        Evaluation             $675.60       $911.39          Covered                                    Yes                N/A                Yes
                                                                                      order
                                                                        Project Therapeutic


  The Riddick-Grisham                                                              Limitations
                                                             GA Medicaid
 Report's Recommended           Min.          Max.                                     on                                                    Referral
                                                         and Medicaid Waiver                          PA Required      Limit Specified
        Needs for            Annual Cost   Annual Cost                             Goods and                                                 Needed
                                                              Programs
          C.W.                                                                      Services


                                                                                  Provider must
                               $16,608       $16,608          Covered                                    Yes                N/A                Yes
                                                                                      order

                                                                                  Provider must
     Physical Therapy          $4,152         $4,152          Covered                                    Yes                N/A                Yes
                                                                                      order

                                                                                  Provider must
                               $1,384         $1,384          Covered                                    Yes                N/A                Yes
                                                                                      order

                                                                                  Provider must
                               $18,048       $18,048          Covered                                    Yes                N/A                Yes
                                                                                      order

                                                                                  Provider must
   Occupational Therapy        $4,512         $4,512          Covered                                    Yes                N/A                Yes
                                                                                      order

                                                                                  Provider must
                               $1,504        $1,504           Covered                                    Yes                N/A                Yes
                                                                                      order

                                                                                 Provider must
                               $9,096        $9,096           Covered                                    Yes                N/A                Yes
                                                                                     order

                                                                                 Provider must
     Speech Therapy            $2,274        $2,274           Covered                                    Yes                N/A                Yes
                                                                                     order

                                                                                 Provider must
                                $758          $758            Covered                                    Yes                N/A                Yes
                                                                                     order

                                                                                  Provider must
     Family counseling        $1,636.25     $1,636 25         Covered                                    Yes                N/A                Yes
                                                                                      order

Augmentative Communication                                                        Provider must
                               $56 60         $94.33          Covered                                    Yes                N/A                Yes
         Training                                                                     order




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                                                                          Wheelchair Needs


  The Riddick-Grisham                                                               Limitations
                                                               GA Medicaid
 Report's Recommended             Min.          Max.                                    on                                                     Referral
                                                           and Medicaid Waiver                          PA Required      Limit Specified
        Needs for              Annual Cost   Annual Cost                            Goods and                                                  Needed
                                                                Programs
          C.W.                                                                       Services


                                                                                   Provider must
Custom light - weight manual     $1,500       $3,333.33         Covered                                    Yes                N/A                Yes
                                                                                       order
  wheelchair with shelf for
augmentative communication
                                                                                   Provider must
          device                 $1,500         $2,000          Covered                                    Yes                N/A                Yes
                                                                                       order

                                                                                   Provider must
Wheelchair cushion w/covers      $147.33       $147.33          Covered                                    Yes                N/A                Yes
                                                                                       order
                                                               Wheelchair Accessories and Maintenance


  The Riddick-Grisham                                                               Limitations
                                                               GA Medicaid
 Report's Recommended             Min.          Max.                                    on                                                     Referral
                                                           and Medicaid Waiver                          PA Required      Limit Specified
        Needs for              Annual Cost   Annual Cost                            Goods and                                                  Needed
                                                                Programs
          C.W.                                                                       Services


    Manual Wheelchair                                                              Provider must
                                 $437.50       $437.50          Covered                                    Yes                N/A                Yes
      Maintenance                                                                      order
                                                                    Aids for Independent Function


  The Riddick-Grisham                                                               Limitations
                                                               GA Medicaid
 Report's Recommended             Min.          Max.                                    on                                                     Referral
                                                           and Medicaid Waiver                          PA Required      Limit Specified
        Needs for              Annual Cost   Annual Cost                            Goods and                                                  Needed
                                                                Programs
          C.W.                                                                       Services



                                                                                   Provider must
      Portable Ramps              N/A            N/A            Covered                                    Yes                N/A                Yes
                                                                                       order


                                                                                   Provider must
       Shower Chair              $267.20       $322.20          Covered                                    Yes                N/A                Yes
                                                                                       order


          Grab bars                                                                Provider must
                                  N/A            N/A            Covered                                    Yes                N/A                Yes
   ( 1- 3 bars each time)                                                              order

         Installation
                                                                                   Provider must
          Grab bars               N/A            N/A            Covered                                    Yes                N/A                Yes
                                                                                       order
   ( 1- 3 bars each time)
      Rolling walker -
                                                                                   Provider must
       Gait trainer              $656.80       $656.80          Covered                                    Yes                N/A                Yes
                                                                                       order
   w/communication tray

                                                                                   Provider must
                                  N/A            N/A            Covered                                    Yes                N/A                Yes
                                                                                       order
Augmentative Communication
          Device
                                                                                   Provider must
                                 $56.45        $112.90          Covered                                    Yes                N/A                Yes
                                                                                       order




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                                                      Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                  Orthotics


  The Riddick-Grisham                                                                   Limitations
                                                                GA Medicaid
 Report's Recommended              Min.          Max.                                       on                                                 Referral
                                                            and Medicaid Waiver                         PA Required      Limit Specified
        Needs for               Annual Cost   Annual Cost                               Goods and                                              Needed
                                                                 Programs
          C.W.                                                                           Services


                                                                                       Provider must                    Must be Medically
                                  $933.33        $1,400          Covered                                   Yes                                   Yes
                                                                                           order                           Necessary
Bilateral Ankle/Foot Orthosis
                                                                                       Provider must                    Must be Medically
                                  $466.67       $466.67          Covered                                   Yes                                   Yes
                                                                                           order                           Necessary
                                                                   Home Furnishings and Accessories


  The Riddick-Grisham                                                                   Limitations
                                                                GA Medicaid
 Report's Recommended              Min.          Max.                                       on                                                 Referral
                                                            and Medicaid Waiver                         PA Required      Limit Specified
        Needs for               Annual Cost   Annual Cost                               Goods and                                              Needed
                                                                 Programs
          C.W.                                                                           Services


                                                                        Option 1 In Home Care
                                                                                       Provider must                    Must be Medically
      Sleep Safe Bed              $605.60       $908.40          Covered                                   Yes                                   Yes
                                                                                           order                           Necessary

                                                                                       Provider must                    Must be Medically
   Overhead Lift System            N/A            N/A            Covered                                   Yes                                   Yes
                                                                                           order                           Necessary

                                                                                       Provider must                    Must be Medically
   Sling for Overhead Lift        $138.33       $138.33          Covered                                   Yes                                   Yes
                                                                                           order                           Necessary

                                                                                       Provider must                    Must be Medically
     Electric Hoyer Lift          $169.30       $375.29          Covered                                   Yes                                   Yes
                                                                                           order                           Necessary

                                                                                       Provider must                    Must be Medically
          Lift sling              $26.70         $44.50          Covered                                   Yes                                   Yes
                                                                                           order                           Necessary
                                                                   Option 2 Residential Facility Care
                                                                                       Provider must                    Must be Medically
      Sleep safe bed              $605.60       $908.40          Covered                                   Yes                                   Yes
                                                                                           order                           Necessary

                                                                                       Provider must                    Must be Medically
   Overhead Lift System            N/A            N/A            Covered                                   Yes                                   Yes
                                                                                           order                           Necessary

                                                                                       Provider must                    Must be Medically
   Sling for overhead lift        $138.33       $138.33          Covered                                   Yes                                   Yes
                                                                                           order                           Necessary

                                                                                       Provider must                    Must be Medically
     Electric Hoyer Lift          $169.30       $375.29          Covered                                   Yes                                   Yes
                                                                                           order                           Necessary

                                                                                       Provider must                    Must be Medically
          Lift sling              $26.70         $44.50          Covered                                   Yes                                   Yes
                                                                                           order                           Necessary




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                                                                        Medications


 The Riddick-Grisham                                                           Limitations
                                                          GA Medicaid
Report's Recommended         Min.          Max.                                    on                                                Referral
                                                      and Medicaid Waiver                     PA Required      Limit Specified
       Needs for          Annual Cost   Annual Cost                            Goods and                                             Needed
                                                           Programs
         C.W.                                                                   Services


                                                                              Provider must
       Mira LAX             $123.78       $123.78          Covered                                NO                N/A                N/A
                                                                                  order
                                                                  Supplies and Equipment


 The Riddick-Grisham                                                           Limitations
                                                          GA Medicaid
Report's Recommended         Min.          Max.                                    on                                                Referral
                                                      and Medicaid Waiver                     PA Required      Limit Specified
       Needs for          Annual Cost   Annual Cost                            Goods and                                             Needed
                                                           Programs
         C.W.                                                                   Services


                                                                              Provider must                   Must be Medically
        Diapers             $482.13      $1,534.05         Covered                               Yes                                   Yes
                                                                                  order                          Necessary

                                                                              Provider must                   Must be Medically
        Wipes               $190.56       $190.56          Covered                               Yes                                   Yes
                                                                                  order                          Necessary

                                                                              Provider must                   Must be Medically
  Non - sterile Gloves      $518.96       $518.96          Covered                               Yes                                   Yes
                                                                                  order                          Necessary

                                                                             Provider must                    Must be Medically
  Protective bed pad        $62 09         $62.09          Covered                               Yes                                   Yes
                                                                                 order                           Necessary

                                                                             Provider must                    Must be Medically
     Mickey button          $674.84       $674.84          Covered                               Yes                                   Yes
                                                                                 order                           Necessary

                                                                             Provider must                    Must be Medically
      Pediasure             $525.96       $525.96          Covered                               Yes                                   Yes
                                                                                 order                           Necessary

                                                                             Provider must                    Must be Medically
   Kangaroo pump            $105.80       $105.80          Covered                               Yes                                   Yes
                                                                                 order                           Necessary

                                                                             Provider must                    Must be Medically
   Extension tubing         $177.32       $177.32          Covered                               Yes                                   Yes
                                                                                 order                           Necessary

                                                                             Provider must                    Must be Medically
        IV Pole              N/A            N/A            Covered                               Yes                                   Yes
                                                                                 order                           Necessary

                                                                             Provider must                    Must be Medically
      Feed bags            $1,327.93     $1,327 93         Covered                               Yes                                   Yes
                                                                                 order                           Necessary

                                                                             Provider must                    Must be Medically
    60 CC syringes          $20.80         $20.80          Covered                               Yes                                   Yes
                                                                                 order                           Necessary




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                                                                     Home / Facility Care


 The Riddick-Grisham                                                             Limitations
                                                          GA Medicaid
Report's Recommended         Min.          Max.                                      on                                                   Referral
                                                      and Medicaid Waiver                          PA Required      Limit Specified
       Needs for          Annual Cost   Annual Cost                              Goods and                                                Needed
                                                           Programs
         C.W.                                                                     Services



                                                                               Provider must                       Must be Medically
                          $73,820.50     $73,820 50        Covered                                    Yes                                   Yes
                                                                                   order                              Necessary
         C.N.A
                                                                               Provider must                       Must be Medically
                          $74,886.50     $74,886 50        Covered                                    Yes                                   Yes
                                                                                   order                              Necessary


                                                                               Provider must                       Must be Medically
                          $60,266.25     $60,266 25        Covered                                    Yes                                   Yes
                                                                                   order                              Necessary
       LPN/RN
                                                                               Provider must                       Must be Medically
                          $40,177.50     $40,177 50        Covered                                    Yes                                   Yes
                                                                                   order                              Necessary
                                                                   Option 1 In Home Care

                                                                               Provider must                       Must be Medically
         C.N.A             $149,568       $149,568         Covered                                    Yes                                   Yes
                                                                                   order                              Necessary


                                                                               Provider must                       Must be Medically
                                                           Covered                                    Yes                                   Yes
                                                                                   order                              Necessary
       LPN/RN               $73,700       $73,700
                                                                               Provider must                       Must be Medically
                                                           Covered                                    Yes                                   Yes
                                                                                   order                              Necessary


                                                                               Provider must                       Must be Medically
 Heavy housecleaning         $105          $270            Covered                                    Yes                                   Yes
                                                                                   order                              Necessary

    Initial set-up fee
         Financial           N/A            N/A         NOT COVERED                 N/A               N/A                N/A                N/A
 oversight/guardianship

        Financial
                            $1,200         $1,400       NOT COVERED                 N/A               N/A                N/A                N/A
 oversight/guardianship


                                                                               Provider must                       Must be Medically
     Day Program            $15,888       $18,000          Covered                                    Yes                                   Yes
                                                                                   order                              Necessary
                                                              Option 2 Residential Facility care

   Residential living                                                          Provider must                       Must be Medically
                          $104,096.25   $104,096.25        Covered                                    Yes                                   Yes
    private room                                                                   order                              Necessary

    Initial set-up fee
         Financial           N/A            N/A         NOT COVERED                 N/A               N/A                N/A                N/A
 oversight/guardianship

        Financial
                            $1,200         $1,400       NOT COVERED                 N/A               N/A                N/A                N/A
 oversight/guardianship




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                                                                   Routine Future Medical Care


 The Riddick-Grisham                                                              Limitations
                                                             GA Medicaid
Report's Recommended            Min.          Max.                                    on                                                Referral
                                                         and Medicaid Waiver                     PA Required      Limit Specified
       Needs for             Annual Cost   Annual Cost                            Goods and                                             Needed
                                                              Programs
         C.W.                                                                      Services



                                                                                 Provider must                   Must be Medically
       Neurologist              $425          $425            Covered                               Yes                                   Yes
                                                                                     order                          Necessary

                                                                                 Provider must                   Must be Medically
       Physiatrist              $425          $425            Covered                               Yes                                   Yes
                                                                                     order                          Necessary

                                                                                 Provider must                   Must be Medically
       Orthopedist              $425          $425            Covered                               Yes                                   Yes
                                                                                     order                          Necessary

                                                                                 Provider must                   Must be Medically
    Scoliosis screen            N/A            N/A            Covered                               Yes                                   Yes
                                                                                     order                          Necessary

                                                                                 Provider must                   Must be Medically
 Primary care physician        $359.30       $359.30          Covered                               Yes                                   Yes
                                                                                     order                          Necessary

                                                                                 Provider must                   Must be Medically
 X-rays of hips, bilateral      $160          $175            Covered                               Yes                                   Yes
                                                                                     order                          Necessary

                                                                                 Provider must                   Must be Medically
     Swallow Study              N/A            N/A            Covered                               Yes                                   Yes
                                                                                     order                          Necessary

                                                                                 Provider must                   Must be Medically
                                N/A            N/A            Covered                               Yes                                   Yes
                                                                                     order                          Necessary
      Sleep Study
                                                                                 Provider must                   Must be Medically
                                N/A            N/A            Covered                               Yes                                   Yes
                                                                                     order                          Necessary

                                                                                 Provider must                   Must be Medically
    Gastroenterology            $425          $425            Covered                               Yes                                   Yes
                                                                                     order                          Necessary

                                                                                 Provider must                   Must be Medically
                                $425          $425            Covered                               Yes                                   Yes
                                                                                     order                          Necessary

                                                                                 Provider must                   Must be Medically
          ENT                  $212.50       $212.50          Covered                               Yes                                   Yes
                                                                                     order                          Necessary

                                                                                 Provider must                   Must be Medically
                               $42.50         $53.13          Covered                               Yes                                   Yes
                                                                                     order                          Necessary




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                                                                             Transportation


  The Riddick-Grisham                                                                Limitations
                                                              GA Medicaid
 Report's Recommended            Min.          Max.                                      on                                                   Referral
                                                          and Medicaid Waiver                          PA Required      Limit Specified
        Needs for             Annual Cost   Annual Cost                              Goods and                                                Needed
                                                               Programs
          C.W.                                                                        Services


                                                                       Option 1 In Home Care
                                                            Unable to make
Van to Transport Wheelchair    $2,798.80     $3,998.29                                   N/A              N/A                N/A                N/A
                                                             determination

 Maintenance of Adaptive                                    Unable to make
                                $205.71        $216                                      N/A              N/A                N/A                N/A
       Equipment                                             determination
                                                                  Option 2 Residential Facility care
                                                            Unable to make
Van to Transport Wheelchair    $2,798.80     $3,998.29                                   N/A              N/A                N/A                N/A
                                                             determination

 Maintenance of Adaptive                                    Unable to make
                                $205.71        $216                                      N/A              N/A                N/A                N/A
       Equipment                                             determination
                                                                       Therapeutic Recreation


  The Riddick-Grisham                                                                Limitations
                                                              GA Medicaid
 Report's Recommended            Min.          Max.                                      on                                                   Referral
                                                          and Medicaid Waiver                          PA Required      Limit Specified
        Needs for             Annual Cost   Annual Cost                              Goods and                                                Needed
                                                               Programs
          C.W.                                                                        Services


                                                            Unable to make
          Camp                   $500          $500                                      N/A              N/A                N/A                N/A
                                                             determination




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                                                           Prepared by: Thomas J. Dawson, III, Esq., MPH, MA

                                                                                 Architectural Renovations


   The Riddick-Grisham                                                                          Limitations
                                                                          GA Medicaid
  Report's Recommended                Min.             Max.                                         on                                                        Referral
                                                                      and Medicaid Waiver                              PA Required      Limit Specified
         Needs for                 Annual Cost      Annual Cost                                 Goods and                                                     Needed
                                                                           Programs
           C.W.                                                                                  Services



Home with a first floor bedroom                                         Unable to make
                                        N/A              N/A                                        N/A                   N/A                N/A                N/A
     and lipless shower                                                  determination
                                                                         Surgical Intervention, Aggressive Treatment


   The Riddick-Grisham                                                                          Limitations
                                                                          GA Medicaid
  Report's Recommended                Min.             Max.                                         on                                                        Referral
                                                                      and Medicaid Waiver                              PA Required      Limit Specified
         Needs for                 Annual Cost      Annual Cost                                 Goods and                                                     Needed
                                                                           Programs
           C.W.                                                                                  Services



                                  Not quantifiable Not quantifiable
                                                                                               Provider must                           Must be Medically
         Gastrostomy               - Subject to     - Subject to           Covered                                        Yes                                   Yes
                                                                                                   order                                  Necessary
                                   speculation      speculation


                                  Not quantifiable Not quantifiable
                                                                                               Provider must                           Must be Medically
        Baclofen pump              - Subject to     - Subject to           Covered                                        Yes                                   Yes
                                                                                                   order                                  Necessary
                                   speculation      speculation


                                  Not quantifiable Not quantifiable
   Achilles tendon releases                                                                    Provider must                           Must be Medically
                                   - Subject to     - Subject to           Covered                                        Yes                                   Yes
           bilaterally                                                                             order                                  Necessary
                                   speculation      speculation


                                  Not quantifiable Not quantifiable
Osteotomy with tendon release,                                                                 Provider must                           Must be Medically
                                   - Subject to     - Subject to           Covered                                        Yes                                   Yes
         bilaterally                                                                               order                                  Necessary
                                   speculation      speculation


                                  Not quantifiable Not quantifiable
                                                                                               Provider must                           Must be Medically
        Botox injection            - Subject to     - Subject to           Covered                                        Yes                                   Yes
                                                                                                   order                                  Necessary
                                   speculation      speculation




                                                                                                                            TD&P Consulting, Inc. | May 7, 2019 | 8
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                                                                  C.W - Appendix B.8
                                                                     IDEA Analysis
                                                 Coverage Analysis Charts for the Riddick-Grisham Report
                                                   Prepared by: Thomas J. Dawson, III, Esq., MPH, MA
                                                              Project Evaluations - Non Physician


  The Riddick-Grisham                                                               Limitations
 Report's Recommended           Min.          Max.          IDEA until                  on                                                   Referral
                                                                                                      PA Required      Limit Specified
        Needs for            Annual Cost   Annual Cost        Age 22                Goods and                                                Needed
          C.W.                                                                       Services


     Physical Therapy
                                $280          $280          Covered             Must be Part of IEP      Yes                N/A                N/A
        Evaluation

    Occupation Therapy
                               $262.50       $262.50        Covered             Must be Part of IEP      Yes                N/A                N/A
        Evaluation

     Speech Therapy
                               $334.50       $334.50        Covered             Must be Part of IEP      Yes                N/A                N/A
       Evaluation

        Nutritional
                                $140          $140          Covered             Must be Part of IEP      Yes                N/A                N/A
        Evaluation


                               $72 20        $120.33        Covered             Must be Part of IEP      Yes                N/A                N/A
        Wheelchair
        Evaluation
                               $72 20        $72.20         Covered             Must be Part of IEP      Yes                N/A                N/A


      Augmentative            $2,026.80     $2,734.18       Covered             Must be Part of IEP      Yes                N/A                N/A
   Communication(ACC)/
   Assistive Technology
        Evaluation             $675.60       $911.39        Covered             Must be Part of IEP      Yes                N/A                N/A

                                                                         Project Therapeutic


  The Riddick-Grisham                                                               Limitations
 Report's Recommended           Min.          Max.          IDEA until                  on                                                   Referral
                                                                                                      PA Required      Limit Specified
        Needs for            Annual Cost   Annual Cost        Age 22                Goods and                                                Needed
          C.W.                                                                       Services



                               $16,608       $16,608        Covered             Must be Part of IEP      Yes                N/A                N/A


     Physical Therapy          $4,152        $4,152         Covered             Must be Part of IEP      Yes                N/A                N/A


                               $1,384        $1,384         Covered             Must be Part of IEP      Yes                N/A                N/A


                               $18,048       $18,048        Covered             Must be Part of IEP      Yes                N/A                N/A


   Occupational Therapy        $4,512        $4,512         Covered             Must be Part of IEP      Yes                N/A                N/A


                               $1,504        $1,504         Covered             Must be Part of IEP      Yes                N/A                N/A


                               $9,096        $9,096         Covered             Must be Part of IEP      Yes                N/A                N/A


     Speech Therapy            $2,274        $2,274         Covered             Must be Part of IEP      Yes                N/A                N/A


                                $758          $758          Covered             Must be Part of IEP      Yes                N/A                N/A


     Family counseling        $1,636.25     $1,636 25       Covered             Must be Part of IEP      Yes                N/A                N/A


Augmentative Communication
                               $56 60        $94.33         Covered             Must be Part of IEP      Yes                N/A                N/A
         Training




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                                                     Prepared by: Thomas J. Dawson, III, Esq., MPH, MA
                                                                           Wheelchair Needs


  The Riddick-Grisham                                                               Limitations
 Report's Recommended             Min.          Max.          IDEA until                on                                                   Referral
                                                                                                      PA Required      Limit Specified
        Needs for              Annual Cost   Annual Cost        Age 22              Goods and                                                Needed
          C.W.                                                                       Services



Custom light - weight manual     $1,500       $3,333.33    NOT COVERED                  N/A              N/A                N/A                N/A
  wheelchair with shelf for
augmentative communication
          device                 $1,500        $2,000      NOT COVERED                  N/A              N/A                N/A                N/A


Wheelchair cushion w/covers      $147.33       $147.33     NOT COVERED                  N/A              N/A                N/A                N/A

                                                             Wheelchair Accessories and Maintenance


  The Riddick-Grisham                                                               Limitations
 Report's Recommended             Min.          Max.          IDEA until                on                                                   Referral
                                                                                                      PA Required      Limit Specified
        Needs for              Annual Cost   Annual Cost        Age 22              Goods and                                                Needed
          C.W.                                                                       Services


    Manual Wheelchair
                                 $437.50       $437.50     NOT COVERED                  N/A              N/A                N/A                N/A
      Maintenance
                                                                   Aids for Independent Function


  The Riddick-Grisham                                                               Limitations
 Report's Recommended             Min.          Max.          IDEA until                on                                                   Referral
                                                                                                      PA Required      Limit Specified
        Needs for              Annual Cost   Annual Cost        Age 22              Goods and                                                Needed
          C.W.                                                                       Services



      Portable Ramps              N/A           N/A        NOT COVERED                  N/A              N/A                N/A                N/A


       Shower Chair              $267.20       $322.20     NOT COVERED                  N/A              N/A                N/A                N/A


          Grab bars
                                  N/A           N/A        NOT COVERED                  N/A              N/A                N/A                N/A
   ( 1- 3 bars each time)
         Installation
          Grab bars               N/A           N/A        NOT COVERED                  N/A              N/A                N/A                N/A
   ( 1- 3 bars each time)
       Rolling walker -
         Gait trainer            $656.80       $656.80     NOT COVERED                  N/A              N/A                N/A                N/A
   w/communication tray

                                  N/A           N/A        NOT COVERED                  N/A              N/A                N/A                N/A
Augmentative Communication
          Device
                                 $56.45        $112.90     NOT COVERED                  N/A              N/A                N/A                N/A




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                                                                              Orthotics


  The Riddick-Grisham                                                                Limitations
 Report's Recommended              Min.          Max.          IDEA until                on                                                   Referral
                                                                                                       PA Required      Limit Specified
        Needs for               Annual Cost   Annual Cost        Age 22              Goods and                                                Needed
          C.W.                                                                        Services



                                  $933.33       $1,400      NOT COVERED                   N/A             N/A                N/A                N/A
Bilateral Ankle/Foot Orthosis
                                  $466.67       $466.67     NOT COVERED                   N/A             N/A                N/A                N/A

                                                                 Home Furnishings and Accessories


  The Riddick-Grisham                                                                Limitations
 Report's Recommended              Min.          Max.          IDEA until                on                                                   Referral
                                                                                                       PA Required      Limit Specified
        Needs for               Annual Cost   Annual Cost        Age 22              Goods and                                                Needed
          C.W.                                                                        Services


                                                                       Option 1 In Home Care

      Sleep Safe Bed              $605.60       $908.40     NOT COVERED                   N/A             N/A                N/A                N/A


   Overhead Lift System            N/A           N/A        NOT COVERED                   N/A             N/A                N/A                N/A


   Sling for Overhead Lift        $138.33       $138.33     NOT COVERED                   N/A             N/A                N/A                N/A


     Electric Hoyer Lift          $169.30       $375.29     NOT COVERED                   N/A             N/A                N/A                N/A


          Lift sling              $26.70        $44.50      NOT COVERED                   N/A             N/A                N/A                N/A

                                                                  Option 2 Residential Facility Care

      Sleep safe bed              $605.60       $908.40     NOT COVERED                   N/A             N/A                N/A                N/A


   Overhead Lift System            N/A           N/A        NOT COVERED                   N/A             N/A                N/A                N/A


   Sling for overhead lift        $138.33       $138.33     NOT COVERED                   N/A             N/A                N/A                N/A


     Electric Hoyer Lift          $169.30       $375.29     NOT COVERED                   N/A             N/A                N/A                N/A


          Lift sling              $26.70        $44.50      NOT COVERED                   N/A             N/A                N/A                N/A




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                                                                     Medications


 The Riddick-Grisham                                                        Limitations
Report's Recommended        Min.          Max.          IDEA until              on                                                 Referral
                                                                                            PA Required      Limit Specified
       Needs for         Annual Cost   Annual Cost        Age 22            Goods and                                              Needed
         C.W.                                                                Services



       Mira LAX            $123.78       $123.78     NOT COVERED                N/A            N/A                N/A                N/A

                                                                Supplies and Equipment


 The Riddick-Grisham                                                        Limitations
Report's Recommended        Min.          Max.          IDEA until              on                                                 Referral
                                                                                            PA Required      Limit Specified
       Needs for         Annual Cost   Annual Cost        Age 22            Goods and                                              Needed
         C.W.                                                                Services



        Diapers            $482.13      $1,534.05    NOT COVERED                N/A            N/A                N/A                N/A


        Wipes              $190.56       $190.56     NOT COVERED                N/A            N/A                N/A                N/A


  Non - sterile Gloves     $518.96       $518.96     NOT COVERED                N/A            N/A                N/A                N/A


  Protective bed pad       $62 09        $62.09      NOT COVERED                N/A            N/A                N/A                N/A


     Mickey button         $674.84       $674.84     NOT COVERED                N/A            N/A                N/A                N/A


      Pediasure            $525.96       $525.96     NOT COVERED                N/A            N/A                N/A                N/A


   Kangaroo pump           $105.80       $105.80     NOT COVERED                N/A            N/A                N/A                N/A


   Extension tubing        $177.32       $177.32     NOT COVERED                N/A            N/A                N/A                N/A


        IV Pole             N/A           N/A        NOT COVERED                N/A            N/A                N/A                N/A


      Feed bags           $1,327.93     $1,327.93    NOT COVERED                N/A            N/A                N/A                N/A


    60 CC syringes         $20 80        $20.80      NOT COVERED                N/A            N/A                N/A                N/A




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                                                                      Home / Facility Care


 The Riddick-Grisham                                                              Limitations
Report's Recommended         Min.          Max.          IDEA until                   on                                                   Referral
                                                                                                    PA Required      Limit Specified
       Needs for          Annual Cost   Annual Cost        Age 22                 Goods and                                                Needed
         C.W.                                                                      Services



                          $73,820.50    $73,820 50       Covered              Must be Part of IEP      Yes                N/A                N/A

         C.N.A

                          $74,886.50    $74,886 50       Covered              Must be Part of IEP      Yes                N/A                N/A



                          $60,266.25    $60,266 25       Covered              Must be Part of IEP      Yes                N/A                N/A

       LPN/RN

                          $40,177.50    $40,177 50       Covered              Must be Part of IEP      Yes                N/A                N/A

                                                                 Option 1 In Home Care

         C.N.A             $149,568      $149,568        Covered              Must be Part of IEP      Yes                N/A                N/A



                                                         Covered              Must be Part of IEP      Yes                N/A                N/A

       LPN/RN               $73,700       $73,700

                                                         Covered              Must be Part of IEP      Yes                N/A                N/A



 Heavy housecleaning         $105          $270          Covered              Must be Part of IEP      Yes                N/A                N/A


    Initial set-up fee
         Financial           N/A           N/A        NOT COVERED                    N/A               N/A                N/A                N/A
 oversight/guardianship

        Financial
                            $1,200        $1,400      NOT COVERED                    N/A               N/A                N/A                N/A
 oversight/guardianship


     Day Program            $15,888       $18,000     NOT COVERED                    N/A               N/A                N/A                N/A

                                                            Option 2 Residential Facility care

   Residential living
                          $104,096.25   $104,096.25   NOT COVERED                    N/A               N/A                N/A                N/A
    private room

    Initial set-up fee
         Financial           N/A           N/A        NOT COVERED                    N/A               N/A                N/A                N/A
 oversight/guardianship

        Financial
                            $1,200        $1,400      NOT COVERED                    N/A               N/A                N/A                N/A
 oversight/guardianship




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                                                                 Routine Future Medical Care


 The Riddick-Grisham                                                            Limitations
Report's Recommended            Min.          Max.          IDEA until              on                                                 Referral
                                                                                                PA Required      Limit Specified
       Needs for             Annual Cost   Annual Cost        Age 22            Goods and                                              Needed
         C.W.                                                                    Services



       Neurologist              $425          $425       NOT COVERED                N/A            N/A                N/A                N/A


       Physiatrist              $425          $425       NOT COVERED                N/A            N/A                N/A                N/A


       Orthopedist              $425          $425       NOT COVERED                N/A            N/A                N/A                N/A


    Scoliosis screen            N/A           N/A        NOT COVERED                N/A            N/A                N/A                N/A


 Primary care physician        $359.30       $359.30     NOT COVERED                N/A            N/A                N/A                N/A


 X-rays of hips, bilateral      $160          $175       NOT COVERED                N/A            N/A                N/A                N/A


     Swallow Study              N/A           N/A        NOT COVERED                N/A            N/A                N/A                N/A


                                N/A           N/A        NOT COVERED                N/A            N/A                N/A                N/A
      Sleep Study
                                N/A           N/A        NOT COVERED                N/A            N/A                N/A                N/A


    Gastroenterology            $425          $425       NOT COVERED                N/A            N/A                N/A                N/A


                                $425          $425       NOT COVERED                N/A            N/A                N/A                N/A


           ENT                 $212.50       $212.50     NOT COVERED                N/A            N/A                N/A                N/A


                               $42 50        $53.13      NOT COVERED                N/A            N/A                N/A                N/A




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                                                                           Transportation


  The Riddick-Grisham                                                              Limitations
 Report's Recommended            Min.          Max.          IDEA until                on                                                   Referral
                                                                                                     PA Required      Limit Specified
        Needs for             Annual Cost   Annual Cost        Age 22              Goods and                                                Needed
          C.W.                                                                      Services


                                                                     Option 1 In Home Care
                                                          Unable to make
Van to Transport Wheelchair    $2,798.80     $3,998.29                                 N/A              N/A                N/A                N/A
                                                           determination

 Maintenance of Adaptive                                  Unable to make
                                $205.71        $216                                    N/A              N/A                N/A                N/A
       Equipment                                           determination
                                                                Option 2 Residential Facility care
                                                          Unable to make
Van to Transport Wheelchair    $2,798.80     $3,998.29                                 N/A              N/A                N/A                N/A
                                                           determination

 Maintenance of Adaptive                                  Unable to make
                                $205.71        $216                                    N/A              N/A                N/A                N/A
       Equipment                                           determination
                                                                     Therapeutic Recreation


  The Riddick-Grisham                                                              Limitations
 Report's Recommended            Min.          Max.          IDEA until                on                                                   Referral
                                                                                                     PA Required      Limit Specified
        Needs for             Annual Cost   Annual Cost        Age 22              Goods and                                                Needed
          C.W.                                                                      Services


                                                          Unable to make
          Camp                   $500          $500                                    N/A              N/A                N/A                N/A
                                                           determination




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                                                             Prepared by: Thomas J. Dawson, III, Esq., MPH, MA
                                                                              Architectural Renovations


   The Riddick-Grisham                                                                       Limitations
  Report's Recommended                Min.             Max.            IDEA until                on                                                        Referral
                                                                                                                    PA Required      Limit Specified
         Needs for                 Annual Cost      Annual Cost          Age 22              Goods and                                                     Needed
           C.W.                                                                               Services



Home with a first floor bedroom
                                        N/A              N/A          NOT COVERED                N/A                   N/A                N/A                N/A
     and lipless shower

                                                                      Surgical Intervention, Aggressive Treatment


   The Riddick-Grisham                                                                       Limitations
  Report's Recommended                Min.             Max.            IDEA until                on                                                        Referral
                                                                                                                    PA Required      Limit Specified
         Needs for                 Annual Cost      Annual Cost          Age 22              Goods and                                                     Needed
           C.W.                                                                               Services



                                  Not quantifiable Not quantifiable
         Gastrostomy               - Subject to     - Subject to      NOT COVERED                N/A                   N/A                N/A                N/A
                                   speculation      speculation


                                  Not quantifiable Not quantifiable
        Baclofen pump              - Subject to     - Subject to      NOT COVERED                N/A                   N/A                N/A                N/A
                                   speculation      speculation


                                  Not quantifiable Not quantifiable
   Achilles tendon releases
                                   - Subject to     - Subject to      NOT COVERED                N/A                   N/A                N/A                N/A
           bilaterally
                                   speculation      speculation


                                  Not quantifiable Not quantifiable
Osteotomy with tendon release,
                                   - Subject to     - Subject to      NOT COVERED                N/A                   N/A                N/A                N/A
         bilaterally
                                   speculation      speculation


                                  Not quantifiable Not quantifiable
        Botox injection            - Subject to     - Subject to      NOT COVERED                N/A                   N/A                N/A                N/A
                                   speculation      speculation




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